                                 No. 24-50783

           In the United States Court of Appeals
                   for the Fifth Circuit
             La Unión del Pueblo Entero, et al.,
                                Plaintiffs-Appellees,
                                      v.
                   Gregory W. Abbott, et al.,
                                 Defendants-Appellants.

              On Appeal from the United States District Court
          for the Western District of Texas, San Antonio Division

DEFENDANTS’ EMERGENCY MOTION TO STAY
 DISTRICT COURT ORDER AND PERMANENT
 INJUNCTION PENDING APPEAL AND FOR A
    TEMPORARY ADMINISTRATIVE STAY

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             Certificate of Interested Persons
                                   No. 24-50783


                La Unión del Pueblo Entero, et al.,
                                   Plaintiffs-Appellees,
                                         v.
                       Gregory W. Abbott, et al.,
                                  Defendants-Appellants.

    Under the fourth sentence of Fifth Circuit Rule 28.2.1, State Appellants, as

governmental parties, need not furnish a certificate of interested persons.

                                        /s/ Lanora C. Pettit
                                        Lanora C. Pettit
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         Introduction and Nature of Emergency
    It is blackletter law that “federal court[s] should avoid altering state election

rules close to an election,” Tex. League of United Latin Am. Citizens v. Hughs, 978

F.3d 136, 142 (5th Cir. 2020) (citing Purcell v. Gonzalez, 549 U.S. 1, 6 (2006) (per

curiam); Republican Nat’l Comm. v. Democratic Nat’l Comm., 589 U.S. 423, 424
(2020) (per curiam))—a settled rule that the district court deemed inapplicable here.

With only 23 days until early voting starts and at least 7 days after Counties already

have started mailing out absentee ballots, the district court enjoined enforcement of
Texas’s paid-vote-harvesting ban. And if that weren’t enough, the injunction creates

different voting rules for voters participating in the same election. After all, it applies

to the District Attorneys of only 3 of Texas’s 254 counties, as well as the Secretary
of State and Attorney General who cannot directly enforce the law at all.

    Absent an emergency stay by this Court, the injunction will irreparably injure

Texas’s sovereignty and confuse voters, potential voter assistants, and election

officials alike. It will also result in different rules being applied to an in-progress

election. Therefore, as the Court has already previously done with respect to this

same voting statute and same district court, see Orders, United States v. Paxton, No.
50885 (5th Cir. Dec. 6, 2023 & Dec. 15, 2023) (granting administrative stay and then

stay pending appeal) (App.D & App.E), Defendants respectfully urge the Court to

promptly enter a temporary administrative stay and a stay pending appeal.
                                 Background
    In 2021, as part of Senate Bill 1 (“S.B.1”), Texas banned paid vote harvesting,

which it defined as the “in-person interaction with one or more voters, in the

physical presence of an official ballot or a ballot voted by mail, intended to deliver

votes for a specific candidate or measure.” Tex. Elec. Code §276.015(a)(2). This ban
only applies to interactions that (1) are performed for compensation or benefit, (2)

occur in the presence of a ballot or during the voting process, (3) involve an official

ballot or mail-in ballot, (4) are conducted in-person with a voter, and (5) are designed
to deliver votes for or against a specific candidate or measure. Id. §276.015.

    Among challenges to dozens of provisions of S.B.1, some of which are already

pending before the Court, see Paxton, No. 50885, Plaintiffs—a coalition of
organizations rather than individual voters—facially challenged this common-sense

voter-integrity provision as violating free speech and being unconstitutionally vague.

On September 11, 2023, the district court started its bench trial on Plaintiffs’ claims

and on February 13, 2024, heard closing arguments. Then on September 28, 2024—

seven months later and only 23 days before early voting starts—the district court

issued its opinion enjoining Defendants from enforcing the paid-vote-harvesting ban.
See Findings of Fact and Conclusions of Law (App.A). On September 30, 2024,

Texas asked the district court to stay its injunction, which was denied the next day.

See Order Denying Motion for Stay Pending Appeal (App.F).

                    Statement of Jurisdiction
    The Court has jurisdiction under 28 U.S.C. §1292.




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                                   Argument
      The district court has declared unconstitutional a major state law that has been

in effect for over three years in the middle of an ongoing presidential election.

Accordingly, all four traditional factors favor a stay: (1) the State Defendants are

likely to succeed on the merits; (2) they will suffer irreparable harm absent a stay; (3)
Plaintiffs will not be substantially harmed by a stay; and (4) the public interest favors

a stay. See Nken v. Holder, 556 U.S. 418, 434 (2009). Moreover, where, as here, the

“balance of the equities weighs heavily in favor of granting the stay,” only a “serious
legal question” about the merits is required. Tex. Dem. Party v. Abbott, 961 F.3d 389,

397 (5th Cir. 2020).

 I.     The Equities Favor Granting a Stay.
      The equities strongly favor staying an injunction that disrupts the rules
governing an election that has already begun. Indeed, the injunction irreparably

injures not only the State’s sovereignty but also the orderly administration of a major

election—not to mention exposing both voters and those who seek to assist them to

potential liability should the Court (as it is likely to do) reverse the injunction after

the election. By contrast, a stay will not harm Plaintiffs, who have no constitutionally

protected interests implicated by a regulation of mail-in ballots.

      A. The State and the public interest will suffer irreparable injury
         without a stay.
      1. A stay is vital here under the well-established Purcell principle, which

provides that federal courts “should not alter state election laws in the period close

to an election.” Democratic Nat’l Comm. v. Wis. State Legislature, 141 S. Ct. 28



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(2020) (Kavanaugh, J., concurring) (upholding Seventh Circuit’s stay of injunction

entered six weeks before the general election). This rule flows from the fact that

elections are complex affairs, and changes to election rules—even minor ones—

without care and planning risks chaos that will neither ensure the integrity of an
election nor engender public confidence in its outcome. See, e.g., Purcell, 549 U.S. at

5-6; see also Robinson v. Ardoin, 37 F.4th 208, 228 (5th Cir. 2022) (per curiam). 1 That

is, it reflects that “[w]hen an election is close at hand, the rules of the road must be
clear and settled. Late judicial tinkering with election laws can lead to disruption and

to unanticipated and unfair consequences for candidates, political parties, and

voters, among others.” Merrill v. Milligan, 142 S.Ct. 879, 880-81 (2022).

    Although “the Supreme Court has never specified precisely what it means to be

‘on the eve of an election’ for Purcell purposes,” League of Women Voters of Fla., Inc.

v. Fla. Sec'y of State, 32 F.4th 1363, 1371 (11th Cir. 2022)), this injunction comes far
too late. And the risk of such confusion and disruption will only continue to increase

as the “election draws closer.” Purcell, 549 U.S. at 5. Thus, the Supreme Court has

applied the Purcell principle to stay injunctions entered 29, 33, and even 60 days
before elections. Robinson, 37 F.4th at 229 (citations omitted).

    Here, the district court has issued an order—with respect to some but not all

Counties—addressing a provision that governs the mechanism of mail-in balloting

after such ballots have already been dispatched. See App.A. Leaving aside that the


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      This is in addition to the sovereign injury the State always suffers when its law
is enjoined—and will suffer here. Maryland v. King, 567 U.S. 1301, 1303 (2012)
(Roberts, C.J., in chambers).

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months of training that Counties must undertake to ensure that election judges and

clerks know the rules they are to apply, 2 they have already started mailing out

absentee ballots. Federal and state law required counties to mail ballots to military

personnel overseas by September 21, 2024—seven days before the district court’s

order. 52 U.S. Code § 20302(a)(8); Tex. Elec. Code § 86.004(b). Each mail-in ballot

included a letter stating, in bold, that “[i]f anyone attempts to pressure or

intimidate you, we urge you to report this” and that an assistant “cannot suggest
how you should vote.” Tex. Sec’y of State, Form 6-29, https://perma.cc/N5FY-

XSCL. Those instructions further state that any person who “deposits your

[c]arrier [e]nvelope in the mail or delivers your ballot to a common or contract
carrier” must disclose “whether he or she received or accepted any form of

compensation       or   other   benefit.”       Tex.   Sec’y   of   State,   Form 6-26,

https://perma.cc/QGT9-UH9E. As only Texas’s paid-vote-harvesting ban
mentions compensation or other benefits, see Tex. Elec. Code §276.013, it is unclear

whether those instructions are proper. But, at minimum, any voter who has already

received these instructions will not know whether compensation disclosures are still

necessary. Accordingly, “[w]hatever Purcell’s outer bounds,” this “case fits within

them.” League, 32 F.4th at 1371 (discussing challenge to voter-registration rules

while registration underway).

    2. The district court acknowledged the Purcell principle, but—as before when

it considered a provision of S.B. 1, see App.D & App.E—it dismissed that principle’s


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        See, e.g., Fort Bend County, Training Dates, https://perma.cc/4ENP-5NYB.

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relevance. App.A.75-76. This time, the court asserted that Purcell was inapplicable

because it governs only provisions addressing the “mechanics and procedures” of

voting. Id. at 76. The district court insists that an injunction here does not “create

the potential for confusion and disruption of the election administration” because it
“does not affect any voting or election procedures.” Id. at 75. The court further

explained that “an injunction against enforcement proceedings is removed in space

and time from the mechanics and procedures of voting” and is thus “unlike an order
requiring affirmative changes to the election process before it occurs.” Id. at 76. This

is wrong for several reasons.

    To start, the State is aware of no case in which the Supreme Court has limited
the Purcell principle to the “mechanics” of voting. To the contrary, the Supreme

Court has applied the principle to “substantive” issues—for example,

gerrymandering. See Robinson v. Callais, 144 S.Ct. 1171, 1171-72 (2024); Merrill, 142
S. at 879-80; North Carolina v. Covington, 585 U.S. 969, 979 (2018) (per curiam).

    Even if the Purcell principle applies only to mechanics and procedures, Texas’s

paid-vote-harvesting ban qualifies as both because it applies only to interactions that
(1) are performed for compensation or benefit, (2) occur in the presence of a ballot

or during the voting process, (3) “involve an official ballot or ballot by mail”, (4) are

“conducted in-person with a voter”, and (5) are “designed to deliver votes for or
against a specific candidate or measure.” Tex. Elec. Code § 276.015(e). These

requirements—location, intent, and payment conditions with respect to harvesting

votes—are just as mechanical and procedural as the eligibility requirements, mask-



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mandate exemptions, and ballot forms that the district court acknowledged would be

subject to Purcell even under its own rule. App.A.76 n.46.

    The threat of irreparable harm to the State absent a stay, moreover, also means

that the public interest favors a stay. “Because the State is the appealing party, its
interest and harm merge with that of the public.” Veasey, 870 F.3d at 391; see also,

e.g., New Motor Vehicle Bd. v. Orrin W. Fox Co., 434 U.S. 1345, 1351 (1977)

(Rehnquist, J., in chambers).

    B. The Plaintiffs will suffer no injury from a stay.
    The harm to the State and to the public outweighs any supposed harm to

Plaintiffs. An injunction requires a showing of “irreparable harm” that is likely, not

merely possible. See, e.g., Winter v. NRDC, 555 U.S. 7, 22 (2008); see also Crown
Castle Fiber, LLC v. City of Pasadena, 76 F.4th 425, 441 (5th Cir. 2023) (applying

Winter standard in context of permanent injunction). And the threatened harm must

be “imminent.” Chacon v. Granata, 515 F.2d 922, 925 (5th Cir. 1975). In considering
that factor, “the maintenance of the status quo is an important consideration in

granting a stay.” E.T. v. Paxton, 19 F.4th 760, 770 (5th Cir. 2021). Here, a stay will

not substantially injure Plaintiffs but will simply maintain the status quo that has

existed in Texas since 2021, when S.B. 1 went into effect.

    In holding to the contrary, the district court relied upon the principle that “[t]he

loss of First Amendment freedoms, for even minimal periods of time,
unquestionably constitutes irreparable injury.” App.A.75 (quoting Elrod v. Burns,

427 U.S. 347, 373 (1976) (plurality op.)). But Plaintiffs’ constitutional rights are not

implicated by this common-sense regulation of mail-in ballots. After all, Plaintiffs

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have numerous ways to influence elections: They can try to persuade voters all they

want outside the presence of a ballot. What they cannot do, however, is engage in vote

harvesting “in exchange for compensation or other benefit.” Tex. Elec. Code

§ 276.015(b). As explained below, this is a regulation of conduct, not speech.

II.     The State Will Likely Succeed on the Merits.
      Because the “balance of the equities weighs heavily in favor of granting the

stay,” even a “serious legal question” is enough to require a stay. Tex. Dem. Party, 961

F.3d at 397. Here, however, the lower standard of proof is of no moment. The State

Defendants are likely to succeed on the merits because under ordinary canons of

statutes of construction, the provision easily satisfies the void-for-vagueness

standard and is a reasonable and content-neutral regulation of either conduct or the
time, place and manner of speech. And even if the Court were to disagree on all of

that, the district court’s injunction cannot be affirmed as written because it lacked

jurisdiction to issue that injunction as to the Secretary or the Attorney General.

      A. The paid-vote-harvesting ban is not unconstitutionally vague.
      Under the Fourteenth Amendment, statutes must give “‘fair notice’ of the

conduct [the] statute proscribes.” Sessions v. Dimaya, 584 U.S. 148, 155-56 (2018)

(citation omitted). “Fair notice” does not require precision, and indeed, “[m]any
perfectly constitutional statutes use imprecise terms.” Id. at 159. Due process “does

not require impossible standards” of clarity. United States v. Petrillo, 332 U.S. 1, 7

(1947). The district court gave short shrift to this principle in holding that the terms




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“compensation,” “benefit,” and “physical presence” rendered the statute

unconstitutionally vague.

    Start with “compensation,” which means “[r]emuneration and other benefits

received in return for services rendered; esp., salary or wage.” Compensation, Black’s
Law Dictionary (12th ed. 2024). An ordinary individual thus would understand that

“compensation” “consists of wages and benefits in return for services” and “is

payment for work.” Id. (quoting Kurt H. Decker & H. Thomas Felix II, Drafting and
Revising Employment Contracts §3.17, at 68 (1991)). People use “compensation” in

everyday life to mean wages and salary for work—not sharing bottled water with

volunteers when it is hot outside (which is inevitable in Texas).
    The district court erroneously found vagueness based largely on the fact that

other provisions of the Election Code use different definitions of “compensation,”

which generally refer to fees and payments. App.A.68-69. But when interpreting an
undefined term, the district court should have given the words in the vote-harvesting

ban their ordinary meaning. See Antonin Scalia & Bryan A. Garner, Reading Law: The

Interpretation of Legal Texts 69, at 195 (2012). Moreover, the district court was
required to indulge in any reasonable interpretation that avoided constitutional

infirmity. See Ostrewich v. Tatum, 72 F.4th 94, 107 (5th Cir. 2023). The district court

did the opposite when it read “compensation” broadly to include not only monetary
compensation but also meals, bus fare, and t-shirts. App.A.68.

    Next, section 276.015(1) defines a benefit as “anything reasonably regarded as a

gain or advantage, including a promise or offer of employment, a political favor, or

an official act of discretion[.]” Tex. Elec. Code §276.015(a)(1). Under the

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associated-words canon, the phrase “anything reasonably regarded as a gain or

advantage” means something like the accompanying examples of “employment,”

“political favors,” and “official acts.” See Scalia & Garner, supra. Items, like food,

water, and letters of recommendation bear no resemblance to employment, political
favors, and official acts.

    Finally, the law’s scienter requirement also removes any vagueness concerns

over “physical presence”—itself, a common term that is generally understood to
include an “in-person interaction.” See, e.g., 42 U.S.C. § 3030s(a). The district court

acknowledged that scienter can cure vagueness but observed that “knowledge that

there is a ballot in the vicinity” does not require knowledge that the person is in the
“physical presence” of a ballot. App.A.70. Even if that were true, Texas law includes

a default mens rea requirement of criminal recklessness, Tex. Penal Code §6.02(c),

meaning a paid persuader cannot be criminally liable unless he at least “consciously
disregards a substantial and unjustifiable risk” that a ballot is present, id. §6.03(c).

Merely being unsure if there is a ballot nearby falls well short of that demanding

standard.

     B. The paid-vote-harvesting ban complies with the First Amendment.
         1.   The vote-harvesting ban is not overbroad.
    The paid-vote-harvesting provision is also far from constitutionally overbroad.

Under the overbreadth doctrine, courts hold statutes “facially unconstitutional even

though [they have] lawful applications” if they “‘prohibit[] a substantial amount of

protected speech’ relative to [their] ‘plainly legitimate sweep.’” United States v.

Hansen, 599 U.S. 762, 769-70 (2023) (quoting United States v. Williams, 553 U.S.

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285, 292 (2008)). Here, despite proceeding all the way to trial, Plaintiffs have offered

nothing more than farfetched hypothetical examples of potentially chilled speech.

Yet “[t]he ‘mere fact that one can conceive of some impermissible applications of a

statute is not sufficient to render it susceptible to an overbreadth challenge.’”
Williams, 553 U.S. at 303 ((citation omitted)).

    For example, Plaintiffs’ hypotheticals include a paid canvasser unknowingly

advocating for a particular vote while a ballot is hidden somewhere in the room or
even in a voter’s purse. See, e.g., Second Amended Complaint, ECF No. 208 at ¶294

(Jan. 25, 2022) (App.B); Transcript of Bench Hearing at 1790-81 (Sept. 22, 2023)

(App.C). But such a circumstance would not satisfy the scienter requirement
discussed above. Moreover, Plaintiffs presented no actual evidence that (1) such a

scenario has ever occurred or realistically would occur, (2) prosecutors are likely to

learn it happened, or (3), having learned of such an event, a prosecutor would charge
individuals under such outlandish facts. That the law “might cover” such farfetched

circumstances does not establish constitutional overbreadth. Cf. Williams, 553 U.S.

at 292, 302-03.
    The district court fares no better by speculating that “a voter discussing his mail

ballot with a like-minded GOTV volunteer would arguably violate Section 7.04 by

offering a glass of water as a pick-me-up during a hot afternoon of door-knocking.”
App.A.56. As discussed above, water is clearly not “compensation” or a “benefit.”

Supra pp. 8-10. And, given that Plaintiffs presented no evidence prosecutors would

pursue voters for giving out water, this Court is unlikely to uphold an overbreadth

challenge based on such speculation. See Williams, 553 U.S. at 292, 302-03.

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        2. The vote-harvesting ban is a content-neutral restriction on the
           manner of narrow situations of paid election influence.
    The Court is also unlikely to hold that the injunction survives the familiar
Anderson/Burdick test—or that the vote-harvesting ban is subject to strict scrutiny

because it addresses core political speech. App.A.48-49. True, strict scrutiny

typically applies to content-based restrictions on speech. Cf. Reed v. Town of Gilbert,
576 U.S. 155, 163 (2015). But the Supreme Court has recognized that a different test

is needed in this context because elections themselves are a form of political

expression, and all “[e]lection laws will invariably impose some burden upon
individual voters.” Burdick v. Takushi, 504 U.S. 428, 433 (1992). Accordingly,

“subject[ing] every voting regulation to strict scrutiny ... would tie the hands of

States seeking to assure that elections are operated equitably and efficiently.” Id. To
avoid this problem, courts apply a “more flexible standard” to election laws. Id. at

434; see also Voting for America Inc. v. Steen, 732 F.3d 382, 385 (5th Cir. 2013)

(recognizing lower standard in canvassing restriction challenge). Under this more
flexible standard, the Anderson/Burdick test, the level of scrutiny applied depends on

the severity of the restriction. 504 U.S. at 434. Strict scrutiny applies to severe

restrictions, but “the State’s important regulatory interests are generally sufficient

to justify” other “reasonable, nondiscriminatory restrictions.” Id. Here, as a

regulation of the privilege of voting by mail, it is questionable if anything more than

a rational basis is required. See Tex. Dem. Party v. Abbott, 961 F.3d 389, 406 (5th Cir.

2020). But even if Anderson/Burdick did require a heightened level of scrutiny, the

challenged provisions here would easily pass it.



                                          12
          a. The paid-vote-harvesting ban is a content-neutral restriction—

analogous to time, place, and manner restrictions—that is subject at most to a

deferential form of intermediate scrutiny under Anderson/Burdick. Specifically, the

ban applies only where an individual is knowingly “in the physical presence” of a
ballot—an inherently narrow range of scenarios. Supra p.10. Paid persuaders

otherwise remain free to say whatever they want on behalf of whichever candidate

they please so long as a ballot is not immediately present—which will be the vast
majority of the time. In this respect, the ban functions like constitutionally

permissible bans on solicitation near polling places. See Ostrewich, 72 F.4th at 106-

07; Burson v. Freeman, 504 U.S. 191, 210 (1992). And the State has a “compelling
interest”—not just an important one—“in protecting voters from confusion and

undue influence.” Burson, 504 U.S. at 199. The risk that paid partisans will unduly

pressure voters—particularly the elderly—to fill out their ballots is especially acute
when the voter has their ballot in hand. 3 See Veasey v. Abbott, 830 F.3d 216, 239 (5th

Cir. 2016).

          b. Even if strict scrutiny applied, the vote-harvesting ban would survive

review. First, the State has a compelling interest “in protecting voters from

confusion and undue influence,” id., and “in preserving the integrity of its election

process,” Brnovich v. Democratic Nat’l Comm., 594 U.S. 647, 685 (2021). These
interests are reflected by all 50 States requiring secret ballots and limiting access to


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      It is no response that the district court was unconvinced such fraud would
occur. See, e.g., Crawford v. Marion Cnty Elec. Bd., 553 U.S. 181, 193-95 (2008)
(allowing States to enact prophylactic legislation even in the absence of fraud).

                                          13
polling places to prevent voter coercion. See Burson, 504 U.S. at 206. The same

concerns that justify protecting in-person voters apply even more forcefully to mail-

in voters, whose ballots are, by definition, “completed far from any government

office or employee.” Vote.Org v. Callanen, 89 F.4th 459, 489 (5th Cir. 2023); see also
Brnovich, 594 U.S. at 685-86. Second, the statute is narrowly tailored as it restricts

paid persuaders from advocating while physically in the presence of a ballot—a

moment when the risk of pressure is highest. Veasey, 830 F.3d at 239. And “[l]imiting
the classes of persons who may handle early ballots to those less likely to have ulterior

motives” furthers the State’s compelling interests. Id. That is, if every State can

shield in-person voting from pressure by paid persuaders, surely Texas can extend
the same protection to voters who fill out their ballots elsewhere.

          c. The district court improperly relied on campaign finance caselaw to

conclude that any use money in an election context is inherently protected speech.
See App.A.52. Such cases, however, deal with limits on how much people can spend

on advocating for their preferred candidates—not on which services such money can

be spent. See Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 339 (2010);
Buckley v. Valeo, 424 U.S. 1, 19 (1976) (per curiam). This distinction makes all the

difference. No one would read those cases to authorize, for example, buying votes

merely because money is used—a practice that all would surely agree is anathema to
our democratic process. They similarly say nothing about the only conduct barred by

Texas’s vote-harvesting ban: The use of paid service providers either to collect

completed ballots or influence voters in the presence of the physical ballots. See Tex.



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Elec. Code § 276.015. Therefore, the vote-harvesting ban complies with the First

Amendment, and the district court erred in holding otherwise.

    C. The district court lacked jurisdiction to enjoin the Attorney
       General and Secretary.
    Even if the Court were to conclude that some portion of the injunction could be

stayed (and it should not), a stay would still be appropriate because the injunction as
written cannot be affirmed. Because Texas’s Attorney General and Secretary of State

do not enforce this criminal statute, they are immune from suit.

        1.   The Attorney General and Secretary have sovereign immunity.
    Because of sovereign immunity, “individuals may not sue a state” unless (1)

“Congress abrogates state sovereign immunity through the Fourteenth

Amendment,” (2) “the state itself consents to suit,” or (3) “a state actor enforces

an unconstitutional law.” Russell v. Jones, 49 F.4th 507, 512 (5th Cir. 2022) (citation
omitted). Of course, the Ex parte Young doctrine provides a limited exception to this

rule “where a state actor enforces an unconstitutional law.” Id. (citing Ex parte

Young, 209 U.S. 123, 160 (1908)). But for the doctrine to apply, “state officials must

have some connection to the state law’s enforcement” and “have taken some step

to enforce” it. Tex. Democratic Party, 961 F.3d at 400-01 (cleaned up). The district

court cited two possible ways the defendants might enforce the vote-harvesting

provision. Neither is sufficient because neither involves “compelling” or

“constraining” anyone to comply with the Election Code. Mi Familia Vota v. Ogg,

105 F.4th 313, 332 (5th Cir. 2024).




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    First, the district court asserted that the Attorney General must investigate

certain election crimes, may investigate other crimes (including at the instigation of

the Secretary), and is “likely” to investigate vote-harvesting crimes specifically.

App.A.31-32. But this Court has already stated—with respect to this very statute—
that “investigations” are not “enforcement” and will not bring a state official within

the scope of Ex parte Young. See Mi Familia Vota, 105 F.4th at 331; see also id. at 1332

(“Furthermore, to the extent the Plaintiffs argue Ogg’s ability to investigate election
code violations compels or constrains their conduct, that power does not rise to the

level of compulsion or constraint needed.”).

    Second, the district court then noted that the Attorney General and Secretary
have (1) enforced and referred for investigation, respectively, election laws in the

past and (2) not disavowed an intent to do so in the future. App.A.32-33. Yet the

Secretary’s role is largely administrative and informational—not prosecutorial. See,
e.g., Richardson v. Flores, 28 F.4th 649, 654 (5th Cir. 2022) (discussing, inter alia, Tex.

Dem. Party, 978 F.3d at 179). And her investigation referrals are not enforcement

actions. See Mi Familia Vota, 105 F.4th at 332.
    Moreover, the Texas Court of Criminal Appeals struck down the Election Code

statute purporting to give the Attorney General such authority. See Ostrewich, 72

F.4th at 101 (citing State v. Stephens, 663 S.W.3d 45, 57 (Tex. Crim. App. 2021)). 4

And this Court has already rejected the district court’s suggestion (at App.A.42-44)

that “[s]peculation that [the Attorney General] might be asked by a local prosecutor

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     While the State maintains that Stephens was wrongly decided, Stephens is
nonetheless binding on this Court.

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to ‘assist’ in enforcing” criminal laws is sufficient “to support an Ex parte Young

action.” In re Abbott, 956 F.3d 696, 709 (5th Cir. 2020) (citation omitted). Indeed,

so long as Stephens is the law, “the Attorney General and Secretary of State” have

no authority “to exercise undue influence over [a district court’s exclusive]
prosecutorial discretion.” Mi Familia Vota, 105 F.4th at 331.

        2. The Plaintiffs lack standing.
    Such speculation is also insufficient to establish standing. Under Article III,

Plaintiffs have standing only if they have suffered an injury in fact that is “fairly
traceable to the defendant’s allegedly unlawful conduct and likely to be redressed by

the requested relief.” California v. Texas, 593 U.S. 659, 668-69 (2021). Plaintiffs

must also show that their alleged self-censorship arises from a fear of prosecution

that is not “imaginary or wholly speculative.” Babbitt v. United Farm Workers Nat’l

Union, 442 U.S. 289, 302 (1979). A fear of prosecution is “imaginary or speculative”

where plaintiffs “do not claim that they have ever been threatened with prosecution,

that a prosecution is likely, or even that a prosecution is remotely possible.” Id. at

289-99 (citation omitted). For the reasons discussed above, plaintiffs have shown no

such reasonable fear of prosecution for protected conduct. Supra pp. 15-16. 5

    5
      The district court’s reliance on 303 Creative LLC v. Elenis, 600 U.S. 570
(2023), is misplaced. App.A.42. Plaintiffs fail to show they face the daunting threat
that the plaintiff did in 303 Creative. See 600 U.S. at 580 (plaintiff was required to
“show ‘a credible threat’ existed that [the State] would, in fact, seek to compel
speech from her that she did not wish to produce.” (citation omitted)). Indeed, that
plaintiff pointed to a recent, concrete example of a prosecution under similar
circumstances, id. at 581-82, whereas Plaintiffs here lack such real-world evidence.
Furthermore, at issue here is primarily organizational standing, which the Supreme


                                         17
       To prove traceability, Plaintiffs also must show that the Attorney General’s and

Secretary’s “actual or threatened enforcement” of the vote-harvesting ban caused

Plaintiffs’ alleged injury—here, chilling of their paid vote harvesting. California, 593

U.S. at 669-70. The Article III standing and Ex parte Young analyses for enforcement
“significantly overlap.” City of Austin v. Paxton, 943 F.3d 993, 1002 (5th Cir. 2019)

(citation omitted). Plaintiffs lack standing for the same reason that they fall outside

the scope of Ex parte Young: Neither the Secretary nor the Attorney General enforces
the paid-vote-harvesting ban.

III.     The Court Should Enter a Temporary Administrative Stay.
       For the reasons set out above, Appellants are entitled to a stay pending appeal.

Appellants request that the Court enter an order granting a stay as soon as
possible—given that ballots have already been mailed—and by no later than

October 10, 2024. In the alternative to ruling on the stay motion by that time,

Appellants request that the Court immediately enter an administrative stay while it
considers this motion. Such stays “freeze legal proceedings until the court can rule

on a party’s request for expedited relief.” United States v. Texas, 144 S.Ct. 797, 798

(2024) (Barrett, J., concurring in denial of application to vacate stay) (citation
omitted). They are a common “docket-management” tool and “do not typically

reflect the court’s consideration of the merits of the stay application.” Id.



Court significantly curtailed in FDA v. Alliance for Hippocratic Medicine, 602 U.S. 367
(2024). And the district court’s nod towards associational standing (at App.A.45
n.32) ignored that for a facial claim, individualized member discovery is now all but
essential under Moody v. NetChoice, LLC, 144 S.Ct. 2383 (2024).

                                           18
    Such stays are routine where activities in the district court or events outside the

court are moving so quickly that even a reasoned stay pending appeal may prove too

late. BST Holdings, L.L.C. v. OSHA, No. 21-60845, 2021 WL 5166656, at *1 (5th

Cir. Nov. 6, 2021) (per curiam) Richardson v. Tex. Sec’y of State, 978 F.3d 220, 227-
28 (5th Cir. 2020); M.D. ex rel. Stukenberg v. Abbott, No. 18-40057, ECF 12 (5th Cir.

Jan. 19, 2018). Indeed, it has done so in an earlier appeal involving a different order

from the same judge addressing a different provision of the same statute—there too

issued in the middle of an ongoing election. See App.D & App.E.

    Here, an administrative stay would be, in the parlance of the All Writs Act,

“necessary or appropriate in aid of” this Court’s collateral-order jurisdiction. See 28
U.S.C. § 1651(a). As noted above, because voting has already started, time is of the

essence. At the same time, this case involves multiple constitutional issues and an

extensive record, including a trial that spanned six weeks—and about which the
district court has been contemplating findings of fact and conclusions of law for more

than six months. An administrative stay would preserve the status quo long enough

to allow the Court to adequately consider whether a full stay pending appeal is

appropriate before Texas’s ongoing election is further disrupted. See Veasey v.

Abbott, 870 F.3d 387, 392 (5th Cir. 2017) (per curiam) (holding that “a temporary

stay is appropriate to ‘suspend[] judicial alteration of the status quo.’”).




                                          19
                                Conclusion
    The Court should enter a stay pending appeal of the district court’s order and

permanent injunction by October 10, 2024. Additionally, or alternatively, the Court

should immediately enter a temporary administrative stay while it considers this

motion.

                                             Respectfully submitted.


  Ken Paxton                                 Aaron L. Nielson
  Attorney General of Texas                  Solicitor General

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                                        20
       Certificate of Compliance with Rule 27.3

    I certify the following in compliance with Fifth Circuit Rule 27.3:

       • Before filing this Motion, counsel for Appellants contacted the Clerk’s
         Office and opposing counsel to advise them of the intent to file this
         Motion. Counsel for Appellant also made telephone calls to the Clerk’s
         Office before filing this Motion.

       • The facts stated herein supporting emergency consideration of this
         motion are true and complete.

       • The Court’s review of this motion is requested as soon as possible, but no
         later than October 10, 2024. In addition, or alternatively, Appellant
         respectfully requests an immediate administrative stay while the Court
         considers this motion.

       • True and correct copies of relevant orders and other documents are
         attached as an appendix to this motion.

       • This motion is being served at the same time it is being filed.


                                       /s/ Lanora C. Pettit
                                       Lanora C. Pettit


                   Certificate of Conference
    On October 3, 2024, counsel for State Defendants-Appellants conferred with

counsel for all Plaintiffs-Appellees, who indicated they are all opposed to this

motion. The filing of this motion was also preceded by telephone calls to the Clerk’s

Office on October 3, 2024, advising of the intent to file the emergency motion.

                                       /s/ Lanora C. Pettit
                                       Lanora C. Pettit




                                         21
                      Certificate of Service
    On October 3, 2024, this document was served via CM/ECF on all registered

counsel and transmitted to the Clerk of the Court. Counsel further certifies that:

(1) any required privacy redactions have been made in compliance with Fifth Circuit

Rule 25.2.13; (2) the electronic submission is an exact copy of the paper document
in compliance with Fifth Circuit Rule 25.2.1; and (3) the document has been scanned

with the most recent version of Symantec Endpoint Protection and is free of viruses.


                                      /s/ Lanora C. Pettit
                                      Lanora C. Pettit

                   Certificate of Compliance
    This motion complies with: (1) the type-volume limitation of Federal Rule of

Appellate Procedure 27(d)(2)(A) because it contains 5,240 words, excluding the

parts of the motion exempted by rule; and (2) the typeface requirements of Rule

32(a)(5) and the type style requirements of Rule 32(a)(6) because it has been

prepared in a proportionally spaced typeface (14-point Equity) using Microsoft

Word (the same program used to calculate the word count).


                                      /s/ Lanora C. Pettit
                                      Lanora C. Pettit




                                        22
                                          Appendix

Findings of Fact & Conclusions of Law, ECF No. 1157 (Sept. 28, 2024) .......App. A
Second Amended Complaint, ECF No. 208 (Jan. 25, 2022) .......................... App. B
Transcript of Bench Hearing (Sept. 22, 2023) ................................................App. C
Unpublished Order, United States of America, et al. v. Ken Paxton, et al.,
  No. 50885 (5th Cir. Dec. 6, 2023) ............................................................. App. D
Order Granting Stay Pending Appeal, United States of America, et al. v.
  Ken Paxton, et al., No. 50885 (5th Cir. Dec. 15, 2023) ............................... App. E
Order Denying Motion for Stay, ECF No. 1161 (Oct. 1, 2024)....................... App. F
Appendix A
      Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 1 of 78




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION


 LA UNIÓN DEL PUEBLO ENTERO, et al.,   §
              Plaintiffs,              §
                                       §
 v.                                    §          5:21-CV-0844-XR
                                       §         [Consolidated Cases]
 GREGORY W. ABBOTT, et al.,            §
            Defendants.                §




           FINDINGS OF FACT AND CONCLUSIONS OF LAW
(OVERBREADTH, VAGUENESS, AND FREE SPEECH CHALLENGES TO S.B. 1 § 7.04)
            Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 2 of 78




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 3
PROCEDURAL HISTORY ............................................................................................................ 5
FINDINGS OF FACT ..................................................................................................................... 7
  THE CANVASSING RESTRICTION........................................................................................ 7
  THE PARTIES ............................................................................................................................ 8
      The OCA Plaintiffs.............................................................................................................. 9
         OCA-Greater Houston .................................................................................................... 9
         League of Women Voters of Texas................................................................................ 11
      The LULAC Plaintiffs ...................................................................................................... 12
         League of United Latin American Citizens .................................................................. 12
         Texas AFT ..................................................................................................................... 13
         Texas Alliance for Retired Americans .......................................................................... 14
      The LUPE Plaintiffs .......................................................................................................... 15
         La Union Del Pueblo Entero ......................................................................................... 15
         Mexican American Bar Association of Texas ............................................................... 16
    Defendants ............................................................................................................................ 16
      The Texas Attorney General ............................................................................................. 17
      The Texas Secretary of State ............................................................................................. 19
      The County DAs ............................................................................................................... 20
  IMPACT OF THE CANVASSING RESTRICTION ................................................................ 21
    There is widespread confusion about how to interpret the Canvassing Restriction ............. 21
      Confusion about the meaning of “compensation or other benefit”................................... 22
      Confusion about the meaning of “physical presence” ...................................................... 23
      Confusion about canvassers’ ability to provide voting assistance .................................... 23
    The Canvassing Restriction has chilled Plaintiffs’ in-person interactions with voters ......... 24
CONCLUSIONS OF LAW........................................................................................................... 27
  SUBJECT MATTER JURISDICTION..................................................................................... 27
    Plaintiff’s Claims fall within the Ex parte Young Exception to Sovereign Immunity .......... 27
    Plaintiffs have Standing to Challenge the Canvassing Restriction ....................................... 34
  PLAINTIFFS’ CONSTITUTIONAL CHALLENGES............................................................. 45
    The Canvassing Restriction is Facially Overbroad ............................................................... 53
    The Canvassing Restriction is Unconstitutionally Vague ..................................................... 66
    The Canvassing Restriction is Unconstitutional as applied to Plaintiffs’ Speech................. 72
  PERMANENT INJUNCTION OF THE CANVASSING RESTRICTION ............................. 74
CONCLUSION ............................................................................................................................. 77




                                                                      2
          Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 3 of 78




                                               INTRODUCTION

         On September 7, 2021, Texas Governor Greg Abbott signed into law the Election

Protection and Integrity Act of 2021, an omnibus election law commonly referred to as “S.B. 1.”

See Election Integrity Protection Act of 2021, S.B. 1, 87th Leg., 2d Spec. Sess. (2021).

         Premised on the state legislature’s authority to make all laws necessary to detect and punish

fraud under article VI, section 4 of the Texas Constitution, S.B. 1 amended the Texas Election

Code to, among other things, prohibit compensated canvassers from engaging in voter advocacy

in the presence of a mail-in ballot (the “Canvassing Restriction”). 1 See S.B. 1 § 7.04 (JEX 1 at 59–

60), codified at TEX. ELEC. CODE (“TEC” or the “Election Code”) § 276.015. 2

         Several private plaintiffs filed lawsuits, challenging certain provisions of S.B. 1 as

unconstitutional and otherwise unlawful under federal voter-protection statutes. For judicial

economy, these were consolidated under the above-captioned case, which was first filed. 3




1
  While Section 7.04 of S.B. 1 sets out a ban on “vote harvesting,” see TEC § 276.015, Plaintiffs generally refer to the
provision as a “ban on in-person canvassing” or “voter interaction ban.” See, e.g., ECF No. 848 ¶ 97; ECF No. 849 ¶
296. In the Court’s view, all three characterizations are misleading in multiple respects. Regardless of how the term
is defined in the Election Code, Section 7.04’s proscriptions reach conduct well beyond any common understanding
of “vote harvesting.” On the other hand, the provision does not ban canvassers from interacting with voters
altogether—it prohibits compensated interactions in the presence of a mail ballot. In an effort to describe Section
7.04’s scope more accurately and impartially, the Court refers to the challenged provisions as the “Canvassing
Restriction” throughout this order.
2
  Section 7.04 of S.B. 1 also added TEC provisions addressing the solicitation of applications to vote by mail (TEC §
276.016), the distribution of early voting ballots and balloting materials (TEC § 276.017), and unauthorized alterations
to election procedures (TEC § 276.019). For the purposes of this order, however, “Section 7.04” refers only to the
Canvassing Restriction, codified at TEC § 276.015.
3
 See ECF No. 31 (consolidating OCA-Greater Houston v. Esparza, No. 1:21-cv-780 (W.D. Tex. 2021); Houston Area
Urban League v. Abbott, No. 5:21- cv-848 (W.D. Tex. 2021); LULAC Texas v. Esparza, No. 1:21-cv-786 (W.D. Tex.
2021) and Mi Familia Vota v. Abbott, No. 5: 21-cv-920 (W.D. Tex. 2021) under the lead case.



                                                           3
          Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 4 of 78




        Three Plaintiffs groups—the OCA Plaintiffs, 4 the LULAC Plaintiffs, 5 and the LUPE

Plaintiffs 6—assert that Section 7.04’s Canvassing Restriction is overbroad, unconstitutionally

vague, and burdens their core political speech. See Tr. at 230:14–17, 232:24–233:1, 234:23–235:4.

Following a six-week bench trial, the Court agrees.

        After careful consideration, the Court issues the following findings of fact and conclusions

of law pursuant to FED. R. CIV. P. 52(a) bearing on Plaintiffs’ claims under 42 U.S.C. § 1983 that

the Canvassing Restriction, codified at TEC § 276.015, violates the First and Fourteenth

Amendments of the United States Constitution.




4
  For the purposes of the OCA Plaintiffs’ free speech and due process challenges to the Canvassing Restriction, this
group includes OCA-Greater Houston and the League of Women Voters of Texas. See ECF No. 200 (OCA Compl.)
¶¶ 214–25 (free speech claim), ¶¶ 226–39 (due process claim); Text Order dated Apr. 14, 2022 (granting Texas
Organizing Project’s withdrawal from the case); ECF No. 551 (granting Workers Defense Action Fund’s withdrawal
from the case and dismissing its claims with prejudice).
5
 This group includes LULAC Texas, Texas Alliance for Retired Americans, Texas AFT, and Voto Latino. See ECF
No. 207 (LULAC Compl.) ¶¶ 273–86 (free speech claim).
This group includes La Unión del Pueblo Entero, the Mexican American Bar Association of Texas, the Southwest
6

Voter Registration Education Project, Texas Hispanics Organized for Political Education, Jolt Action, the William C.
Velasquez Institute, FIEL Houston Inc., Friendship-West Baptist Church, Texas Impact, and James Lewin. See ECF
No. 208 (LUPE Compl.) ¶¶ 286–300 (free speech and due process claims).



                                                         4
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 5 of 78




                                      PROCEDURAL HISTORY

        Plaintiffs filed their original complaints in August and September 2021, seeking to enjoin

the Secretary of State and Attorney General of the State of Texas (together, the “State Defendants”)

and local election officials from enforcing many provisions of S.B. 1, including provisions that

(like the Canvassing Restriction) impose criminal liability.

        In December 2021, the Texas Court of Criminal Appeals held in State v. Stephens that the

Election Code’s delegation of unilateral prosecutorial authority to the Attorney General to

prosecute election crimes violated the separation-of-powers clause of the Texas Constitution. 663

S.W.3d 45 (Tex. Crim. App. 2021). The court explained that the Texas Constitution assigns to

county and district attorneys, as members of the judicial branch, the “specific duty” to represent

the state in criminal prosecutions. Id. at 52. The Attorney General, as part of the state’s executive

branch, has no similar, independent power under the Texas Constitution. Thus, the Attorney

General can prosecute election crimes only with the consent of local prosecutors. Id. at 47.

        Following Stephens, Plaintiffs amended their complaints to join local district attorneys

from several Texas counties as Defendants. 7 The State Defendants moved to dismiss these

complaints in their entirety, including Plaintiffs’ free speech and due process challenges to the

Canvassing Restriction. The Court denied the motions as to those challenges in August 2022,

concluding that Plaintiffs had adequately alleged standing to challenge the Section 7.04 and that

their claims against the State Defendants fell within the Ex parte Young exception to sovereign

immunity. 8



7
 Plaintiffs’ Second Amended Complaints (“SACs”), filed in January 2022, are the operative pleadings. ECF Nos.
199, 200, 207, 208.
8
 See La Union del Pueblo Entero v. Abbott, 614 F. Supp. 3d 509 [LULAC], 618 F. Supp. 3d 388 [OCA], 618 F. Supp.
3d 504 [LUPE] (W.D. Tex. 2022).



                                                      5
          Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 6 of 78




         In May 2023, the State Defendants joined in a motion for summary judgment filed by a

group of Republican committees that intervened in this case as Defendants (the “Intervenor-

Defendants”), 9 arguing that Plaintiffs’ pre-enforcement free speech and vagueness claims were

premature and otherwise meritless because the Canvassing Restriction did not impose a “severe”

burden on protected speech and was intended to protect voters from confusion and undue

influence. See ECF No. 608 at 29–34. The Court carried the motion with the case and addresses

those arguments herein to the extent that they were not disposed in the Court’s orders on the State

Defendant’s motions to dismiss.

         The Court held a bench trial from September 11, 2023 to October 20, 2023. In all, the

parties presented about 80 witnesses (both live and by deposition testimony), nearly 1,000 exhibits,

producing over 5,000 pages of trial transcripts. The Court heard testimony from voters, Plaintiffs’

organizational representatives and volunteers, former and current state and local officials, and

expert witnesses.

         The parties submitted proposed findings of fact and conclusions of law in January 2024, 10

and presented closing arguments on February 13, 2024. 11




9
  The Intervenor-Defendants include the Harris County Republican Party, the Dallas County Republican Party, the
Republican National Committee, the National Republican Senatorial Committee, and the National Republican
Congressional Committee.
10
   See, e.g., ECF No. 848 (OCA); ECF No. 849 (LULAC); ECF Nos. 854, 855 (LUPE); ECF No. 843-1 (Dallas County
District Attorney); ECF Nos. 861, 862 (State Defendants). The State Defendants filed their proposed findings of fact
and conclusions of law jointly with the Intervenor-Defendants. See ECF Nos. 861, 862. In light of the joint
submissions, the Court has no need to address the Intervenor-Defendants separately in this order and will attribute the
filings and arguments therein to the State Defendants.
11
   At the Court’s request, the parties also submitted supplemental briefing addressing the impact of the Supreme
Court’s recent decision in supplemental briefing addressing the impact of the Supreme Court’s recent decision in FDA
v. All. for Hippocratic Med., 602 U.S. 367 (2024), on Plaintiffs’ standing. See ECF Nos. 1138, 1140, 1142–45.



                                                          6
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 7 of 78




                                      FINDINGS OF FACT

THE CANVASSING RESTRICTION

       1.      Section 7.04 of S.B. 1 creates three new, third-degree felonies under the Election

Code, each imposing up to ten years in prison and a fine of up to $10,000 on anyone who gives,

offers, or receives some “compensation or other benefit” for “vote harvesting services.” TEC §

276.015(f); TEX. PENAL CODE § 12.34.

       2.      “Vote harvesting services” include any “in-person interaction with one or more

voters, in the physical presence of an official ballot or a ballot voted by mail, intended to deliver

votes for a specific candidate or measure.” TEC § 276.015(a)(2).

       3.      A “benefit” is “anything reasonably regarded as a gain or advantage, including a

promise or offer of employment, a political favor, or an official act of discretion, whether to a

person or another party whose welfare is of interest to the person.” TEC § 276.015(a)(1).

       4.      Using these definitions, Section 7.04 creates three third-degree felonies:

            (b) A person commits an offense if the person, directly or through a third
            party, knowingly provides or offers to provide vote harvesting services in
            exchange for compensation or other benefit.

            (c) A person commits an offense if the person, directly or through a third
            party, knowingly provides or offers to provide compensation or other
            benefit to another person in exchange for vote harvesting services.

            (d) A person commits an offense if the person knowingly collects or
            possesses a mail ballot or official carrier envelope in connection with vote
            harvesting services.

TEC §§ 276.015(b)–(d).

       5.      The Canvassing Restriction contains a number of exceptions. It “does not apply”

to:

             (1)   an activity not performed in exchange for compensation or a benefit;




                                                 7
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 8 of 78




             (2)    interactions that do not occur in the presence of the ballot or during
                    the voting process;

             (3)    interactions that do not directly involve an official ballot or ballot
                    by mail;

             (4)    interactions that are not conducted in-person with a voter; or

             (5)    activity that is not designed to deliver votes for or against a specific
                    candidate or measure.

TEC § 276.015(e).

THE PARTIES

The Plaintiffs

       6.        Plaintiffs are membership-driven, non-partisan civil rights and social advocacy

groups in Texas that regularly conduct in-person voter outreach and engagement activities. Despite

the diversity of their respective missions in the state—e.g., encouraging civic participation,

supporting K-12 public school employees, advocating for the interest of senior citizens, improving

infrastructure in the colonias—the Plaintiff organizations rely on in-person voter advocacy to

advance their causes.

       7.        All Plaintiffs have endorsed ballot measures (and some have supported candidates)

aligned with their organizational missions in the past and deployed staff, independent contractors

and volunteers to engage with voters in person to increase turnout and electoral support for their

preferred measure or candidate. These voter engagement efforts include neighborhood door-

knocking campaigns, voter registration drives, candidate forums, town hall meetings, tabling at

community events, and exit-polling. Plaintiffs’ staff and volunteers have also regularly helped

voters with disabilities and/or voters with limited English proficiency (“LEP”), including voters

who vote by mail.




                                                   8
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 9 of 78




       8.      Plaintiffs’ volunteers often receive refreshments, t-shirts, pens, gas cards, and other

tokens of appreciation for their canvassing and assistance efforts.

       9.      Plaintiffs’ voter engagement activities generally occur in the weeks before elections

(when they are most effective), when voters are likely to have received their mail ballots. During

some outreach events, voters have taken out their mail ballots while speaking with Plaintiffs’

organizers to ask questions about their ballots or request voting assistance.

       10.     Plaintiffs fear that the Canvassing Restriction will subject their organizations, staff,

and volunteers—and even voters—to criminal liability for engaging in ordinary and routine in-

person interactions with voters.

       The OCA Plaintiffs

               OCA-Greater Houston

       11.     Plaintiff OCA-Greater Houston (“OCA”) is a membership-driven organization

dedicated to advancing the social, political, and economic well-being of Americans of Asian and

Pacific Island descent (“AAPIs”), largely in Harris, Brazoria, and Fort Bend counties. Tr. at

1684:8–12, 1685:1–3, 1686:16–17, 1688:10–14. The organization has nearly 200 dues-paying

members who serve on and elect the organization’s board, and hundreds of volunteer members. Tr.

at 1686:19–1687:7, 1688:7–9.

       12.     The organization’s mission comprises four main goals: (1) advocate for social

justice, equal opportunity, and fair treatment; (2) promote civic participation, education, and

leadership; (3) advance coalition and community building; and (4) foster cultural heritage. Tr. at

1689:6–13.




                                                  9
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 10 of 78




       13.     In support of this mission, OCA has endorsed and advocated for ballot measures at

in-person events and while conducting door-to-door canvassing and is likely to do so in the future.

Tr. at 1711:8–19, 1712:17–1713:11, 1726:8–14.

       14.     Before S.B. 1 was enacted, OCA regularly hosted election events attended by

hundreds of people, including in-person candidate forums (Tr. at 1694:21–1696:8), “AAPI meet-

and-greets” with AAPI political candidates (Tr. at 1699:24–1702:2), and voting machine

demonstrations (Tr. at 1706:12–1707:3). Attendees often brought their mail-in ballots to these

events and received assistance, including language assistance, from OCA volunteers and staff. Tr.

at 1696:9–1697:8, 1697:22–1699:7 (candidate forums); Tr. at 1700:1–1702:2 (meet-and-greets),

Tr. at 1706:12–1707:3 (voting machine demonstrations).

       15.     OCA also engaged in canvassing efforts through volunteers and staff, who knocked

on voters’ doors to provide information about voting. Tr. at 1702:3–17. As they were door-

knocking, some bilingual OCA canvassers assisted voters who requested language assistance with

their mail-in ballots. Tr. at 1703:17–20.

       16.     In addition to candidate forums, meet-and-greets, and canvassing, OCA conducts

exit-polling at polling locations, where voters also requested (and received) assistance with their

mail-ballots from OCA staff and volunteers. Tr. at 1706:4–11, 1723:6–13.

       17.     OCA’s voting-related activities are carried out by volunteers and paid staff, all of

whom are OCA members. Tr. at 1687:22–1688:6, 1693:21–25. OCA’s standard practice is to

provide staff, volunteers, and attendees with refreshments during voting-related activities. Tr. at

1694:11–20. OCA provides its members and volunteers with benefits like food and beverages at

in-person events where they provided voting assistance to LEP voters. Tr. at 1694:4–20, 1697:22–




                                                10
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 11 of 78




25. Similarly, OCA provides canvassers with benefits like Gatorade and water “to canvass in the

Texas heat of a hundred degrees or more” to help them stay hydrated. Tr. at 1718:1–5.

               League of Women Voters of Texas

       18.     The League of Women Voters of Texas (“LWV” or the “League”) is a non-partisan

organization founded in San Antonio in 1919 with over 3,000 dues-paying members, including

members in Harris and Travis Counties. Tr. at 1580:1–4, 1585:18–22, 1586:7–19, 1587:19–21.

       19.     The League’s mission is to empower voters and defend democracy. Tr. at 1580:1–

4. The League actively works to register eligible citizens to vote, ensure that voters’ ballots count,

help voters obtain mail-in ballots, vote by mail, and obtain voter assistance when needed. Tr. at

1580:1–8, 1581:9–18, 1589:12–15, 1589:25–1590:3.

       20.     The League educates its members and Texas voters about the voting process

through resources it creates, like the League’s voter’s guide, get out the vote (“GOTV”) events for

every election, and voter education materials on the League’s social media, videos, and website.

Tr. at 1583:22–1584:16, 1606:23–1608:10.

       21.     The League does not endorse specific candidates, Tr. at 1595:18–20, but has

supported ballot measures in the past, Tr. at 1600:17–25.

       22.     The League hosts in-person election events across Texas that are open to the public,

including candidate forums and discussions of proposed ballot measures and constitutional

amendments. Tr. at 1599:3–9. The League does not ask whether voters have their mail ballots in

their possession, Tr. at 1600:6–16, but it is likely that some voters will bring their ballots to such

events. These events almost always occur when mail-ballots have been sent out because “that’s

when people are most interested in learning about candidates and what’s on the ballot.” Tr. at

1599:17–21.




                                                 11
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 12 of 78




        23.     Volunteers at the League’s in-person outreach events often receive token gifts for

their efforts, including pens, stickers, refreshments, free parking, and certificates of participation

or letters of recommendation. Tr. at 1598:6–22, 1601:18–1602:1.

        The LULAC Plaintiffs

                League of United Latin American Citizens

        24.     The League of United Latin American Citizens (“LULAC”) is a national Latino

civil rights organization founded in 1929 in Corpus Christi, Texas. Tr. at 1632:9–11. 12 The group

has approximately 4,000 to 5,000 dues-paying members within Texas, as well roughly 80,000 to

90,000 “eMembers” in the state. There are 30 to 40 LULAC councils in Texas, including in Dallas,

San Antonio, Houston, and El Paso. Tr. at 1634:6–20, 1637:3–7.

        25.     LULAC’s mission is “to improve the lives of Latino families throughout the United

States” and “to protect their civil rights in all aspects.” Tr. at 1633:10–18. Promoting the right to

vote is “crucial” to LULAC’s mission because when Latinos are “allowed to vote, they are able to

choose candidates of their choice” who “will stand and work on issues that are important to them.”

Tr. at 1645:4–15.

        26.     LULAC has volunteers that engage in voter registration and GOTV efforts every

year. Tr. at 1645:23–1646:5. These efforts often focus on community members who face greater

challenges when voting, including elderly Latinos and those who do not speak or write English.

Tr. at 1649:7–24. Accordingly, LULAC has historically run a voter assistance program for seniors,

including many who are not literate or have physical disabilities. Tr. at 1654:20–1655:5.




12
  LULAC has approximately 4,000 to 5,000 dues-paying members within Texas, as well roughly 80,000 to 90,000
“eMembers” in the state. Tr. at 1637:3–7. There are 30 to 40 LULAC Councils in Texas, including in Dallas, San
Antonio, Houston, and El Paso. Tr. at 1634:6–20, 1637:3–7.



                                                     12
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 13 of 78




       27.     LULAC’s members and volunteers who participate in these GOTV and voter

assistance efforts often receive food and drink, gas credit, or other tokens of appreciation for their

efforts. Tr. at 1655:19–1656:10, 1656:11–18.

               Texas AFT

       28.     Texas AFT (“AFT”) is a 501(c)(5) designated labor union representing K-12 public

school employees and higher education employees in Texas, Tr. at 920:16–20, with about 66,000

members across the state. Tr. at 920:16–20.

       29.     AFT’s mission is to advocate for increased funding for public schools, for

programming that treats children as holistic individuals and seeks to remove external barriers to

receiving a high-quality education, and for capping class sizes at a reasonable number so that all

students get appropriate attention from their teacher. Tr. at 922:2–22. To advance its mission, AFT

also participates in the political process by regularly engaging with its membership about the

candidates and issues that best align with the organization’s values. Tr. at 923:2–15.

       30.     Prior to S.B. 1, AFT’s primary way of communicating with its members about

advocacy issues and endorsed candidates was door-knocking. Tr. at 924:13–20. AFT members

would typically knock on the doors of fellow union members, introduce themselves, and then

discuss the issues and candidates that the organization was endorsing and why. Tr. at 926:5–10.

       31.     While these conversations between members and AFT block-walkers would unfold,

members would sometimes have their ballots with them, either because they were home and had

questions about how to fill them out or because they were gathering with other members to fill out

their ballots as a group. Tr. at 927:21–23.




                                                 13
       Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 14 of 78




       32.     Some of the members who would engage in this type of door knocking or “block-

walking” for AFT are paid staff members. Tr. at 929:6–930:5. Others are volunteers who would

receive benefits such gas and meal cards in exchange for their work. Tr. at 929:6–24.

               Texas Alliance for Retired Americans

       33.     Texas Alliance for Retired Americans (“TARA”) is the Texas state member of the

National Alliance for Retired Americans, an organization with 4.5 million members that works on

issues that affect seniors and retirees. Tr. at 1761:4–10. TARA itself has chapters throughout Texas,

including in Dallas, Fort Worth, Austin, Houston, San Antonio, Corpus Christi, Beaumont, and

Port Arthur. Tr. at 1761:14–18.

       34.     TARA educates and mobilizes its members and volunteers around issues impacting

seniors, including the government pension offset for social security and the expansion of Medicaid

within Texas. Tr. at 1762:8–19. TARA is non-partisan organization, but it does engage in issue

advocacy and endorses local and state candidates based on their positions on issues relevant to

TARA. Tr. at 1764:3–10. It also advocates for or against ballot measures impacting TARA’s areas

of concern. Tr. at 1764:3–10.

       35.     To advance its views on these issues, TARA hosts monthly chapter meetings across

Texas with members. Tr. at 1762:20–1763:4. TARA holds rallies and community events to promote

its views, and also uses social media and email to educate its members and the public. Tr. at

1762:20–1763:4.

       36.     TARA’s voter advocacy relies primarily on the efforts of its sole paid field

organizer, Judy Bryant, who testified on behalf of TARA at trial. Tr. at 1763:16–18.




                                                 14
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 15 of 78




       The LUPE Plaintiffs

               La Union Del Pueblo Entero

       37.     La Union Del Pueblo Entero (“LUPE”) is a non-partisan, membership organization

headquartered in San Juan, Texas, with members primarily in Hidalgo, Cameron, Willacy, and

Starr Counties, Texas. Tr. at 58:13–16.

       38.     LUPE organizes its approximately 8,000 members and other colonia residents on

issues that affect low-income neighborhoods, including drainage, lighting, paved roads, safety,

emergency services, trash pickup, among others. Tr. at 88:8–24.

       39.     In recent years, LUPE’s primary organizing focus has been civic engagement and

educating voters about their right to vote. Tr. at 60:10–61:2. LUPE relies on paid staff members,

temporary paid canvassers, and volunteers to engage with voters in-person. Tr. at 88:1–7.

       40.     LUPE members speak to voters on issues promoted by LUPE, including urging

voters to support certain non-partisan ballot measures. Tr. at 88:1–24. LUPE has supported ballot

measures, including a drainage bond, the creation of a health care district in Hidalgo County,

increased broadband access in South Texas, Tr. at 88:8–89:18, and plans to advocate for other

ballot measures in the future. Tr. at 88:25–89:16.

       41.     LUPE staff and canvassers advocate for its support of any ballot measures in a

variety of settings, including when meeting with community members in neighborhoods, at LUPE

events, at union halls, and in the LUPE offices. Tr. at 89:7–18. Speaking to voters at their homes

is an essential part of LUPE’s activities because it ensures that hard-to-reach voters in the colonias

have the information they need to vote to improve their communities. Tr. at 3686:1–20.

       42.     While canvassing neighborhoods in support of ballot measures, LUPE organizers

have been invited into voters’ homes and asked for assistance with voters’ mail-in ballots. Tr. at




                                                 15
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 16 of 78




71:1–72:15, 75:11–75:17, 119:20–120:18. LUPE members also often bring mail ballots to

meetings at LUPE offices and union halls. Tr. at 90:4–24.

        43.      LUPE staff members and volunteers have been asked for assistance with voting by

mail and in-person at the polls by elderly and disabled voters, and have provided such assistance.

See Tr. at 145:16–20, 145:25–146:4, 150:9–13, 150:19–151:2, 157:14–158:9.

        44.      LUPE often provides its volunteers with t-shirts or gas cards, particularly because

there is little public transportation in the Rio Grande Valley. Tr. at 122:3–19.

                 Mexican American Bar Association of Texas

        45.      The Mexican American Bar Association of Texas (“MABA”) is a volunteer-based

professional membership association of Latino lawyers across Texas with approximately 500

members. Tr. at 2533:20–23, 2535:9–10.

        46.      Although MABA is non-partisan, it routinely encourages voters to support a

candidate or measure. Tr. at 2535:19, 2542:6–8.

        47.      MABA engages in voter outreach and education by tabling at local community

events, such as candidate forums. Tr. at 2535:21–2536:5. MABA members also provide voter

assistance. See, e.g., Tr. at 2539:3–4. Members are concerned that they are committing a crime if

they accept meals, gas cards, swag or other forms of compensation while performing these

activities. Tr. at 2542:6–20.

Defendants 13

        48.      Collectively, Plaintiffs have sued the Attorney General and Secretary of State of

Texas (together, the “State Defendants”), and the district attorneys of Travis County, Dallas




13
  Over the course of the litigation, several Defendants have been substituted pursuant to Federal Rule of Civil
Procedure 25(d).



                                                      16
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 17 of 78




County, and Hidalgo County, and 34th Judicial District, which includes El Paso, Culberson, and

Hudspeth Counties (collectively, the “DAs” or “County DAs”). 14

         The Texas Attorney General

         49.      Plaintiffs sue Defendant Ken Paxton in his official capacity as the Attorney General

of the State of Texas (the “AG”).

         50.      The AG has statutory duties for certain aspects of Section 7.04’s enforcement

scheme. Stephens did not alter the authority of the AG to investigate allegations of election-related

crimes, and, in some cases, the Office of the Attorney General (“OAG”) considers certain

investigative duties to be “statutorily required” or “mandatory” for election-related allegations. Tr.

at 4041:18–4042:25; see, e.g., TEC § 273.001 (providing that the AG “shall investigate”

allegations of election crimes in elections covering more than one county). The AG may also

“direct the county or district attorney . . . to conduct or assist the attorney general in conducting

the investigation.” See TEC § 273.002(1) (emphasis added); see also id. § 273.001 (district

attorneys must investigate alleged violations referred to them).

         51.      The AG has demonstrated a willingness to enforce the Canvassing Restriction, and

has actually enforced, the Election Code, including S.B. 1. Tr. at 3909:8–17, 3913:9–3914:16.

         52.      The AG publicly maintains that one of his key priorities is to investigate and

prosecute allegations of voter fraud. See, e.g., OCA-384, OCA-385, OCA-386. The OAG

continues to operate the Criminal Prosecutions Division unit that prosecutes election-related

allegations, known as the Election Integrity Division. Tr. at 3903:23–3905:4, 3905:11–15,



14
   Although the LULAC Plaintiffs’ SAC names local election officials as Defendants to their free speech claims, see
ECF No. 207 at 57, their proposed findings of fact and conclusions of law do not argue that any local election officials’
have a role in enforcing the Canvassing Restriction, see ECF No. 849. The Court thus considers the LULAC Plaintiffs
to have waived any such argument and will dismiss their undeveloped claims seeking to enjoin local election officials
from enforcing the Canvassing Restriction.



                                                          17
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 18 of 78




4039:14–19. As of March 17, 2023, the OAG had identified at least one investigation of a possible

violation of the Canvassing Restriction. 15 See LULAC-86 at 6.

         53.      Before Stephens, the OAG regularly prosecuted election crimes, including alleged

vote-harvesting schemes, in counties across Texas. See OCA-377 (showing 401 counts—not

cases—of election crimes prosecuted by the OAG, alone or in conjunction with local prosecutors,

between 2005 and 2022).

         54.      Even after Stephens, Jonathan White, former Chief of the OAG Election Integrity

Division, testified that the “vote harvesting” schemes (purportedly targeted by the Canvassing

Restriction) remain among the three most common elections-related allegations that the OAG

pursues. Tr. at 3915:3–8. For the November 2022 elections, the OAG established a 2022 General

Election Integrity Team and publicly stated it was “prepared to take action against unlawful

conduct where appropriate,” highlighting offenses related to “vote harvesting.” OCA-383.

         55.      Although the AG may no longer unilaterally prosecute allegations of election-

related crimes, Stephens, 663 S.W.3d at 51–55, the OAG enforces criminal election offenses

through other mechanisms. After OAG investigations conclude, the OAG refers cases to local

prosecuting attorneys 16 and often seeks opportunities to partner with DAs to prosecute such

allegations through deputization by a DA or appointment pro tem by a district judge or the DA.

Tr. at 3908:21–3909:17, 3909:1–12; 4043:21–4045:21; 4051:2–10.


15
   There may very well be additional investigations that the DA failed to produce during discovery. Throughout this
litigation, the OAG has, invoking the investigative privilege, withheld documents discussing “actual or alleged illegal
voting, election fraud, or other criminal conduct in connection with” voting and voter assistance. See ECF No. 992-3;
ECF No. 992-16; In Re U.S. Dep’t of Homeland Sec., 459 F.3d 565, 568–69, n.2 (5th Cir. 2006) (the investigative
privilege, also known as the “law enforcement privilege,” protects government documents relating to an ongoing
criminal investigation from release).
16
  For example, after the prosecution of Hervis Rogers was dismissed in Montgomery County, the OAG referred the
case to the Harris County DA, who brought charges against Mr. Rogers before a grand jury. Tr. at 4058:17–4059:24,
4062:7–12. The same procedure was used in the prosecution of Ignacio González Beltrán, whose case was dismissed
in Montgomery County and referred by the OAG to Harris County, where it was presented to a grand jury. Tr. at
4063:3–4064:6.



                                                         18
          Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 19 of 78




        56.     The OAG has specifically identified previous prosecutions in which it participated,

including prosecutions for “vote harvesting” and prosecutions conducted by or with the assistance

of local DAs in the following counties: Nolan County, Limestone County, Hidalgo County, Harris

County, Navarro County, Brewster County, Gregg County, and Starr County. See OCA-377.

        The Texas Secretary of State

        57.     The LUPE Plaintiff seek to enjoin Jane Nelson, the Secretary of State (the

“Secretary”) from enforcing the Canvassing Restriction.

        58.     The Secretary routinely collaborates with the OAG to enforce election laws in

accordance with her mandatory duties under the Election Code. Tr. at 3913:9–19, Tr. at 4054:16–

4055:8.

        59.     Under the Election Code, the Secretary must evaluate information she “receiv[es]

or discover[s]” about potential election crimes and, if she “determines that there is probable cause

to suspect that criminal conduct occurred, the [S]ecretary shall promptly refer the information to

the attorney general” and provide all pertinent documents and information in his possession to the

AG. TEC § 31.006 (emphasis added).

        60.     In this capacity, the Secretary serves as “a gathering point for election complaints

from individuals and election officials.” Tr. at 3913:12–19. The Secretary logs each complaint

received. Tr. at 4326:23–4327:2. Sometimes, the Secretary will also ask the complainant for

additional information. Tr. at 1876:24–1879:21. Ultimately, the Secretary must determine whether

the information in her possession satisfies the probable cause standard. Tr. at 1881:1–9. “If it’s a

close call, [the Secretary of State’s Office] refer[s] it anyways, because it’s better to err on the side

of making sure that crimes are prosecuted.” Tr. at 1877:14–21.




                                                   19
       Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 20 of 78




       61.     The Secretary has received allegations related to mail ballot “vote harvesting,”

which she has referred to the OAG both before and after the passage of S.B. 1. Tr. at 1914:1–6.

       The County DAs

       62.     Plaintiffs have sued the District Attorneys of several counties in Texas (the “DAs”

or “County DAs”) in their official capacity to enjoin them from enforcing Section 7.04’s

Canvassing Restriction.

       63.     The OCA Plaintiffs seek injunctive relief against the Travis County DA. See ECF

No. 200. The LULAC Plaintiffs name the DAs of Travis, Dallas, and Hidalgo Counties as

Defendants. See ECF No. 207. The LUPE Plaintiffs seek injunctive relief against the DAs of Travis

County, Dallas County and the 34th Judicial District, which includes El Paso, Culberson, and

Hudspeth Counties. See ECF No. 208.

       64.     Every County DA other than the DA for the 34th Judicial District executed a

stipulation stating that he or she had not (1) adopted a policy refusing to prosecute crimes under

S.B. 1, (2) instructed law enforcement to refuse to arrest individuals suspected of criminal conduct

under S.B. 1, or (3) permitted an assistant DA to take either of the foregoing actions. See ECF No.

753-6 (Travis) ¶¶ 3–6; ECF No. 753-7 (Dallas) ¶¶ 3–4; ECF No. 753-13 (Hidalgo) ¶¶ 3–6. For his

part, the DA of the 34th Judicial District agreed not to enforce the provisions challenged by the

LUPE Plaintiffs during the pendency of this action but stipulated that he has the authority to

enforce crimes under the Election Code, would be free to do so at any time, and intended to fulfill

his duty to enforce election crimes, subject to his prosecutorial discretion. ECF No. 753-8 ¶¶ 5–7.

       65.     A newly enacted law House Bill 17 (“H.B. 17”) curbs DAs’ authority to adopt a

policy against enforcing crimes under the Election Code. H.B. 17, which went into effect on

September 1, 2023, provides that DAs may be removed from office if they adopt any policy that




                                                20
       Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 21 of 78




“prohibits or materially limits the enforcement of any criminal offense.” H.B. 17 § 1 (adding TEX.

LOC. GOV’T CODE § 813(B)).

IMPACT OF THE CANVASSING RESTRICTION

There is widespread confusion about how to interpret the Canvassing Restriction

       66.     The Canvassing Restriction applies toanyone who knowingly gives or receives

some “compensation or other benefit” for an “in-person interaction with one or more voters, in the

physical presence of an official ballot or a ballot voted by mail, intended to deliver votes for a

specific candidate or measure.” TEC § 276.015(a)(2).

       67.     Trial testimony establishes that there is widespread confusion about the meaning of

the Canvassing Restriction. Even local election administrators (“EAs”) are unsure about how to

interpret Section 7.04. See, e.g., Tr. at 496:5–8 (Dallas County EA Michael Scarpello) (“I don’t

know what ballot harvesting means,” “it could be interpreted a lot of different ways based on the

definition . . . put into the law.”); Tr. at 844:1–12 (former Travis County EA Dana DeBeauvoir)

(pointing out that the Canvassing Restriction criminalizes “paying someone to encourage people

to vote for a measure” but not against that same measure).

       68.     Witnesses were particularly uncertain about how to interpret the terms

“compensation” and “physical presence”—neither of which is defined in the statute—and how

Section 7.04 impacts organizers’ ability to provide voting assistance.

       69.     Despite this confusion, state officials have not offered any definitive answers about

the scope of the Canvassing Restriction. The Secretary of State has not provided any guidance. Tr.

at 1914:7–14, 1924:7–18. Nor has the OAG. Tr. at 1924:24–1925:3.




                                                21
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 22 of 78




         70.      At trial, the State Defendants’ witnesses attempted to clarify the meaning of the

Canvassing Restriction, but their testimony only underscored the potential for disagreement about

what kind of conduct Section 7.04 proscribes.

         Confusion about the meaning of “compensation or other benefit”

         71.      Plaintiffs are uncertain whether providing volunteers food, beverages, gas cards,

bus fare, letters of recommendation, or academic credit to volunteers for their advocacy work is

unlawful because “compensation” is not defined in the Election Code and benefit is merely defined

by a synonym. TEC § 276.015(a)(1) (defining “benefit” as “anything reasonably regarded as a

gain or advantage”). For example, MABA members, all of whom are attorneys, worry that a bottle

of water could be considered “compensation.” Tr. at 2544:9–43.

         72.      They also worry that their voter outreach activities could expose voters to criminal

liability if they offer door-to-door canvassers refreshments, for example. See Tr. at 1592:1–5 (“It’s

not just my concern for the League members, but it’s also a concern if just a voter that were helping

provides compensation, or the place that they live provides compensation of some type that they

may be committing a crime.”). AFT has cautioned its members that they should not complete their

ballots at meetings in its offices because the free use of its facilities and other resources could be

construed as a “compensation or other benefit.” Tr. at 928:1–9.

         73.      Former Election Division Director Keith Ingram testified that providing volunteers

with bus fare was not “compensation” because “[t]hey can get their expenses reimbursed. That’s

not payment.” Tr. at 1904:1–2. 17 In contrast, the State’s chief voter fraud prosecutor, Jonathan

White, stated that he would need to perform legal research to determine what kinds of economic



17
    Mr. Ingram was interpreting the term “compensation” in connection with S.B. 1 § 6.06, which prohibits
compensation for mail-ballot assistance, but nothing in his testimony suggests that he would apply a different meaning
to the word as it is used in S.B. 1 § 7.04, which, again, is not defined.


                                                         22
       Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 23 of 78




benefits would violate the provision. Tr. at 3992:20–3993:21 (conceding that he would need to

“review[] the case law” to determine whether a meal, bus fare, or a gift bag containing a t-shirt

constitute prohibited compensation).

       Confusion about the meaning of “physical presence”

       74.     Plaintiffs worry about liability for canvassing in the “physical presence” of a mail

ballot because their members have historically brought their ballots to candidate forums, town hall

meetings, and other in-person events at community centers, union halls, and people’s homes.

       75.     Because “physical presence” is not defined in Section 7.04, Plaintiffs are unsure

how physically proximate a ballot must be to a volunteer or employee to violate the Canvassing

Restriction and risk exposure to a decade in prison.

       76.     Indeed, trial witnesses were afraid of criminal liability for inadvertently advocating

for a ballot measure in conversations with voters who happened to have a mail ballot in their

possession. See, e.g., Tr. at 1780:17–1781:4 (TARA’s organizational representative, Judy Bryant,

suggesting that a ballot might be concealed in a voter’s backpack or purse during the conversation).

       77.     At trial, Mr. Ingram refused to offer a specific distance or any concrete guidance

about how canvassers should determine whether they are in the “physical presence” of a mail

ballot, which can only be determined on a case-by-case basis. See Tr. at 1917:5–14; see also Tr. at

1916:1–4 (stating that the Secretary does not have an official opinion on whether a ballot being

within five or ten feet of a discussion constitutes physical presence under Section 7.04). “Whether

or not a prosecutor agrees with us,” he conceded, “is a different story entirely.” Tr. at 1917:18–19.

       Confusion about canvassers’ ability to provide voting assistance

       78.     County election officials agreed that Section 7.04 could interfere with community

organizers’ ability to assist voters with their mail-ballots because its prohibition on “in-person




                                                 23
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 24 of 78




interactions” in the “presence of a mail ballot” does not include an exception for mail-ballot

assistance. See Tr. at 758:8–19, 758:22–759:12 (Cameron County EA Remi Garza); Tr. at 841:15–

842:9, 844:13–25 (DeBeauvoir); Tr. at 496:2–8 (Scarpello).

       79.     Mr. White testified that if his office encountered a GOTV group that paid its

organizers to provide mail ballot assistance as a public service while canvassing, he would be

concerned that this activity is a subterfuge for voter fraud. Tr. at 3995:11–24. He acknowledged,

however, that prior to S.B. 1, the Election Code already criminalized: assisting a voter who is not

eligible for assistance or did not ask for assistance; voting a ballot differently than the voter wished

or directed the assistant to vote the ballot; suggesting to the voter during the voting process how

the voter should vote, or attempting to influence or coerce the voter receiving assistance. Tr. at

3923:21–3924:14, 3925:4–6.

The Canvassing Restriction has chilled Plaintiffs’ in-person interactions with voters

       80.     Plaintiffs and their members cannot determine from the text of TEC § 276.015

whether the Canvassing Restriction prohibits their organizations’ routine voter engagement

activities. This ambiguity has chilled Plaintiffs’ willingness to conduct in-person community

events and political outreach to voters where a mail-in-ballot might be present, including events

where Plaintiffs’ members have historically provided (and received) voting or language assistance.

       81.     To avoid putting staff members and volunteers in legal jeopardy under the

Canvassing Restriction, Plaintiffs and their members have limited their in-person interactions with

voters in the weeks before elections, when voters are most likely to have mail ballots in their

possession—and when Plaintiffs’ speech is most likely to be effective. Tr. at 1766:15–23 (TARA’s

mission has been severely impacted by the restrictions during the early voting period because voter

engagement and advocacy efforts are most critical in the weeks leading up to an election); Tr. at




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       Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 25 of 78




1599:17–21 (The League hosts events in the weeks before elections, “when people are most

interested in learning about candidates and what’s on the ballot.”).

       82.       For example, Judy Bryant, TARA’s sole paid field organizer, is no longer willing to

“accept or set up any tabling invitations or events” once “mail ballots go out” because she does

not want to take the chance of a person “having a mail ballot” when she advocates on behalf of

TARA. Tr. at 1765:24–1766:5. As a result, Ms. Bryant plans to cease any in-person advocacy “after

the first week in October” before an election “because mail ballots are generally going out by that

time in most counties.” Tr. at 1766:6–9. But for S.B. 1, Ms. Bryant would engage in this work

“right up to and including Election Day.” Tr. at 1766:10–14.

       83.       Similarly, prior to S.B. 1, Deborah Chen, OCA’s civic engagement programs

director, personally provided language assistance to LEP voters who brought their mail-in ballots

to OCA’s candidate forums. Tr. at 1697:13–18. Ms. Chen has been unwilling to assist voters since

S.B. 1 was enacted, due to the threat of criminal liability. Tr. at 1726:21–1727:6.

       84.       Ms. Bryant and Ms. Chen are not alone their decisions to restrict their in-person

voter outreach activities due to threat of criminal sanctions under the Canvassing Restriction:

             •   OCA has stopped hosting in-person events where members have
                 historically brought mail-in ballots and received voting assistance,
                 include candidate forums, Tr. at 1718:20–24, and no long offers voters
                 assistance or rides to the polls, Tr. at 1722:3–16. OCA is especially
                 worried about exposing its student volunteers to criminal charges, since
                 one of its missions is to educate and develop a pool of future leaders. Tr.
                 at 1721:2–10, 1721:11–1722:22.

             •   The League determined that it “would turn away members with their
                 mail-in ballots from candidate forums.” Tr. at 1620:7–1621:1

             •   LUPE planned to advocate on a number of measures in the November
                 2023 Constitutional Amendment election but trained its staff not to
                 advocate on the ballot measures in the presence of a mail ballot. Tr. at
                 3681:6–3682:8.



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        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 26 of 78




             •   MABA members are no longer willing to provide voting assistance
                 because members fear that they might inadvertently commit a crime,
                 potentially costing them their law licenses. Tr. at 2543:14–2544:23.

             •   LULAC volunteers “scaled . . . down” their GOTV efforts and decided
                 not to conduct voter outreach with seniors, many of whom require
                 voting assistance, for “fear that they could be subject to prosecution if
                 they help seniors vote by mail.” Tr. at 1655:10–18.

             •   AFT has shifted its voter engagement efforts away from block-walking
                 to communicating with voters over the phone, video, and text message.
                 Tr. at 924:21–925:12–14, 928:17–929: 3, 934:7–21, and must train its
                 remaining block-walkers and temporary paid organizers to limit their
                 interactions with voters to avoid criminal penalties, Tr. at 928:2–9.

       85.       Plaintiffs have found that alternative methods of communication are much less

effective at reaching voters—during the precise time when their speech is most critical. See Tr. at

1720:9–15 (describing attendance at OCA’s virtual candidate meet-and-greet in spring 2022 as

“fairly abysmal” compared to previous, in-person meet-and-greets); Tr. at 930:11–21 (noting that

AFT’s outreach to voters by phone and text and video detracted from the “quality of the

conversations” AFT was able to have with voters). As Ms. Bryant explained, “the closer you can

do some education and information sharing the closer to the time of someone voting” the more

effective it will be, “because people tend to forget or not be familiar with an issue” and speaking

with them “closer to actually [] voting makes a big difference.” Tr. at 1766:15–23.

       86.       Uncertainty about how to comply with S.B. 1’s provisions, including the

Canvassing Restriction, and fear of potential criminal liability have also impaired Plaintiffs’ ability

to recruit members and chilled existing members’ willingness to volunteer with the Plaintiff

organizations. MABA, for example, is finding it harder to recruit volunteers to educate and assist

voters because of S.B. 1 because members fear that they might inadvertently commit a crime and

risk their law licenses by accepting meals, gas cards, swag or other forms of compensation while

tabling at community events or providing voter assistance. See Tr. at 2543:14–2544:16, 2553:11,


                                                  26
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 27 of 78




2542:6–20. AFT’s members are likewise less willing to volunteer with the organization because

they are uncertain about how to comply with the law. Tr. at 934:7–21.

                                          CONCLUSIONS OF LAW

SUBJECT MATTER JURISDICTION

         This Court has subject matter jurisdiction pursuant to 28. U.S.C. § 1331, which provides

that “district courts shall have original jurisdiction of all civil actions arising under the . . . laws . .

. of the United States.”

         This Court has jurisdiction to grant declaratory and injunctive relief pursuant to 28 U.S.C.

§§ 2201 and 2202.

Plaintiff’s Claims fall within the Ex parte Young Exception to Sovereign Immunity

         The State Defendants reassert their affirmative defense that, as to the Secretary and the AG,

Plaintiffs’ constitutional challenges to the Canvassing Restriction are barred by sovereign

immunity. See ECF No. 862 at 21–26. Because the Election Code imposes particular enforcement

duties upon both the AG and the Secretary and both Defendants have demonstrated a willingness

to enforce the Canvassing Restriction, however, the Court concludes that Plaintiffs’ claims fall

within the Ex Parte Young exception to sovereign immunity. The County DAs do not assert that

they are entitled to sovereign immunity. 18



18
  The Court recently dismissed all constitutional claims against Harris County DA Kim Ogg as barred by Eleventh
Amendment immunity in accordance with the Fifth Circuit’s ruling and mandate issued in Mi Familia Vota v. Ogg,
105 F.4th 313 (5th Cir. 2024). See ECF No. 1147.
The remaining DAs have not argued that they are entitled to sovereign immunity in this action. Instead, they have
stipulated that (1) they are responsible for investigating and prosecuting violations of the Canvassing Restriction and
(2) they do not intend to refrain from enforcing the Canvassing Provision absent an injunction in this case. See ECF
No. 753-6 (Travis) ¶¶ 3–6; ECF No. 753-7 (Dallas) ¶¶ 3–4; ECF No. 753-13 (Hidalgo) ¶¶ 3–6; ECF No. 753-8 ¶¶ 5–
7 (34th Judicial District). Moreover, the DA of 34th Judicial District sought—and received—permission to be excused
from participation in this case and agreed not to enforce the criminal provisions challenged by the private Plaintiffs
during the pendency of the case. See ECF No. 356; Text Order dated Apr. 11, 2022.
Although district courts may raise the question of sovereign immunity sua sponte, Fifth Circuit precedent suggests
that their authority to do so is discretionary. See Carver v. Atwood, 18 F.4th 494, 497 (5th Cir. 2021) (holding that the


                                                          27
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 28 of 78




         Legal Standard

         State sovereign immunity under the Eleventh Amendment generally precludes suits against

state officials in their official capacities. City of Austin v. Paxton, 943 F.3d 993, 997 (2019). The

Ex parte Young exception to state sovereign immunity, however, allows private parties to bring

“suits for injunctive or declaratory relief against individual state officials acting in violation of

federal law.” Raj v. La. State Univ., 714 F.3d 322, 328 (5th Cir. 2013) (citing Ex parte Young, 209

U.S. 123, (1908)).

         “Ex parte Young is a ‘necessary exception’ to sovereign immunity, preventing state officials

from using their state’s sovereignty as a shield to avoid compliance with federal law.” Planned

Parenthood Gulf Coast, Inc. v. Phillips, 24 F.4th 442, 451 (5th Cir. 2022) (quoting P.R. Aqueduct



district court “could sua sponte dismiss [a] complaint” based on sovereign immunity) (emphasis added). The Court
declines to exercise its discretion with respect to the remaining County DAs here, for two reasons.
First, Fifth Circuit law addressing whether and when Eleventh Amendment immunity extends to local officials is
unsettled. For example, in January 2024, the panel in National Press Photographers Association v. McCraw declined
to extend Eleventh Amendment immunity to a county prosecutor charged with enforcing the challenged state statutes
“because ‘state sovereign immunity applies only to states and state officials, not to political subdivisions like counties
and county officials.” 90 F.4th 770, 787 (5th Cir. 2024) (emphasis added). As the panel went onto explain:
              [W]e have held that Texas district attorneys are not protected by the Eleventh Amendment
              precisely because they are county officials, not state officials. Granted, a couple of
              unpublished opinions have suggested that a district attorney’s entitlement to Eleventh
              Amendment immunity may depend on whether he or she is performing in a local or state
              capacity. But we understand our precedent to employ a more categorical approach,
              informed by various factors that [the DA] does not otherwise argue support his position
              that he is protected by the Eleventh Amendment.
Id. (quotations, citations, and alteration marks omitted) (citing Clark v. Tarrant County, 798 F.2d 736, 744–45 (5th
Cir. 1986) (enumerating six factors that courts should consider in determining whether an entity is entitled to Eleventh
Amendment immunity)).
Nonetheless, only five months after McCraw, the Ogg panel assumed that the Harris County DA could assert state
sovereign immunity, without addressing McCraw or engaging with any of the factors set forth in Clark. See generally
Ogg, 105 F.4th at 325–33. Nor did the panel offer any guidance about the how H.B. 17’s restrictions on prosecutorial
discretion should impact the duty analysis under Ex parte Young. See id.
Second, directing the County DAs to submit evidence and briefing on the question of their sovereign immunity would
only serve to defeat one of the central purposes of their stipulations and of the doctrine of sovereign immunity itself:
to preserve government resources. See Ogg, 105 F.4th at 324 (“[B]oth parties correctly highlight the costs and
consequences of litigation when considering whether sovereign immunity applies[.]”); cf. Int’l Truck & Engine Corp.
v. Bray, 372 F.3d 717, 720 n.4 (5th Cir.), opinion corrected on denial of reh'g, 380 F.3d 231 (5th Cir. 2004) (finding
waiver where defendant waited until after summary judgment to raise sovereign immunity).



                                                           28
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 29 of 78




& Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S. 139, 146 (1993)). The rule is based on the legal

fiction that a sovereign state cannot act unconstitutionally. Young, 209 U.S. at 159. Thus, where a

state actor enforces an unconstitutional law, he is stripped of his official clothing and becomes a

private person subject to suit. Id. at 160.

        The Supreme Court has counseled that, “[i]n determining whether the doctrine of Ex parte

Young avoids an Eleventh Amendment bar to suit, a court need only conduct a ‘straightforward

inquiry’ into whether [the] complaint alleges an ongoing violation of federal law and seeks relief

properly characterized as prospective.’” Verizon Md., Inc. v. Pub. Serv. Comm’n of Md., 535 U.S.

635, 645 (2002) (alterations on original) (quoting Idaho v. Coeur d’Alene Tribe of Idaho, 521 U.S.

261, 296 (1997) (O’Connor, J., joined by Scalia and Thomas, JJ., concurring in part and concurring

in judgment)). The Supreme Court has also made clear that, for the Ex parte Young exception to

apply, the state official, by virtue of his office, must have “some connection with the enforcement”

of the challenged law. Young, 209 U.S. at 157.

        Despite the straightforward inquiry that the Supreme Court envisioned, the Fifth Circuit

has acknowledged that its own decisions “are not a model of clarity on what ‘constitutes a

sufficient connection to enforcement.’” Tex. Democratic Party v. Abbott (Tex. Democratic Party

I), 961 F.3d 389, 400 n.21 (5th Cir. 2020) (quoting City of Austin, 943 F.3d at 999). Nevertheless,

the Fifth Circuit has articulated some general rules. For instance, the Fifth Circuit has stated that

“it is not enough that the official have a ‘general duty to see that the laws of the state are

implemented.’” Id. at 400–01 (emphasis in original) (quoting Morris v. Livingston, 739 F.3d 740,

746 (5th Cir. 2014)). The Fifth Circuit has also determined that “[i]f the official sued is not

statutorily tasked with enforcing the challenged law, then the requisite connection is absent and

our Young analysis ends.” Id. at 401 (quotation marks and citation omitted). “Moreover,”




                                                 29
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 30 of 78




according to the Fifth Circuit, “a mere connection to a law’s enforcement is not sufficient—the

state officials must have taken some step to enforce.” Id.

        The Fifth Circuit has further explained that plaintiffs must at least “show the defendant has

‘the particular duty to enforce the statute in question and a demonstrated willingness to exercise

that duty.’” Tex. Democratic Party v. Abbott (Tex. Democratic Party II), 978 F.3d 168, 179 (5th

Cir. 2020) (quoting Morris, 739 F.3d at 746). Put differently, the state “official must be ‘statutorily

tasked with enforcing the challenged law[,]’” id. (quoting In re Abbott, 956 F.3d 696, 709 (5th Cir.

2020), cert. granted, judgment vacated sub nom. Planned Parenthood Ctr. for Choice v. Abbott,

141 S. Ct. 161 (2021)), though whether the particular duty to enforce the statute in question “arises

out of the general law, or is specially created by the [statute] itself, is not material so long as it

exists[,]” Young, 209 U.S. at 157.

        “Enforcement typically means ‘compulsion or constraint.’” Tex. Democratic Party II, 978

F.3d at 179 (quoting K.P. v. LeBlanc, 627 F.3d 115, 124 (5th Cir. 2010)). The definition extends

beyond the “type of direct enforcement found in Ex Parte Young, for instance, where the attorney

general threatened civil and criminal prosecution.” Book People, Inc. v. Wong, 91 F.4th 318, 335

(5th Cir. 2024) (quoting Air Evac EMS, 851 F.3d at 519. “[S]uch enforcement is not required.” Id.

“A ‘scintilla of “enforcement” by the relevant state official with respect to the challenged law’ will

do.” Tex. Democratic Party II, 978 F.3d at 179 (quoting City of Austin, 943 F.3d at 1002). In short,

“if an ‘official can act, and there’s a significant possibility that he or she will . . . , the official has

engaged in enough compulsion or constraint to apply the Young exception.’” Tex. Democratic

Party I, 961 F.3d at 401 (emphasis in original) (quoting City of Austin, 943 F.3d at 1002).




                                                    30
       Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 31 of 78




       Analysis

       To begin, the State Defendants each have particular enforcement duties under the Election

Code. Whether the defendant has the “particular duty” to enforce the challenged law is different

than whether there is a “demonstrated willingness” of enforcement. See Mi Familia Vota, 105 F.4th

at 325. To demonstrate a “particular duty,” Ex parte Young requires neither a history of

enforcement nor a statutory requirement of enforcement. City of Austin, 943 F.3d at 1001; Air Evac

EMS, Inc. v. Tex. Dep't of Ins., Div. of Workers’ Comp., 851 F.3d 507, 519 (5th Cir. 2017); Tex.

Democratic Party v. Abbott, 961 F.3d 389, 401 (5th Cir. 2020).

       The Election Code provides that the AG “shall investigate” allegations of election crimes

in elections covering more than one county. TEC § 273.001(a); see also Garza v. Harrison, 574

S.W.3d 389, 402 (Tex. 2019) (noting that, under Texas law, “[t]he term ‘shall,’ . . . ‘imposes a

duty.’”) (quoting TEX. GOV’T CODE § 311.016(2)). Allegations of vote-harvesting against the

Plaintiff organizations are especially likely to be investigated by the AG because each of them

operates in multiple counties in Texas. The AG may also investigate potential election crimes on

its own initiative, TEC § 273.001(b), but also has the power to compel local prosecutors to

investigate such allegations. See TEC § 273.002(b).

       Likewise, the Election Code provides that the Secretary “shall promptly refer” information

establishing probable cause to believe that an election crime has occurred to the AG” and “provide

all pertinent documents and information in his possession to the AG.” TEC § 31.006; see also TEC

§ 276.019 (“A public official or election official may not create, alter, modify, waive, or suspend

any election standard, practice, or procedure mandated by law or rule in a manner not expressly




                                                31
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 32 of 78




authorized by this code.”). 19 The AG, in turn, “may investigate” referrals from the Secretary. TEC

§ 273.001(d).

         Whether the State Defendants’ enforcement is mandatory or discretionary speaks to a

“demonstrated willingness” to enforce the statute—not whether they have the “particular duty” to

enforce the Canvassing Provision. See Nat’l Press Photographers Ass’n v. McCraw, 90 F.4th 770,

786 (5th Cir. 2024) (finding state agency heads with discretionary enforcement power had a

particular duty to enforce and noting that “[a]s heads of Texas law-enforcement agencies,

[defendants] have more than just the general duty to see that the state's laws are implemented—

they are directly responsible for enforcing Texas’s criminal laws”).

         Here, the State Defendants have shown a desire to enforce the statute. Critically, neither

the AG nor the Secretary has disavowed enforcement. See Virginia v. Am. Booksellers Ass’n, Inc.,

484 U.S. 383, 393 (1988) (“We are not troubled by the pre-enforcement nature of this suit. The

State has not suggested that the newly enacted law will not be enforced, and we see no reason to

assume otherwise.”); Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289, 302 (1979)

(“[T]he State has not disavowed any intention of invoking the criminal penalty . . . . Appellees are

thus not without some reason in fearing prosecution for violation of the ban[.]”). In the First

Amendment context, this is enough. See McCraw, 90 F.4th at 782 (“Unlike in other constitutional




19
  The Court rejects the State Defendants’ argument that the Secretary has no enforcement duty because her title does
not appear in the Canvassing Provision itself. ECF No. 862 ¶ 23. Their position that Ex parte Young asks the Court to
read each provision in a vacuum, without reference to any other Election Code provision—no matter how relevant to
the enforcement question at hand—is entirely divorced from Fifth Circuit precedent, from the fundamental precepts
of statutory interpretation, and from common sense. “[R]easonable statutory interpretation must account for both ‘the
specific context in which . . . language is used’ and ‘the broader context of the statute as a whole.’” Util. Air Regul.
Grp. v. EPA, 573 U.S. 302, 321 (2014) (ellipsis in original) (quoting Robinson v. Shell Oil Co., 519 U.S. 337, 341
(1997)). “[T]he cardinal rule [is] that a statute is to be read as a whole, since the meaning of statutory language, plain
or not, depends on context.” King v. St. Vincent’s Hosp., 502 U.S. 215, 221 (1991) (citing Massachusetts v. Morash,
490 U.S. 107, 115 (1989)).


                                                           32
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 33 of 78




contexts, in the speech context, we may assume a substantial threat of future enforcement absent

compelling contrary evidence.”) (internal citation and quotation omitted).

         Beyond the AG’s refusal to disavow, the trial record makes clear that he does intend to

enforce the Canvassing Restriction. Jonathan White, former Chief of the OAG Election Integrity

Division, testified that the “vote harvesting” schemes (purportedly targeted by the Canvassing

Restriction) remain among the three most common elections-related allegations that the OAG

pursues. Tr. at 3915:3–8; see also LULAC-86 at 6 (identifying at least one OAG investigation of

a possible violation of the Canvassing Restriction as of March 17, 2023). The OAG has specifically

identified previous prosecutions in which it participated, including prosecutions for “vote

harvesting” and prosecutions conducted by or with the assistance of local DAs in multiple counties.

See OCA-377. The Secretary, for her part, has received allegations related to mail ballot “vote

harvesting,” which she has referred to the OAG both before and after the passage of S.B. 1. Tr. at

1914:1–6.

         The State Defendants’ duties under the Election Code and scintilla of enforcement are

sufficient to establish that Plaintiffs’ constitutional challenges to the Canvassing Restriction fall

within the Ex parte Young exception to sovereign immunity. 20 Thus, the Court turns to the second




20
   The Court observes that, even if these statements were insufficient to establish the required scintilla of enforcement,
it would be manifestly unfair to permit the State Defendants to pursue their sovereign immunity defense on this basis
given their repeated use of the “investigative privilege” to withhold investigative documents throughout this litigation.
See ECF No. 992-3 (OAG); ECF No. 992-16 (OAG); ECF No. 992-20 (SOS).
Under the sword-and-shield doctrine, “a party may not use privileged information both offensively and defensively at
the same time.” Willy v. Admin. Rev. Bd., 423 F.3d 483, 497 (5th Cir. 2005); Nguyen v. Excel Corp., 197 F.3d 200,
207 n.18 (5th Cir. 1999) (emphasizing “a client’s inability to, at once, employ the [attorney-client] privilege as both a
sword and a shield.”). As the Fifth Circuit has emphasized, allowing a party to do so “would be manifestly unfair to
the opposing party.” Conkling v. Turner, 883 F.2d 431, 434 (5th Cir. 1989).
Here, the State Defendants cannot rely on Mr. White’s testimony that that “vote harvesting” schemes remain among
the most common elections-related allegations that the OAG pursues as proof that the Canvassing Restriction serves
a compelling interest, Tr. at 3915:3–8, and at the same time argue, based on the dearth of documentary evidence of
allegations, that the OAG has no role in enforcing Section 7.04.



                                                           33
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 34 of 78




component of subject matter jurisdiction challenged by the State Defendants: Plaintiffs’ standing

to challenge the Canvassing Restriction.

Plaintiffs have Standing to Challenge the Canvassing Restriction

       Plaintiffs have established organizational standing to assert their constitutional challenges

to the Canvassing Restriction. Plaintiffs and their members are directly regulated by the

Canvassing Restriction and have chilled their speech due to a credible threat of enforcement by

the State Defendants and the County DAs. An order enjoining enforcement of the Canvassing

Restriction would remove the chill from their protected speech.

       Legal Framework

       It is well settled that a plaintiff invoking a federal court’s jurisdiction must establish

standing by satisfying three irreducible requirements. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560

(1992). “The plaintiff must have (1) suffered an injury in fact, (2) that is fairly traceable to the

challenged conduct of the defendant[s], and (3) that is likely to be redressed by a favorable judicial

decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).

       The elements of standing are “not mere pleading requirements but rather an indispensable

part of the plaintiff’s case.” Lujan, 504 U.S. at 561. Thus, “each element must be supported in the

same way as any other matter on which the plaintiff bears the burden of proof, i.e., with the manner

and degree of evidence required at the successive stages of the litigation.” Id. In a case that

proceeds to trial, plaintiffs must establish all three elements by a preponderance of the evidence.

See TransUnion LLC v. Ramirez, 594 U.S. 413, 431 (2021) (“[I]n a case like this that proceeds to

trial, the specific facts set forth by the plaintiff to support standing “must be supported adequately

by the evidence adduced at trial.”). These requirements ensure that plaintiffs have “such a personal

stake in the outcome of the controversy as to assure that concrete adverseness which sharpens the




                                                 34
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 35 of 78




presentation of issues upon which the court so largely depends for illumination.” Massachusetts v.

EPA, 549 U.S. 497 (2007) (quoting Baker v. Carr, 369 U.S. 186 (1962)) (quotation marks

removed).

        “[P]laintiffs seeking injunctive and declaratory relief can satisfy the redressability

requirement only by demonstrating a continuing injury or threatened future injury” for the self-

evident reason that “injunctive and declaratory relief ‘cannot conceivably remedy any past

wrong.’” Stringer v. Whitley, 942 F.3d 715, 720 (5th Cir. 2019) (quoting Steel Co. v. Citizens for a

Better Env’t, 523 U.S. 83, 108 (1998)).

        To constitute an injury in fact, a threatened future injury must be (1) potentially suffered

by the plaintiff, not someone else; (2) “concrete and particularized,” not abstract; and (3) “actual

or imminent, not ‘conjectural’ or ‘hypothetical.’” Id. at 720–21 (citations omitted). The injury must

be “imminent . . . to ensure that the alleged injury is not too speculative for Article III purposes.”

Id. at 721 (quoting Lujan, 504 U.S. at 564 n.2). For a threatened future injury to satisfy the

imminence requirement, there must be at least a “substantial risk” that the injury will occur.

Stringer, 942 F.3d at 721 (quoting Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014)).

Nonetheless, “[t]he injury alleged as an Article III injury-in-fact need not be substantial; it need

not measure more than an identifiable trifle.” OCA-Greater Houston v. Texas, 867 F.3d 604, 612

(5th Cir. 2017) (quotations omitted). “This is because the injury in fact requirement under Article

III is qualitative, not quantitative, in nature.” Id. (quotations omitted).

        Juridical entities may establish standing under an associational or organizational theory of

standing. OCA-Greater Houston v. Texas, 867 F.3d 604, 610 (5th Cir. 2017).

        “Associational standing is a three-part test: (1) the association’s members would

independently meet the Article III standing requirements; (2) the interests the association seeks to




                                                   35
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 36 of 78




protect are germane to the purpose of the organization; and (3) neither the claim asserted, nor the

relief requested requires participation of individual members.” Students for Fair Admissions, Inc.

v. President & Fellows of Harv. Coll., 143 S. Ct. 2141, 2157 (2023) (quoting Hunt v. Wash. State

Apple Advert. Comm’n, 432 U.S. 333, 343 (1977)). Participation of individual members is not

required where, as here, the association seeks prospective and injunctive relief, rather than

individualized damages. Consumer Data Indus. Ass’n v. Texas, No. 21-51038, 2023 WL 4744918,

at *4 n.7 (5th Cir. July 25, 2023).

         “By contrast, ‘organizational standing’ does not depend on the standing of the

organization’s members. The organization can establish standing in its own name if it ‘meets the

same standing test that applies to individuals.’” OCA-Greater Hous., 867 F.3d at 610 (citations

omitted) (quoting Ass’n of Cmty. Orgs. for Reform Now v. Fowler, 178 F.3d 350, 356 (5th Cir.

1999)). An organization can establish a likely future injury if it intends “to engage in a course of

conduct arguably affected with a constitutional interest, but proscribed by a statute.” Babbitt, 442

U.S. at 298; see, e.g., Veterans of Foreign Wars of U.S. v. Tex. Lottery Comm’n, 760 F.3d 427, 439

(5th Cir. 2014) (charitable organizations had standing to challenge statute prohibiting their use of

bingo proceeds for political advocacy as an unconstitutional burden on their political speech). 21

         Analysis

         Plaintiffs have established by a preponderance of the evidence that OCA, the League,

LUPE, MABA, LULAC, TARA, and AFT and their respective members (1) are prospectively




21
   See also S. Christian Leadership Conf. v. Sup. Ct. of State of La., 252 F.3d 781, 788 (5th Cir. 2001) (concluding
that “at least some” of the plaintiffs—law students and faculty and community and student organizations—had
standing to challenge a Louisiana Supreme Court rule restricting representation by student-practitioners because the
operations of law-school clinics were “directly regulate[d]” and “[s]everal of the client organizations would be unable
to obtain representation by the clinics”).



                                                         36
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 37 of 78




subject to the Canvassing Restriction and (2) have been injured by the Canvassing Restriction’s

chilling effect on their speech. 22

                 Plaintiffs have suffered an organizational injury to their speech

        “Organizations, like individuals, enjoy rights to free speech, free exercise, and equal

protection of the laws.” Caractor v. City of New York Dep’t of Homeless Servs., No. 11 CIV. 2990

DLC, 2013 WL 2922436, at *3 (S.D.N.Y. June 14, 2013) (citing Grosjean v. Am. Press Co., 297

U.S. 233, 244 (1936)); Citizens United v. Fed. Election Comm'n, 558 U.S. 310, 365 (2010)

(“Government may not suppress political speech on the basis of the speaker’s corporate identity”).

        Like individuals, an organization does not need to affirmatively violate a law to have

standing to challenge it. See 303 Creative LLC v. Elenis, 600 U.S. 570, 579–82 (2023) (considering

company’s First Amendment pre-enforcement challenge). Instead, the plaintiff need only “aver[]

that it intend[s] to do so in the future.” Braidwood Mgmt., Inc. v. Equal Emp. Opportunity Comm’n,

70 F.4th 914, 927 n.23 (5th Cir. 2023).

        The Fifth Circuit has “repeatedly held, in the pre-enforcement context, that ‘[c]hilling a

plaintiff’s speech is a constitutional harm adequate to satisfy the injury-in-fact requirement.’”

Speech First, Inc. v. Fenves, 979 F.3d 319, 330–31 (2020), as revised (Oct. 30, 2020) (quoting

Houston Chronicle v. City of League City, 488 F.3d 613, 618 (5th Cir. 2007)). To satisfy standing

requirements, this type of self-censorship must arise from a fear of prosecution that is not

“imaginary or wholly speculative.” Babbitt v. United Farm Workers Nat’l Union, 442 U.S. 289,

302 (1979). A fear of prosecution is “imaginary or wholly speculative” where plaintiffs “do not




22
  When multiple plaintiffs seek the same injunctive relief, only one needs to establish standing. Rumsfeld v. Forum
for Acad. & Institutional Rights, Inc., 547 U.S. 47, 52 n.2 (2006). Here, the Court must identify at least one
organization in each Plaintiff group with standing to seek injunctive against the local DAs in their respective
jurisdictions.


                                                        37
          Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 38 of 78




claim that they have ever been threatened with prosecution, that a prosecution is likely, or even

that a prosecution is remotely possible.’” Id. (quoting Younger v. Harris, 401 U.S. 37, 42 (1971)).

          The Fifth Circuit recently clarified in Fenves that, “when dealing with pre-enforcement

challenges to recently enacted (or, at least, non-moribund) statutes that facially restrict expressive

activity by the class to which the plaintiff belongs, courts will assume a credible threat of

prosecution in the absence of compelling contrary evidence.” Fenves, 979 F.3d at 335 (emphasis

added) (quoting N.H. Right to Life PAC v. Gardner, 99 F.3d 8, 15 (1st Cir. 1996)).

          To establish a credible fear of enforcement, then, a plaintiff may, but need not, rely on a

history of past enforcement of similar policies or direct threats to enforce the challenged policies:

“Past enforcement of speech-related policies can assure standing,” but “a lack of past enforcement

does not alone doom a claim of standing.” Fenves, 979 F.3d at 336 (citing Ctr. for Individual

Freedom v. Carmouche, 449 F.3d 655, 660 (5th Cir. 2006). Rather, a plaintiff may also establish

a substantial threat of enforcement simply by showing that she is “either presently or prospectively

subject to the regulations, proscriptions, or compulsions [being challenged].” Id. at 335 (citing

Laird v. Tatum, 408 U.S. 1, 11 (1972)).

          A plaintiff whose speech is subject to the challenged restriction can establish standing even

when the defendant disavows any intention to enforce the policy. Id. at 337. As the Fifth Circuit

put it:

                 [I]f there is no history of inappropriate or unconstitutional past
                 enforcement, and no intention to pursue discipline [up to and
                 including criminal referral] under these policies for speech that is
                 protected by the First Amendment, then why maintain the policies
                 at all? At least, why maintain the plethora of potential sanctions?

Id. “Where the policy remains non-moribund, the claim is that the policy causes self-censorship

among those who are subject to it, and the [plaintiffs’] speech is arguably regulated by the policy,




                                                   38
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 39 of 78




there is standing.” Id. at 336–37 (citing Speech First, Inc. v. Schlissel, 939 F.3d 756, 767–70 (6th

Cir. 2019) (fact that “there is no evidence in the record” of past enforcement “misses the point”)).

In the pre-enforcement context, “the threat is latent in the existence of the statute.” Id. at 336. If a

plaintiff “plainly belong[s] to a class arguably facially restricted by the [law],” that is enough to

establish “a threat of enforcement.” Id.; see also Babbitt, 442 U.S. at 302 (recognizing union’s

standing to assert pre-enforcement because the union was “not without some reason in fearing

prosecution,” since the criminal penalty provision applied to the union’s speech, and “the State

ha[d] not disavowed any intention of invoking the criminal penalty provision against unions”).

         The evidentiary burden for proving that a plaintiff is “prospectively” subject to the

challenged regulation is not demanding. Fenves, 979 F.3d at 335; Laird, 408 U.S. at 11. A plaintiff

need not show that it has engaged in arguably proscribed conduct in the past to demonstrate an

intent to engage in such conduct in the future. See 303 Creative LLC v. Elenis, 600 U.S. 570, 579–

82 (2023) (considering company’s First Amendment pre-enforcement challenge to an anti-

discrimination statute by a graphic designer who had never created a wedding website but

“worrie[d] that, if she enter[ed] the wedding website business, the State [of Colorado would] force

her to express messages inconsistent with her belief[s]”).

         Plaintiffs are prospectively subject to the Canvassing Restriction.

All of the organizations:

             (a) have supported ballot measures and/or candidates in the past and intend
                 to do so in the future; 23


23
  See Tr. at 1711:8–19, 1712:17–1713:11; 1726:8–14 (OCA has advocated for certain ballot measures); Tr. at Tr. at
1600:17–19 (LWV has supported ballot measures, including a school bond in Austin); Tr. at 89:2–18 (LUPE has
supported ballot measures, including a drainage bond, the creation of a health care district in Hidalgo County,
increased broadband access in South Texas); Tr. at 2542:6–8 (MABA routinely encourages support for candidates and
ballot measures by tabling at local events, such as candidate forums); Tr. at 1632:25–1633:9 (LULAC does not endorse
particular candidates but has taken positions on issues such as school and municipal bond measures, state constitutional
amendments, and ballot propositions affecting taxes and public education); Tr. at 1764:3–10 (TARA has advocated
for and against ballot measures, engaged in issue advocacy, and endorsed local and state candidates based on their


                                                          39
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 40 of 78




             (b) have advocated for their positions through in-person voter engagement
                 efforts, such as neighborhood block-walking, tabling in public places,
                 and hosting candidate forums, town hall meetings, and other events at
                 their offices and in members’ homes; 24

             (c) reasonably expect mail-in ballots to be present during such interactions
                 with voters, who often take out their ballots at election events or in
                 conversations with door-to-door canvassers because they have
                 questions about the ballot or needed voting assistance; 25 and

             (d) maintain staff and/or volunteers who receive some “compensation or
                 other benefit” in exchange for their in-person canvassing efforts. 26

        Each Plaintiff has thus established an intention, as an organization, to engage in speech

arguably proscribed by the Canvassing Restriction. See 303 Creative, 600 U.S. at 579–82; Susan

B. Anthony List, 573 U.S. at 159. Moreover, all the organizations and their members have self-




positions on issues relevant to TARA); Tr. at 929:6–930:5 (AFT engaged in block-walking to advocate for candidates
and issues supported by the organization);
24
  See Tr. at 1694:21–1696:8, 1699:24–1702:2, 1706:12–1707:3 (OCA hosted election events attended by hundreds
of people, including in-person candidate forums and meet-and-greets, and conducts block-walking and exit-polling,
and encountered voters who requested assistance with their mail ballots); Tr. at 1595:3–15, 1596:3–12, 1607:7–14
(LWV hosts in-person events attended by hundreds of people in part because members like to hear about ballot
measures and discuss them with other members of the community and ask candidates questions about their positions);
Tr. at 71:1–72:15, 75:11–75:17, 90:4–24, 119:20–120:18 (LUPE members brought mail ballots to LUPE offices and
meetings and took them out during interactions with door-to-door canvassers and asked for voting assistance); Tr. at
(MABA tables at local events, including candidate forums); Tr. at 1654:2–1657:19 (LULAC members provided voter
assistance during their GOTV efforts with senior citizens); Tr. at 1762:20–1763:4 (TARA hosts monthly chapter
meetings, rallies, and community events across Texas); Tr. at 929:6–930:5 (AFT engaged in block-walking to
advocate for candidates and issues supported by the organization).
 See id; see also Tr. at 925:9–12, 926:17–928:1 (AFT members have had voters take out their mail-in ballots while
25

engaging in block-walking and door-to-door canvassing and AFT members themselves have filled out their mail
ballots together during chapter meetings).
26
   See Tr. at 1717:24–1718:5, 1714:13–22, 1716:14–22, 1694:11–20 (OCA routinely offers volunteers benefits that
could be considered compensation—meals, beverages, snacks, academic credit, shirts, and other nominal gifts—and
pays independent contractors for literature-drop canvassing); Tr. at 1597:11–13, 1598:23–1599:1, 1601:2–8, 1601:12–
1602:1 (LWV provides volunteers who staff in-person events with benefits such as food and letters of
recommendation); Tr. at 75:11–17 (LUPE relies primarily on paid staff members and temporary paid canvassers); Tr.
at 2542:17–20, 2544:14–16 (MABA volunteers are concerned that accepting gas cards, meals, swag, or a bottle of
water will expose them to criminal liability); Tr. at 1654:2–1657:19 (LULAC volunteers receive modest compensation
in the form of raffle tickets, food, and gasoline money); Tr. at 1763:16–18 (TARA relies primarily on its one paid
field organizer, Judy Bryant); Tr. at 929:6–930:5 (AFT block-walkers include paid staff and volunteers who receive
gas cards, food, “swag,” and raffle tickets for their efforts).



                                                        40
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 41 of 78




censored speech that is “arguably regulated by” the Canvassing Restrictions. 27 Plaintiffs have also

experienced a chilling effect on their associational rights, including their ability to recruit new

members and volunteers and to assist voters during in-person events. 28

                  Plaintiffs’ Organizational Injuries are Traceable to Defendants.

         The injury to Plaintiffs’ and their members’ free speech rights are fairly traceable to the

State Defendants and County DAs, based on their authority to enforce the Canvassing Restriction

under Texas law and willingness to do so.

         Because the Canvassing Restriction “facially restrict[s]” Plaintiffs’ expressive activity the

Court must “assume a credible threat of prosecution in the absence of compelling contrary

evidence.” Fenves, 979 F.3d at 335 (emphasis added). The threat here is traceable to State

Defendants and the County DAs, who, under the circumstances described in the Election Code,




27
  See Tr. at 1718:20–24, 1720:1–15, 1722:3–16, 1722:17–1723:5 (OCA no longer hosts in-person candidate forums
and have stopped offering voter assistance); Tr. at 1599:17–21, 1620:7–1621:1 (LWV does not track whether voters
bring ballots to their events but prospective voters are likely to have their ballots with them during candidate forums,
which are typically held during the voting period); Tr. at 91:18–92:24, 3674:22–3675:11, 3684:13–3685:11, 3685:5–
11 (LUPE has trained its canvassers to cease ballot issue advocacy to voters when a mail ballot is or might be present);
Tr. at 2543:16–23 (MABA members are no longer willing to provide voter assistance); Tr. at 1654:2–1657:19
(LULAC had several counsels terminate their GOTV efforts with senior citizens because they were afraid of being
asked for assistance); Tr. at 1765:19–1766:23 (TARA’s only paid field organizer, is no longer willing to “accept or
set up any tabling invitations or events” once “mail ballots go out” because she does not want to take the chance of a
person “having a mail ballot” when she advocates on behalf of TARA); Tr. at 925:9–12, 926:17–19, 928:2–9, 930:11–
21 (AFT has shifted its focus from in-person voter engagement to communicating with voters by text message, email,
and phone, and must now warn its remaining block-walkers and temporary paid organizers to limit their interactions
with voters so as to not risk criminal penalties).
28
  See Tr. at 1717:5–13, 1721:2–4, 1718:20–24, 1719:3–8, 1720:1–15 (OCA’s attendance at virtual events has been
“abysmal” and S.B. 1 has “decimated” its ability to provide voter assistance at events); Tr. at 1620:7–1621:1 (LWV
“would turn away members with their mail-in ballots from candidate forums”); Tr. at 2543:14–2544:23 (MABA has
had difficulty recruiting members to table events in support of candidates because of SB1 and because members fear
that they might inadvertently commit a crime); Tr. at 1655:10–18 (LULAC volunteers “scaled . . . down” their GOTV
efforts and decided not to conduct voter outreach with seniors, many of whom require voting assistance, for “fear that
they could be subject to prosecution if they help seniors vote by mail”); Tr. at 1766:15–23 (TARA’s mission has been
severely impacted by the restrictions during the early voting period because voter engagement and advocacy efforts
are most critical in the weeks leading up to an election); Tr. at 934:7–21 (AFT’s members are less willing to volunteer
with the organization because they are uncertain about how to comply with the law).



                                                          41
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 42 of 78




are vested with the authority to enforce the Canvassing Restrictions in the various jurisdictions in

which Plaintiffs’ free speech rights have been injured. 29

         That mere possibility that a defendant might exercise his discretion to decline to enforce a

challenged law does not change the analysis: discretion does not obviate authority or defeat

traceability. See, e.g., 303 Creative, 600 U.S. at 581 (“[S]tate officials . . . may bring actions to

enforce the law. . . The Colorado Commission on Civil Rights can issue cease-and-desist orders

and require violators to take various other “affirmative action[s].”). 30 After all, it is the credible

threat of enforcement that has harmed Plaintiffs and their members. See Longoria v. Paxton, No.

SA:21-CV-1223-XR, 2022 WL 447573, at *17 (W.D. Tex. Feb. 11, 2022), vacated and remanded

on other grounds, No. 22-50110, 2022 WL 2208519 (5th Cir. June 21, 2022) (“To be clear, the

irreparable harm alleged in this case is not actual enforcement of the anti-solicitation provision;

the harm is the chilling effect on Plaintiffs’ speech that arises from the credible threat of

enforcement.” (emphasis in original)).

         The injuries to Plaintiffs’ First Amendment rights are traceable to the County DAs, who

have “the specific duty” to prosecute election law violations. In Texas, County DAs are tasked

with enforcing the State’s criminal laws and represent the State of Texas in all criminal cases in


29
  All Plaintiffs operate within the State of Texas and thus are subject to enforcement by the Secretary and the AG.
Among the OCA Plaintiffs, who have also sued the Travis County DA, see ECF No. 200, the League operates in Travis
County, see Tr. at 1586:12–13 (LWV). Among the LULAC Plaintiffs, who have also sued the County DAs of Travis,
Dallas, and Hidalgo Counties, see ECF No. 207, LULAC, TARA, and AFT operate across Texas, including through
local chapters in Dallas County. See Tr. at 1634:6–20 (LULAC); Tr. at 1765:24–1766:5 (TARA); Tr. at 923:18–25
(AFT has 66,000 members across Texas). Among the LUPE Plaintiffs, who have also sued the DAs of Travis County,
Dallas County and the 34th Judicial District (including Hidalgo County), see ECF No. 208, LUPE serves voters in
Hidalgo County, Tr. at 58:13–16, and MABA has chapters throughout the state of Texas, Tr. at 2533:21–23.
30
  In 303 Creative, the Supreme Court held that the plaintiff had established a credible threat of enforcement based on
“Colorado’s” history of enforcement “against nearly identical conduct” and the fact that “Colorado” declined to
disavow future enforcement proceedings. In attributing this conduct to “Colorado,” the Court did not distinguish
between the roles that the two key defendants—the Colorado Civil Rights Commission and the Colorado Attorney
General—played in the previous enforcement proceedings. See 600 U.S. at 581–82 (citing a past enforcement under
the same accommodation law that made its way to the Supreme Court in Masterpiece Cakeshop, Ltd. v. Colorado
Civil Rights Comm’n, 584 U.S. 617 (2018)).


                                                         42
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 43 of 78




their district, unless conflicts arise. Tex. Const. art. 5, § 21; TEX. CODE CRIM. P. ART. 2.01; see

TEX. GOV’T CODE § 43.180(b). “For this reason, courts have long recognized that prosecutors are

‘natural targets for § 1983 injunctive suits since they are the state officers who are threatening to

enforce and who are enforcing the law.’” McCraw, 90 F.4th at 785 (quoting Sup. Ct. of Va. v.

Consumers Union of U.S., Inc., 446 U.S. 719, 736 (1980)).

        By virtue of their positions, DAs are charged with investigating and prosecuting violations

of the Election Code, including the Canvassing Restriction. Stephens, 663 S.W.3d at 52; see also

TEC § 273.001 (granting county and district attorney’s authority to investigate election crimes).

Indeed, all prosecutions under the Election Code require the consent or authorization of the

applicable DA. See Stephens, 663 S.W.3d at 52 (concluding that the AG “can prosecute [crimes

under the Election Code] with the permission of the local prosecutor but cannot initiate prosecution

unilaterally.”). All the County DAs acknowledge that they are responsible for enforcing the

Canvassing Provision. 31

        None of the County DAs have disavowed enforcement of the Canvassing Restriction.

Indeed, the County DAs may not disavow such enforcement under Texas law. See TEX. LOC.

GOV’T CODE § 87.011(3)(B) (prohibiting district attorneys from adopting an enforcement policy

of refusing to prosecute a type or class of criminal offense); see also KVUE, Inc. v. Moore, 709 F.

2d 922, 930 (5th Cir. 1983) (holding that plaintiffs had standing to pursue a pre-enforcement

challenge in part because “the state has not disavowed enforcement”), aff’d sub nom. Texas v.

KVUE-TV, Inc., 465 U.S. 1092 (1984).




31
  See ECF No. 753-6 (Travis County) ¶ 2; ECF No. 753-7 (Dallas County) ¶ 2; ECF No. 753-13 (Hidalgo County) ¶
2; ECF No. 753-8 (El Paso County) ¶ 2.



                                                     43
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 44 of 78




       Plaintiffs’ injuries are traceable to the AG, who, even after Stephens, retains “broad

investigatory powers” under the Election Code, State’s Br. at 49, LUPE v. Scott, No. 22-50775

(5th Cir. Dec. 9, 2022), ECF No. 62, and may “direct the county or district attorney . . . to conduct

or assist the attorney general in conducting the investigation.” See TEC § 273.002(1) (emphasis

added); see also id. § 273.001 (district attorneys must investigate alleged violations referred to

them). On top of this investigative power, “the Attorney General can prosecute with the permission

of [a] local prosecutor,” Stephens, 663 S.W.3d at 55, and no County DA has disavowed a

willingness to let the AG pursue cases within their counties.

       Plaintiffs’ injuries are also traceable to the Secretary. The Secretary must review

complaints about potential violations of elections laws and, upon finding probable cause to believe

that a crime occurred, refer the case to (and provide all relevant documents) to the AG. TEC §

31.006; see also TEC § 276.019 (“A public official or election official may not create, alter, modify,

waive, or suspend any election standard, practice, or procedure mandated by law or rule in a

manner not expressly authorized by this code.”). Because this duty is mandatory under the Election

Code, absent injunctive relief against the Secretary, she will be forced to refer potential violations

of the Canvassing Restriction to the AG—even if the AG has himself been enjoined from enforcing

TEC § 276.015. The threat of a such a referral to the AG could still chill Plaintiffs’ speech by

inviting the AG to embark on an arbitrary and discriminatory fishing expedition.

               Plaintiffs’ Organizational Injuries are Redressable by Defendants.

       Finally, the Court finds that Plaintiffs’ injuries are “likely to be redressed by a favorable

judicial decision.” Spokeo, Inc., 578 U.S. at 338. An order declaring the Canvassing Restriction

unlawful and enjoining its enforcement would remove the chill that the provision presently

imposes on Plaintiffs and their members. See Ctr. for Individual Freedom v. Carmouche, 449 F.3d




                                                 44
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 45 of 78




655, 661 (5th Cir. 2006) (finding “redressability prong[] of the standing inquiry . . . easily satisfied”

where “[p]otential enforcement of the statute caused the [plaintiff’s] self-censorship, and the injury

could be redressed by enjoining enforcement of the [statute]”); Nat’l Press Photographs Ass’n v.

McCraw, 504 F. Supp. 3d 568, 582 (W.D. Tex. 2020), aff’d 90 F.4th 770 (5th Cir. 2024) (similar).

         In short, Plaintiffs’ position with respect to Section 7.04’s Canvassing Restriction is

“sufficiently adverse” to the State Defendants and the County DAs to present a case or controversy

within this Court’s jurisdiction. Babbitt, 442 U.S. at 302. 32

         Satisfied of its jurisdiction, the Court turns to the merits of Plaintiffs’ constitutional

challenges to the Canvassing Restriction.

PLAINTIFFS’ CONSTITUTIONAL CHALLENGES

         Plaintiffs challenge the Canvassing Restriction as applied to their in-person advocacy with

voters in the presence of a mail ballot in multiple contexts, including interactions in which voters

have asked Plaintiffs’ staff members and volunteers questions involving their mail ballots or for



32
  Many, if not all, of the Plaintiffs, would also have associational standing as membership organizations with members
in Texas who receive compensation or other benefits in connection with their in-person canvassing activities. Cf.
Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 600 U.S. 181, 201 (2023) (where “an
organization has identified members and represents them in good faith, our cases do not require further scrutiny into
how the organization operates”).

Plaintiffs’ individual members would independently meet the Article III standing requirements because they have
engaged in self-censorship of speech that is arguably regulated by the Canvassing Restriction. See, e.g., Tr. at 1765:19–
1766:23 (TARA’s only paid field organizer, Judy Bryant, is no longer willing to “accept or set up any tabling
invitations or events” once “mail ballots go out” because she does not want to take the chance of a person “having a
mail ballot” when she advocates on behalf of TARA).

Their First Amendment injuries are traceable to the State Defendants and the County DAs, based on their power to
enforce the Canvassing Restriction under Texas law. Moreover, the free speech interests that Plaintiffs seek to protect
are germane to their respective organizational missions. See, e.g., Tr. at 1762:8–19, 1764:3–10, (TARA educates and
mobilizes its members and volunteers to advance the interests of seniors citizens in Texas by engaging with voters in
person about local and state candidates and ballot measures that would advance TARA’s mission). Because Plaintiffs
seek prospective and injunctive relief, rather than individualized damages, the participation of their members is not
required. See Consumer Data Indus. Ass’n, 2023 WL 4744918, at *4 n.7.

The Court need not examine Plaintiffs’ associational standing to challenge the Canvassing Restriction in any further
detail, however, considering the obvious organizational interests at stake.


                                                          45
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 46 of 78




assistance completing them. The OCA Plaintiffs and LUPE Plaintiffs also assert facial challenges

to the Canvassing Restriction as overbroad and unconstitutionally vague. See ECF Nos. 200, 208.

        “Confusion abounds over the scope of as-applied and other types of First Amendment

challenges that a plaintiff can pursue when challenging a statute,” Just. v. Hosemann, 771 F.3d

285, 292 (5th Cir. 2014), but the primary distinction “goes to the breadth of the remedy employed

by the Court, not what must be pleaded in a complaint.” Citizens United, 558 U.S. at 331.

         “[T]he overbreadth doctrine enables litigants ‘to challenge a statute not because their own

rights of free expression are violated, but because of a judicial prediction or assumption that the

statute’s very existence may cause others not before the court to refrain from constitutionally

protected speech or expression.’” Hill v. Colorado, 530 U.S. 703, 731–32 (2000) (quoting

Broadrick v. Oklahoma, 413 U.S. 601, 612 (1973)); Sec’y of State of Md. v. Joseph H. Munson

Co., 467 U.S. 947, 958 (1984) (“Facial challenges to overly broad statutes are allowed not

primarily for the benefit of the litigant, but for the benefit of society[.]”).

        In the First Amendment context, facial challenges require courts to evaluate whether “a

substantial number of [the law’s] applications are unconstitutional, judged in relation to the

statute’s plainly legitimate sweep.” Moody v. NetChoice, LLC, 144 S. Ct. 2383, 2397 (2024)

(finding in the “singular” First Amendment context, “even a law with a plainly legitimate sweep

may be struck down in its entirety. But that is so only if the law’s unconstitutional applications

substantially outweigh its constitutional ones.”) (citation and internal quotations omitted).

        “[E]ven if an enactment does not reach a substantial amount of constitutionally protected

conduct, it may be impermissibly vague because it fails to establish standards for the police and

public that are sufficient to guard against the arbitrary deprivation of liberty interests.” City of

Chicago v. Morales, 527 U.S. 41, 52 (1999) (citing Kolender v. Lawson, 461 U.S. 352, 358 (1983)).




                                                   46
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 47 of 78




       As a practical matter, the Court will begin its analysis with Plaintiffs’ facial challenges

because, the “first step” in overbreadth and vagueness cases is to “construe the challenged statute.”

United States v. Williams, 553 U.S. 285, 293 (2008) (“[I]t is impossible to determine whether a

statute reaches too far without first knowing what the statute covers.”); Vill. of Hoffman Ests. v.

Flipside, Hoffman Ests., Inc., 455 U.S. 489, 494 (1982) (“In a facial challenge to the overbreadth

and vagueness of a law, a court’s first task is to determine whether the enactment reaches a

substantial amount of constitutionally protected conduct.”).

               The Canvassing Restriction is subject to strict scrutiny.

       The threshold question is what level of scrutiny applies to the Canvassing Restriction. See

Turner Broad. System, Inc. v. FCC, 512 U.S. 622, 637 (1994). The Canvassing Restriction is

subject to strict scrutiny both because it is a content-based and because it burdens Plaintiffs’ core

political speech.

       The First Amendment to the U.S. Constitution protects against laws “abridging the freedom

of speech.” Free speech is protected both “from abridgment by Congress” and “from impairment

by the States.” Gitlow v. New York, 268 U.S. 652, 666 (1925). Accordingly, under the First

Amendment, states have “no power to restrict expression because of its message, its ideas, its

subject matter, or its content.” Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015) (quoting

Police Dept. of Chicago v. Mosley, 408 U.S. 92, 95 (1972)).

       Content-based restrictions on speech “single[] out specific subject matter for differential

treatment.” City of Austin v. Reagan Nat’l Advert. of Austin, LLC, 596 U.S. 61, 69 (2022) (quoting

Reed, 576 U.S. at 169). They distinguish between “favored” and “disfavored speech.” Serv. Emps.

Int’l Union, Loc. 5 v. City of Houston, 595 F.3d 588, 596 (5th Cir. 2010). “[A] speech regulation




                                                 47
       Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 48 of 78




targeted at specific subject matter is content based even if it does not discriminate among

viewpoints within that subject matter.” Reagan Nat’l Advert., 596 U.S. at 71 (citation omitted).

       Courts apply “strict scrutiny” to content-based restrictions on speech and laws that burden

political expression. See Reed, 576 U.S. at 163–64 (content-based restrictions); Meyer v. Grant,

486 U.S. 414, 420 (1988) (political speech); Citizens United, 558 U.S. at 340 (same); Veterans of

Foreign Wars, 760 F.3d at 438–39 (same). Such laws are “presumptively unconstitutional and may

be justified only if the government proves that they are narrowly tailored to serve compelling state

interests.” Reed, 576 U.S. at 163.

       Strict scrutiny is required because the First Amendment “‘has its fullest and most urgent

application’ to speech uttered during a campaign for political office.” Eu v. San Francisco Cnty.

Democratic Cent. Comm., 489 U.S. 214, 223 (1989) (quoting Monitor Patriot Co. v. Roy, 401 U.S.

265, 272 (1971)). Efforts to encourage voters to support a candidate or ballot measure constitute

“the type of interactive communication concerning political change that is appropriately described

as ‘core political speech.’” Meyer, 486 U.S. at 421–22. That is because “‘[f]ree trade in ideas’

means free trade in the opportunity to persuade to action, not merely to describe facts.” NAACP v.

Button, 371 U.S. 415, 437 (1963) (quoting Thomas v. Collins, 323 U.S. 516, 537 (1945)). Thus,

facial challenges to overly broad statutes are allowed not primarily for the benefit of the litigant,

but for the benefit of society—to prevent the statute from chilling the First Amendment rights of

other parties not before the court. Sec’y of State of Md. v. Joseph H. Munson Co., 467 U.S. 947,

958 (1984).

       The Canvassing Restriction is content based because it “single[s] out specific subject

matter”—speech intended to deliver votes for a specific candidate or measure—“for differential

treatment.” Reagan Nat’l Advert., 596 U.S. at 69 (quoting Reed, 576 U.S. at 169). No other




                                                 48
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 49 of 78




category of speech is targeted for similar disfavored treatment. City of Houston, 595 F.3d at 596

(holding that content-based regulations are those that distinguish between “favored” and

“disfavored speech”). It does not matter that the Canvassing Restriction does not target speech in

support of specific candidates or measures—a regulation is content-based “even if it does not

discriminate among viewpoints within that subject matter.” Reagan Nat’l Advert., 596 U.S. at 71.

       Plaintiffs’ in-person voter engagement activities constitute “the type of interactive

communication concerning political change that is appropriately described as ‘core political

speech.’” Meyer, 486 U.S. at 421–22; see also NAACP v. Button, 371 U.S. 415, 437 (1963) (“‘Free

trade in ideas’ means free trade in the opportunity to persuade to action” (quoting Thomas v.

Collins, 323 U.S. 516, 537 (1945))). Urging voters to support particular measures or candidates

during in-person interactions—the category of speech targeted by the Canvassing Restriction—is

fundamentally expressive, and an individual or organization that conducts such activities engages

in core political speech.

       The State Defendants incorrectly assert that Anderson/Burdick governs the level of scrutiny

applicable to Plaintiffs’ challenge to the Canvassing Restriction, based on a misreading of the Fifth

Circuit’s decision in Voting for America Inc. v. Steen, 732 F.3d 382, 385 (5th Cir. 2013).

       Steen involved a challenge to Texas regulations governing the appointment of volunteer

deputy registrars (“VDRs”), who are trained and empowered under Texas law to collect and deliver

completed voter registration applications. Id. Specifically, the regulations provided that VDRs

must be Texas residents and that they could register voters only for counties in which the VDRs

had been appointed. Id. at 389. Reversing the district court’s preliminary injunction, the Fifth

Circuit acknowledged that VDRs often engage in core political speech by “soliciting, urging and




                                                 49
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 50 of 78




persuading the citizen to vote,” id. at 390, but concluded that the VDR provisions did not impose

any burden on such speech:

             The Non–Resident and County provisions do not in any way restrict or
             regulate who can advocate pro-voter-registration messages, the manner in
             which they may do so, or any communicative conduct. They merely regulate
             the receipt and delivery of completed voter-registration applications, two
             non-expressive activities.

Id. at 391 (citations omitted). In other words, prohibiting out-of-state canvassers from registering

voters in Texas did not affect their ability to promote voter registration in Texas. Moreover, the

voter registration application itself did not represent the VDR’s speech, the majority reasoned, but

the voter’s speech. Id. at 390. Because the canvassers’ speech was “distinct from both the collection

and delivery of the forms and from the voters’ ‘speech’ in registering,” registration drives could

not be considered “expressive conduct” protected by the First Amendment. Id. at 391. Despite

finding it “indisputable” that requirements “burden[ed] no one’s core political speech,” the

majority addressed the alleged burden on the canvassers’ purportedly expressive conduct under

Anderson-Burdick for the sake of argument. See id. at 392–96 (concluding that any burden was

minimal and justified by Texas’s interest in preventing voter registration fraud).

        Steen does not stand for the proposition that any election-related speech should be analyzed

under Anderson-Burdick. To the contrary, the Supreme Court has made clear that while Anderson-

Burdick applies to laws and regulations that “control the mechanics of the electoral process,” it

does not apply to “a regulation of pure speech,” even in the election context. McIntyre v. Ohio

Elections Comm’n, 514 U.S. 334, 345 (1995).

        Burdens on core political speech during elections, like all burdens on core political speech,

are subject to strict scrutiny. Id. at 347. 33 And with good reason: it would defy logic to subject a


33
  See also Buckley v. Am. Const. L. Found., Inc., 525 U.S. 182, 207 (1999) (Thomas, J., concurring) (“When a State’s
election law directly regulates core political speech, we have always subjected the challenged restriction to strict


                                                        50
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 51 of 78




content-based restriction of core political speech to lesser scrutiny because it happens to regulate

speech during elections, when “the importance of First Amendment protections” is at its “zenith.”

Meyer, 486 U.S. at 425; see also McIntyre, 514 U.S. at 346–47 (noting political speech “occupies

the core of the protection afforded by the First Amendment” and that “[n]o form of speech is

entitled to greater constitutional protection”). Indeed, “it can hardly be doubted that the

constitutional guarantee [of free speech] has its fullest and most urgent application precisely to the

conduct of campaigns for political office.” Serafine v. Branaman, 810 F.3d 354, 361 (5th Cir. 2016)

(holding that content-based restriction in election context was subject to “exacting scrutiny” (citing

McIntyre, 514 U.S. at 347)). 34

         The State Defendants have not identified any election-related conduct purportedly

regulated by the Canvassing Restriction—let alone non-expressive conduct—suggesting that it is

directed toward the “mechanics of the electoral process” as opposed to “pure speech.” Indeed,

outside of voting assistance (which, as discussed herein, the State Defendants insist is still

permitted under the Canvassing Restriction), it is unclear to the Court how a canvasser could



scrutiny and required that the legislation be narrowly tailored to serve a compelling governmental interest.”); Mazo v.
N.J. Sec’y of State, 54 F.4th 124, 138, 142 (3d Cir. 2022), cert. denied sub nom. Mazo v. Way, 144 S. Ct. 76 (2023)
(concluding that Anderson-Burdick applies only to laws that “primarily regulate the mechanics of the electoral process,
as opposed to core political speech,” not to laws “that are primarily directed at regulating ‘pure speech’”) (quoting
McIntyre, 514 U.S. at 345); Lichtenstein v. Hargett, 83 F.4th 575, 593 (6th Cir. 2023) (explaining the Supreme Court
has “applied strict scrutiny—not Anderson-Burdick balancing—to many election laws” implicating core political
speech) (collecting cases); Fusaro v. Cogan, 930 F.3d 241, 258 (4th Cir. 2019) (observing the Supreme Court has
“distinguished between laws that . . . regulate ‘pure speech,’” and those subject to Anderson-Burdick); Campbell v.
Buckley, 203 F.3d 738, 745 (10th Cir. 2000) (recognizing “strict scrutiny,” rather than Anderson-Burdick, “is applied
where the government restricts the overall quantum of speech available to the election or voting process”); Cotham v.
Garza, 905 F. Supp. 389, 396 (S.D. Tex. 1995) (holding that provisions governing the mechanics of voting are subject
to Anderson-Burdick while a “content-based restriction on core political speech” is subject to strict scrutiny).
34
   Although the Supreme Court at times has used the terms “strict” and “exacting” scrutiny interchangeably when
describing the relevant standard of review for content-based restrictions, more recent Supreme Court precedent has
clarified that both content-based regulations and laws that restrict political speech are subject to strict scrutiny. See,
e.g., City of Austin, 596 U.S. at 68–69 (content-based regulations warrant application of strict scrutiny); Reed, 576
U.S. at 164 (content-based regulations must satisfy strict scrutiny); Citizens United, 558 U.S. at 340 (laws burdening
political speech are subject to strict scrutiny); United States v. Playboy Ent. Grp., Inc., 529 U.S. 803, 812–13 (2000)
(subjecting content-based restriction to strict scrutiny).



                                                           51
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 52 of 78




engage in an “in-person interaction” with a voter “intend[ing] to deliver votes for a specific

candidate or measure” without engaging in core political speech. 35

         Any argument that the Canvassing Restriction regulates conduct—e.g., the payment of

“compensation or other benefit”—rather than speech is foreclosed by Citizens United, 558 U.S. at

351 (applying strict scrutiny to a ban on independent corporate expenditures for electioneering

communications); see also Buckley v. Valeo, 424 U.S. 1 (1976). “A restriction on the amount of

money a person or group can spend on political communication during a campaign necessarily

reduces the quantity of expression by restricting the number of issues discussed, the depth of their

exploration, and the size of the audience reached.” Buckley, 424 U.S. at 19. As the Supreme Court

has acknowledged, “all speakers, including individuals and the media, use money amassed from

the economic marketplace to fund their speech,” Citizens United, 558 U.S. at 351:

             [V]irtually every means of communicating ideas in today’s mass society
             requires the expenditure of money. The distribution of the humblest
             handbill or leaflet entails printing, paper, and circulation costs. Speeches
             and rallies generally necessitate hiring a hall and publicizing the event. The
             electorate’s increasing dependence on television, radio, and other mass
             media for news and information has made these expensive modes of
             communication indispensable instruments of effective political speech.

Buckley, 424 U.S. at 19. “The First Amendment protects the resulting speech.” Citizens United,

558 U.S. at 351.

         Strict scrutiny applies to the Canvassing Restriction.




35
   The Canvassing Restriction does regulate voters’ conduct insofar as it prevents them from voting by mail in the
presence of a paid canvasser advocating for a particular candidate or ballot measure. Indeed, the LUPE Plaintiffs have
in fact challenged Section 7.04’s impact on voters as an unconstitutional burden on the right to vote in violation of the
First and Fourteenth Amendments and acknowledge that Anderson-Burdick applies to that claim. See ECF No. 208 ¶¶
219–29; see also ECF No. 854 § V. This order is limited to Plaintiffs’ free speech and overbreadth challenges to
Section 7.04 in their capacity as canvassers.



                                                          52
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 53 of 78




The Canvassing Restriction is Facially Overbroad

       The Legal Framework

       A “law imposing criminal penalties on protected speech is a stark example of speech

suppression,” Ashcroft v. Free Speech Coal., 535 U.S. 564, 573 (2002), and the overbreadth

doctrine permits courts to invalidate laws with civil or criminal penalties that might chill or dampen

expressive activity of members of the public at large:

           Many persons, rather than undertake the considerable burden (and
           sometimes risk) of vindicating their rights through case-by-case litigation,
           will choose simply to abstain from protected speech—harming not only
           themselves but society as a whole, which is deprived of an uninhibited
           marketplace of ideas. Overbreadth adjudication, by suspending all
           enforcement of an overinclusive law, reduces these social costs caused by
           the withholding of protected speech.

Virginia v. Hicks, 539 U.S. 113, 119 (2003) (citations omitted). Still, “invalidating a law that in

some of its applications is perfectly constitutional . . . has obvious harmful effects.” United States

v. Williams, 553 U.S. 285, 292 (2008).

       To “strike[] a balance between competing social costs,” a court considering a First

Amendment overbreadth challenge should invalidate the statute only if a significant number of its

applications are unconstitutional, considering the statute’s intended scope. United States v. Stevens,

559 U.S. 460, 473 (2010).

               The Scope of the Canvassing Restriction

       The Court first “assess[es] the state law’s scope.” Moody, 144 S. Ct. at 2398. The

Canvassing Restriction imposes criminal liability on anyone who receives or offers “compensation

or other benefit” and engages in speech that is “intended to deliver votes for a specific candidate

or measure” in “the physical presence” of a mail ballot. TEC § 276.015.




                                                 53
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 54 of 78




        Neither the Secretary nor the OAG has provided any guidance on the meaning of the

Canvassing Restriction. Tr. at 1914:7–14, 1924:7–18, 1924:24–1925:3.

       The Canvassing Restriction is not limited to instances of voter fraud or coercion.

        Despite the text of the statute, Mr. Ingram testified that vote harvesting involves “physical

presence, intimidation, making sure that a voter marked one box one way,” Tr. at 1914:1–6, and

occurs when somebody puts pressure on a voter to vote a particular way on a particular race[.]”

Tr. at 4427:7–18. However, the Canvassing Restriction says nothing about “intimidation,” “making

sure the voter marked one box one way,” or putting “pressure on a voter.” See generally TEC §

276.015.

        The Canvassing Restriction criminalizes compensation for interactions rather than the

actual delivery of votes and imposes liability based on the intent of the voter outreach activity—to

encourage a voter to support a particular candidate or ballot measure—rather than its actual effect

on a voter. Nothing in the text of the statute limits its application based on the voter’s perception

of the interaction.

        The text of the Canvassing Restriction reaches activities in the presence of a mail ballot

regardless of the interaction’s ability to affect the voter. By its text, Section 7.04 does not even

permit an organizer to continue speaking in the presence of a mail ballot that the organizer learns

will never deliver a vote for her cause, simply because she entered the interaction with the intent

to garner electoral support. Section 7.04 is silent as to the canvasser’s knowledge about the voter’s

intent or ability to actually cast the ballot that happens to be present in favor of the canvasser’s

preferred candidate or measure. The ballot may have already been completed in favor of an

opposing candidate or measure. A voter in possession of a mail-in ballot may become ineligible to

vote by mail under Texas law due to changes in her travel plans (or some other change in




                                                 54
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 55 of 78




circumstances) 36 and decide to surrender his mail ballot at a polling station and vote in person.

Likewise, the ballot materials might contain some damage or defect that would invalidate the

ballot. There is no chance that the canvasser’s compensated speech would, under those

circumstances, intimidate or pressure a voter during the voting process.

         The text of the Canvassing Restriction reaches organizers who provide voter assistance at

a voter’s request. The State Defendants assert that such assistance falls outside the purview of

Section 7.04 because it is not “designed to deliver votes for or against a specific candidate or

measure.” ECF No. 862 ¶ 479 (citing TEC §276.05(e)); see also ECF No. 608 at 36.

         But any efforts designed to increase turnout among voters who are already likely to vote

for the organization’s preferred candidate or measure are, arguably “designed to deliver votes for

the candidate or measure.” Thus, training canvassers on how to provide non-coercive voting

assistance to LEP and disabled voters upon request during candidate forums or block-walking

would be arguably “designed to deliver votes for a specific candidate or measure” if the

organization’s outreach efforts were directed toward like-minded voters.

         The expansive reach of the term “interaction”—as opposed to “communication” or

“speech” or “advocacy”— compels the same conclusion because it very clearly encompasses both

core    political     speech      and     voting      assistance.     See     Interaction,      Merriam-Webster,

https://www.merriam-webster.com/dictionary/interaction (last visited Sept. 24, 2024) (defining

“interaction” means “mutual or reciprocal action or influence”). Nothing in the text of the

Canvassing Restrictions suggests that a voter who asks a canvasser for voting assistance while




36
  Texas authorizes several categories of voters to vote by mail. These include voters who are 65 years of age or older,
disabled voters who cannot vote in person on Election Day “without the likelihood of needing personal assistance or
injuring [their] health,” voters absent from their home counties for the entire in-person voting period, and voters who
expect to give birth near Election Day. TEC §§ 82.001–004, .007–.008.



                                                         55
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 56 of 78




discussing a ballot measure begins a new, distinct “interaction” that is no longer imbued with the

canvasser’s original intent.

         Finally, the text of the Canvassing Restriction can be read to impose criminal liability on

the very voters it purports to protect. For example, a voter discussing his mail ballot with a like-

minded GOTV volunteer would arguably violate Section 7.04 by offering a glass of water as a

pick-me-up during a hot afternoon of door-knocking. See TEC § 276.015 (making it a crime to

offer a benefit for the canvasser’s “services”). 37 Likewise, a paid organizer could violate the statute

by using her own mail-in ballot as a visual aid during conversations with voters. Section 7.04

criminalizes both interactions, even though neither voter faces risk of coercion or intimidation

based on the “compensation” involved or the “presence” of a mail ballot.

         The Canvassing Restriction is not limited to speech during active voting.

         The State Defendants insist that the Canvassing Restriction is merely a restriction on the

timing of canvassers’ speech only “in situations where an individual is actively voting or is being

pressured to do so.” ECF No. 862 ¶ 1038; see also Tr. at 1915:12–16 (Mr. Ingram’s testimony that

illegal vote harvesting is limited to “whenever the voter and the harvester get together and they’re

reviewing the ballot together, and then they get down to that candidate, and the harvester makes

sure they check the right box[.]”).

         Here, again, because nothing in the text of the Canvassing Restriction even limits its

application to interactions involving live ballots, it appears to apply to interactions in the presence

of mail ballots that will never actually be cast.



37
   This application of the Canvassing Restriction is not purely hypothetical. At trial, Grace Chimene, testifying on
behalf of the League, was especially worried that League volunteer activities’ during door-to-door canvassing could
expose voters to criminal liability: “It’s not just my concern for the league members, but it’s also a concern if just a
voter that were helping provides compensation, or the place that they live provides compensation of some type that
they may be committing a crime.” Tr. at 1592:1–5; cf. Tr. at 1904 (Keith Ingram’s testimony that a voter would violate
Section 6.06’s bar on compensated assistance by offering a volunteer $20 to help them vote).


                                                          56
       Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 57 of 78




       Even with respect to live ballots, the State Defendants’ position is unsupported by the text

of the provision, which applies to interactions that occur “in the presence of the ballot or during

the voting process.” TEC § 276.015(e)(2) (emphasis added). Nothing in S.B. 1 or the Election

Code defines what it means for an individual to be in the “physical presence” of a ballot. Tr. at

1914:18–20. According to the State Defendants, “‘physical presence’ does not simply mean in the

same house or within a particular distance, it means a vote harvester going through the ballot with

the voter and ensuring the voter chooses the harvester’s candidate.” ECF No. 862 ¶ 479. To have

any meaning at all, however, “in the physical presence of a ballot” must extend beyond the voting

process itself. Cf. Nielsen v. Preap, 586 U.S. 392 (2019) (explaining that, under the interpretative

canon against surplusage, “every word and every provision is to be given effect [and n]one should

needlessly be given an interpretation that causes it to duplicate another provision or to have no

consequence.” (quotation marks and citation omitted)). As discussed below in connection with

Plaintiffs’ vagueness claims, however, it is anyone’s guess how far the Canvassing Restriction

reaches beyond ballots that are being actively voted.

       Having construed the Canvassing Provision, the next step is to “decide which of the [law’s]

applications violate the First Amendment, and to measure them against the rest.” Moody, 144 S.

Ct. at 2398.

               The Canvassing Restriction is unconstitutional in a large number of applications

       Because the Canvassing Restriction is subject to strict scrutiny, the State Defendants must

“prove that the restriction furthers a compelling interest and is narrowly tailored to achieve that

interest.” Veterans of Foreign Wars, 760 F.3d at 438 (quoting Citizens United, 558 U.S. at 340).




                                                57
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 58 of 78




                        Legal Standard

        A law is “narrowly tailored” if it (1) actually advances the state’s interest, (2) does not

sweep too broadly, (3) does not leave significant influences bearing on the interest unregulated

(i.e., is not underinclusive), and (4) could be replaced by no other regulation that could advance

the interest as well with less infringement of speech (is the least-restrictive alternative). Id. at 427.

        Speech restrictions cannot “sweep too broadly” if they are to be considered “narrowly

tailored.” Id. at 440 (quoting Republican Party of Minn. v. White, 416 F.3d 738, 751 (8th Cir. 2005)

(en banc)). The Government must identify an “actual problem” in need of solving, United States

v. Playboy Ent. Grp., Inc., 529 U.S. 803, 813 (2000), and demonstrate that restricting free speech

is necessary to the solution, see R.A.V. v. City of St. Paul, 505 U.S. 377, 395 (1992). In other words,

“if a less restrictive alternative would serve the Government’s purpose, the legislature must use

that alternative.” Playboy, 529 U.S. at 813; see also Serv. Emps. Int’l Union, 595 F.3d at 603–04

(holding that Houston’s broad restriction on the timing of parades was not narrowly tailored

because the city could have advanced its interests with less restrictive alternatives); see generally

Citizens United, 558 U.S. at 340.

        In addition to overbreadth, evidence of underinclusivity can defeat a statute subject to strict

scrutiny. See Reed, 576 U.S. at 172 (“[A] ‘law cannot be regarded as protecting an interest of the

highest order, and thus as justifying a restriction on truthful speech, when it leaves appreciable

damage to that supposedly vital interest unprohibited[.]’”) (quoting Republican Party of Minn. v.

White, 536 U.S. 765, 780 (2002)).

                        Analysis

        The State Defendants insist that Section 7.04 of S.B. 1 “was enacted to prevent paid

partisans from haranguing Texas citizens while they fill out their mail ballots.” ECF No. 862 ¶




                                                   58
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 59 of 78




1023. “It applies,” they argue, “only to individuals who are paid to press individuals to fill out their

ballots—in the canvasser’s presence—in particular ways. It does not apply to canvassing beyond

that narrow situation.” ECF No. 862 ¶ 1023 (citations omitted).

       To the contrary, the Canvassing Restriction is unconstitutional precisely because, by its

plain text, it reaches beyond that narrow situation to protected speech in a substantial number of

its applications. Moreover, it is unclear to the Court that County DAs would even be able to adopt

such a limiting construction without violating TEX. LOCAL GOV’T CODE § 813(B), which prohibits

DAs from adopting any policy that “prohibits or materially limits the enforcement of any criminal

offense.”

       The State Defendants’ proposed limiting constructions are unsupported by the text and, in

any event, would not satisfy strict scrutiny because the Canvassing Restriction, besides being

overbroad, (1) does not actually advance the state’s interest, (2) is underinclusive, and (3) could

be replaced with a less restrictive alternative. See Veterans of Foreign Wars, 760 F.3d at 438.

       The Canvassing Restriction does not advance any state interests.

       To be clear, Plaintiffs do not suggest that the First Amendment confers upon canvassers an

unfettered right to “harangue” a voter as she is casting a mail ballot—with or without the

canvasser’s assistance. States, to be sure, have an “important state interest” in “[e]nsuring that

every vote is cast freely,” Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2341 (2021).

       Indeed, Plaintiffs acknowledge that the Election Code already imposes criminal penalties

against “effort[s] to influence the independent exercise of the vote of another in the presence of

the ballot or during the voting process,” TEC § 276.013, or voting (or attempting to vote) a ballot

belonging to another person, or attempting to mark another person’s ballot without their consent

or specific direction, TEC § 64.012. Similarly, it is already a crime for a voting assistor to




                                                  59
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 60 of 78




“suggest[] by word, sign, or gesture how the voter should vote” while providing such assistance

or “prepare[] the voter’s ballot in a way other than the way the voter directs or without direction

from the voter.” TEC § 64.036.

       The fact that these preexisting provisions target the very conduct purportedly regulated by

the Canvassing Restriction indicate that the law is not “necessary” to serve the government’s

interests. R.A.V., 505 U.S. at 395; see also, e.g., Veterans of Foreign Wars, 760 F.3d at 441 (holding

that a statute’s provision was not narrowly tailored because the purported interest it served was

already met by a different provision).

       The State Defendants dismiss concerns expressed by voters and election officials alike as

“farfetched” and “fanciful hypotheticals.” ECF No. 862 ¶¶ 1018, 1022. But, for their part, the State

Defendants have not offered even hypothetical scenarios in which the Canvassing Restriction

would serve the government’s interest in ways that are not already accomplished by other criminal

provisions of the Election Code, let alone identified an “actual problem” in need of solving. United

Playboy Ent. Grp., Inc., 529 U.S. at 813. The State Defendants failed to offer any evidence that

voters have been confused or improperly influenced by “compensated” canvassers for community-

based organizations who advocated in the presence of mail-in ballots. Nor is there any evidence

that the preexisting limitations on mail-in ballot assistance were insufficient to identify and

prosecute the few alleged instances of misconduct in Texas.

       The Canvassing Restriction is not narrowly tailored to any compelling interest.

       Even if the Canvassing Restriction served Texas’s interest in preventing its citizens from

being “harangued” while they fill out their mail ballots, ECF No. 862 ¶ 1023, it is not narrowly

tailored to that purpose because, as discussed, nothing in the text of the Canvassing Restriction

limits its application to “haranguing” speech or even speech that occurs during the voting process.




                                                 60
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 61 of 78




See Am. Booksellers, 484 U.S. at 397 (“[T]he statute must be readily susceptible to the limitation;

we will not rewrite a state law to conform it to constitutional requirements.” (quotation omitted)).

        The Canvassing Restriction “sweep[s] too broadly.” Veterans of Foreign Wars, 760 F.3d at

440. It is clear that Section 7.04 “could be replaced by . . . [an]other regulation that could advance

the interest . . . with less infringement of speech,” id.

        If the legislature sought to prohibit canvassers from “haranguing” voters as they filled out

their ballots, it could have said so. Instead, Section 7.04’s broad terms extend its application to any

“in-person interaction,” from conversations at the voter’s front door to conversations at the post

office, sweeping in vast swaths of protected First Amendment activity. Rather than prohibiting

protected expression—“intended[ed] to deliver votes for a specific candidate or measure”—the

legislature could have crafted language specifically targeting speech that is “intended to defraud,

confuse, unduly influence or deceive.” Likewise, rather than restricting speech whenever a ballot

is merely “present,” the restriction at issue easily could have been limited to instances when a voter

is actively completing their ballot.

        Not only would a less restrictive provision serve the Government’s purported interest, but

it would also serve the Government’s interests better than the Canvassing Restriction. Instead of

targeting interactions with voters, the legislature could have discouraged “vote harvesting” activity

by criminalizing compensation based on a canvasser’s actual delivery of votes. See 44 Liquormart,

Inc. v. Rhode Island, 517 U.S. 484, 512 (1996) (“[T]he First Amendment directs that government

may not suppress speech as easily as it may suppress conduct, and that speech restrictions cannot

be treated as simply another means that the government may use to achieve its ends.”). Indeed,




                                                   61
           Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 62 of 78




before S.B. 1, TEC § 86.105 prohibited “performance-based compensation” for voting assistance

based on the number of voters assisted or a quota of voters to be assisted. See JEX 1 at 54–55. 38

           Comparisons to Texas’s electioneering regulations are inapposite.

           The State Defendants insist that the protection afforded by the Canvassing Restriction is

“precisely what Texas gives in-person voters by requiring campaigners and partisans to remain

100 feet away from in-person polling places.” ECF No. 862 ¶ 1024; TEC §§ 61.003, 85.036. The

analogy to in-person voting is inapt, for a number of reasons.

           To begin, such electioneering laws apply only in specific locations—within 100 feet of

polling places—and thus implicate the Supreme Court’s “‘forum based’ approach for assessing

restrictions that the government seeks to place on the use of its property.” Minn. Voters All. v.

Mansky, 585 U.S. 1, 11 (2018) (quoting Int’l Soc. for Krishna Consciousness, Inc. v. Lee, 505 U.S.

672, 678 (1992)) (“A polling place in Minnesota qualifies as a nonpublic forum. It is, at least on

Election Day, government-controlled property set aside for the sole purpose of voting. The space

is a special enclave, subject to greater restriction.” (quotations omitted)).

           That approach is impossible here, because there are no restrictions on where in the state a

mail-ballot may be present or voted—including in traditional public forums, where content-based

restrictions remain subject to strict scrutiny. Id. The Canvassing Restriction, then, according to the

State Defendants, effectively converts the entirety of Texas into a polling place where

conversations about candidates can create criminal liability. Under the State Defendants’ theory,

in weeks before an election, public parks and streets will vacillate from moment to moment

between being traditional public forums and non-public forums designated for voting depending

on whether a voter happens to be carrying or a casting a mail ballot on the premises. This position


38
     Section 6.06 of S.B. 1 amended TEC § 86.105 to prohibit all compensation for voting assistance.



                                                          62
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 63 of 78




fails as a matter of law and common sense. 39 Cf. Burson v. Freeman, 504 U.S. 191, 207–08 (1992)

(upholding campaign-free zone outside the polls based on “common sense” that a was “necessary”

to secure the advantages of the secret ballot and protect the right to vote).

         The Canvassing Restriction itself implicitly acknowledges the difference in circumstances

by requiring an “in-person interaction” between the canvasser and a voter in the context of mail

ballots, while the electioneering provision prohibits individuals from “posting, us[ing], or

distribut[ing] political signs or literature” or “loiter[ing]” within 100 feet of the door to a building

in which a polling place is located. TEC § 61.003.

         Because of the flexibility that voting by mail provides, mail voters who encounter

unwelcome canvassing activities can simply put their ballots away and vote some other time. In-

person voters, in contrast, do not have free rein to decide where to vote or the authority to control

who else shows up at the polling place. In-person voters are essentially captives to the

circumstances of their polling locations from the moment they get in line until they receive their

“I voted” sticker.

         Accordingly, the State of Texas has exercised its authority to restrict certain conduct in and

around polling places that are simply inapplicable to the mail-in voting process. For example, in

addition to electioneering restrictions, Texas law prohibits a person from using a wireless

communication device within 100 feet of a voting station. TEC § 61.014(a). But the absentee

analog—prohibiting a person from using such a device “in the presence of a mail-in ballot”—

would be impractical. It would bar a voter from filling out his mail-in ballot at his kitchen table

while watching the news and force his wife and children to turn off their phones in their own home.


39
   By prohibiting speech in support of a candidate or measure in the presence of mail ballots, even in public forums or
at the voter’s request, the Canvassing Restriction also appears to restrict the public’s access to the canvassers’ core
political speech. See Young v. Am. Mini Theatres, Inc., 427 U.S. 50, 77 (1976) (Powell, J., concurring) (“[T]he central
First Amendment concern remains the need to maintain free access of the public to the expression.”).


                                                         63
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 64 of 78




        Texas voters have the right to vote in secret. TEX. ELEC. CODE § 62.0115(b)(2). Nothing,

however, imposes on voters a duty to vote in secret. Electioneering zones and other restrictions on

who can enter polling places often creates de facto secrecy for in-person voters, of course, because

again, as a practical matter, a voter cannot waive other voters’ right to a secret ballot free from

intimidation by inviting his preferred canvasser into the building to persuade them to vote a certain

way. See Burson v. Freeman, 504 U.S. 191, 207–08 (1992) (upholding campaign-free zone outside

the polls based on “common sense” that a was “necessary” to secure the advantages of the secret

ballot and protect the right to vote).

        But a voter’s choice to complete his or her mail ballot in the presence of a paid organizer

affects no one else’s right or ability to cast a secret ballot. Indeed, before S.B. 1, mail voters

could—and often did—intentionally vote their ballot in the presence of canvassers for trusted

community groups and advocacy organizations. For example, before S.B. 1, members of OCA and

LUPE often brought their ballots to election events, seeking voting assistance. 40 Members of

retiree chapters of AFT sometimes brought their mail-ballots to chapter meetings and marked and

mailed their ballots together as a group. Tr. at 972:17–23.

        The Canvassing Restriction is underinclusive.

        The Canvassing Restriction is also underinclusive in several respects, especially in

comparison to the electioneering restrictions applicable to in-person voting.

        The electioneering laws, for example, apply on their face to anyone campaigning within

100 feet of the polling station, regardless of compensation, whether they are electioneering “for or

against any candidate, measure, or political party.” TEC §§ 61.003, 85.036. In contrast, the




40
  Tr. at 1694:21–1696:8, 1699:24–1702:2, 1706:12–1707:3 (OCA); Tr. at 71:1–72:15, 75:11–17, 119:20–120:18
(LUPE).


                                                   64
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 65 of 78




Canvassing Restriction prohibits canvassers receiving “compensation or other benefit” from

interacting with voters to deliver votes for a particular candidate or measure. TEC § 276.015.

         In other words, by its text, the Canvassing Restriction does not prohibit paid canvassers

from engaging in the kind of “haranguing” conduct the provision is purportedly concerned with,

so long as the organizers intend to deliver votes (1) against a particular candidate or measure or

(2) for or against a political party. It is unclear to the Court why such haranguing would be more

tolerable from a different class of canvasser—e.g., a paid party staffer or a hungrier, thirstier

volunteer—seeking to deliver votes against their opponents or for a political party generally. 41

         The underinclusiveness of the Canvassing Restriction undermines the State Defendants’

argument that it is narrowly tailored to further a compelling government interest. See Reed, 576

U.S. at 172 (“The Town cannot claim that placing strict limits on temporary directional signs is

necessary to beautify the Town while at the same time allowing unlimited numbers of other types

of signs that create the same problem.”); Veterans of Foreign Wars, 760 F.3d at 441 (concluding

that the “obvious underinclusiveness” of limiting undermines any argument that Texas is truly

interested in regulating gambling).

         The State Defendants maintain that the Canvassing Restrictions’ sweep is sufficiently

narrowed by the scienter requirement because “the vast majority of the time” canvassers will be

unaware that they are in the presence of a mail ballot. The State Defendants have offered no

evidence demonstrating how often canvassers encounter mail ballots while advocating for a

candidate or issue. Plaintiffs, on the other hand, produced several witnesses who testified that




41
  Despite the State Defendants’ unwillingness to define “compensation,” to the extent that it includes items like bottles
of water, bus fare, and t-shirts, the State Defendants have not demonstrated that such nominal gifts cause create an
“actual problem” in need of solving (i.e., that they cause canvassers to “harangue” voters). United Playboy Ent. Grp.,
Inc., 529 U.S. at 813.


                                                          65
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 66 of 78




voters regularly produced their mail ballots during in-person interactions with organizers to ask

questions about their ballot or request voting assistance. 42

        Both overbroad and underinclusive, the Canvassing Restriction is unconstitutional in most

of its applications, judged in relation to its legitimate applications to voter fraud or coercion.

Moody, 144 S. Ct. at 2397.

The Canvassing Restriction is Unconstitutionally Vague

        The Legal Framework

        A fundamental principle in our legal system is that laws which regulate persons or entities

must give fair notice of conduct that is forbidden or required.” FCC v. Fox Television Stations,

Inc., 567 U.S. 239, 253 (2012). “A law is unconstitutionally vague if it (1) fails to provide those

targeted by the statute a reasonable opportunity to know what conduct is prohibited, or (2) is so

indefinite that it allows arbitrary and discriminatory enforcement.” McClelland v. Katy Indep. Sch.

Dist., 63 F.4th 996, 1013 (5th Cir.), cert. denied 144 S. Ct. 348 (2023).

        “A regulation is void for vagueness when it is so unclear that people ‘of common

intelligence must necessarily guess at its meaning and differ as to its application.’” Id. (quoting

Connally v. Gen. Constr. Co., 269 U.S. 385, 391 (1926)). When a statute “authorizes or even

encourages arbitrary and discriminatory enforcement,” it is a telltale sign of its unconstitutional

vagueness. Hill v, 530 U.S. at 732; Hiett v. United States, 415 F.2d 664, 670 (5th Cir. 1969)

(“another reason for holding vague statutes void . . . is that they furnish insufficient checks on

Government discretion”).




 See id; see also Tr. at 925:9–12, 926:17–928:1 (AFT members have had voters take out their mail-in ballots while
42

engaging in block-walking and door-to-door canvassing and AFT members themselves have filled out their mail
ballots together during chapter meetings).



                                                       66
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 67 of 78




       “The degree of vagueness that the Constitution tolerates—as well as the relative

importance of fair notice and fair enforcement—depends in part on the nature of the enactment.”

Vill. of Hoffman Ests., 455 U.S. at 498. The Supreme Court has “expressed greater tolerance of

enactments with civil rather than criminal penalties because the consequences of imprecision are

qualitatively less severe.” Id. at 498–99; cf. Citizens United, 558 U.S. at 337 ( “The law before us

is an outright ban, backed by criminal sanctions.”).

       When “a vague statute abuts upon sensitive areas of basic First Amendment freedoms, it

operates to inhibit the exercise of (those) freedoms. Uncertain meanings inevitably lead citizens to

steer far wider of the unlawful zone than if the boundaries of the forbidden areas were clearly

marked.” Grayned v. City of Rockford, 408 U.S. 104, 109 (1972) (cleaned up). In such cases, “a

more stringent vagueness test should apply.” Vill. of Hoffman Ests., 455 U.S. at 499; Keyishian v.

Bd. of Regents of Univ. of State of N.Y., 385 U.S. 589, 603–04 (1967) (“[S]tandards of permissible

statutory vagueness are strict in the area of free expression . . . Because First Amendment freedoms

need breathing space to survive.”); Roark & Hardee LP v. City of Austin, 522 F.3d 533, 552 (5th

Cir. 2008) (cleaned up) (“[A] more stringent vagueness test should apply where a law threatens to

inhibit the exercise of constitutionally protected rights,” especially when it is “capable of reaching

expression sheltered by the First Amendment.”).

       Analysis

       The Canvassing Restriction is unconstitutionally vague because people of common

intelligence “must necessarily guess at its meaning and differ as to its application.” Connally, 269

U.S. at 391.

       Indeed, trial testimony evinced widespread confusion and disagreement about how to

interpret the Canvassing Restriction, not only among Plaintiffs’ members but also among state and




                                                 67
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 68 of 78




local government officials tasked with interpreting and applying the laws. See, e.g., Tr. at 496:5–8

(Dallas County EA Michael Scarpello) (“I don’t know what ballot harvesting means,” “it could be

interpreted a lot of different ways based on the definition . . . put into the law.”).

        Witnesses were particularly uncertain about how to interpret the terms “physical presence”

and “compensation”—neither of which is defined in the statute—and how the Canvassing

Restriction impacts organizers’ ability to provide voting assistance during their in-person

interactions with voters.

                The term “compensation or other benefit” is vague.

        It is unclear to Plaintiffs from the text of the Canvassing Restriction whether providing

volunteers food, water, swag, letters of recommendation, academic credit, gas cards, bus fare, free

parking, or even the use of its offices for their advocacy work is unlawful. Nothing in the text of

the Canvassing Restriction explains which, if any of these items, qualifies as “compensation.”

        The definition of “benefit”—“anything reasonably regarded as a gain or advantage”—is

no help, considering that it merely defines a term through its synonym. TEC § 276.015(a)(1).

Stating that a benefit is a gain does not help a reasonable person to understand what is or is not

permitted under the statute.

        Considered alongside definitions of “compensation” elsewhere in the Election Code, the

meaning of the term “compensation or other benefit” in Section 7.04 becomes even less clear. For

example, the ban on compensated assistance under S.B. 1 § 6.06, codified at TEC § 86.0105,

incorporates by reference the definition of “compensation” set forth in TEX. PENAL CODE § 38.01:

            anything reasonably regarded as an economic gain or advantage, including
            accepting or offering to accept employment for a fee, accepting or offering
            to accept a fee, entering into a fee contract, or accepting or agreeing to
            accept money or anything of value.




                                                   68
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 69 of 78




TEC § 86.105(f); TEX. PENAL CODE § 38.01. The ban on compensation for mailing another

person’s ballot, codified at TEC § 86.052, on the other hand, defines “compensation” as “any form

of monetary payment, goods, services, benefits, or promises or offers of employment, or any other

form of consideration offered to another person in exchange for depositing ballots.” TEC §

86.052(e). Which of these definitions of “compensation”, if either, should canvassers, voters, and

courts apply to the Canvassing Restriction and how are they distinct from a “benefit”?

        Trial testimony by state officials offered no satisfying answers, undermining the State

Defendants’ assertion that the meaning of “compensation or other benefit” is “crystal-clear.” ECF

No. 862. 43 For example, former Election Division Director Keith Ingram opined that providing

volunteers with bus fare was not “compensation” because “[t]hey can get their expenses

reimbursed. That’s not payment.” Tr. at 1904:1–2. The State’s chief voter fraud prosecutor,

Jonathan White, on the other hand, testified that he would need to perform legal research to

determine what kinds of economic benefits would violate the provision. Tr. at 3992:20–3993:21

(conceding that he would need to “review[] the case law” to determine whether a meal, bus fare,

or a gift bag containing a t-shirt constitute prohibited compensation).

        This conflicting testimony effectively concedes the vagueness of “compensation or other

benefit.” “[N]otice is insufficient if lay persons are required to ‘perform[ ] the lawyer-like task of

statutory interpretation by reconciling the text of [ ] separate documents.’” United States v. Rybicki,

354 F.3d 124, 158 (2d Cir. 2003) (Jacobs, J., dissenting) (quoting Chatin v. Coombe, 186 F.3d 82,

89 (2d Cir. 1999)). Likewise, courts have found insufficient notice where, as here, those charged

with enforcing a rule lack a shared understanding of its meaning, because their divergent

interpretations are evidence that the rule “impermissibly delegates basic policy matters to


43
  Even in their own briefing, the State Defendants treat the terms as interchangeable, defining them by reference to
one another. See ECF No. 862 ¶ 106 (describing “benefit” as “any compensation”) (emphasis altered).


                                                        69
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 70 of 78




policemen, judges and juries for resolution on an ad hoc and subjective basis.” Chatin, 186 F.3d at

89 (quoting Grayned, 408 U.S. at 108–09).

                The term “physical presence” is vague.

        Plaintiffs cannot tell from the text of the Canvassing Restriction how physically proximate

a ballot must be to a volunteer or employee to be criminally liable because the term “physical

presence” is not defined in Section 7.04.

        The Court agrees with the State Defendants that Plaintiffs and their members cannot be

held liable for unknowingly canvassing in the presence of a mail ballot, both because of Section

7.04’s scienter requirement (“knowingly”) and because such interactions would not “directly

involve” a mail ballot. TEC § 276.015(e).

        In some circumstances, “[t]he Court has recognized that a scienter requirement may

mitigate a law’s vagueness, especially with respect to the adequacy of notice to the complainant

that his conduct is proscribed.” Vill. of Hoffman Ests, 455 U.S. at 499; see also League of Women

Voters of Fla. Inc, 66 F.4th at 946–47.

        Here, the problem is that a person’s knowledge that there is a ballot in the vicinity still does

not tell them whether they are violating the statute. Is it a crime to speak to a voter about a candidate

while the voter’s mail ballot lies nearby on the entryway table? What if the ballot is on the kitchen

table in the next room instead of the entryway? What if the voter brings the ballot to a community

meeting at which Plaintiffs’ employees speak?

        A person of “ordinary intelligence” has no way to know where the line is drawn and will

respond with self-censorship of core political speech. See Hill, 530 U.S. at 732 (2000); League of

Women Voters of Fla. v. Fla. Sec’y of State, 66 F.4th 905, 947-48 (11th Cir. 2023) (“We will not

rely on the assumption that a state court enforcing the law would impose a mens rea requirement,




                                                   70
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 71 of 78




apply the law with lenity, and require that the defendant’s conduct had the natural and probable

effect of influencing the voter.” (alterations and citation omitted)).

       At trial, Mr. Ingram refused to offer a specific distance or any concrete guidance about how

canvassers should determine whether they are in the “physical presence” of a mail ballot, which

can only be determine on a case-by-case basis. See Tr. at 1917:5–14; see also Tr. at 1916:1–4

(stating that the Secretary does not have an official opinion on whether a ballot being within five

or ten feet of a discussion constitutes physical presence under Section 7.04). “Whether or not a

prosecutor agrees with us,” he conceded, “is a different story entirely.” Tr. at 1917:18–19.

       Indeed, under these indefinite meanings, it is easy to see how the State Defendants and

County DAs could arbitrarily discriminate in their enforcement of the Canvassing Restriction.

Computer & Commc’ns Indus. Ass’n v. Paxton, No. 1:24-CV-849-RP, 2024 WL 4051786, at *18

(W.D. Tex. Aug. 30, 2024) (citing Smith v. Goguen, 415 U.S. 566, 575 (1974) (“Statutory language

of such a standardless sweep allows prosecutors and juries to pursue their personal predilections.”

(alteration marks omitted)).

       The State Defendants dismiss concerns expressed by voters and election officials alike as

“farfetched” and “fanciful hypotheticals.” ECF No. 862 ¶¶ 1018, 1022. Even setting aside the real-

world scenarios in which Plaintiffs’ core political speech were actually chilled, courts considering

vagueness challenges to criminal statutes should be wary of accepting the government’s

interpretations uncritically, considering the potential consequences:

           As an abstract exercise, debating fact patterns like these may seem good
           fun. But there is nothing entertaining about a 2-year mandatory federal
           prison sentence. Criminal statutes are not games to be played in the car on
           a cross-country road trip. To satisfy the constitutional minimum of due
           process, they must at least provide “ordinary people” with “fair notice of
           the conduct [they] punis[h].”




                                                  71
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 72 of 78




Johnson v. United States, 576 U.S. 591, 595 (2015). Because the Canvassing Restriction does not

provide such notice, it is unconstitutionally vague on its face under the Fourteenth Amendment.

The Canvassing Restriction is Unconstitutional as applied to Plaintiffs’ Speech.

         Beyond its applications to conduct that is already proscribed elsewhere in the Election

Code (i.e., voter fraud and intimidation), the Canvassing Restriction is unconstitutional. Nothing

in the trial record suggests that Plaintiffs’ or their members seek to defraud or intimidate voters.

Thus, as applied to Plaintiffs’ voter outreach activities, the Canvassing Restriction violates

Plaintiffs’ First Amendment freedoms by criminalizing interactions meant to foster engagement

and turnout in the communities they serve. The Canvassing Restriction has created an environment

in which Plaintiffs and their members fear that they risk criminal sanction for assisting or speaking

with voters, which has both chilled their speech and impaired their ability to recruit new members

and volunteers and provide voter assistance.

         The breadth of the prohibition not only reaches core political speech but basic common

courtesy, potentially alienating voters and further burdening the effectiveness of Plaintiffs’ political

speech and associative activities. For example, the Canvassing Restriction would prohibit

Plaintiffs’ paid staff members from answering a voter’s question about how to complete S.B. 1’s

identification-number requirement in the presence of his mail-in ballot during an event promoting

a ballot measure. 44 When State Defendants’ counsel suggested that an organizer who confronted a

mail ballot at such an event could just ask the voter to “leave their ballot in the car,” Grace

Chimene, testifying on behalf of the League, responded that she “wouldn’t ask anybody to do

anything with their ballot” and pointed out that a voter might be “intimidated” by questions about



44
  This is not a “fanciful hypothetical.” United States v. Williams, 553 U.S. 285, 301 (2008). Indeed, Ms. Chen testified
that community members often brought their mail ballots to political events with questions about their ballots to OCA
events with questions about the voting process and seeking assistance. Tr. at 1698:21–1699:8.



                                                          72
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 73 of 78




the physical location of his ballot (and being asked to leave the event if he had brought it along).

Tr. at 1620:15–1621:4. Indeed, counsel’s recommendation is impractical for several reasons, 45 not

the least of which is the disruption of Plaintiffs’ core political communications with awkward,

inconvenient, and suspicion-inducing requests that voters move their ballots elsewhere or leave

the event altogether.

         Again, Plaintiffs do not assert a First Amendment right to “harangue” voters as they

complete their ballots. Rather, they are afraid to advocate for ballot measures or candidates in

circumstances where voters have historically brought their mail ballots and/or requested

assistance, because Plaintiffs’ members will either be forced to turn voters away (frustrating both

their free speech and their associations with voters) or expose themselves to criminal liability by

continuing to engage with the voter. The breadth and vagueness of Section 7.04 have compounded

the chilling effect on Plaintiffs’ speech by making it difficult for their members to know what kinds

of interactions with voters are permissible.

         Citizens confronted with vague and overbroad laws “inevitably” elect to “steer far wider

of the unlawful zone than if the boundaries of the forbidden areas were clearly marked,” Grayned,

408 U.S. at 109 (cleaned up), but the Constitution does not permit laws that unnecessarily stifle

protected speech, especially not during elections, when “the importance of First Amendment

protections” is at its “zenith.” Meyer, 486 U.S. at 425. “First Amendment freedoms need breathing

space to survive.” Keyishian, 385 U.S. at 603–04.




45
  A voter who took a bus to the event or was dropped off by a friend might not have access to a car in which to store
their ballot. And even a voter who drove to the event may be unable to make multiple trips to and from the parking
lot due to a physical disability. It’s not clear that other alternatives, such as leaving the ballot in another room at the
event venue, would be anymore “secure” than permitting the voter to hold onto their ballot in the presence of paid
canvassers, considering the potential for theft and loss.



                                                           73
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 74 of 78




       The First Amendment protects Plaintiffs’ “right not only to advocate their cause but also to

select what they believe to be the most effective means for so doing.” Meyer, 486 U.S. at 414. By

Plaintiffs’ restricting in-person interactions with voters, Section 7.04 “restricts access to the most

effective, fundamental, and perhaps economical avenue of political discourse, direct one-on-one

communication. That it leaves open ‘more burdensome’ avenues of communication, does not

relieve its burden on First Amendment expression.” Id.

       In short, the Court concludes that the Canvassing Restriction is unconstitutional under the

First and Fourteenth Amendments, both facially and as applied to Plaintiffs’ voter outreach

activities. The Court now considers the proper scope of relief.

PERMANENT INJUNCTION OF THE CANVASSING RESTRICTION

       A party seeking a permanent injunction must prove: (1) that it has succeeded on the merits;

(2) that a failure to grant the injunction will result in irreparable injury; (3) that said injury

outweighs any damage that the injunction will cause the opposing party; and (4) that the injunction

will not disserve the public interest. Valentine v. Collier, 993 F.3d 270, 280 (5th Cir. 2021). The

Court addresses each factor in turn.

       First, for the reasons set forth in this order, the Court concludes that the Canvassing

Restriction violates Plaintiff’s First Amendment rights. Plaintiffs have thus succeeded on the

merits of their First Amendment challenge to Sections 7.04 of S.B. 1.

       Second, the Court concludes that failure to grant the requested injunction will result in

irreparable injury to Plaintiffs, their members, and other organizers in Texas. Plaintiffs and their

members have established that the Canvassing Restriction has had a chilling effect on their speech

that arises from the credible threat of enforcement. See also Babbitt, 442 U.S. at 302 (“a plaintiff

need not first expose himself to actual arrest or prosecution” to establish a cognizable harm). The




                                                 74
        Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 75 of 78




Supreme Court has long recognized that “[t]he loss of First Amendment freedoms, for even

minimal periods of time, unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S.

347, 373 (1976). A permanent injunction, as discussed, would remove the threat of enforcement

and the resulting chill on Plaintiffs’ protected speech. Thus, it is an appropriate remedy in this

case.

        Third, threatened and ongoing injury to Plaintiffs outweighs any potential harm that an

injunction might cause Defendants. Without injunctive relief, Plaintiffs and their members will

continue to suffer irreparable injury to their constitutional rights. As a general matter, “injunctions

protecting First Amendment freedoms are always in the public interest.” Opulent Life Church v.

City of Holly Springs, 697 F.3d 279, 298 (5th Cir. 2012) (citation and quotation marks omitted);

see also RTM Media, L.L.C. v. City of Houston, 518 F. Supp. 2d 866, 875 (S.D. Tex. 2007) (“It is

clearly in the public interest to enjoin an ordinance that restricts the public’s constitutional right to

freedom of speech.”). To overcome the irreparable injury arising from this infringement on

Plaintiffs’ rights, Defendants must produce “powerful evidence of harm to its interests” to tip the

equities in their favor. Opulent Life Church, 697 F.3d at 297.

        Plaintiffs’ requested injunction does not affect any voting or election procedures and thus

does not create the potential for confusion and disruption of the election administration

contemplated by the “Purcell principle.” See Benisek v. Lamone, 138 S. Ct. 1942, 1945 (2018).

The Purcell principle provides that, as a general rule, federal courts “should not alter state election

laws in the period close to an election.” Democratic Nat’l Comm. v. Wis. State Legislature, 141 S.

Ct. 28 (2020) (Kavanaugh, J., concurring) (upholding Seventh Circuit’s stay of injunction entered




                                                   75
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 76 of 78




six weeks before the general election). Purcell’s logic, however, extends only to injunctions that

affect the mechanics and procedures of election law applicable to voting. 46

         Moreover, unlike an order requiring affirmative changes to the election process before it

occurs, an injunction against enforcement proceedings is removed in space and time from the

mechanics and procedures of voting. Prosecutions simply do not occur at the polls (or, as the case

may be, during block-walking and candidate forums); they require investigation, evidence, and

due process. Because criminal prosecutions necessarily follow the offending conduct in time, the

only prospective interest that Defendants can plausibly allege would be impaired by injunctive

relief is the deterrent effect of the Canvassing Restriction. Given that its chilling effect on speech

is the very feature that renders the Canvassing Restriction constitutionally infirm, however,

deterring violations is unlikely to serve the public interest. See Ingebretsen on behalf of

Ingebretsen v. Jackson Public Sch. Dist., 88 F.3d 274, 280 (5th Cir. 1996) (where an enactment is

unconstitutional, “the public interest [is] not disserved by an injunction preventing its

implementation”); G & V Lounge, Inc. v. Mich. Liquor Control Comm’n, 23 F.3d 1071 (6th Cir.

1994) (“[I]t is always in the public interest to prevent the violation of a party’s constitutional

rights.”).

         The public interest is not served by Texas officials’ enforcement of a restriction on speech

that Plaintiffs have shown violates their fundamental rights under the First Amendment. Plaintiffs’

core political speech has been chilled and will continue to be chilled absent injunctive relief.




46
  See, e.g., RNC v. DNC, 140 S. Ct. 1205, 1207 (2020) (extension of absentee ballot deadline); Mi Familia Vota v.
Abbott, 834 F. App’x 860, 863 (5th Cir. 2020) (mask mandate exemption for voters); Richardson v. Tex. Sec’y of
State, 978 F.3d 220, 244 (procedures for authenticating mail-in ballot signatures); Tex. Alliance for Retired Ams. v.
Hughs, 976 F.3d 564, 566–67 (5th Cir. 2020) (new ballot type eliminating straight-ticket voting); Tex. Democratic
Party v. Abbott, 961 F.3d 389, 411–12 (5th Cir. 2020) (absentee ballot eligibility requirements); DNC v. Wis. State
Leg., 141 S. Ct. at 31 (extension of absentee ballot deadline).



                                                         76
       Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 77 of 78




Accordingly, the balance of the equities and the public interest weigh in favor of a permanent

injunction.

       Therefore, Plaintiffs’ request for injunctive relief is granted.

                                         CONCLUSION

       For the foregoing reasons, the Court hereby DECLARES that the Canvassing Restriction

created by Section 7.04 of S.B. 1, codified at Texas Election Code § 276.015 is:

       (1) an invalid restriction on speech, both on its face and as applied to Plaintiffs’ speech, in

violation of the First Amendment to the United States Constitution as incorporated to Texas by the

Fourteenth Amendment of the United States Constitution; and

       (2) unconstitutionally vague in violation of the due process clause the Fourteenth

Amendment of the United States Constitution.

       It is FURTHER ORDERED that the Intervenor-Defendants’ motion for summary

judgment (ECF No. 608) is DENIED as to Plaintiffs’ First Amendment speech and Fourteenth

Amendment due process claims.

       IT IS FURTHER ORDERED that the Attorney General and Secretary of State of Texas

and the District Attorneys of Travis County, Dallas County, Hidalgo County, and the 34th Judicial

District, and their respective agents, officers, employees, and successors, and all persons acting in

concert with each or any of them, are IMMEDIATELY AND PERMANENTLY ENJOINED

from implementing, enforcing, or giving any effect to the Canvassing Restriction created by

Section 7.04 of S.B. 1, codified at Texas Election Code § 276.015, that violates Plaintiffs’ free

speech and due process rights under the First and Fourteenth Amendments to the U.S. Constitution.

       Thus, the Attorney General may not investigate potential violations of TEC § 276.015, refer

potential violations of TEC § 276.015 to DAs for investigation or prosecution, or prosecute any




                                                 77
         Case 5:21-cv-00844-XR Document 1157 Filed 09/28/24 Page 78 of 78




potential violation of TEC § 276.015 with the consent or at the request of any county or local

prosecutor or appointment pro tem by a district judge. 47 The County DAs are permanently enjoined

from deputizing the Attorney General, appointing him pro tem, or seeking his appointment pro tem

from or by a district judge to prosecute alleged violations of TEC § 276.015 that occur within their

jurisdictions.

         It is so ORDERED.

         SIGNED this 28th day of September, 2024.



                                                      _________________________________
                                                      XAVIER RODRIGUEZ
                                                      UNITED STATES DISTRICT JUDGE




47
  In the interest of clarity, the Attorney General constitutes an “agent” or “person acting in concert with” a County
DA under the terms of this order when he prosecutes crimes under the Election Code with the consent of, at the request
of, or in cooperation with such County DA.


                                                         78
Appendix B
              Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 1 of 91




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                    SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, FRIENDSHIP-
WEST BAPTIST CHURCH, THE ANTI-DEFAMATION
LEAGUE AUSTIN, SOUTHWEST, AND TEXOMA
REGIONS, SOUTHWEST VOTER REGISTRATION
EDUCATION PROJECT, TEXAS IMPACT, MEXICAN
AMERICAN BAR ASSOCIATION OF TEXAS, TEXAS
HISPANICS ORGANIZED FOR POLITICAL
EDUCATION, JOLT ACTION, WILLIAM C.
VELASQUEZ INSTITUTE, FIEL HOUSTON INC., and
JAMES LEWIN,

                        Plaintiffs,

v.
                                                                         Case No. 5:21-cv-00844-XR
THE STATE OF TEXAS, JOHN B. SCOTT, in his official
capacity as the Texas Secretary of State, WARREN K.
PAXTON, in his official capacity as the Texas Attorney
General, MICHAEL SCARPELLO, in his official capacity
as the Dallas County Elections Administrator, JOHN
CREUZOT, in his official capacity as the Dallas County
District Attorney, LISA WISE, in her official capacity as the
El Paso County Elections Administrator, YVONNE
ROSALES, in her official capacity as the El Paso County
District Attorney, and JOSÉ GARZA, in his official capacity
as the Travis County District Attorney,

                        Defendants.

         SECOND AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE
                                 RELIEF

            Plaintiffs are membership and community-based organizations, many of whom represent

     the interests of Latino and Black Texans, churches and other faith-based groups, and a Texan who

     has served as an election judge. Plaintiffs bring this action to challenge Senate Bill 1 (“SB1”), a

     new law that (among other things) restricts voter assistance; enables partisan poll watchers to

     intimidate voters and poll workers; and threatens to criminalize community-based voter
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 2 of 91




engagement activities that are otherwise protected by the United States Constitution, federal

election law and the Texas Election Code. On behalf of themselves and their members, Plaintiffs

seek declaratory and injunctive relief to enforce the United States Constitution, the Voting Rights

Act of 1965 (“VRA”), and the Americans with Disabilities Act (“ADA”).

                                      I.      INTRODUCTION

       1.         The 2020 general election in Texas was, according to the Texas Secretary of State’s

office, “smooth and secure.” 1 In the face of a global pandemic, the performance by Texas officials

and voters alike during the 2020 election showcased their strength to overcome obstacles and fulfill

the promise of democratic participation even, and perhaps especially, in light of a changing Texas

electorate.

       2.         Despite this, now on its third try, the Texas Legislature enacted SB1. This new law

imposes a series of additional burdens and restrictions that will have the effect of suppressing

Texas voters and discouraging—including by criminalizing—work that has long been performed

faithfully by public employees, private organizations and individuals to help citizens exercise their

constitutional right to vote. Among its many provisions, SB1:

              •   Targets Texans who need assistance to vote—including people who have limited

                  English proficiency, disabilities, and/or less formal education—by adding multiple

                  new requirements that hinder the provision of assistance at the polling place,

                  curbside, or in connection with mail ballots (e.g., Sections 6.01 (adding Sections

                  64.009(e), (f), (f-1), and (g) to the Election Code), 6.03 (adding Section 64.0322 to



1
  Taylor Goldenstein et al., Did a ‘Smooth and Secure’ 2020 Election Cost Texas Secretary of
State Her Job?, Houston Chronicle (May 21, 2021), https://www.houstonchronicle.com/politics/
texas/article/Texas-Secretary-of-State-Ruth-Hughs-resigns-under-16195586.php; also available at
https://electionlawblog.org/?p=122282.

                                                    2
Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 3 of 91




     the Election Code), 6.04 (amending Section 64.034 of the Election Code), 6.05

     (amending Section 86.010(e) of the Election Code), and 6.06 (amending Sections

     86.0105(a), (c), and (e) of the Election Code)).

 •   Gives partisan poll watchers “free movement” to intimidate and harass voters and

     poll workers by expanding watchers’ authority, while constraining election

     administrators’ ability to ensure peaceful, orderly elections under penalty of

     criminal prosecution (e.g., Sections 4.01 (adding Section 32.075(g) to the Election

     Code), 4.06 (adding Section 33.051(g) to the Election Code), 4.07 (adding Section

     33.056(e) to the Election Code), and 4.09 (amending Section 33.061(a) of the

     Election Code)).

 •   Quashes protected political speech and legitimate voter turnout initiatives through

     overbroad and vague criminal penalties for so-called “vote harvesting”

     (Section 7.04 (adding Section 276.015 to the Election Code)).

 •   Restricts counties from offering accommodations that facilitated record turnout in

     2020, including allowing for drive-thru voting (Section 3.04 (amending Section

     43.031(b) of the Election Code)), permitting the use of movable structures as

     polling places (Sections 3.12 (amending Section 85.061(a) of the Election Code)

     and 3.13 (amending Section 85.062(b) and adding Section 85.062(f) to the Election

     Code)), and authorizing 24-hour early voting (Sections 3.09 (amending Sections

     85.005(a) and (c) of the Election Code) and 3.10 (amending Sections 85.006(e) of

     the Election Code)).

 •   Requires election clerks to reject otherwise valid mail ballot applications and mail

     ballots because of simple errors or omissions notwithstanding the clerk’s ability to



                                       3
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 4 of 91




                verify the mail ballot application or mail ballot by other means (Sections 5.07

                (adding Section 86.001(f) to the Election Code) and 5.13 (amending Section

                87.041(b) of the Election Code)).

            •   Facilitates the investigation and prosecution of perfectly legal activity by voters,

                such as being excused from jury service or having the same name as a non-U.S.

                citizen or non-resident in the county (Sections 2.04 (amending Section 15.028 of

                the Election Code), 2.06 (adding Sections 18.065(e)-(g) to the Election Code), 2.07

                (amending Section 18.068(a) and adding Section 18.068(a-1) to the Election Code),

                2.08 (amending Section 31.006 of the Election Code), and 2.11 (amending Sections

                62.114(b) and (c) of the Government Code)).

            •   Forces election officials to shift resources to meet tight deadlines for reporting

                voters for investigation and removing voters from the rolls to avoid additional

                requirements and penalties (Sections 2.06 (adding Section 18.065(e)-(g) to the

                Election Code)).

       3.       Governor Gregory W. Abbott (“Abbott” or the “Governor”)—who is the chief

executive officer of the State of Texas 2—called for this legislation on the pretextual grounds that

it was necessary to prevent voter fraud. But there is simply no evidence that voter fraud occurs in



2
  Tex. Const. Art. IV, § 1. Governor Abbott was a named defendant in the original Complaint.
(ECF No. 1). Plaintiffs’ decision to remove Governor Abbott as a defendant in the First Amended
Complaint was solely in an effort to narrow the issues before the Court and shall not be construed
as an admission that Governor Abbott is not a proper defendant for claims arising under the VRA
and the U.S. Constitution particularly where, as alleged here, Governor Abbott championed the
challenged laws (and indeed called for them to be made more stringent) and played a direct and
personal role in the administration of Texas elections via his authority to issue proclamations.
Plaintiffs expressly reserve the right to seek leave from this Court to further amend the operative
complaint in order to add back Governor Abbott as a defendant for claims asserted here in light of
the facts that will be developed during discovery.


                                                 4
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 5 of 91




Texas beyond the very few examples already identified through Texas’s pre-existing processes

and procedures. Indeed, as Texas Representative Diego Bernal testified before the Congressional

subcommittee on Civil Rights and Civil Liberties on July 29, 2021: “There [we]re 154 prosecutions

of voter fraud in the past 17 years in Texas out of 94 million votes cast. The likelihood of voter

fraud in Texas is less than any one of us being struck by lightning.” 3 Thus, the additional burdens

and restrictions on voting contained in SB1 are not, and cannot be, justified by invoking

unspecified and unproven voter fraud.

       4.      Rather, as described further below, SB1 is a reaction to Texas’s changing electorate,

which is now more racially diverse and younger than ever before. Indeed, minority voter turnout

in Texas in the 2018 mid-term election was dramatically higher than the 2014 mid-term, and

turnout in the 2020 General Election—even in the face of COVID-related challenges—was higher

than for any general election in the state since 1992. Local election officials and community

organizations throughout the State helped Texas voters fulfill their commitment to exercising their

rights. This effort—and the resulting success—merits universal praise. Instead, however, the

Texas Legislature responded to these community success stories by making baseless claims of

threats to “election integrity,” outlawing the very election procedures that made the 2020 election

a success, and imposing additional requirements that will make it even harder for Texans—

especially those in Texas’s growing minority populations—to participate in our democracy.

       5.      Each of SB1’s limitations described above and below violates federal law and will

cause irreparable harm to Plaintiffs and citizens of Texas more broadly. In particular, SB1’s new




3
  House Committee on Oversight & Reform, Democracy in Danger: The Assault on Voting Rights
in Texas (July 29, 2021) https://oversight.house.gov/legislation/hearings/democracy-in-danger-
the-assault-on-voting-rights-in-texas.


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           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 6 of 91




restrictions on voter assistance violate Sections 2 and 208 of the Voting Rights Act of 1965 4 and

the Americans with Disabilities Act. 5 SB1’s ill-defined prohibition on “vote harvesting” violates

both the First Amendment and the Fourteenth Amendment’s Due Process Clause because these

provisions criminalize protected speech and are unconstitutionally vague. The provisions on poll

watcher obstruction are similarly vague—putting poll workers at risk of arbitrary prosecution.

SB1’s restrictions on the exercise of the right to vote violate the First and Fourteenth Amendments

by unduly burdening voting rights and impermissibly limiting free speech of voter assistors.

Lastly, as set forth below, SB1 intentionally discriminates against Texas minority voters in

violation of the Fourteenth and Fifteenth Amendments and Section 2.

         6.      Plaintiffs respectfully request that the Court declare that the challenged provisions

of SB1 are unlawful and enjoin Defendants from enforcing the challenged provisions.

                              II.      JURISDICTION AND VENUE

         7.      This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343(a)(3) and (4) because

the claims in this action arise under federal law and seek to redress the deprivation of federal civil

rights, including the right to vote.

         8.      Venue is proper in this district under 28 U.S.C. § 1391(b) because all Defendants

reside in Texas, and Defendants perform their official duties in this district.




4
  52 U.S.C. §§ 10301 and 10508 (“Any voter who requires assistance to vote by reason of
blindness, disability, or inability to read or write may be given assistance by a person of the voter’s
choice.”).
5
    42 U.S.C. §§ 12131, et seq.

                                                   6
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 7 of 91




                                        III.    PARTIES

A.     Plaintiffs

       9.      Plaintiff LA UNIÓN DEL PUEBLO ENTERO (“LUPE”) is a non-partisan

membership organization founded by labor rights activists César Chávez and Dolores Huerta.

LUPE’s mission is to build strong, healthy communities in the Texas Rio Grande Valley through

community organizing and civic engagement. To promote civic engagement in the communities

it serves, LUPE conducts know-your-rights discussions and membership meetings, participates in

issue-focused advocacy, campaigns to support or oppose nonpartisan ballot measures through in-

person canvassing, connects its members to social services, conducts census outreach, and

conducts voter registration, education, and non-partisan get-out-the-vote campaigns (GOTV). As

part of their voter canvassing activities, LUPE members and paid staff interact with voters at the

voters’ homes, including in the physical presence of a ballot voted by mail.

       10.     LUPE’s individual members include registered voters who require assistance with

voting in-person at the polling place, voting by mail, and voting curbside, as well as individuals

who serve as assistors. LUPE is headquartered in San Juan, Texas, and its members primarily

reside in Hidalgo, Cameron, Willacy, and Starr Counties, Texas. LUPE has more than 8,000

members, including Latinos, U.S. citizens, and registered voters, some of whom are disabled.

These voter members have disabilities that limit major life activities, including disabilities that

limit their ability to walk, climb stairs, write or mark a ballot, interact with other people or

otherwise navigate the polling place and voting process. Some LUPE members are voters who are

limited English proficient. LUPE’s disabled voter members require accommodations in the voting

process that are prohibited by the challenged provisions of SB1. Some of LUPE’s voter members

who are disabled and/or limited English proficient rely on assistors to vote. LUPE has

organizational and associational standing to bring this lawsuit.

                                                 7
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 8 of 91




       11.     Plaintiff FRIENDSHIP-WEST BAPTIST CHURCH (“FRIENDSHIP-WEST”) is

a non-partisan religious organization in Dallas County that serves a predominantly Black

congregation of more than 12,000 members, a substantial number of whom are registered to vote

in Texas.     To promote democracy and voter engagement in the community it serves,

FRIENDSHIP-WEST serves as a polling place, provides voter education, and encourages its

congregants and others to register, to vote, and to serve as poll workers and volunteer deputy

registrars. FRIENDSHIP-WEST has organizational and associational standing to bring this

lawsuit.

       12.     Plaintiffs ANTI-DEFAMATION LEAGUE AUSTIN, SOUTHWEST, AND

TEXOMA REGIONS (“ADL”) are made up of the regional offices of the non-partisan Anti-

Defamation League in Texas. ADL has at least 23,000 supporters who are Texas residents, a

substantial number of whom are registered to vote in Texas. ADL also has approximately 250

regional board members throughout Texas, a substantial number of whom are registered to vote in

Texas. ADL’s mission in Texas, consistent with their national organization’s overall mandate, is

to protect the civil rights of all persons, eliminate vestiges of discrimination, racism, extremism,

and antisemitism within communities in Texas, and to fight hatred in all its forms. ADL has

organizational standing to bring this lawsuit.

       13.     Plaintiff SOUTHWEST VOTER REGISTRATION EDUCATION PROJECT

(“SVREP”) is a nonprofit and non-partisan organization committed to promoting and increasing

participation of Latino and other minority communities across the United States in the democratic

process through voter registration, voter education, and voter participation activities. In Texas,

SVREP conducts voter registration and organizes non-partisan get-out-the-vote drives to remind




                                                 8
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 9 of 91




voters of election dates and to inform them about requirements for voting.               SVREP has

organizational standing to bring this suit.

       14.     Plaintiff TEXAS IMPACT is a nonprofit, non-partisan, multi-denominational

organization working to put faith into action by equipping faith leaders and their congregations

with information, opportunities, and outreach tools to educate communities and engage with

lawmakers on pressing policy issues. TEXAS IMPACT is comprised of dozens of member

organizations, hundreds of member congregations, and more than 22,000 individual members who

span the partisan spectrum and represent different ethnicities and denominations.             TEXAS

IMPACT’s individual members include individuals who are registered to vote in Texas;

individuals who require assistance with voting in-person at the polling place, by mail, and

curbside; individuals who serve as assistors; and individuals who serve as poll workers and

volunteer deputy registrars. TEXAS IMPACT also has members that take positions on ballot

measures. To further its mission, TEXAS IMPACT works to ensure that all eligible Texans can

exercise their right to vote free from suppression. To advance that goal, TEXAS IMPACT and its

members (at all three levels: denominational bodies, congregations, and individuals) (a) assist

voters with registration and voting; (b) educate voters on their rights, including eligibility to vote,

eligibility to vote by mail, and polling place locations; and (c) encourage members and others to

volunteer as volunteer deputy registrars and poll workers. TEXAS IMPACT has organizational

and associational standing to bring this lawsuit.

       15.     Plaintiff MEXICAN AMERICAN BAR ASSOCIATION OF TEXAS (“MABA-

TX”) is a professional membership association of Latino lawyers located in Texas. MABA-TX is

a multi-purpose organization, and its goals include, among other goals: to provide a forum and a

means for lawyers to promote the social, economic and educational advancement of the people of



                                                    9
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 10 of 91




Texas; to speak on behalf of the Latino community on legal issues affecting the community; to

serve the Latino populace as a professional association by providing services, assistance and

advice on matters of legal concern to the community; to work through legislation, advocacy and

education to accomplish these goals; and to preserve high standards of integrity, honor and

professional courtesy among Latino lawyers. Members of MABA-TX include Latino registered

voters who live throughout the State of Texas, including in Travis, El Paso and Dallas counties.

MABA-TX has organizational and associational standing to bring this lawsuit.

        16.     Plaintiff TEXAS HISPANICS ORGANIZED FOR POLITICAL EDUCATION

(“TEXAS HOPE”) is a nonprofit, membership organization that seeks to empower Latinos in

Texas through civil engagement, civic education, and outreach. TEXAS HOPE’s activities include

helping register Latino citizens to vote, volunteering to take registered voters to the polls on

election days, serving as poll watchers, administering voter education workshops, and conducting

legislative advocacy on issues important to the Latino community including education, voting

rights, immigrants’ rights, healthcare, and housing. Members of TEXAS HOPE include Latino

registered voters who reside throughout Texas including in the following counties: Bell, Bexar,

Dallas, Denton, Ector, El Paso, Guadalupe, Harris, Lubbock, Tarrant, Tom Greene, Travis,

Victoria, Wharton, and Williamson. TEXAS HOPE has organizational and associational standing

to bring this lawsuit.

        17.     Plaintiff JOLT ACTION is a nonprofit, membership organization whose mission is

to increase the civic participation of Latinos in Texas to build a stronger democracy. JOLT

ACTION conducts and trains community members to conduct non-partisan voter registration and

voter mobilization, works to develop Latino youth leadership, promotes community and student

organizing, and supports cultural activities. JOLT ACTION is a membership organization whose



                                              10
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 11 of 91




members include Latino high school, community college, and university students, many of whom

are Latino registered voters. JOLT ACTION’s members and paid staff assist voters who are

disabled and/or limited English proficient. JOLT ACTION has organizational and associational

standing to bring this lawsuit.

       18.      Plaintiff WILLIAM C. VELASQUEZ INSTITUTE (“WCVI”) is a nonprofit and

non-partisan public policy analysis organization that conducts research and works in Latino

communities and with local leaders across Texas to increase Latino registration and voter turnout.

WCVI’s mission includes improving the level of political participation for all Latinos and other

underrepresented communities. WCVI analyzes and reports on Latino voter registration and

participation and uses its research to educate and collaborate with Latino community leaders to

increase Latino political participation. WCVI conducts its work through policy seminars, social

media campaigns and community workshops. WCVI has organizational standing to bring this

lawsuit.

       19.      Plaintiff FIEL Houston Inc. (“FIEL”) is a nonprofit, non-partisan membership

organization based in Houston, Texas. FIEL is an immigrant-led organization that advocates for

just laws for immigrant youth, their families, access to higher education for all people regardless

of immigration status, and access to justice for the Latino community. FIEL was born out of the

need for civic engagement in support of undocumented students seeking higher education and

conducts organizing for the betterment of the communities it serves, including voter registration

and civic education, phone-banking, census outreach, voter assistance, and other advocacy efforts.

FIEL has approximately 11,000 members in the greater Houston area, including Latinos, U.S.

citizens, and non-U.S. citizens. FIEL members reside in parts of Texas where communities of

color constitute significant portions of the population, including Harris County. FIEL’s individual



                                                11
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 12 of 91




members include Latino registered voters who require assistance with voting in-person at the

polling place and voting by mail, as well as individuals who serve as assistors.

Some FIEL members are voters who are limited English proficient. Some of FIEL’s voter

members who are limited English proficient rely on assistors to vote. FIEL has organizational

and associational standing to bring this lawsuit.

        20.     Plaintiff JAMES LEWIN is a Texas voter residing in Austin, Texas. Mr. Lewin

worked as a deputy election judge during the October 2020 early voting period. Mr. Lewin decided

to work at the polls because he observed well-intentioned poll workers giving voters incorrect

information in previous elections. Mr. Lewin wanted to ensure that polling places were staffed

with informed workers who could provide correct information and guidance so that eligible voters

could properly cast ballots that would count.

B.      Defendants

        21.     Defendant the STATE OF TEXAS is one of the United States of America.

        22.     Defendant JOHN B. SCOTT is the Secretary of State of Texas (the “Secretary”).

The Secretary is “the chief election officer of the state,” and the Texas Election Code “reflect[s]

the Legislature’s intent that election laws operate . . . under the direction and guidance of the

Secretary of State.” 6

        23.     Defendant Scott is a licensed attorney who previously served as lead attorney and

signed an amended complaint on behalf of the plaintiff in Donald J. Trump For President, Inc. et

al. v. Boockvar et al., No. 4:20-cv-02078-MWB (M.D. Pa.), ECF No. 125, which (among other

things) sued Pennsylvania’s Secretary of State and county boards of elections seeking “[a]n order,



6
 TEX. ELEC. CODE § 31.001; State of Texas v. Hollins, No. 20-0729, 2020 WL 5919729, at *5
(Tex. Oct. 7, 2020).


                                                    12
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 13 of 91




declaration, and/or injunction that prohibits the [county boards of elections and Pennsylvania’s

Secretary of State] from certifying the results of the 2020 General Election in Pennsylvania on a

Commonwealth-wide basis.” The amended complaint to which Defendant Scott was a signatory

alleged on behalf of the plaintiff (among other things) that “[a]s part of the November 3, 2020

General Election, there are at least two Counties that had suspected instances of mail-in ballot

fraud” and that “the disparate treatment between mail-in and in-person voters as to the verification

of the voter’s identity through signature verification has created an environment in Pennsylvania

that encourages ballot fraud or tampering . . . .” Id. “[L]ess than 24 hours before oral argument

was to begin, . . . Mr. Scott . . . requested this Court’s permission to withdraw from the litigation.”7

The amended complaint was dismissed with prejudice and without granting leave to amend. 8

          24.    Under the Texas Election Code, Defendant Scott shall “obtain and maintain

uniformity in the application, operation, and interpretation of [the] code and [other] election laws,”

“prepare detailed and comprehensive written directives and instructions” for “the appropriate state

and local authorities,” and “distribute these materials to the appropriate state and local authorities

having duties in the administration of these laws.” 9 The Secretary must also “assist and advise all

election authorities with regard to the application, operation, and interpretation” of election laws. 10

          25.    Under Section 31.005 of the Texas Election Code (titled “Protection of Voting

Rights; Enforcement”), the Secretary is authorized to “take appropriate action to protect” voting

rights “from abuse by the authorities administering the state’s electoral processes,” which includes



7
    Donald J. Trump for President, Inc. v. Boockvar, 502 F. Supp. 3d 899, 909 (M.D. Pa. 2020).
8
    Id.
9
    TEX. ELEC. CODE § 31.003.
10
     TEX. ELEC. CODE § 31.004.


                                                  13
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 14 of 91




“order[ing] the person to correct the offending conduct.” 11 If the person “fails to comply with an

order from the secretary of state under this section, the secretary may seek enforcement of the

order by a temporary restraining order or a writ of injunction or mandamus obtained through the

attorney general.” 12

           26.   Section 18.065 of the Texas Election Code requires the Secretary to “monitor each

registrar for substantial compliance” with sections of the Texas Election Code. 13 As described

further below, SB1 layers on civil penalties for a registrar’s failure to correct violations in the

amount of “$1,000 for each violation corrected by the secretary of state under that subsection.”14

Thus, the Secretary is directly involved in identifying violations and does, by correcting violations,

directly affect the amount of the new civil penalty for which the registrar becomes liable.

           27.   Texas election law requires the Secretary to “prescribe the design and content,

consistent with this code, of the forms necessary for the administration of this code other than

Title 15” such that the “design and content . . . enhance the ability of a person to understand the

applicable requirements and to physically furnish the required information in the space

provided.” 15 Among other things, the Secretary “shall design the form” for “registration by mail”

and “shall prescribe the procedures necessary to implement this section” regarding the official

form for registration by mail.” 16 The Secretary must also “maintain a supply of the official


11
  TEX. ELEC. CODE § 31.005(a)-(b); Tex. Democratic Party v. Abbott, 961 F.3d 389, 399 (5th
Cir. 2020).
12
     TEX. ELEC. CODE § 31.005(c).
13
     TEX. ELEC. CODE §18.065.
14
     Id.
15
     Hollins, 620 S.W.3d 408 (citing TEX. ELEC. CODE § 31.002(a)).
16
     TEX. ELEC. CODE § 13.121.


                                                 14
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 15 of 91




application forms for ballots to be voted by mail and shall furnish the forms in reasonable quantities

without charge to individuals or organizations requesting them for distribution to voters.” 17

           28.   As described further below, under SB1, “[t]he secretary of state shall prescribe the

form[s]” that must be completed and signed by persons providing assistance, including

transportation and translation assistance, to voters. 18

           29.   Section 34.004 of the Texas Election Code provides that “[t]he secretary of state or

a member of the secretary’s staff may make inspections in the same manner as state inspectors

whether or not a violation of election laws is suspected.” 19

           30.   Under Section 34.005 of the Texas Election Code, “[t]he secretary of state may

refer a reported violation of law for appropriate action to the attorney general, if the attorney

general has jurisdiction, or to a prosecuting attorney having jurisdiction.” 20

           31.   Under SB1, the Secretary is required to refer any and all “information indicating

that criminal conduct in connection with an election has occurred” that he “receive[s] or

discover[s]” to the Attorney General if the Secretary determines “that there is reasonable cause to

suspect that criminal conduct has occurred.” 21 The Secretary is further required to “deliver to the

attorney general all documents and information in the secretary’s possession.” 22 This gives the




17
     TEX. ELEC. CODE § 84.013.
18
     E.g., TEX. ELEC. CODE §§ 64.009(h), 64.0322(b).
19
     TEX. ELEC. CODE § 34.004.
20
     TEX. ELEC. CODE § 34.005.
21
     TEX. ELEC. CODE § 31.006(a).
22
     Id.


                                                  15
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 16 of 91




Secretary an active role in enforcing every provision of the Texas Election Code that may carry

criminal penalties, including those challenged in the instant Second Amended Complaint. 23

          32.    Under Section 32.115 of the Texas Election Code, “[o]n request of a county

executive committee or a county clerk, as appropriate, the secretary of state shall schedule and

provide assistance for the training of election judges and clerks under Section 32.113 or 32.114”

and “may provide similar training assistance to other political subdivisions.” 24

          33.    The Secretary’s website currently provides “Training and Education and

Resources,” including, among others, “Poll Worker Training”; “Volunteer Deputy Registrar

Training”; an “Election Inspector Handbook”; and “Election Official Training Materials.” 25

          34.    SB1 also provides that “[t]he secretary of state shall publish and maintain a training

manual for watchers and shall make the manual available on the secretary of state’s Internet

website.” 26 A “Poll Watcher’s Guide[sic]” is currently available on the Secretary’s website, but it

has not been updated since November 2019. 27

          35.    As described further below, SB1 further gives the Secretary full authority to

“prescribe any procedures necessary to implement” the sections of the Texas Election Code

sections governing the “signature verification committee.” 28




23
     E.g., TEX. ELEC. CODE §§ 15.028, 62.113, 33.051, 33.061, 64.034, 276.015, 276.016, 276.017.
24
     TEX. ELEC. CODE § 32.115.
25
     https://www.sos.texas.gov/elections/laws/education-resources.shtml.
26
     TEX. ELEC. CODE § 33.008.
27
     https://www.sos.texas.gov/elections/forms/pollwatchers-guide.pdf.
28
     TEX. ELEC. CODE §§ 87.0271(e).


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          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 17 of 91




          36.    Defendant WARREN K. (“Ken”) PAXTON is the Attorney General of Texas, the

state’s chief law enforcement officer. He is sued in his official capacity.

          37.    The Attorney General is Texas’ chief law enforcement officer, with a “freestanding

sovereign interest” in enforcing Texas law. 29

          38.    According to the Attorney General’s website, Defendant Paxton’s “role in

enforcing the election laws” includes “statewide investigation authority and concurrent

prosecution authority with local elected prosecutors over the election laws of the State” as well as

having “deep experience and specialized resources to help train or assist local law enforcement

and prosecution in working up complex and challenging election fraud cases.” 30 The Attorney

General’s website specifically notes that “Chapter 273, Texas Election Code, gives the OAG

authority to investigate and prosecute election code violations anywhere in Texas.” 31 The

Attorney General has prosecuted alleged violations of Texas’s election laws alongside, or instead

of, local district attorneys. 32 Defendant Paxton also claims his office is “currently prosecuting

over 500 felony election fraud offenses in Texas courts.” 33




29
     City of Austin v. Abbott, 385 F. Supp. 3d 537, 545 (W.D. Tex. Mar. 25, 2019).
30
  https://www.texasattorneygeneral.gov/initiatives/election-integrity (responding to question
“What is the Office of the Attorney General’s role in enforcing the elections laws?”).
31
 Id. (responding to question “How are election fraud cases referred to the Office of the Attorney
General?”).
32
    https://www.texasattorneygeneral.gov/news/releases/ag-paxton-announces-joint-prosecution-
gregg-county-organized-election-fraud-mail-balloting-scheme.
33
   See Press Release, Ken Paxton, Attorney General of Texas, AG Paxton Announces Formation
of       2021       Texas      Election     Integrity    Unit      (Oct.     18,     2021),
https://www.texasattorneygeneral.gov/news/releases/ag-paxton-announces-formation-2021-
texas-election-integrity-unit.


                                                 17
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 18 of 91




         39.    Although the Texas Court of Criminal Appeals recently held that Defendant Paxton

lacks constitutional authority to unilaterally prosecute criminal offenses created by the Election

Code, see State v. Stephens, --- S.W.3d ---, 2021 WL 5917198 (Tex. Crim. App. Dec. 15, 2021),

Defendant Paxton may still assist the prosecuting district or county attorney upon request, see id.

(citing Saldano v. State, 70 S.W.3d 873, 880 (Tex. Crim. App. 2002)); see also TEX. GOV’T CODE

§ 41.102. 34

         40.    Furthermore, Defendant Paxton is also charged with enforcing the civil provisions

of the Texas Election Code, including Section 8.01 of SB 1, codified at Texas Election Code

Section 31.129.

         41.    Defendant Paxton has also recently filed suit on behalf of the State of Texas to

enforce provisions of the Texas Election Code and to restrict the actions of a local election official,

including by preventing him from mailing out mail ballot applications to many eligible voters

unless those voters first submitted a request. 35

         42.    As described further below, Defendant Paxton has stated that prosecution of

election-related offenses is one of his priorities.      For example, Defendant Paxton recently

announced the formation of his “2021 Texas Election Integrity Unit,” which he describes as a

concentrated effort to devote agency lawyers, investigators, support staff, and resources to




34
   In the State Defendants’ Motion to Dismiss the First Amended Complaint, they admit that the
State of Texas and the Attorney General believe that Stephens was “wrongly decided” and “has
filed a motion asking the Texas Court of Criminal Appeals to reconsider its decision.” State Defs.’
Mtn. to Dismiss the LUPE Plaintiffs’ First Am. Compl. (ECF No. 176) at 1 n.2.
35
     Hollins, 2020 WL 5919729, at *5.


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           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 19 of 91




ensuring this local election season . . . is run transparently and securely.” 36 In fact, in the press

release announcing the formation of his “2021 Election Integrity Unit,” Defendant Paxton refers

to himself as a “national leader in election integrity,” brags about the “many elections

administrators” that have been “held accountable for attempts to bend or break the boundaries of

lawful practices” under his leadership, and claims his office is “currently prosecuting over 500

felony election fraud offenses in Texas courts.” 37

           43.   Defendant MICHAEL SCARPELLO is the Elections Administrator of Dallas

County. He is sued in his official capacity.

           44.   Defendant LISA WISE is the Elections Administrator of El Paso County. She is

sued in her official capacity.

           45.   “In general, local election officials administer Texas elections. They receive and

review ballot applications, Tex. Elec. Code § 86.001, mail carrier and ballot envelopes to voters,

id. § 86.002, receive and process marked ballots, id. §§ 86.006, 86.007(b), 86.011, verify voter

signatures, id. § 87.027(i), and count the results, id. § 87.061.” 38

           46.   Under Section 31.043 of the Texas Election Code, “[t]he county elections

administrator shall perform: (1) the duties and functions of the voter registrar; (2) the duties and

functions placed on the county clerk by this code; (3) the duties and functions relating to elections




36
  OFFICE OF THE ATTORNEY GENERAL, AG Paxton Announces Formation of 2021 Texas Election
Integrity Unit (Oct. 18, 2021), https://www.texasattorneygeneral.gov/news/releases/ag-paxton-
announces-formation-2021-texas-election-integrity-unit.
37
     Id.
38
   State Defs.’ Mtn. to Dismiss the LUPE Plaintiffs’ First Am. Compl. (ECF No. 176) at 23
(identifying local election officials as the administrators of elections properly subject to suit).


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          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 20 of 91




that are placed on the county clerk by statutes outside this code, subject to Section 31.044; and (4)

the duties and functions placed on the administrator under Sections 31.044 and 31.045.” 39

         47.    Under Section 83.002 of the Texas Election Code, “[t]he county clerk is the early

voting clerk for the county in: (1) the general election for state and county officers and any other

countywide election held at county expense; (2) a primary election; and (3) a special election

ordered by the governor.” 40

         48.    Defendant JOHN CREUZOT is the Dallas County District Attorney.                He is

authorized to investigate and prosecute violations of the Texas Election Code in Dallas County.

He is sued in his official capacity.

         49.    Defendant YVONNE ROSALES is the El Paso County District Attorney. She is

authorized to investigate and prosecute violations of the Texas Election Code in El Paso County.

She is sued in her official capacity.

         50.    Defendant JOSÉ GARZA is the Travis County District Attorney. He is authorized

to investigate and prosecute violations of the Texas Election Code in Travis County. He is sued

is his official capacity.

         51.    Under the Texas Election Code, Defendants Scarpello, Wise, Creuzot, Rosales, and

Garza are responsible for implementing and enforcing a number of SB1’s challenged provisions

in their respective counties, including the new law’s restrictions on voter assistance, SB1 §§

6.01(f), 6.01(g), 6.03(b), 6.04, 6.05(e), and 6.06(c), and the “vote harvesting” provision, id. §

7.04(h). 41


39
     TEX. ELEC. CODE § 31.043.
40
     TEX. ELEC. CODE § 83.002.
41
     TEX. ELEC. CODE §§ 64.009, 64.0322, 64.034, 86.010, and 86.0105.


                                                 20
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 21 of 91




          52.    Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza are

charged with enforcing and will enforce the provisions of SB1 challenged here.

                                  IV.     FACT BACKGROUND

A.        Texas law has long restricted Latino and Black citizens’ right to vote.

          53.    SB1 is the latest chapter in Texas’s “long, well-documented history of

discrimination” against Latino and Black citizens in the voting and electoral processes. 42

          54.    From as early as 1845, the year Texas gained its statehood, the government has

suppressed Latinos’ political participation. Laws prohibited Texans from using the Spanish

language and Mexican-Americans from serving as election judges.

          55.    Texas continued to formally disenfranchise Latino and Black citizens throughout

the 19th and 20th centuries. In 1902, Texas voters approved a constitutional amendment requiring

poll taxes, the “primary purpose” of which was a “desire to disenfranchise the Negro and the poor

white supporters of the Populist Party.” 43 The poll tax also disenfranchised Latino citizens, many

of whom could not afford it. Texas maintained a poll tax until the Supreme Court found such taxes

unconstitutional in 1966. 44

          56.    In the late 19th and early 20th centuries, the Texas Legislature expanded poll

watchers’ power to challenge voters (without any requirement of substantiating evidence), which

facilitated discriminatory and abusive challenges to voter eligibility in an apparent attempt to

disenfranchise voters of color. 45 Among other restrictions, the law included notorious Terrell


42
  League of United Latin Am. Citizens v. Perry, 548 U.S. 399 (2006) (quoting Vera v. Richards,
861 F.Supp. 1304, 1317 (S.D. Tex. 1994).
43
     United States v. Texas, 252 F. Supp. 234, 245 (W.D. Tex. 1966).
44
     See Harper v. Virginia State Bd. of Elections, 383 U.S. 663 (1966).
45
    NICOLAS RILEY, BRENNAN CTR. FOR JUSTICE, VOTER CHALLENGERS 9–10 (2012),
https://www.brennancenter.org/our-work/research-reports/voter-challengers.

                                                 21
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 22 of 91




election laws, which included a poll tax and provisions giving rise to “white primaries” 46 that also

served to disenfranchise Black and Latino voters. One Texas newspaper declared that the white

primary “absolutely eliminates the Mexican vote as a factor in nominating county candidates,

though we graciously grant the Mexican the privilege of voting for them afterwards.” 47 This law

remained in effect in some form until its 2003 repeal. 48

          57.      In the early 20th century, Texas Rangers actively discouraged Latinos from voting

by selectively investigating them and scaring would-be voters by suggesting they would be

imprisoned for voting if illiterate. The mere presence of armed Rangers at polling stations

understandably intimidated Latino voters.

          58.      In the early 20th century, on multiple occasions, mobs gathered at polling places to

prevent Latinos from voting. In one such incident, the so-called “Good Government League”

assaulted the Weslaco barrio election box, and the crowd reportedly shouted, “Don’t let those

Mexicans in to vote. Throw them out.” Latino participation decreased as a result.

          59.      In recent years, federal courts have overturned another insidious form of voting

discrimination in Texas in the form of redistricting efforts. In 2006, the U.S. Supreme Court

invalidated Texas’s 2003 congressional redistricting plan, ruling the plan “b[ore] the mark of

intentional discrimination” against Latinos. 49 In 2012, a federal court held Texas acted with



46
     Id. at 10, n. 75.
47
     DAVID MONTEJANO, ANGLOS AND MEXICANS IN THE MAKING OF TEXAS 1836–1986 144 (1986).
48
     Id. at 17.
49
   League of United Latin American Citizens v. Perry, 548 U.S. 399, 440 (2006). In its reasoning,
the Supreme Court noted that Texas “took away [] Latinos’ [electoral] opportunity because Latinos
were about to exercise it . . . The State not only made fruitless the Latinos’ mobilization efforts but
also acted against those Latinos who were becoming most politically active.” Id. Texas thus
“undermined the progress of a racial group that has been subject to significant voting-related
discrimination and that was becoming increasingly politically active and cohesive.” Id. at 439.


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           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 23 of 91




discriminatory purpose or effect and denied preclearance to the state’s 2011 state legislative and

congressional maps under Section 5 of the VRA. 50 A second federal court also concluded that

Texas intentionally discriminated against Latino and Black voters with its 2011 congressional and

state legislative plans in violation of the VRA and the U.S. Constitution.51

          60.    In addition to discriminatory redistricting, Texas has adopted other illegal measures

to suppress minority participation in elections. In 2016, the Fifth Circuit affirmed a district court’s

decision that Texas’s photo voter identification law, S.B. 14, had a discriminatory effect on Latino

and Black Texans’ rights in violation of Section 2 of the VRA. 52 The district court observed:

                 [S.B.] 14’s voter I.D. requirements interact with social and historical
                 conditions in Texas to cause an inequality in the electoral
                 opportunities enjoyed by African-Americans and Hispanic voters as
                 compared to Anglo voters. In other words, [S.B.] 14 does not
                 disproportionately impact African-Americans and Hispanics by
                 mere chance. Rather, it does so by its interaction with the vestiges
                 of past and current racial discrimination. 53

As a result of this litigation, the Texas Legislature later replaced S.B. 14. 54 Although that new law

has survived legal challenge, this does not erase the judgment of the Court of Appeals that the

Texas Legislature adopted measures that had a discriminatory effect on Texans of color, in

violation of federal voting-rights laws. 55

          61.    In 2019, Secretary of State David Whitley attempted to purge Texas’s voter rolls

by falsely alleging that nearly 100,000 “non-U.S. citizens” were illegally registered to vote. In



50
     Texas v. United States, 887 F.Supp.2d 133 (D.D.C. 2012).
51
     Perez v. Abbott, 390 F. Supp. 3d 803, 816 (W.D. Tex. 2019).
52
     Veasey v. Abbott, 830 F.3d 216, 265 (5th Cir. 2016).
53
     Veasey v. Perry, 71 F.Supp.3d 627, 698 (S.D. Tex. 2014) (emphasis added).
54
     See Veasey v. Abbott, 888 F.3d 792, 797 (5th Cir. 2018).
55
     See id.

                                                   23
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 24 of 91




fact, many of these alleged “non-U.S. citizens” were Latino naturalized U.S. citizens properly

registered to vote. The data underpinning the proposed voter purge, however, did not show voters’

current citizenship status, which the Secretary of State knew before attempting to remove 100,000

eligible voters from the voter rolls. 56 A federal district court enjoined the purge, but not before

counties sent “ham-handed and threatening correspondence from the state which did not politely

ask for information but rather exemplifie[d] the power of government to strike fear and anxiety

and to intimidate the least powerful among us.” 57

A.         Before SB1, Texas was already among the states that made it hardest to vote.

           62.   Texas voting procedures are among the most onerous in the country. 58 For

example, Texas has “reduced the number of polling stations in some parts of the state by more

than 50% and has the most restrictive pre-registration law in the country.” 59

           63.   Although most states allow voting by mail without some special showing, 60 Texas

reserves mail voting only for individuals who (a) are 65 or older; (b) are sick or disabled; (c) will

be out of the county during the entire election period (early voting and election day); or (d) are

confined to jail but otherwise eligible to vote. 61



56
  Alexa Ura, Texas Will End Its Botched Voter Citizenship Review and Rescind Its List of Flagged
Voters, THE TEXAS TRIBUNE (April 26, 2019), https://www.texastribune.org/2019/04/26/texas-
voting-rights-groups-win-settlement-secretary-of-state/.
57
  Texas League of United Latin Am. Citizens v. Whitley, No. SA-19-CA-074-FB, 2019 WL
7938511, at *1 (W.D. Tex. Feb. 27, 2019).
58
  Ross Ramsey, Analysis: It’s harder to vote in Texas than in any other state, THE TEXAS TRIBUNE
(Oct. 19, 2020), https://www.texastribune.org/2020/10/19/texas-voting-elections/.
59
     Id.
60
   NATIONAL CONFERENCE OF STATE LEGISLATURES, VOPP: Table 1: States with No-Excuse
Absentee Voting (May 1, 2021), https://www.ncsl.org/research/elections-and-campaigns/vopp-
table-1-states-with-no-excuse-absentee-voting.aspx.
61
     TEX. ELEC. CODE §§ 82.001–82.004 (2020).

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        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 25 of 91




       64.     Unsurprisingly, Texas’s election laws yield one of the nation’s lowest voter turnout

rates; the state’s turnout rate trailed the national average in 2016, 2018, and 2020 (even after

factoring in the state’s relative successes in 2018 and 2020 described below). 62

B.     The 2020 General Election tested Texas voters in unprecedented ways—and Texans
       passed with flying colors.

       65.     Leading up to the 2020 General Election, Texas voters began to increase their

turnout dramatically.   In the 2018 mid-term election, Texas voter turnout increased by 18

percentage points compared with the previous midterms. Texas Latinos increased their vote share

by about five percentage points—from 14.4% to 19.1% of all votes cast (compared to the 2014

midterm election). As a result, Texas Latinos cast 922,146 more votes in the 2018 General

Election than the 2014 General Election.

       66.     In the 2020 election, Texas again achieved record voter turnout, with Texans

casting 11,315,056 total votes in the 2020 general election 63 in spite of the COVID-19 pandemic

that has killed tens of thousands in the state. A total of 66.73% of Texas’s registered voters cast

ballots—the highest voter turnout for any election since 1992 and more than 7% higher than

Texans’ 2016 General Election turnout. 64




62
  U.S. CENSUS BUREAU, Voting and Registration in the Election of November 2016 (May 2017),
Table 4b, https://www.census.gov/data/tables/time-series/demo/voting-and-registration/p20-
580.html; U.S. CENSUS BUREAU, Voting and Registration in the Election of November 2018 (April
2019),       Table     4b,     https://www.census.gov/data/tables/time-series/demo/voting-and-
registration/p20-583.html; U.S. CENSUS BUREAU, Voting and Registration in the Election of
November 2020 (April 2021), Table 4b, https://www.census.gov/data/tables/time-
series/demo/voting-and-registration/p20-585.html.
63
   TEX. SEC’Y OF STATE, Texas Election Results: 2020 November 3rd General Election,
https://results.texas-election.com/races (last visited Sep. 1, 2021).
64
     TEX.    SEC’Y     OF     STATE,      Turnout     and      Voter      Registration    Figures,
https://www.sos.texas.gov/elections/historical/70-92.shtml (last visited Sep. 1, 2021).

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         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 26 of 91




        67.     In the 2020 election officials and poll workers faced unprecedented obstacles as

well as new threats to their health and safety. Not only were they tasked with operating polling

places during a pandemic, but they also faced threats and harassment from members of the public

spurred on by conspiracy theories. 65 These threats were particularly unsettling to communities of

color. In the face of these threats, Texas election officials struggled to find enough poll workers

to do the job in 2020. 66

        68.     In 2020, the Latino turnout rate jumped to 56.45%; Latino votes constituted more

than one-fifth of all votes cast in the 2020 General Election. According to Census estimates,

turnout among Asian-American voters increased by 15% and turnout among Black voters in Texas

increased by more than 10%.

        69.     The strong 2020 voter turnout was due in part to efforts by public officials

throughout the State of Texas to make voting more accessible.            Community-based civic

engagement and faith-based groups such as Plaintiff organizations also played a role in educating

voters and encouraging them to cast lawful ballots.

        70.     In May 2020, Secretary of State Ruth Hughes released a checklist of health

protocols for voters and election officials. 67 For voters, the guidance suggested maintaining six




65
   See, e.g., Michael Wines, Here Are the Threats Terrorizing Election Workers, N.Y. TIMES (Dec.
3, 2020), https://www.nytimes.com/2020/12/03/us/election-officials-threats-trump.html.
66
  John Engel, Central Texas Election Officials Confront Nationwide Shortage of Poll Workers,
KXAN (Sep. 11, 2020), https://www.kxan.com/news/your-local-election-hq/central-texas-
election-officials-confront-nationwide-shortage-of-poll-workers/.
67
        TEX.      SEC’Y       OF       STATE,      Health       Protocols       for      voters,
https://www.sos.texas.gov/elections/forms/health-protocols-for-voters.pdf (last visited Sept. 2,
2021).


                                                26
            Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 27 of 91




feet of distance where possible and recommended that voters exhibiting symptoms of COVID-19

“consider utilizing curbside voting” if they met eligibility requirements. 68

           71.     The guidance also referenced the right of voters to rely on the aid of voting

assistants (including interpreters). 69

           72.     On July 27, 2020, Governor Abbott issued a proclamation extending the early

voting period in light of the COVID-19 pandemic and suspending the restriction in Texas Election

Code § 86.006 that only allowed in-person delivery of ballots on Election Day. 70

           73.     Local election officials across the state developed creative ways to make traditional

voting methods more accessible, including extended voting hours and additional mail ballot drop-

off locations.

           74.     Some large counties, including Harris and Bexar counties, extended voting hours

at in-person polling locations. Harris County implemented 24-hour voting for one night during

the early voting period. 71 Bexar County kept polling places open until 10:00 p.m. for several days

during the early voting period to accommodate additional voters. 72 Certain counties also

encouraged eligible voters to apply for mail ballots and to do so early.



68
     Id. at 2.
69
     Id. at 3, 7
70
  OFFICE OF THE TEX. GOVERNOR, Governor Abbott Issues Proclamation Extending Early Voting
Period for November 3rd Election (Jul. 27, 2020), https://gov.texas.gov/news/post/governor-
abbott-issues-proclamation-extending-early-voting-period-for-november-3rd-election.
71
   Alexa Ura, Here’s How Texas Elections Would Change, and Become More Restrictive, Under
the Bill Texas Republicans are Pushing, TEX. TRIB. (Apr. 21, 2021),
https://www.texastribune.org/2021/04/21/texas-voting-restrictions-senate-bill-7/.
72
  David Lynch, Bexar County’s Early Voting Locations Staying Open Later this Week, KENS5
(Oct. 27, 2020), https://www.kens5.com/article/news/politics/elections/bexar-countys-early-
voting-locations-staying-open-later-this-week/273-c7e85454-46c8-4d7b-a048-85f306fc8281.


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         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 28 of 91




        75.     In addition to expanding traditional in-person and mail-in voting, election officials

in some counties created new, safe ways to vote. Harris County, for example, opened drive-thru

voting sites, which were used by almost 127,000 early voters in the county. 73

        76.     Texas voters also sought mail ballots in record numbers. For example, the Travis

County Clerk’s office received requests from 65,678 people before September 30, 2020. By

comparison, only 27,000 mail ballots were mailed out in the 2016 election. 74

        77.     However, as voters sought to protect their health during the pandemic by voting by

mail, Governor Abbott and Defendant Attorney General Paxton responded by imposing obstacles

that limited exercise of the franchise. For instance, Governor Abbott issued a proclamation on

October 1, 2020, that arbitrarily limited mail ballot drop-off locations to one per county regardless

of physical size or population. 75 Attorney General Paxton filed suit against the Harris County

Clerk to prevent him from mailing out mail ballot applications to many eligible voters unless those

voters first submitted a request. 76




73
  Ten percent (10%) of Harris County’s in-person early voters (approximately 127,000 voters)
took advantage of drive-thru voting. Jolie McCullough, Nearly 127,000 Harris County Drive-Thru
Votes Appear Safe after Federal Judge Rejects GOP-Led Texas Lawsuit, TEX. TRIB. (Nov. 2,
2020), https://www.texastribune.org/2020/11/02/texas-drive-thru-votes-harris-county/.
74
  Russell Falcon, Travis County Voters can Request a Mail Ballot until Oct. 23, KXAN (Sept. 30,
2020), https://www.kxan.com/news/your-local-election-hq/travis-county-voters-can-request-a-
mail-in-ballot-until-oct-23/.
75
  OFFICE OF THE TEX. GOVERNOR, Governor Abbott Issues Proclamation Enhancing Ballot
Security (Oct. 1, 2020), https://gov.texas.gov/news/post/governor-abbott-issues-proclamation-
enhancing-ballot-security.
76
  OFFICE OF THE ATTORNEY GENERAL OF TEX., AG Paxton Sues Harris County Clerk to Prevent
Him from Unlawfully Sending Out Millions of Unsolicited Mail-In Ballot Applications (Aug. 31,
2020), https://www.texasattorneygeneral.gov/news/releases/ag-paxton-sues-harris-county-clerk-
prevent-him-unlawfully-sending-out-millions-unsolicited-mail.


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           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 29 of 91




C.        Following a historically successful election, some Texas politicians made baseless
          allegations of cheating.

          78.     By official accounts, Texas’s 2020 General Election was a resounding success. The

Texas Secretary of State’s office reassured the public that Texas had a “smooth and secure”

election in 2020. 77

          79.     Governor Abbott nonetheless announced that “election integrity” would be an

“emergency item” for the Texas Legislature’s 2021 term, claiming that “[i]n the 2020 election, we

witnessed actions throughout our state that could risk the integrity of our elections and enable voter

fraud.” 78 But Governor Abbott has struggled to identify examples of such actions or to identify

people who witnessed them. 79

          80.     Tellingly, there were only 23 total voter fraud complaints filed in Texas in 2020.80

And, although Attorney General Paxton’s office has spent 22,000 staff hours investigating voter

fraud in the 2020 Election, he has identified only 16 minor offenses out of more than 11,000,000




77
     Goldenstein et al., supra note 1.
78
   OFFICE OF THE TEX. GOVERNOR, Governor Abbot Delivers 2021 State of the State Address, (Feb.
1,    2021),    https://gov.texas.gov/news/post/governor-abbott-delivers-2021-state-of-the-state-
address; OFFICE OF THE TEX. GOVERNOR, Governor Abbott Holds Press Conference on Election
Integrity Legislation, (Mar. 15, 2021), https://gov.texas.gov/news/post/governor-abbott-holds-
press-conference-on-election-integrity-legislation.
79
   Alexa Ura, Gov. Greg Abbott Formally Opens Texas GOP Bid to Clamp Down on Local Efforts
Expanding        Voter       Access,       TEX.       TRIB.        (Mar. 15,       2021),
https://www.texastribune.org/2021/03/15/texas-voting-greg-abbott/.
80
   Jeremy Rogalski, Despite National Outcry, Texas Received Relatively Few Voting Fraud
Reports        this        Election,        KHOU-11            (Nov.         20,        2020),
https://www.khou.com/article/news/investigations/texas-received-few-voting-fraud-reports/285-
deec7c9a-581b-42b1-b430-4cae7aef5f26.

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        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 30 of 91




ballots cast. 81 That means about 99.999% of ballots were cast untainted by so much as an

allegation—let alone any proof—of fraud.

       81.     There is no evidence of widespread voter fraud in the 2020 election (or other

elections in Texas for that matter). Nor is there evidence that there is a substantial risk of fraud in

future elections that Texas’s already-restrictive voting laws did not previously address.

D.     The Texas Legislature takes up anti-voter legislation.

       82.     Against this backdrop of a successful and untainted election in Texas, the Texas

Legislature began its determined effort to restrict voting in the name of “election integrity.” 82

       83.     On March 11, 2021, Texas Senator Bryan Hughes introduced Senate Bill 7 (“SB7”)

in the Texas Legislature as a sweeping so-called “voting integrity” bill. Although SB7 ultimately

did not succeed, SB1 contains many of the same restrictions designed to intimidate and discourage

Texas voters and, in particular, Texas’s minority voters.

       84.     SB1 (also introduced by Senator Hughes) was heard before the Senate State Affairs

Committee on August 9, 2021, and voted out of committee that same day. SB1 passed the Senate

in the early morning of August 12, 2021 on a party-line vote, following a 15-hour filibuster by

Senator Carol Alvarado.

       85.     SB1 was heard before the House Select Committee on Constitutional Rights and

Remedies on August 23, 2021. During the hearing, the Committee Chair permitted two witnesses



81
   Taylor Goldenstein, Fact Checking Texas Lawmaker’s Claim of 400 Voter Fraud ‘Cases’,
HOUSTON CHRONICLE (Apr. 12, 2021), https://www.houstonchronicle.com/politics/texas/article/
Fact-checking-Texas-lawmaker-s-claim-of-400-16095858.php.
82
   See HERITAGE ACTION FOR AMERICA, Heritage Action Launches Election Integrity Campaign,
Commits Over $10 Million (Mar. 8, 2021), https://heritageaction.com/press/heritage-action-
launches-election-integrity-campaign-commits-over-10-million; HERITAGE FOUNDATION, The
Facts About Election Integrity and the Need for States to Fix Their Election Systems (Feb. 1, 2021),
https://www.heritage.org/election-integrity-facts.

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         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 31 of 91




to testify virtually in favor of the bill without calling a vote to authorize virtual testimony or

alerting the public that such testimony would be permitted. At that time Texas was facing a surge

of COVID-19 cases which discouraged in-person public participation in the hearing.                 The

Committee passed SB1 that same day.

        86.     The House debated SB1 on August 26, 2021, and adopted seventeen amendments

to the bill.

        87.     The House passed SB1 on August 27, 2021.

        88.     The House and Senate convened a conference committee, which issued its report

to each chamber on August 30, 2021.

        89.     The Senate and the House both passed the SB1 conference committee report on

August 31, 2021, and the Legislature sent SB1 to the Governor for his signature on September 1,

2021.

        90.     After the Legislature passed SB1, the Governor publicly stated that “[p]rotecting

the integrity of our elections is critical in the state of Texas, which is why I made election integrity

an emergency item during the 87th Legislative Session.” 83

        91.     The Governor signed SB1 into law on September 7, 2021.

        92.     SB1 went into effect on December 2, 2021.

        93.     The next “Uniform Election Date” in the State of Texas is scheduled for

November 8, 2022.




83
  OFFICE OF THE TEX. GOVERNOR, Governor Abbott Statement On Passage Of Election Integrity
Legislation (Aug. 31, 2021), https://gov.texas.gov/news/post/governor-abbott-statement-on-
passage-of-election-integrity-legislation.


                                                  31
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 32 of 91




E.         State officials, including the Secretary, commence a “forensic audit” of Texas
           elections.

           94.    On September 23, 2021, the Secretary announced a “[f]ull [f]orensic [a]udit of 2020

General Election in [f]our [c]ounties.” 84 The news release stated that “[u]nder existing Texas laws,

the Secretary of State has the authority to conduct a full and comprehensive forensic audit of any

election and has already begun the process in Texas’ two largest Democrat counties and two largest

Republican counties—Dallas, Harris, Tarrant, and Collin—for the 2020 election.” 85

           95.    According to materials available on the Secretary’s website, part of the audit

process includes “identif[ying] potential non-U.S. citizen voters” and “direct[ing] county voter

registrars to take action to verify the eligibility of registered voters and cancel their registration if

they do not present proof of eligibility.” 86 Moreover, “[o]nce that action has been taken,” the

Secretary’s office “evaluates the persons cancelled and refers any instances of possible illegal

voting to the Office of the Texas Attorney General for investigation (Sec. 31.006).” 87

           96.    The forensic audit will also include an examination of, among many other things,

“Signature Verification Committee Materials.” 88




84
     https://www.sos.state.tx.us/about/newsreleases/2021/092321.shtml
85
     Id.
86
     https://www.sos.state.tx.us/about/forms/9-28-21-forensic-audit-summary.pdf.
87
     Id.
88
     Id.


                                                   32
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 33 of 91




         97.    On November 19, 2021, Governor Abbott approved transferring $4 million in

funding from Texas’s state budget to the Secretary’s office to establish an entirely “new Election

Audit Division” tasked with “conducting comprehensive forensic audits in the State of Texas.” 89

F.       State officials, including the Attorney General, support increased criminal penalties
         for so-called “illegal voting.”

         98.    Still without any evidence of widespread voter fraud in the State of Texas, on

September 30, 2021, Governor Abbott sent a letter to the Secretary of the Texas Senate calling for

“[l]egislation increasing the penalties for illegal voting that were reduced in Senate Bill No. 1 that

passed in the 87th Legislature, Second Called Session.” 90 In a September 30, 2021 press release,

Governor Abbott praised the “tremendous progress” made by the State of Texas “in upholding the

integrity of our elections,” and stated that, “[b]y increasing penalties for illegal voting, we will

send an even clearer message that voter fraud will not be tolerated in Texas.” 91

         99.    According to Lieutenant Governor Dan Patrick, the amendment lowering the

criminal classification from a second degree felony to a Class A misdemeanor was “added last

minute” by the House “& went under the radar until Gov., @TXAG & I found it & agreed then it

must be corrected. The Senate will pass next week.” 92




89
      https://gov.texas.gov/news/post/governor-abbott-approves-funding-to-launch-election-audit-
division-within-texas-secretary-of-states-office;  https://www.ktsa.com/gov-abbott-establishes-
election-audit-division/.
90

https://gov.texas.gov/uploads/files/press/MESSAGE_3rd_called_87th_adding_matter_to_call_I
MAGE_09-30-21.pdf.
91
   https://gov.texas.gov/news/post/governor-abbott-adds-illegal-voting-penalty-increase-to-third-
special-session-agenda; see also Greg Abbott (@GregAbbott_TX), TWITTER (Sept. 30, 2021, 6:46
PM EST).
92
     Dan Patrick @DanPatrick, TWITTER (Sept. 30, 2021, 6:21 PM EST).


                                                 33
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 34 of 91




         100.    These sentiments by the Governor and Lieutenant Governor were echoed by

Defendant Paxton, who tweeted that it was “[a]n outstanding decision to demand increased

penalties for vote fraudsters . . . . I will continue to muster all my resources to defend election

integrity!” 93

         101.    On October 4, 2021, the Texas Senate’s State Affairs Committee heard testimony

from certain supporters and opponents of increasing criminal penalties for illegal voting and the

Senate ultimately passed Senate Bill 10 (“SB10”). SB10 would have increased the penalty for

illegal voting from a Class A misdemeanor to a second degree felony.

G.       SB1 imposes burdens that will discourage, intimidate and deter eligible Texas
         voters, and will disproportionately impact voters of color and voters with
         disabilities.

         102.    The Texas Legislature’s claims of voter fraud and voter integrity are merely

pretexts for their actual purpose in enacting SB1, which is to make it harder for citizens of color

and citizens with disabilities to cast their votes. SB1 intentionally discriminates on the basis of

race and national origin and is consistent with Texas’ longstanding efforts to discriminate against

citizens of color in Texas.

         1.      SB1 restricts the ability of eligible Texans, including voters who have limited
                 English proficiency, disabilities, and less formal education, to access voter
                 assistance.

         103.    As Representative Bernal testified before Congress, “[t]here are no cases of voter

fraud relating to voter assistance.” 94




93
     Ken Paxton (@KenPaxtonTX), TWITTER (Oct. 1, 2021, 11:34 PM EST).
94
  HOUSE COMMITTEE ON OVERSIGHT & REFORM, Democracy in Danger: The Assault on Voting
Rights in Texas (July 29, 2021), https://oversight.house.gov/legislation/hearings/democracy-in-
danger-the-assault-on-voting-rights-in-texas.


                                                 34
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 35 of 91




         104.   SB1 nonetheless targets eligible voters who vote with assistance, including voters

who have limited English proficiency, disabilities, and/or less formal education. The law’s

restrictions on voter assistance will deprive many voters of their right to choose their assistors,

which will discourage and ultimately depress voter participation and have a particularly negative

impact on Latino and Asian American voters. Section 6.04 of SB1 also limits the type of assistance

that a voter can receive to “reading the ballot to the voter, directing the voter to read the ballot,

marking the voter’s ballot, or directing the voter to mark the ballot.” 95 As a result, many eligible

voters will not receive the assistance to which they are entitled, which will impede their ability to

vote or result in avoidable error on their ballots. In addition, individuals who assist voters will be

deterred and prevented from providing assistance by the new restrictions and penalties in SB1.

         105.   According to data collected pursuant to Section 203 of the Voting Rights Act,96

more than 277,000 voting-age U.S. citizens with limited English proficiency live in a Texas county

that is not required to provide materials in their primary language.             These citizens are

disproportionately Asian American and Latino.

         106.   The Centers for Disease Control and Prevention estimates that 28% of adults in

Texas have a disability. 97 These Texans are disproportionately Black, representing more than 21%

of all Texans with a disability, but only 13% of the overall population.

         107.   SB1 imposes at least four new restrictions on assistance for voters.




95
  S.B. 1 § 7.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE §
64.034).
96
     52 U.S.C. § 10503.
97
  Centers for Disease Control and Prevention, Disability and Health U.S. State Profile Data for
Texas, last updated June 28, 2021, https://www.cdc.gov/ncbddd/disabilityandhealth/impacts/
texas.html.

                                                 35
            Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 36 of 91




            108.   First, SB1 alters the oath that an assistor must take before providing assistance to a

voter. The revised language is both more onerous and more intimidating.

            109.   Under Section 6.04 of SB1, an assistor must now swear that the voter “represented

to [them] they are eligible to receive assistance.” 98 This effectively requires the assistor to obtain

from the voter a statement of eligibility for voter assistance. Because one’s eligibility for voter

assistance necessarily turns on personal and/or medical background and information, this

requirement will invade the privacy of and deter voters who need assistance. It will further deter

individuals from serving as assistors out of fear of criminal prosecution for failing to secure the

appropriate “representation” of eligibility from voters.

            110.   The assistor’s oath must be made “under penalty of perjury” and the assistor must

swear “I understand that if assistance is provided to a voter who is not eligible for assistance, the

voter’s ballot may not be counted.” 99 This additional language will cause assistors to question

every voter’s “need” for assistance, which further invades the voter’s privacy and opens assistors

to the threat of prosecution for any misstep.

            111.   An assistor must also swear that they did not “pressure” the voter to choose them

as the assistor. 100 This requirement will deter assistors from helping or even volunteering to help

voters out of fear that the assistor may be perceived as pressuring their selection as assistors. This

will deprive voters of access to their chosen assistors. Indeed, on its face, this provision will




98
  S.B. 1 § 6.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE §
64.034).
99
     Id.
100
      Id.


                                                    36
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 37 of 91




deprive voters of assistance from the person most likely to provide it—i.e., a person who

encourages the voter to seek assistance.

       112.    Second, in addition to the oath, Section 6.03 of SB1 requires assistors to fill out a

form stating the assistor’s “relationship to the voter,” and whether the assistor “received or

accepted any form of compensation or other benefit from a candidate, campaign, or political

committee.” 101 With respect to voting by mail, Section 6.05 of SB1 requires assistors to fill out

additional information on the mail ballot carrier envelope—namely, the assistor’s “relationship to

the voter” and whether the assistor “received or accepted any form of compensation or other

benefit from a candidate, campaign, or political committee in exchange for providing assistance.”

This new requirement for information will deter assistors and increase the risk that the ballot will

be rejected because the assistor made a clerical error.

       113.    Together with Section 6.04, these new requirements will slow in-person voting and

burden the right to vote of those seeking assistance, as each voter’s assistor must take time to both

complete a form and recite an oath.

       114.    Third, Section 6.06 of SB1 makes it a crime to compensate (or offer, solicit, receive,

or accept compensation for) assistance to mail voters. This prohibits assistors who work for non-

profit civic engagement organizations and who conduct voter outreach from assisting mail voters

who require such assistance to vote. 102 It will also likely deter many other assistors who fear

prosecution because the section defines “compensation” to mean any “economic benefit.”




101
   S.B. 1 § 6.03, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 64.0322(a)).
102
   S.B. 1 § 6.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 86.0105); TEX. PENAL CODE § 12.35.


                                                 37
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 38 of 91




          115.   Finally, Section 6.01 of SB1 discourages voter assistance by imposing limitations

on transportation to the polls for curbside voting. Any individual other than a close relative who

provides transportation to the polls to seven or more curbside voters who are entitled to receive

ballots at the polling place entrance or curb under Section 64.009 of the Texas Election Code must

complete and sign a form that contains the driver’s name and address and state whether the driver

is providing only transportation assistance or is also providing assistance with voting.103 SB1

provides that the form shall be delivered to the Secretary of State and retained as an election record

available to the Attorney General for inspection upon request. 104 Even though giving rides to

seven or more voters is not illegal, this requirement will deter individuals from giving these rides,

further reducing access to voting for voters who need assistance and depriving them of assistance

by their chosen assistors. In addition, poll watchers are expressly permitted to observe “any

activity conducted under this section,” which will further deter voter assistance by invading the

privacy of curbside voters who receive assistance. 105

          116.   As a result of these provisions, voters eligible for assistance will be deprived of

assistance and assistors will be deterred from and denied the opportunity to assist voters.

          2.     SB1 opens the door to intimidation and misconduct at the polls by tying the
                 hands of poll workers and election officials.

          117.   The ability of poll workers and election officials to effectively control and (if

necessary) remove poll watchers who are unruly or are violating the law is critical to protecting

the right to vote.



103
   S.B. 1 § 6.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§§ 64.009(f), (f-1)).
104
      Id. (codified at TEX. ELEC. CODE § 64.009(g)).
105
      Id. (codified at TEX. ELEC. CODE § 64.009(e)).


                                                 38
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 39 of 91




          118.   In 2009, a group of predominantly white volunteers known as the “King Street

Patriots” went to polling stations in minority neighborhoods in Harris County and interfered with

voting. In 2010, a poll watcher in Harris County stood directly behind and hovered over voters.

An election judge requested that the overzealous poll watcher step back, but the watcher

responded, “I have the right to stand wherever I want!” In 2020, individuals in militia gear were

gathered near an early voting location in Fort Worth. In Travis County, a poll watcher was arrested

after attempting to record activities during early voting with a hidden camera on her clothing. In

a 2021 training for poll watchers, an individual with the Harris County Republican Party, with a

stated goal of recruiting an “army” of watchers, argued that poll watchers from specific areas of

Harris County must “have the confidence and courage” to act as poll watchers in the areas “where

the fraud is occurring.” The areas that the individual referenced when describing where poll

watchers were coming from are suburban areas that are predominantly white. The areas that the

individual claimed were “where the fraud is occurring” are neighborhoods that are predominantly

inhabited by people of color in Houston. There was no evidence of fraud occurring in those

neighborhoods.

          119.   SB1 makes the work of poll workers even harder by loosening restrictions on poll

watchers and at the same time limiting poll workers’ ability to carry out their duty of “preserv[ing]

order and prevent[ing] breaches of the peace and violations of [the election] code in the polling

place.” 106

          120.   First, SB1 limits the ability of poll workers to manage unruly poll watchers. Section

4.06 of SB1 creates a new criminal offense—making it a Class A misdemeanor for an election

officer to “intentionally or knowingly refuse[] to accept a watcher for service when acceptance of


106
      TEX. ELEC. CODE § 32.075(a).

                                                  39
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 40 of 91




the watcher is required by this section.” 107 This provision effectively criminalizes refusing to

accept a poll watcher even if the polling place official is reasonably concerned that the watcher

will be unruly or will actually intimidate voters.

       121.    Section 4.01 of SB1 also prohibits “[a] presiding judge” from having a poll watcher

“removed from the polling place” for “violating a provision of this code or any other provision of

law relating to the conduct of elections, other than a violation of the Penal Code,” unless the

election judge or a clerk personally observed the violation. 108 SB1 thus allows poll watchers to

avoid being removed from a polling place, even after they violate the Election Code, and if there

were dozens of witnesses as long as the election judge or clerk were not among them.

       122.    Second, the Texas Election Code already allowed poll watchers to sit in a

convenient location and report any activity that concerned them, but now, Section 4.07 of SB1

guarantees poll watchers the right to “free movement where election activity is occurring within

the location at which the watcher is serving.” 109 In other words, under SB1, poll watchers can

essentially go wherever they please within a polling place, even if their presence intimidates those

present or causes other disruption.

       123.    Third, Section 4.09 of SB1 adds that the existing offense of “knowingly

prevent[ing] a watcher from observing an activity or procedure” now specifically includes “taking

any action to obstruct the view of a watcher or distance the watcher from the activity or procedure




107
   S.B. 1 § 4.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.051(g)).
108
   S.B. 1 § 4.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 32.075(g)).
109
   S.B. 1 § 4.07, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.056(e)).

                                                 40
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 41 of 91




to be observed in a manner that would make observation not reasonably effective.” 110 There is no

protection for poll workers taking routine actions of election administration that by chance obstruct

the view of a poll watcher, provided such actions were taken “knowingly.” Similarly, there is no

protection for poll workers who position themselves between a voter and a disruptive watcher in

order to protect the privacy of the voter.

        124.    Section 8.01 of SB1 adds another new provision to the Election Code, codified at

TEX. ELEC. CODE § 31.129, entitled “Civil Penalty.” Subsection (b) of that provision states that

“a[n] election official may be liable to this state for a civil penalty if the official: (1) is employed

by or is an officer of this state or a political subdivision of this state; and (2) violates a provision

of this code.” TEX. ELEC. CODE § 31.129(b); see also TEX. ELEC. CODE § 1.005(4-a) (defining

“election official”). Subsection (c) specifies that a “civil penalty imposed under this section may

include termination of the person’s employment and loss of the person’s employee benefits.” TEX.

ELEC. CODE § 31.129(c).

       125.    Fourth, Section 4.10 of SB1 allows the parties and candidates that appoint poll

watchers to seek injunctive, mandamus, or “any other remedy available under law” whenever they

“believe[] that the watcher was unlawfully prevented or obstructed from the performance of the

watcher’s duties.” 111

       126.    Together, these provisions will intimidate poll workers into allowing poll watchers

to roam around the polling place and stand uncomfortably close to voters. Permitting poll watchers

to stand over voters, make disruptive noises, and hawkishly observe voting activities is designed



110
   S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.061(a) (emphasis added)).
111
   S.B. 1 § 4.10, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.063).

                                                  41
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 42 of 91




to, and will, have a chilling and intimidating effect on Texas voters, particularly Black, Latino and

Asian American voters, who are members of historically marginalized groups.

       127.    SB1’s new definition of poll watcher obstruction also is unconstitutionally vague.

Under the revised Section 4.09, it may be unlawful for an election worker to take “any action” (no

matter how small) if it renders “observation not reasonably effective.” 112

       128.    The phrase “not reasonably effective” is not defined in SB1 or elsewhere in the

Texas Elections Code. SB1 provides no guidance as to what makes a watcher’s observation

activities “reasonably effective” or when routine actions of election administration unlawfully

reduce the “effectiveness” of a watcher’s observation. Thus, the statute provides no objective

standard for conduct that could “obstruct the view of a watcher” in a manner proscribed thereby—

clearing a pathway for arbitrary application. 113

       129.    This ambiguity deprives Plaintiff Lewin and other election workers of reasonable

notice of how to comply with the law and avoid severe jail time or fines.

       130.    This ambiguity will further deter Texans from becoming poll workers, augmenting

the struggles election officials already face to staff each polling location.

       131.    Ultimately the burdens imposed by SB1 will fall on voters, particularly voters of

color. Should poll watchers engage in behavior that intimidates or harasses voters or election

workers, including hovering over them or trailing voters through the polling place, election

workers run the risk of criminal prosecution if they attempt to stop such behavior. The risk of such

intimidation has historically been and will continue to be higher for voters of color.



112
   Compare Tex. Elec. Code § 33.061(a) (2020) with S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess.
(Tex. 2021) (codified at TEX. ELEC. CODE § 33.061(a)).
113
   S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.061(a) (2021).

                                                    42
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 43 of 91




        3.      SB1 prohibits voting procedures that facilitated record voter participation in
                2020, despite no evidence that these measures contribute to voter fraud.

        132.    Several important accommodations that local officials in large, diverse counties

adopted to ensure safe, secure voting during the 2020 Election in light of the COVID-19 pandemic

are outlawed or undermined by SB1.

        133.    For example, during the 2020 Election, Harris County’s 24-hour voting allowed

more than 10,000 Harris County voters to cast ballots overnight. 114 But Sections 3.09 and 3.10 of

SB1 prohibit future efforts to increase access to the polls by requiring early voting clerks to restrict

voting hours to between 6:00 a.m. and 10:00 p.m. on weekdays and the last Saturday of the early

voting period, and to between 9:00 a.m. and 10:00 p.m. on the last Sunday of the early voting

period. 115

        134.    SB1 also effectively prohibits local election officials from providing drive-thru

voting—like Harris County did in 2020—despite the lack of any evidence to suggest a link

between more convenient voting hours and fraud or irregularities of any kind. 116




114
   Peter Holley, Meet the Harris County Voters Who Showed Up After Midnight to Cast a Ballot,
Tex. Monthly (Oct. 30, 2020), https://www.texasmonthly.com/news-politics/harris-county-24-
hour-voting/.
115
   S.B. 1 §§ 3.09, 3.10, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§§ 85.005(a), (c), and 85.006(e)).
116
    Notably, following the success of Harris County’s drive-thru voting program, a bipartisan task
force of local Harris County officials released a report stating that the task force had not found
“proof of any election tampering, ballot harvesting, voter suppression, intimidation or any other
type of foul play that might have impacted the legitimate cast or count of a ballot.” Alan Rosen et
al., Harris County Election Security Task Force Final Productivity Report, p. 8 (Dec. 17, 2020),
available                                                                                        at
https://www.dropbox.com/s/7mzy6aws7fnzvy9/Elections%20Security%20Task%20Force%20fin
al%20report%20PUBLC%20FINAL%2012-17-20%20442p.pdf?dl=0 (last accessed Sep. 1,
2021).


                                                  43
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 44 of 91




       135.    In particular, Sections 3.04, 3.12, and 3.13 of SB1 require polling places and early

voting sites to be located “inside” buildings. 117 Section 3.04 also expressly prohibits voting “from

inside a motor vehicle” unless the voter meets other requirements. 118 Further, except in the case

of a natural disaster, “[a] polling place may not be located in a movable structure ….” 119

       136.    SB1’s additional requirements for mail ballots increase the likelihood that ballots

submitted by eligible voters will be rejected based on a technicality. Sections 5.07 and 5.13 require

a clerk to reject any mail ballot or mail ballot application if the required information does not

identify “the same voter identified on the applicant’s application for voter registration . . . .”120

This requires election clerks to reject otherwise valid mail ballots and mail ballot applications from

voters eligible to vote by mail where, for example, the voter inadvertently omits their ID number

or other required information, or where the clerk lacks ID information in the voter’s record on file,

even when the clerk can verify the voter’s application or mail ballot envelope through other means.




117
   See S.B. 1 §§ 3.04, 3.12, 3.13, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX.
ELEC. CODE §§ 43.031; 85.061(a) (adding that an early voting location “shall be located inside
each branch office” and not in a tent) (emphasis added), 85.062, respectively).
118
   S.B. 1 § 3.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§§ 43.031(b)); S.B. 1 § 6.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC.
CODE § 64.009).
119
    See S.B. 1 § 3.13, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (to be codified at TEX. ELEC.
CODE §85.062); see also S.B. 1 §§ 3.04, 3.11, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified
at § 43.031, 85.061(a), respectively).
120
  See S.B. 1 §§ 5.07 and 5.13, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at Tex. Elec.
Code §§ 86.001(f), 87.041(b)(8), respectively). The corresponding provisions §§ 5.02 and 5.08
impose new requirements that a voter provide an ID number on the mail ballot application and
mail ballot carrier envelope, respectively.


                                                 44
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 45 of 91




          4.     SB1 criminalizes otherwise lawful voter assistance by community-based non-
                 partisan organizations through vague and overbroad “vote harvesting”
                 prohibitions.

          137.   SB1 takes aim at community-based organizations that conduct non-partisan voter

turnout activities and criminalizes these activities under the label “vote harvesting.”

          138.   Under Section 7.04 of SB1, a person commits an offense if he or she (a) “directly

or through a third party, knowingly provides or offers to provide vote harvesting services in

exchange for compensation or other benefit;” (b) “directly or through a third party, knowingly

provides or offers to provide compensation or other benefit to another person in exchange for vote

harvesting services;” or (c) “knowingly collects or possesses a mail ballot or official carrier

envelope in connection with vote harvesting services.” 121 Any violation is a third-degree felony,

subject to a minimum of two years (and up to ten years) of jail time and a fine of up to $10,000. 122

          139.   SB1 defines “vote harvesting services” as “in-person interaction with one or more

voters, in the physical presence of an official ballot or a ballot voted by mail, intended to deliver

votes for a specific candidate or measure.” 123

          140.   Section 7.04 of SB1 does not define “in-person interaction.” As a result, the statute

does not limit the broad range of daily interactions that could come within the statute’s

prohibitions. 124 SB1 on its face reaches pure speech, including political speech, so long as it is

part of an “in-person interaction” somehow “in the physical presence of” an official ballot or a




121
      Id. (codified at TEX. ELEC. CODE § 276.015(b)–(d)).
122
      Id. (codified at TEX. ELEC. CODE § 276.015(f)); TEX. PENAL CODE § 12.34.
123
      Id. (codified at TEX. ELEC. CODE § 276.015(a)(2)).
124
   S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX ELEC. CODE
§ 276.015(a)(2)).

                                                  45
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 46 of 91




mail ballot, and the speech is made with the intent to “deliver votes for a specific candidate or

measure.”

          141.   Although SB1 requires a person to receive “compensation or other benefit” for a

violation, the range of what could constitute “compensation or other benefit” is impossible for the

average citizen to determine. Section 7.04 of SB1 defines “benefit” to mean “anything reasonably

regarded as a gain or advantage,” no matter how minor, thus providing little guidance and little

constraint on prosecutorial discretion. 125

          142.   This vague and overbroad offense will chill even ordinary interactions between

family members, friends or neighbors. For example, if a wife is a paid campaign worker for a

local school bond issue and encourages her husband during dinner to support the local school bond

issue when he casts his mail ballot while the mail ballot happens to be in the same room, then she

could be found to have knowingly (i) interacted in-person with a voter (i.e., her husband), (ii) in

the presence of his mail ballot, (iii) with intent to “deliver a vote” for the measure she supports

(i.e., by supporting her choice on the measure), and (iv) received compensation from a campaign,

sufficient to constitute “compensation” (i.e., her salary) under the inference set forth in Section

6.03. In fact, under SB1’s vote harvesting provisions, any person who works (or even volunteers)

for a political campaign for a particular candidate or issue must now worry about the possible

presence of a mail ballot anytime he or she discusses politics with a friend. Similarly, an employee

of any of a wide array of civic engagement organizations, including the Plaintiff organizations,

could potentially be prosecuted under this provision by canvassing for a local measure (such as

infrastructure improvements) and assisting a mail voter who invites her into the house and requests

help voting.


125
      Id. (codified at TEX. ELEC. CODE § 276.015(a)(1)); see also TEX. PENAL CODE § 1.07(a)(7).

                                                 46
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 47 of 91




       143.    As a result of these unusual provisions, SB1 will reduce voter participation by

Texans who rely on assistance to cast their mail ballots. Although these restrictions have the

potential to burden all Texas voters, they will impose the greatest burdens on voters of color,

language minority voters, elderly voters, low-income voters, and voters with disabilities.

       5.      SB1 further burdens state officials and expands investigation of voter
               registration applicants and registered voters, despite no evidence of
               widespread voter fraud.

       144.    As described above, there is simply no evidence that widespread voter fraud has

occurred in any election administered by the State of Texas and its political subdivisions. Nor is

there any evidence of a substantial risk of such fraud given Texas’s already strict voting laws.

       145.    Nonetheless, SB1 effectively creates a pipeline for prosecution by sending names

of possibly ineligible voters to law enforcement, even if the voters are in fact eligible or simply

made a mistake. Previously, the county voter registrar verified the voter’s eligibility and removed

ineligible voter from the rolls. Under SB1 Section 2.04, however, if a person whom the voter

registrar subsequently determines is not eligible to vote either registered to vote or voted in an

election, the registrar must execute and deliver, “within 72 hours[,]” an affidavit with the relevant

facts to the Attorney General, the Secretary of State, and the local prosecutor. 126 The added threat

of criminal prosecution will have a chilling effect on voter registration, particularly among groups,

including Black, Latino and Asian American communities, who have been historically victimized

by law enforcement.

       146.    Section 2.04 also sweeps in and facilitates investigation and prosecution of

perfectly legal activity by voters. For example, a person could register to vote in her home county,



126
   See S.B. 1 § 2.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 15.028).


                                                 47
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 48 of 91




then move temporarily to a different county for work. If the voter subsequently seeks exemption

from jury duty because she is not present in her home county, the registrar can report the voter to

law enforcement under SB1 as an ineligible person registered to vote even though the voter has

committed no offense.

        147.     Section 2.07 requires the Secretary of State to compare on a quarterly basis the lists

of individuals who were excused from jury duty service for non-residence in the county with the

statewide computerized voter registration list and to send notice to the voter registrar of the

county. 127 As with Section 2.04, properly-registered voters living temporarily away from home,

as in the case of migrant workers, for example, may be purged from the voter roll as ineligible

non-residents and targeted for prosecution. This provision will also have a disparate impact on

Latino voters.

        148.     Section 2.06 of SB1 requires the Secretary of State to impose certain requirements

on registrars who are not in substantial compliance with a provision or rule related to: (1) the

delivery of the suspense list; (2) the cancellation following end of suspense list period; and (3) the

electronic submission of information for maintenance of the statewide computerized voter

registration list. A county may also be held liable if the county’s registrar “fails to take overt action

to comply with” the imposed requirements. 128 Section 8.01 of SB1 imposes a civil penalty on

employees or officers of the state (and its political subdivisions) who violate a provision of the

election code. The civil penalties “may include termination of the person’s employment and loss




127
   See S.B. 1 § 2.07, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§§ 18.068(a), (a-1).
128
   See S.B. 1 § 2.06, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 18.065).


                                                   48
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 49 of 91




of the person’s employment benefits.” 129 These additional penalties will force career officials to

shift resources towards meeting tight deadlines for reporting voters for investigation and removing

voters from the voter rolls—even in the absence of any pending election—just to avoid these

penalties.

H.     SB1 Will Harm Plaintiffs. 130

       149.    LUPE’s members include Latino registered voters, some of whom have limited

English proficiency and/or have limited formal schooling and limited literacy. LUPE’s members

include Latino voters who require and use assistors of their choice to vote due to disability and/or

inability or limited ability to read or write in English. These voters use their chosen assistors to

navigate the polling place, interact with poll workers, understand how to use the voting equipment

and read, interpret, mark and cast the ballot. Some of LUPE’s members are illiterate because

racially discriminatory practices in Texas prevented them from gaining a formal education.

       150.    LUPE’s members include voters who are disabled and require and use assistors of

their choice, but who are not blind and can see and read the ballot.




129
   See S.B. 1 § 8.01, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 31.129(b), (c)).
130
    According to Fifth Circuit precedent, an association does not need to “set forth the name of a
particular member in its complaint in order to survive a Rule 12(b)(1) motion to dismiss based on
a lack of associational standing.” Hancock Cty. Bd. of Supervisors v. Ruhr, 487 F. App’x 189, 198
(5th Cir. 2012); id. at 198 n.5 (quoting Bldg. & Constr. Trades Council of Buffalo v. Downtown
Dev., Inc., 448 F.3d 138, 145 (2d Cir. 2006) (“[D]efendants cite to no authority -- nor are we aware
of any -- that supports the proposition that an association must name names in a complaint in order
properly to allege injury in fact to its members.”). Where an association generally alleges “that
some of its members” fall within the group of aggrieved citizens, the associational plaintiffs have
“adequately alleged that some of its members were suffering a concrete, particularized injury” and
have standing to proceed. Hancock, 487 F. App’x at 198–99; see Lewis v. Hughs, 475 F. Supp. 3d
597, 613 (W.D. Tex. 2020) (organizational plaintiffs had associational standing to challenge mail-
in voting laws).


                                                49
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 50 of 91




          151.   LUPE members include voters with impairments that limit major life activities,

including accessing the right to vote. LUPE members include voters who require accommodations

that SB1 limits or curtails with the imposition of new requirements for casting a ballot. It will now

be more difficult for LUPE members with disabilities to request a mail ballot, receive assistance

with voting in person or by mail, or receiving a ride to the polls.

          152.   LUPE’s members also include voters who arrive at the polling place in a car with

several individuals, including family members, as part of doing errands for the day, and have, and

would in the future, use curbside voting or drive-thru voting.

          153.   LUPE’s members and staff include individuals chosen as assistors to assist voters

with navigating the polling place, interacting with poll workers, understanding how to use the

voting equipment and reading, interpreting, marking and casting the ballot. LUPE’s members and

staff include individuals chosen as assistors to assist eligible voters with voting by mail, including

helping the voters read, interpret, complete and return the application for ballot by mail and mail

ballot.

          154.   LUPE’s members and staff include individuals who participate in in-person, door-

to-door canvassing to support or oppose non-partisan ballot measures related to the development

of infrastructure in the Rio Grande Valley colonias. At times, a voter will ask a LUPE member or

staff person who is canvassing to help the voter vote by mail. Because LUPE’s canvassing

activities include in-person interaction with voters at their homes, including when a voter’s mail

ballot is in the home, LUPE members and staff are subject to investigation and prosecution under

SB1’s “vote harvesting” provisions.

          155.   SB1 will injure LUPE by exposing the organization’s paid staff and members to

investigation and prosecution when they canvass for local measures (such as infrastructure



                                                 50
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 51 of 91




improvements) and either serve as a chosen assistor of a mail voter or advocate for a measure in

the presence of a voter’s mail ballot in the voter’s home.

           156.   SB1 will injure LUPE’s members, including by depriving them of the assistors of

their choice, which will cause LUPE members who vote in person to vote less than the complete

ballot, not vote at all or make errors that will result in their ballot not being counted or being

counted in a way that is contrary to the intent of the voter. SB1 will also cause LUPE members

who vote by mail to vote less than the complete ballot, not vote at all, or make errors that will

result in their ballot not being counted or being counted in a way that is contrary to the intent of

the voter.

           157.   SB1 will also injure LUPE’s members by extending wait times at the polling place

as assistors are required to complete forms and take an oath for each assisted voter.

           158.   SB1’s requirements to provide additional information on mail ballot applications

and carrier envelopes will injure LUPE’s members by causing the rejection of their mail ballots

when they make inadvertent clerical errors or where the clerk lacks ID information in the voter’s

record on file.

           159.   LUPE’s members include voters who will be intimidated by poll watchers roaming

freely around polling places, watching and listening, and standing close to them while they vote.

           160.   Members of LUPE include individuals who are migrant workers who are registered

to vote.

        161.      LUPE’s members and staff include individuals who are chosen as assistors and will

be deterred from serving as chosen assistors by SB1’s requirement that the assistor fill out a form;

take an oath; and face criminal prosecution, conviction and punishment for inadvertently making

a mistake on the form or with the oath, or for providing necessary assistance to voters that exceeds



                                                 51
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 52 of 91




the scope of assistance described in the oath, or for encouraging a voter in a way that law

enforcement officials will conclude is “pressur[ing]” a voter to use them as an assistor in violation

of the required oath.

       162.    SB1 will force LUPE to divert its resources away from its GOTV, voter registration

and community education activities, which are central to its mission, in order to counteract the

negative effects of SB1 on its members. LUPE has in the past, and will in the future, conducted

GOTV activities aimed at Latino registered voters with low turnout. LUPE has in the past, and

will in the future, pay employees who, among their other duties: educate voters about an upcoming

election; urge the voters to vote; and encourage, offer and deliver assistance to the voters. LUPE’s

employees have in the past, and will in the future, assisted voters in applying for and preparing

their mail ballots as provided by Section 86.010 of the Texas Election Code including assisting

non-family members to prepare their ballots.

       163.    Members of LUPE include individuals who volunteer to be assistors for family

members and non-family members in connection with voting at the polls and by mail. Members

of LUPE include individuals who assist voters, including Latino, elderly, disabled, limited English

proficient and limited literacy voters, to vote by mail including helping the voters prepare their

mail ballots. Members of LUPE include individuals who assist voters, including Latino, elderly,

disabled, limited English proficient and limited literacy voters, to vote in person at the polling

place, including assisting voters in navigating the polling place, interacting with poll workers,

using the voting equipment, reading and interpreting the ballot and recording a vote on the ballot.

Individual LUPE employees and/or members have in the past driven, and would plan in the future

to drive, more than seven voters to the polls for curbside voting.




                                                 52
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 53 of 91




       164.    SB1 will frustrate the mission of LUPE by reducing the number of people available

to assist voters and reducing voter turnout of voters who rely on assistance, including Latinos with

limited English proficiency, limited literacy rates and low rates of turnout. Members of LUPE

face felony prosecution, conviction and punishment under SB1 for assisting voters to vote in

person and by mail.

       165.    LUPE will be required to divert resources to retrain staff, prepare new educational

materials, recruit, train and manage new volunteers, and conduct community outreach to comply

with SB1’s new restrictions and requirements for assisting voters with mail and in-person voting.

SB1 will also frustrate the mission of LUPE by reducing the number of people available to assist

voters, and reducing the voter turnout of voters who rely on assistance, including Latinos with

limited English proficiency, limited literacy rates and low rates of voter turnout. Members,

employees, and the leadership of LUPE face felony prosecution, conviction and punishment under

SB1 for assisting voters to vote in person and vote by mail.

       166.    SB1 will frustrate FRIENDSHIP-WEST’s mission of encouraging its eligible

congregants and community members, the majority of whom are Black, to register, to vote, and to

serve as poll workers and volunteer deputy registrars, and will frustrate its ability to operate as a

polling place. FRIENDSHIP-WEST’s congregants have already expressed hesitation to serve as

poll workers in future Texas elections due to the lack of clarity around the impact of some of SB1’s

provisions and the several provisions that impose potential new criminal liability on poll workers.

       167.    FRIENDSHIP-WEST has in the past and will in the future encourage civic

education and participation among its congregants and in the communities it serves.

FRIENDSHIP-WEST's voter engagement activities include registering eligible voters, hosting

voter registrar trainings, providing written and online resources about in-person and mail voting,



                                                 53
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 54 of 91




holding events to encourage members to vote, recruiting poll workers and volunteer deputy

registrars, and serving as a polling place.

       168.    FRIENDSHIP-WEST’s congregants include individuals who vote by mail and

individuals who serve as poll workers.

       169.    FRIENDSHIP-WEST believes it will have difficulty recruiting poll workers

because of confusion about SB1’s new rules and fear among volunteers about criminal

prosecution. Many of FRIENDSHIP-WEST’s congregants who served as poll workers in previous

elections, including the 2020 election, will be deterred from doing so in future elections because

of potential harassment by poll watchers and the possibility of criminal prosecution if they regulate

poll watcher conduct.

       170.    FRIENDSHIP-WEST will also be required to divert and expend resources to

conduct voter education; recruit, train, and manage new volunteers; and conduct community

outreach to ensure that its congregants and community members comply with SB1’s new, often

confusing, and vague restrictions. This is particularly true of the provision in SB1 that limits poll

workers’ ability to regulate poll watchers’ conduct in polling places. For the 2020 general election,

FRIENDSHIP-WEST engaged in efforts to recruit its members to serve as poll monitors to watch

poll watchers at polling places out of fear that poll watchers would intimidate and disrupt voters

while they cast their ballots. These fears are compounded now that poll watchers have, effectively,

free movement within a polling location. Indeed, in addition to planning events to explain the

impact of SB1 on future elections, FRIENDSHIP-WEST also anticipates specifically conducting

independent trainings for congregants who do choose to serve as poll workers, in addition to

county-provided trainings, to ensure their congregants are aware of the limits SB1 places on poll




                                                 54
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 55 of 91




workers’ ability to regulate poll watcher conduct so that their congregants are not exposed to

criminal liability.

        171.    ADL and its supporters will be irreparably harmed by SB1. In 2020, ADL’s

outreach and education was aimed at ensuring voters had a plan for voting safely. ADL worked

to educate Texans on how to vote, when to vote, and where to vote, focusing primarily on early

voting and mail-in voting (for eligible voters). ADL provided information to a wide audience,

including 700 schools participating in its “No Place for Hate” program. ADL’s voter education

and outreach required its staff and volunteers to gather information from local election officials on

the applicable rules in each jurisdiction, and those efforts were time consuming given 2020’s rule

changes and disinformation campaigns.

        172.    ADL is similarly concerned with SB1’s provisions that limit and criminalize voter

assistance. Although ADL does not directly assist voters with mail ballots or applications, it

provides supporters with information about assisting voters. ADL is concerned that by providing

its at least 23,000 Texas supporters with information about how to assist voters with mail-in voting

or applications, the organization would place itself and its supporters at risk of prosecution.

        173.    ADL will be required to divert and expend resources on designing its voter

education to properly inform Texas voters about SB1’s new, often confusing and/or vague,

provisions.

        174.    SVREP will be irreparably harmed by SB1. SVREP has in the past, and will in the

future, encouraged civic education and participation in the communities it serves. SVREP’s voter

engagement activities include registering eligible voters, hosting voter registrar trainings,

providing written and online resources about in-person and mail voting (including information




                                                 55
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 56 of 91




about assisting disabled and language minority voters), and holding events to encourage

community members to vote.

       175.    SB1 will force SVREP to divert its resources away from its GOTV and leadership-

building activities, which are central to its mission, in order to counteract the negative effects of

SB1 on the community members and voters SVREP serves. SVREP has in the past, and will in

the future, conducted GOTV activities aimed at Latino registered voters with low turnout. SVREP

has in the past, and will in the future, employed paid canvassers to contact voters in person at their

homes and: educate the voters about an upcoming election, and urge the voters to vote, encourage,

offer and deliver assistance to the voters. SVREP’s paid canvassers have in the past, and will in

the future, assisted voters in applying for and preparing their mail ballots as provided by Section

86.010 of the Texas Election Code including assisting non-family members to prepare their ballots.

       176.    Employees and volunteers of SVREP include individuals who encourage family

members and non-family members to select them as assistors for voting at the polls and by mail.

Employees and volunteers of SVREP include individuals who assist voters, including Latino

elderly, disabled, limited English proficient and limited literacy voters, to vote by mail, including

helping the voters prepare their mail ballots; employees and volunteers of SVREP include

individuals who assist voters, including Latino elderly, disabled, and voters with limited English

proficiency and limited literacy, to vote in person at the polling place, including assisting voters in

navigating the polling place, interacting with poll workers, using the voting equipment, and

reading and interpreting the ballot and recording a vote on the ballot.

       177.    SVREP will be required to divert resources to retrain staff, prepare new educational

materials, recruit, train and manage new volunteers, and conduct community outreach to comply

with SB1’s new restrictions and requirements for assisting voters with mail and in-person voting.



                                                  56
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 57 of 91




       178.    Employees and volunteers of SVREP conduct their activities with Latino registered

voters, some of whom are limited English proficient and/or have limited formal schooling and

limited literacy, including Latino voters who require and use assistors of their choice to vote due

to disability or inability to read or write. These voters use their chosen assistors to navigate the

polling place; interact with poll workers; understand how to use the voting equipment; and read,

interpret, mark and cast the ballot.

       179.    SVREP’s employees and volunteers conduct their activities individuals who are

chosen as assistors and will be deterred from serving as chosen assistors by SB1’s requirement

that the assistor fill out a form; take an oath and face criminal prosecution, conviction and

punishment for inadvertently making a mistake on the form or with the oath, or for providing

necessary assistance to voters that exceeds the scope of assistance described in the oath, or for

encouraging a voter in a way that law enforcement officials will conclude is “pressur[ing]” a voter

to use them as an assistor in violation of the required oath.

       180.    SB1 will also frustrate the mission of SVREP by reducing the number of people

available to assist voters, and reducing the voter turnout of voters who rely on assistance, including

Latinos with limited English proficiency, and limited literacy rates, leading to low rates of voter

turnout. Volunteers, employees, and the leadership of SVREP face felony prosecution, conviction

and punishment under SB1 for assisting voters to vote in person and vote by mail.

       181.    SVREP’s volunteers and employees serve voters who are disabled and require and

use assistors of their choice but who are not blind and can see and read the ballot, including

curbside voters who arrive at the polling place in a car with several individuals, including family

members, as part of doing errands for the day. SVREP’s volunteers and employees serve voters




                                                 57
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 58 of 91




who are illiterate because racially discriminatory practices in Texas prevented them from gaining

a formal education.

       182.   SB1 will irreparably harm TEXAS IMPACT, its individual members, its member

organizations and member congregations, and their individual members. TEXAS IMPACT

manages a significant voter education campaign, conducts voter registration drives at churches,

educates members about early voting, encourages members to vote, and distributes mail ballot

applications to eligible voters through its Vote by Mail Captains program. Twenty-five different

congregations participated in that program in 2020, working to assist their elderly and disabled

members in voting by mail during the pandemic. TEXAS IMPACT’s staff and interns were

compensated for their work in the Vote by Mail Captains program, and TEXAS IMPACT and its

member congregations provided funding and resources, including copying services and postage,

to carry out the program. TEXAS IMPACT also recruits volunteer deputy registrar and poll

workers.

       183.   TEXAS IMPACT will have difficulty recruiting poll workers because of confusion

about SB1’s new rules for partisan poll watchers and fear among volunteers of criminal

prosecution for conduct that could “obstruct the view of a watcher.” Indeed, several of TEXAS

IMPACT’s individual members have already expressed hesitation to serve as poll workers in 2022

specifically because of SB1’s poll watcher provision (Section 4.09). And those who may plan to

still serve as a poll worker have already started to prepare and alter their approach to engaging

with poll watchers.

       184.   SB1’s new identification requirements for mail-in ballots impose an additional

burden on mail voting, which a significant portion of TEXAS IMPACT members utilized during

the 2020 election. This provision, along with SB1’s voter assistance provisions and signature



                                               58
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 59 of 91




matching provisions will particularly harm the members of TEXAS IMPACT who are elderly or

have disabilities for which they require assistance to vote, and who, due to age or disability, may

not be able to hold a pen or write the same signature over time.

       185.    TEXAS IMPACT’s member organizations, member congregations, and individual

members will be deterred from assisting voters who need it. Members will also be deterred from

assisting eligible voters because of SB1’s enhanced information requirements and expanded oath

requirement that limits what actions assistors may take to assist a voter without consideration of

the range of needs of voters with disabilities and exposes assistors to potential criminal liability,

and would require them to breach the privacy of a voter to confirm that the voter is eligible to

receive assistance.

       186.    TEXAS IMPACT has already diverted time and resources toward ensuring that its

members comply with SB1’s new, onerous, and often confusing and/or vague provisions. TEXAS

IMPACT hosted a two-and-a-half-hour event on November 13, 2021, to update and field questions

from its members about the impacts of SB1. Given the gravity of fear, concern, and confusion

expressed about SB1 by TEXAS IMPACT members during and after this educational event,

TEXAS IMPACT anticipates being required to continue diverting its resources toward educating

its members about the harmful and confusing provisions of SB1.

       187.    TEXAS IMPACT’s individual members—and the individual members of its

organizational members—include individuals who require assistance with voting in-person at the

polling place, by mail, and curbside; and individuals who serve as assistors. TEXAS IMPACT

members also take positions on ballot measures.

       188.    MABA-TX’s members include Latino registered voters.




                                                 59
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 60 of 91




       189.    MABA-TX’s members include individuals chosen as assistors to assist eligible

voters in the polling place and with voting by mail, including helping the voters navigate the

polling place, interact with poll workers, read, interpret, complete and submit the ballot.

       190.    MABA-TX’s members include individuals who are chosen as assistors and will be

deterred from serving as chosen assistors by SB1’s requirement that assistors fill out a form, take

an oath and face criminal prosecution, conviction and punishment for inadvertently making a

mistake on the form or with the oath, or for providing necessary assistance to voters that exceeds

the scope of assistance described in the oath, or for engaging in activity that might be perceived to

be “pressuring” a voter to use them as an assistor in violation of the required oath.

       191.    SB1 will also injure MABA-TX’s members by extending wait times at the polling

place as assistors complete forms and take an oath for each assisted voter.

       192.    SB1 will force MABA-TX to divert its resources away from its community

education activities, which are part of its mission, in order to counteract the negative effects of

SB1 on its members and the communities in which members practice. MABA-TX has in the past,

and will in the future, work to educate voters about upcoming elections, urge the voters to vote,

and encourage, offer and provide assistance to the voters.

       193.    Members of MABA-TX include individuals who volunteer to be assistors for

family members and non-family members in connection with voting at the polls and by mail.

       194.    MABA-TX will be required to divert resources to prepare new educational

materials and conduct outreach to its members to educate them about SB1’s new restrictions and

requirements for assisting voters with mail and in-person voting.




                                                 60
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 61 of 91




       195.    MABA-TX believes that SB1’s negative effects on Latino voters will result in

fewer Latinos casting ballots and the election of fewer Latino judges. MABA-TX believes that

SB1 will result in MABA-TX members practicing before less diverse judges.

       196.    TEXAS HOPE and its members will be irreparably harmed by SB1. Through its

membership, Texas HOPE focused its 2020 efforts on GOTV strategies and encouraging Latinos

to run for local office. This included efforts to energize and educate voters.

       197.    TEXAS HOPE’s membership includes Latino voters who will be intimidated by

poll watchers roaming freely around the polling place, watching and listening to voters, and

standing close to them while they vote.

       198.    TEXAS HOPE has members who qualify to vote by mail, and its membership will

be harmed by the new barriers on mail voting imposed by SB1.

       199.    TEXAS HOPE will be forced to divert resources to educate its membership about

SB1's restrictions, the rights that voters still possess under the SB1 regime, and the continuing

importance of voter participation. For example, under SB1 partisan poll watchers have increased

authority to get close to and possibly intimidate voters in the polling place. TEXAS HOPE will be

required to divert resources into providing its members information about the rights of Latino

voters to vote free of harassment in the polling place and recommended responses to voter

harassment.

       200.    Finally, due to its cumulative effect of suppressing Latino voters, laws such as SB1

depress Latino turnout by decreasing interest in and the convenience of voting. In response,

TEXAS HOPE will need to spend more of its resources on enfranchising and educating voters.

Specifically, resources TEXAS HOPE could have used to educate persons who could run for local

office will need to be reallocated to its GOTV effort.



                                                 61
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 62 of 91




       201.    SB1 will also hurt TEXAS HOPE members who have historically served as poll

workers and election judges. TEXAS HOPE believes it will have difficulty recruiting election

workers because of confusion about SB1’s new rules for partisan poll watchers and fear among

volunteers about criminal prosecution. Yet, political engagement, such as volunteering at the polls,

is integral to TEXAS HOPE’s mission of promoting Latino civil engagement. Accordingly,

TEXAS HOPE will have to divert additional resources to energize its members and the Latino

community to serve as election officials.

       202.    JOLT ACTION will be irreparably harmed by SB1. JOLT ACTION has in the

past, and will in the future, conduct GOTV activities, which are aimed at Latino registered voters

with low turnout, and leadership-building activities, which are central to its mission. In order to

counteract the negative effects of SB1 on its members and the voters it serves, JOLT ACTION

will be forced to divert its resources away from its GOTV and leadership-building activities.

       203.    JOLT ACTION has in the past, and will in the future, employ paid canvassers to

contact voters in person at their homes to, among other things, educate the voters about an

upcoming election; urge the voters to vote; and encourage, offer and deliver assistance to the

voters. JOLT ACTION’s paid canvassers have in the past, and will in the future, assist voters in

applying for and preparing their mail ballots as provided by Section 86.010 of the Texas Election

Code, including assisting non-family members to prepare their ballots.

       204.    Members of JOLT ACTION include individuals who volunteer to be assistors for

family members and non-family members in connection with voting at the polls and by mail.

Members of JOLT ACTION include individuals who assist voters, including Latino, elderly,

disabled, limited English proficient and limited literacy voters, to vote by mail, including helping

voters prepare mail ballots. Members of JOLT ACTION include individuals who assist voters,



                                                62
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 63 of 91




including Latino, elderly, disabled, limited English proficient and limited literacy voters, to vote

in person at the polling place, including assisting voters in navigating the polling place, interacting

with poll workers, using voting equipment, reading and interpreting the ballot and recording a vote

on the ballot.

        205.     JOLT ACTION’s membership and staff include individuals who have been chosen

as assistors in the past and will be deterred from serving as chosen assistors by SB1’s requirement

that the assistor fill out a form, take an oath, and face criminal prosecution, conviction and

punishment for inadvertently making a mistake on the form or with the oath, or for providing

necessary assistance to voters that exceeds the scope of assistance described in the oath, or for

encouraging a voter in a way that law enforcement officials will conclude is “pressur[ing]” a voter

to use them as an assistor in violation of the required oath. JOLT ACTION members, staff and

volunteers have already expressed great concern about the liability they face when assisting voters.

In response to these concerns related to SB1, JOLT ACTION has been forced to divert time and

resources into a process in which they will decide whether to continue to offer voter assistance,

which is critical to fulfilling their mission.

        206.     SB1 will frustrate the mission of JOLT ACTION by reducing the number of people

available to assist voters and reducing voter turnout of voters who rely on assistance, including

Latinos with limited English proficiency, limited literacy rates and low rates of turnout. Members,

employees, and the leadership of JOLT ACTION face felony prosecution, conviction and

punishment under SB1 for assisting voters to vote in person and by mail.

        207.     JOLT ACTION will be required to divert resources to retrain staff, prepare new

educational materials, recruit, train and manage new volunteers, and conduct community outreach

to comply with SB1’s new restrictions and requirements for assisting voters with mail and in-



                                                  63
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 64 of 91




person voting. For example, JOLT ACTION must redirect its resources towards retraining and

obtaining new materials because employees previously used iPad tablets to help voters request a

mail ballot, but SB1 now requires that mail ballot applications be “submitted” in writing and signed

“using ink on paper.”

       208.    WCVI will be irreparably harmed by SB1. WCVI will be forced to divert resources

away from research, policy seminars, and community workshops to mitigate the effects of SB1 on

Latino voters. WCVI will be compelled to begin to work immediately with Latino leaders to

ameliorate the negative effects of SB1, including undertaking time-consuming efforts to quell the

fears of Latino voters about SB1’s new voting restrictions and requirements, explaining how

limited English proficient voters may continue to utilize assistors of their choice for voting, and

analyzing the scope of permissible assistance under SB1. WCVI will be required to divert and

expend resources on informing Texas Latino voters about SB1’s new, often confusing and/or

vague, provisions.

       209.    FIEL and its members will be irreparably harmed by SB1. SB1 will force FIEL to

divert its resources away from its GOTV and leadership-building activities, which are central to

its mission, in order to counteract the negative effects of SB1 on its members and the voters FIEL

serves. FIEL has in the past, and will in the future, conduct GOTV activities aimed at Latino

registered voters with low turnout. FIEL has in the past, and will in the future, employ paid

canvassers to contact voters in person at their homes and educate the voters about an upcoming

election, urge the voters to vote, and encourage, offer and deliver assistance to the voters. FIEL’s

paid canvassers have in the past, and will in the future, assist voters in applying for and preparing

their mail ballots as provided by Section 86.010 of the Texas Election Code including assisting

non-family members to prepare their ballots.



                                                 64
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 65 of 91




        210.   Members of FIEL include individuals who encourage family members and non-

family members to select them as assistors for voting at the polls and by mail. Members of FIEL

include individuals who assist voters, including Latino elderly voters, disabled voters, and voters

with limited English proficiency and limited literacy, to vote by mail including helping the voters

prepare their mail ballots; members of FIEL include individuals who assist voters, including

Latino, elderly, disabled, limited English proficiency and limited literacy voters, to vote in person

at the polling place, including assisting voters in navigating the polling place, interacting with poll

workers, using the voting equipment, reading and interpreting the ballot and recording a vote on

the ballot.

        211.   FIEL will be required to divert resources to retrain staff, prepare new educational

materials, recruit, train and manage new volunteers, and conduct community outreach to comply

with SB1’s new restrictions and requirements for assisting voters with mail and in-person voting.

        212.   FIEL’s membership and staff include individuals who are chosen as assistors and

will be deterred from serving as chosen assistors by SB1’s requirement that the assistor fill out a

form, take an oath, and face criminal prosecution, conviction and punishment for inadvertently

making a mistake on the form or with the oath, or for providing necessary assistance to voters that

exceeds the scope of assistance described in the oath, or for encouraging a voter in a way that law

enforcement officials will conclude is “pressur[ing]” a voter to use them as an assistor in violation

of the required oath.

        213.   SB1 will also frustrate the mission of FIEL by reducing the number of people

available to assist voters, and reducing the voter turnout, of voters who rely on assistance, including

Latinos with limited English proficiency, limited literacy rates and low rates of voter turnout.




                                                  65
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 66 of 91




Members, employees, and the leadership of FIEL face felony prosecution, conviction and

punishment under SB1 for assisting voters to vote in person and vote by mail.

       214.    FIEL’s members include Latino registered voters, some of whom are disabled, have

limited English proficiency and/or have limited formal schooling and limited literacy. FIEL’s

members include Latino voters who require and use assistors of their choice to vote due to

disability or inability to read or write. These voters use their chosen assistors to navigate the

polling place, interact with poll workers, understand how to use the voting equipment and read,

interpret, mark and cast the ballot.

       215.    Some of FIEL’s members are illiterate because racially discriminatory practices in

Texas prevented them from gaining a formal education.

       216.    Members of FIEL include individuals who voted in Harris County in 2020 and cast

ballots using drive-thru voting and/or temporary structures for voting, mail ballot applications

proactively sent to them by election officials, and 24-hour voting.

       217.    JAMES LEWIN was an election judge in the 2020 Election, and he intends to serve

as an election judge in future Texas elections. Election judges are election officials in Texas. TEX.

ELEC. CODE § 1.005(4-a)(E). Before serving as an election judge in 2020, Mr. Lewin’s greatest

concern was that he and his team members would encounter disruption at the polls, including by

poll watchers who sought to delay the voting process and discourage or intimidate voters.

Fortunately, Mr. Lewin did not encounter any such disruptions during the 2020 Election.

However, because SB1 limits election judges’ ability to regulate poll watchers who engage in

interference and intimidating conduct, and because SB1 creates risk of criminal prosecution for

any “person” serving at a location “in an official capacity” who takes “any action to obstruct the

view of a watcher or distance the watcher from [the observed activity] in a manner that would



                                                 66
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 67 of 91




make observation not reasonably effective,” Mr. Lewin is concerned about his potential liability.

Mr. Lewin is uncertain what “action” would make a watcher's observation “not reasonably

effective.” If SB1 is implemented, Mr. Lewin may hesitate to volunteer as an election judge again

because of his (and his family members’) fear for his personal safety and because of fear of

criminal prosecution.

                                        COUNT I
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

        SB1 violates the First and Fourteenth Amendment of the U.S. Constitution.

       218.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       219.    This claim challenges Sections 2.04, 2.06, 2.07, 4.01, 4.06, 4.07, 4.09, 5.07, 5.13,

6.03, 6.04, 6.05, 6.06, and 7.04 of SB1.

       220.    A court considering a challenge to a state election law must carefully balance the

character and magnitude of injury to First and Fourteenth Amendment rights that the plaintiff seeks

to vindicate against the justifications offered by the state for the burdens imposed by the law. See

Burdick v. Takushi, 504 U.S. 428, 434 (1992); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983).

       221.    The more a challenged law burdens the right to vote, the stricter the scrutiny courts

apply when evaluating the law. Tex. Indep. Party v. Kirk, 84 F.3d 178, 182 (5th Cir. 1996).

“However slight th[e] burden may appear, . . . it must be justified by relevant and legitimate state

interests sufficiently weighty to justify the limitation.” Crawford v. Marion Cnty. Election Bd.,

553 U.S. 181, 191 (2008) (Stevens, J., controlling op.) (quotation marks omitted).

       222.    SB1 inflicts severe burdens on Texas’s voters through each individual restriction

and the cumulative effect of all the measures that impose barriers to voting, including by:




                                                67
Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 68 of 91




  •   Targeting Texans who need assistance to vote—including people who have limited

      English proficiency, disabilities, and/or less formal education—by adding multiple

      new requirements that hinder the provision of assistance at the polling place,

      curbside, or in connection with mail ballots (e.g., Sections 6.03, 6.04, and 6.05) and

      by deterring those who would otherwise provide assistance (Section 6.06);

  •   Giving partisan poll watchers “free movement” to intimidate and harass voters and

      poll workers by expanding watchers’ authority while constraining election

      administrators’ ability to ensure peaceful, orderly elections under penalty of

      criminal prosecution (e.g., Sections 4.01, 4.06, 4.07, and 4.09);

  •   Quashing legitimate voter turnout initiatives through overbroad and vague criminal

      penalties for so-called “vote harvesting” (Section 7.04);

  •   Facilitating investigation and prosecution of perfectly legal activity by voters, such

      as being excused from jury service or having the same name as a non-resident in

      the county (Sections 2.04, 2.06, and 2.07);

  •   Increasing the likelihood that otherwise valid mail ballots and mail ballot

      applications from voters eligible to vote by mail will be rejected because of simple

      errors or omissions, or lack of information at the clerk’s office, notwithstanding the

      clerk’s ability to verify the mail ballot or mail ballot application by other means

      (Sections 5.07 and 5.13); and

  •   Forcing election officials to shift resources to meet tight deadlines for reporting

      voters for investigation and removing voters from the rolls to avoid additional

      requirements and penalties (Section 2.06).




                                       68
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 69 of 91




       223.    By prohibiting Plaintiffs, their employees, and their members (as applicable) from

communicating with voters about mail ballots, SB1’s new criminal restrictions on ballot assistance

and collection services (including what Texas self-servingly calls “vote harvesting services”) will

impose severe burdens on Texas voters wishing to vote by mail by limiting the number of people

available to assist them.

       224.    SB1’s enhanced information requirements, expanded oath, exposure to a potential

perjury charge, and accompanying enhanced criminal penalties for persons assisting voters will

impose severe burdens on, and in some cases entirely deny, the right to vote of Texas voters with

disabilities or language access barriers by limiting the number of people available to assist them

with voting in person, including curbside voting, or by mail, for fear of criminal prosecution.

       225.    SB1’s criminalization of all forms of compensated assistance will also impose

severe burdens on, and in some cases entirely deny, the right to vote of Texas voters with

disabilities, advanced age, and/or language barriers by limiting the number of people available to

assist them with voting by mail, for fear of criminal prosecution. Blind and elderly voters, voters

with disabilities, and voters who cannot read the languages in which ballots are printed because

they have limited English proficiency or limited literacy, are made the most vulnerable by these

new provisions. These groups already have difficulty voting and face even higher burdens under

the new law.

       226.    The law’s proponents have not demonstrated any evidence that voter assistance was

a major source of misconduct or fraud in Texas elections (the occurrence of which in any non-

trivial amount is entirely unproven) or that the pre-existing limitations on such assistance were

insufficient to identify and prosecute the very few instances of any such misconduct in this state.

In fact, with respect to vote by mail, Texas already imposes more restrictions on mail voting than



                                                69
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 70 of 91




most states in the country. And even in states that allow everyone to vote by mail, or even

affirmatively mail every registered voter a ballot, fraud is rare.

       227.    The additional requirements and limitations on filling out mail ballots and mail

ballot applications will result in the disenfranchisement of voters who are qualified to vote by mail

and whose mail ballots and mail ballot applications could be verified by other means.

       228.    Under SB1, poll watchers will be emboldened while election officials who would

otherwise be tasked with maintaining orderly elections will be deterred from taking action against

even clearly intimidating behavior. This makes it more likely that in-person voters who have

historically been targets of harassment, including people of color and individuals with disabilities,

will be subject to such abuse in and around polling places.

       229.    The challenged additional limitations on voting serve no legitimate state interest.

Indeed, any purported anti-fraud justification for these limitations is poorly disguised pretext.

                                        COUNT II
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

              SB1 Violates the Fourteenth Amendment of The U.S. Constitution

       230.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       231.    This claim challenges Sections 2.04, 2.07, 2.08, 2.11, 3.04, 3.09, 3.10, 3.12, 3.13,

4.01, 4.06, 4.07, 4.09, 6.03, 6.04, 6.05, 6.06, and 7.04 of SB1.

       232.    Section 1 of the Fourteenth Amendment to the United States Constitution provides:

               No state shall make or enforce any law which shall abridge the
               privileges or immunities of citizens of the United States; nor shall
               any state deprive any person of life, liberty, or property, without due
               process of law; nor deny to any person within its jurisdiction the
               equal protection of the laws.

U.S. Const. amend., XIV.


                                                  70
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 71 of 91




       233.    The Fourteenth Amendment prohibits intentional racial discrimination by state

actors. Discriminatory intent may be established by proof that the defendants used race as a

motivating factor in their decisions. Vill. of Arlington Heights v. Metropolitan Hous. Dev. Corp.,

429 U.S. 252, 265 (1977).

       234.    The facts alleged herein, among others to be uncovered during discovery, show that

SB1 was enacted, at least partly, with the intent to discriminate against voters of color, on the basis

of race and national origin, in violation of the United States Constitution.

       235.    SB1’s stated purpose as “relating to election integrity and security, including by

preventing fraud in the conduct of elections in this state” is unfounded pretext since there is no

evidence of widespread voter fraud in this state or any other state.

       236.    Texas has a long, well-documented history of discrimination against Latino and

Black citizens in the voting and electoral processes. Indeed, courts have repeatedly found that

Texas election laws were enacted with a discriminatory purpose or had a discriminatory effect—

particularly as it pertains to Texas’s Black and Latino voters.

       237.    SB1 was enacted following record turnout among Black, Latino, and Asian-

American voters in the 2018 and 2020 General Elections.

       238.    The challenged provisions of SB1 specifically target and disproportionately burden

assistance to voters with limited English proficiency, who are disproportionately Latino and Asian

American, and individuals with disabilities in Texas, who are disproportionately Black.

       239.    The disparate racial impact that the challenged limitations on voting would have on

Texas’s minority voters was also a subject of discussion and testimony throughout the legislative

process for SB1 and its precursor SB7.




                                                  71
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 72 of 91




        240.    The aforementioned burdens and restrictions of SB1 placed on voters

individually—and even more so collectively—abridge the opportunity of minority voters to

participate in the political process and exercise their right to vote.

        241.    Texas’s long history and ongoing record of racial discrimination in the context of

voting, the known and reasonably foreseeable discriminatory impact of SB1, the sequence of

events and substantive departures from the normal legislative process which resulted in the

enactment of SB1, and the tenuousness of the stated justifications for SB1 raise a strong inference

of a racially discriminatory purpose in violation of the Fourteenth Amendment.

                                       COUNT III
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

                SB1 Violates the Fifteenth Amendment of the U.S. Constitution

        242.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

        243.    This claim challenges Sections 2.04, 2.07, 2.08, 2.11, 3.04, 3.09, 3.10, 3.12, 3.13,

4.01, 4.06, 4.07, 4.09, 6.03, 6.04, 6.05, 6.06, and 7.04 of SB1.

        244.    Section 1 of the Fifteenth Amendment to the United States Constitution provides:

                The right of citizens of the United States to vote shall not be denied
                or abridged by the United States or by any State on account of race,
                color, or previous condition of servitude.

U.S. Const. amend., XV.

        245.    The Fifteenth Amendment enfranchised voters nationwide, regardless of race or

color, and is an independent source of authority to protect against discrimination in voting. “The

Amendment bans racial discrimination in voting by both state and nation. It thus establishes a

national policy . . . not to be discriminated against as voters in elections to determine public

governmental policies or to select public officials . . . .” Terry v. Adams, 345 U.S. 461, 467 (1953).


                                                  72
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 73 of 91




       246.    Similar to the Fourteenth Amendment, discriminatory intent under the Fifteenth

Amendment may be established by proof that the defendants used race as a motivating factor in

their decisions. Mobile v. Bolden, 446 U.S. 55, 62, (1980) (plurality opinion) (citing Vill. of

Arlington Heights, 429 U.S. at 265).

       247.    The facts alleged herein, among others to be uncovered during discovery, show that

SB1 was enacted, at least partly, with the intent to discriminate against voters of color, on the basis

of race and national origin, in violation of the United States Constitution.

       248.    SB1’s stated purpose as “relating to election integrity and security, including by

preventing fraud in the conduct of elections in this state” is unfounded pretext, since there is no

evidence of widespread voter fraud in this state or any other state.

       249.    Texas has a long, well-documented history of discrimination against Latino and

Black citizens in the voting and electoral processes. Indeed, courts have repeatedly found that

Texas election laws were enacted with a discriminatory purpose or had a discriminatory effect—

particularly as it pertains to Texas’s Black and Latino voters.

       250.    SB1 was enacted following record turnout among Black, Latino, and Asian-

American voters in the 2018 and 2020 General Elections.

       251.    The challenged provisions of SB1 specifically target and disproportionately burden

assistance to voters with limited English proficiency, who are disproportionately Latino and Asian

American, and individuals with disabilities in Texas, who are disproportionately Black.

       252.    The disparate racial impact that the challenged limitations on voting would have on

Texas’s minority voters was also a subject of discussion and testimony throughout the legislative

process for SB1 and its precursor SB7.




                                                  73
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 74 of 91




        253.    The aforementioned burdens and restrictions of SB1 placed on voters

individually—and even more so collectively—abridge the opportunity of minority voters to

participate in the political process and exercise their right to vote.

        254.    Texas’s long history and ongoing record of racial discrimination in the context of

voting, the known and reasonably foreseeable discriminatory impact of SB1, the sequence of

events and substantive departures from the normal legislative process which resulted in the

enactment of SB1, and the tenuousness of the stated justifications for SB1 raise a strong inference

of a racially discriminatory purpose in violation of the Fifteenth Amendment.

                                           COUNT IV
                                      Against All Defendants

                          SB1 discriminates against minority voters
         in violation of Section 2 of the Voting Rights Act, 52 U.S.C. § 10301, et seq.

        255.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

        256.    This claim challenges Sections 4.01, 4.06, 4.07, 4.09, 6.03, 6.04, 6.05, 6.06, and

7.04 of SB1.

        257.    Section 2 of the Voting Rights Act prohibits state political processes that are “not

equally open to participation” by minority voters, such that those voters “have less opportunity

than other members of the electorate to participate in the political process and to elect

representatives of their choice.” 52 U.S.C. § 10301.

        258.    Laws enacted with a racially discriminatory purpose and/or that have a

discriminatory effect violate Section 2. See Veasey, 830 F.3d at 229, 243; see also Thornburg v.

Gingles, 478 U.S. 30, 35 (1986).

        259.    Discriminatory intent may be established by proof that defendants used race as a

motivating factor in their decisions. See Village of Arlington Heights v. Metro. Hous. Dev. Corp.,

                                                  74
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 75 of 91




429 U.S. 252, 265–66 (1977). Even if a challenged legislation appears neutral on its face,

discriminatory intent may still be inferred by analyzing the context during and by which the

challenged provisions were enacted, and by reviewing the disproportionate racial impact of the

challenged provisions. See id. at 266–68; Veasey, 830 F.3d at 231–32.

        260.    SB1’s stated purpose as “relating to election integrity and security, including by

preventing fraud in the conduct of elections in this state” is unfounded pretext, since there is no

evidence of widespread voter fraud in this state or any other state.

        261.    Texas has a long, well-documented history of discrimination against Latino and

Black citizens in the voting and electoral processes.

        262.    SB1 was enacted following record turnout among Black, Latino, and Asian-

American voters in the 2018 and 2020 General Elections.

        263.    The challenged provisions of SB1 specifically target and disproportionately burden

assistance to voters with limited English proficiency, who are disproportionately Latino and Asian

American, and individuals with disabilities in Texas, who are disproportionately Black.

        264.    The aforementioned burdens and restrictions of SB1 placed on voters

individually—and even more so collectively—abridge the opportunity of minority voters to

participate in the political process and exercise their right to vote.

        265.    As a result, under the totality of the circumstances, SB1’s multifarious burdens and

restrictions individually and collectively violate Section 2 of the Voting Rights Act by abridging

and denying the right to vote and creating less opportunity for people of color than other members

of the electorate to participate in the political process and to elect representatives of their choice,

including Black and Latino voters, and including many of Plaintiffs’ members and congregants.

Texas’s political process is not equally open to participation by minority voters.



                                                  75
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 76 of 91




                                           COUNT V
                                      Against all Defendants

SB1 impedes voters’ practical ability to get necessary and statutorily guaranteed assistance
         in violation of Section 208 of the Voting Rights Act, 52 U.S.C. § 10508.

       266.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       267.    This claim challenges Sections 6.01, 6.03, 6.04, 6.05, 6.06, and 7.04 of SB1.

       268.    Section 208 of the Voting Rights Act provides that “[a]ny voter who requires

assistance to vote by reason of blindness, disability, or inability to read or write” in English for

any reason “may be given assistance by a person of the voter’s choice, other than the voter’s

employer or agent of that employer or officer or agent of the voter’s union.” 52 U.S.C. § 10508.

       269.    Section 208 thus establishes the right of a voter with a disability or a voter with

limited English proficiency or limited literacy to choose an assistor to assist the voter with the

voting process, including physically navigating the polling place, interacting with poll workers,

reading and interpreting the ballot, and marking the ballot.

       270.    Although Texas election law provides voters who need assistance with the right to

receive such assistance from a person of their choice as required by Section 208, SB1’s new

restrictions gut that provision by impeding the voter’s practical ability to get assistance.

Specifically, SB1:

           a. Increases the likelihood that ballots by voters with disabilities or who require

               assistance will be rejected (Section 6.05);

           b. Deters individuals from providing needed assistance to voters (Sections 6.01, 6.03,

               6.04, and 6.06); and

           c. Limits the type of assistance that voters can receive in filling out their ballot

               (Section 6.04).

                                                76
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 77 of 91




       271.    The challenged provisions of SB1 thus violate Section 208 of the Voting Rights

Act. OCA-Greater Houston v. Texas, 867 F.3d 604 (5th Cir. 2017) (holding that Texas law

limiting who can provide assistance to non-English speaking voters violated Section 208 of the

Voting Rights Act and noting that “a state cannot restrict this federally guaranteed right [Section

208] by enacting a statute tracking its language, then defining terms more restrictively than as

federally defined.”).

                                       COUNT VI
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

                 SB1 discriminates against voters on the basis of a disability
   in violation of Title II of the Americans with Disability Act, 42 U.S.C. § 12131, et seq.

       272.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       273.    This claim challenges Sections 6.01, 6.03, 6.04, 6.05, 6.06 and 7.04 of SB1.

       274.    Title II of the Americans with Disabilities Act (the “ADA”) provides that “no

qualified individual with a disability shall, by reason of such disability, be excluded from

participation in or be denied the benefits of the services, programs, or activities of a public entity,

or be subjected to discrimination by any such entity.” 42 U.S.C. § 12132.

       275.    The ADA directed the Attorney General of the United States to promulgate

regulations enforcing Title II of the ADA and provide guidance on their content. 42 U.S.C.

§ 12134. Regulations promulgated by the Attorney General require public entities to “make

reasonable modifications” to their programs and activities “when the modifications are necessary

to avoid discrimination.” 28 C.F.R. §35.130(b)(7). Regulations promulgated by the Attorney

General also make it unlawful discrimination for a public entity to:




                                                  77
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 78 of 91




       a.      “Afford a qualified individual with a disability an opportunity to participate in or

               benefit from the aid, benefit, or service that is not equal to that afforded others,”

               28 C.F.R. § 35.130(b)(1)(ii);

       b.      “Provide a qualified individual with a disability with an aid, benefit, or service

               that is not as effective in affording equal opportunity to obtain the same result, to

               gain the same benefit, or to reach the same level of achievement as that provided

               to others,” 28 C.F.R. § 35.130(b)(1)(iii);

       c.      “[U]tilize criteria or methods of administration . . . [t]hat have the purpose or

               effect of defeating or substantially impairing accomplishment of the objectives of

               the public entity’s program with respect to individuals with disabilities.” 28

               C.F.R. § 35.130(b)(3)(ii); and

       d.      “[I]mpose or apply eligibility criteria that screen out or tend to screen out” people

               with disabilities from “fully and equally enjoying” the programs, services or

               activities of state and local governments. 28 C.F.R. § 35.130(b)(8).

       276.    The ADA also states that it is unlawful to “coerce, intimidate, threaten, or interfere

with any individual in the exercise or enjoyment of . . . or on account of his or her having aided or

encouraged any other individual in the exercise or enjoyment of” any right protected by the ADA.

42 U.S.C. § 12203.

       277.    Title II of the ADA applies to all services, programs, and activities or public

entities, including voting. 42 U.S.C. § 12132. “Voting is a quintessential public activity” and,

accordingly, Title II requires state and local governments (i.e., “public entities”) to ensure that

people with disabilities have a full and equal opportunity to vote. Nat’l Fed’n of the Blind v.

Lamone, 813 F.3d 494, 507 (4th Cir. 2016) (noting in a case involving an ADA action by blind



                                                 78
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 79 of 91




voters against a Maryland election official that “[v]oting is a quintessential public activity. . . .

Ensuring that disabled individuals are afforded an opportunity to participate in voting that is equal

to that afforded others. . . .”) (citing 28 C.F.R. § 35.130); 28 C.F.R. § 35.130(b)(7).

       278.    The State of Texas is a public entity as defined in Title II of the ADA, and the

individual Defendants are the public officials responsible for running these public entities and

supervising their operations as to voting within the State of Texas and must comply with Title II

of the ADA. 42 U.S.C. § 12131(1).

       279.    The members and/or constituents of Plaintiff organizations LUPE, TEXAS

IMPACT, and FIEL include individuals with disabilities within the meaning of the ADA and are

entitled to the protections of the ADA. These individuals have a qualifying “disability” because

they have “a physical or mental impairment that substantially limits one or more major life

activities,” including, but not limited to “caring for oneself, performing manual tasks, seeing,

hearing, eating, sleeping, walking, standing, lifting, bending, speaking, breathing, learning,

reading, concentrating, thinking, communicating, and working.” 42 U.S.C. §§ 12102(1)(A),

(2)(A). These individuals are qualified for the programs, services, and activities being challenged

herein in that they are registered voters or otherwise eligible to request and cast a ballot, in Texas

elections, and are qualified to participate in Defendants’ programs and activities related to voting.

42 U.S.C. § 12131(2).

       280.    There is no valid justification for the burdens that SB1 imposes on voters with

disabilities in making it harder for them to get necessary assistance described herein, as such

restrictions will deny voters with disabilities equal access to the franchise and prevent such voters

from exercising their fundamental right to vote.




                                                 79
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 80 of 91




       281.       Specifically, Sections 6.01, 6.03, 6.04, 6.05, 6.06, and 7.04 of SB1 individually and

collectively discriminate against qualified Texas voters with disabilities exercising their right to

vote including on members and/or constituents of Plaintiff organizations as set forth above, in

violation of Title II of the Americans with Disabilities Act of 1990.

       282.       Through the acts and omissions described above, Defendants have discriminated

against Plaintiffs on the basis of disability in violation of Title II of the ADA and its implementing

regulations by:

       a.         Denying people with disabilities, including the members of Plaintiff organizations

                  LUPE, TEXAS IMPACT, and FIEL with disabilities, the opportunity to

                  participate in and benefit from voting in a way that is equal to that afforded to

                  those without disabilities;

       b.         Denying people with disabilities, including the members of Plaintiff organizations

                  LUPE, TEXAS IMPACT, and FIEL with disabilities, services that are as effective

                  in affording equal opportunity to obtain the same result, gain the same benefit, or

                  reach the same level of achievement as that provided other voters;

       c.         Imposing eligibility criteria that exclude or tend to exclude people with

                  disabilities, including the members of Plaintiff organizations LUPE, TEXAS

                  IMPACT, and FIEL with disabilities, from fully and equally enjoying the state’s

                  voting program;

       d.         Failing to reasonably modify the state’s voting system to provide the services that

                  people with disabilities, including the members of Plaintiff organizations LUPE,

                  TEXAS IMPACT, and FIEL with disabilities, need to avoid discrimination; and




                                                   80
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 81 of 91




       e.      Interfering with the ability of people with disabilities and the Plaintiff

               organizations LUPE, SVREP, TEXAS IMPACT, JOLT ACTION, and FIEL that

               assist them to exercise their rights under the ADA.

       283.    Unless the requested relief is granted, members of Plaintiff organizations LUPE,

TEXAS IMPACT, and FIEL who are qualified individuals with disabilities under the ADA and

those similarly situated will be discriminated against and denied adequate access to the franchise.

       284.    Unless the requested relief is granted, Plaintiff organizations LUPE, SVREP,

TEXAS IMPACT, JOLT ACTION and FIEL will be required to incur substantial costs and divert

resources from other activities in order to mitigate the effects of SB1’s impermissible burdens on

the ability of disabled persons to exercise their full and equal opportunity to vote.

       285.    The relief sought by Plaintiffs would not require a fundamental alteration to

Defendants’ programs, services, or activities.

                                      COUNT VII
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

           Section 7.04 of SB1 is unconstitutionally vague and burdens free speech
       in violation of the First and Fourteenth Amendments to the U.S. Constitution.

       286.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       287.    This claim challenges Section 7.04 of SB1.

       288.    A criminal law is unconstitutionally vague, and in violation of the Fourteenth

Amendment’s requirements of due process, if it “(1) fails to provide those targeted by the statute

a reasonable opportunity to know what conduct is prohibited or (2) is so indefinite that it allows

arbitrary and discriminatory enforcement.” Moore v. Brown, 868 F.3d 398, 406 (5th Cir. 2017)

(citation omitted); Women’s Med. Ctr. v. Bell, 248 F.3d 411, 422 (5th Cir. 2001). Courts apply a



                                                 81
          Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 82 of 91




“more stringent” vagueness inquiry when a law “interferes with the right of free speech or

association.” Holder v. Humanitarian Law Project, 561 U.S. 1, 19 (2010).

         289.   A speech restriction is also facially unconstitutional and overbroad, in violation of

the First Amendment, if “a substantial number of its applications are unconstitutional, judged in

relation to the statute’s plainly legitimate sweep.” United States v. Stevens, 559 U.S. 460, 473

(2010) (internal quotation marks omitted) (quoting Wash. State Grange v. Wash. State Republican

Party, 552 U.S. 442, 449 n.6 (2008)). A plaintiff “need only show that a statute or regulation

might operate unconstitutionally under some conceivable set of circumstances.”                Ctr. for

Individual Freedom v. Carmouche, 449 F.3d 655, 662 (5th Cir. 2006) (quoting United States v.

Salerno, 481 U.S. 739, 745 (1987)).

         290.   Section 7.04 is unconstitutionally vague and overbroad in violation of both the First

and Fourteenth Amendments because it because it fails to provide adequate notice of what is (or

is not) prohibited, invites arbitrary and discriminatory enforcement, and a substantial number of

its applications are unconstitutional when judged against its legitimate sweep.

         291.   First, Section 7.04 fails to provide adequate notice of what is (or is not) prohibited.

Section 7.04 of SB1 outlines a number of offenses for persons engaged in “vote harvesting

services,” which is confusingly defined as “in-person interaction with one or more voters, in the

physical presence of an official ballot or a ballot voted by mail, intended to deliver votes for a

specific candidate or measure.” 131 A violation results in a third-degree felony, subject to a

minimum of two years (and up to ten years) of jail time and a fine of up to $10,000. 132 Section 7.04



131
   S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 276.015(a)(2)).
132
      TEX. PENAL CODE § 12.34(a)–(b).


                                                  82
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 83 of 91




of SB1 does not define “in-person interaction,” potentially reaching a wide and varying range of

possibilities. The statute’s requirement that an interaction be “in the physical presence of” an

official ballot or mail ballot is also unclear and does not adequately define the possible kinds of

interactions that could come within the statute’s prohibitions.133 And the intent requirement (that

the interaction be “intended to deliver votes”) is also cryptic, apparently requiring nothing more

than a political motivation (as opposed to an actual intent to defraud or deceive).

          292.   Section 7.04’s requirement that a person receive “compensation or other benefit”

in exchange for the interaction does not ameliorate the vagueness. 134 Section 7.04 defines

“benefit” to mean “anything reasonably regarded as a gain or advantage,” no matter how minor. 135

The range of possible “benefit[s]” is itself wide and unpredictable to a reasonable person

attempting to understand what conduct the law prohibits.

          293.   Second, the lack of clarity (coupled with the provision’s breadth) invites arbitrary

and discriminatory enforcement. It would be largely up to prosecutors to determine whether to

bring charges based on any in-person interaction between two people in the presence of a ballot,

absentee ballot, or application for an absentee ballot. This possibility would be particularly acute

for campaign workers because a benefit can be “inferred.” A campaign worker could open herself

to the possibility of criminal prosecution virtually any time she speaks about her work to another

voter in the presence of a ballot, absentee ballot, or application for an absentee ballot.




133
   S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 276.015(a)(2)).
134
      Id. (codified at TEX. ELEC. CODE § 276.015(e)(1)).
135
      Id. (codified at TEX. ELEC. CODE § 276.015(a)(1)).


                                                  83
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 84 of 91




         294.   Likewise, because Section 7.04 of SB1 does not define “in-person interaction,” the

phrase impermissibly regulates a broad range of protected, political speech. Speech is plainly a

form of “in-person interaction.” The statute’s requirement that an interaction be “in the physical

presence of” an official ballot or mail ballot does not cure the overbreadth because pure speech is

still covered so long as it is uttered in close proximity to a mail ballot (e.g., in the same room or in

the voter’s purse). 136 The range of possible “benefit[s]” is also broad and encompasses any salary

paid to a campaign worker and any “benefit” given to a campaign volunteer (e.g., free coffee and

breakfast, campaign apparel, or tickets to a rally). And the statute does not require that any

compensation be provided for the specific speech at issue. The compensation could be for some

other “vote harvesting services,” yet the uncompensated in-person communication could still be a

crime.

         295.   Section 7.04 therefore prohibits a wide range of protected speech reaching well

beyond the statue’s legitimate reach.        Under Section 7.04, a substantial number of daily

conversations between a voter and a campaign worker or campaign volunteer are criminalized, so

long as the parties are discussing a particular candidate or ballot measure and a mail ballot happens

to be close enough to the voter and the campaign worker or volunteer to be considered “in the

physical presence” thereof. Section 7.04’s substantial overbreadth thus impermissibly regulates

constitutionally protected, political speech.

         296.   A law also violates the Fourteenth Amendment if it restricts the freedom of speech

protected by the First Amendment. Under the First Amendment, the “government has no power

to restrict expression because of its messages, its ideas, its subject matter, or its content.” Brown



136
   S.B. 1 § 7.04, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 276.015(a)(2)).


                                                  84
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 85 of 91




v. Entm’t Merch. Ass’n, 564 U.S. 786, 790–91 (2011). When a law regulates speech on the basis

of its content, it is presumptively unconstitutional and subject to strict scrutiny. See Reagan Nat’l

Adver. Of Austin v. City of Austin, 972 F.3d 696, 702 (5th Cir. 2020). A law is content based when

it “applies to particular speech because of the topic discussed or the idea or messaged expressed.”

Id. (citing Reed v. Town of Gilbert, 576 U.S. 155, 163 (2015)).

       297.    Section 7.04 of SB1 also impermissibly regulates speech in violation of the First

Amendment. Speech is plainly a form of “in-person interaction.” And Section 7.04 regulates

speech on the basis of its content: namely, whether the speech is “intended to deliver votes for a

specific candidate or measure.” “Laws that burden political speech are ‘subject to strict scrutiny,’

which requires the Government to prove that the restriction ‘furthers a compelling interest and is

narrowly tailored to achieve that interest.’” Citizens United v. FEC, 558 U.S. 310, 340 (2010);

Dep’t of Tex., Veterans of Foreign Wars of U.S. v. Tex. Lottery Comm’n, 760 F.3d 427, 438–39

(5th Cir. 2014) (en banc) (quoting Citizens United). Speech that is used to encourage and assist

voters both implicates expressive conduct and also constitutes “the type of interactive

communication concerning political change that is appropriately described as ‘core political

speech.’” Meyer v. Grant, 486 U.S. 414, 421–22 (1988); see also NAACP v. Button, 371 U.S. 415,

437 (1963) (“Free trade in ideas [sic] means free trade in the opportunity to persuade to action

. . . .” (quoting Thomas v. Collins, 323 U.S. 516, 537 (1945))).

       298.    These new restrictions will have a chilling effect on Plaintiff organizations, who

employ paid canvassers and conduct GOTV activities, because the prohibited activities encompass

a wide range of interactions and conversations that may occur between Plaintiffs, their employees

and organizers, and voters. The extensive reach of the “vote harvesting” restrictions and the

accompanying threat of criminal and civil penalties will deter Plaintiffs’ members and volunteers



                                                 85
           Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 86 of 91




from participating in Plaintiffs’ voter education and GOTV efforts, thereby limiting the means by

which Plaintiffs and their constituents communicate with voters and engage in the political

process.

       299.     Section 7.04 does not promote any legitimate, much less compelling, governmental

interest. Section 7.04 also is not narrowly tailored to advance a compelling governmental interest

through the least restrictive means. In particular, Section 7.04 cannot be justified based on an

interest in preventing fraud because it is not limited in any way to conduct or speech that is

fraudulent, misleading, or unlawful, and it was already (i.e., before SB1) illegal to “influence the

independent exercise of the vote or another in the presences of a ballot during the election process

. . . .” (Tex. Elec. Code § 276.013) or to vote or attempt to vote using someone else’s ballot (id.

§ 64.012).

       300.     Those prohibitions cannot be constitutionally justified.        Section 7.04 thus

unconstitutionally infringes upon Plaintiffs’ rights under the First and Fourteenth Amendments,

and the Court should declare it unlawful and enjoin its implementation and enforcement.

                                        COUNT VIII
                Against Defendants Scott, Paxton, Creuzot, Rosales, and Garza

                         Section 4.09 of SB1 is unconstitutionally vague
              in violation of the Fourteenth Amendment to the U.S. Constitution

       301.     Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       302.     This claim challenges Sections 4.09 and 8.01 of SB1.

       303.     Section 4.09 of SB1 subjects persons serving in an official capacity at a polling

place to criminal liability as a Class A misdemeanor for taking “any action to obstruct the view of




                                                86
         Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 87 of 91




a watcher or distance the watcher from [the observed activity or procedure] in a manner that would

make observation not reasonably effective.” 137

        304.    Section 4.09 of SB1 does not impose any limitations on what “any action” may

constitute, how small it may be, or what it means to have the intent to obstruct or distance a watcher

“in a manner that would make observation not reasonably effective.”

        305.    Section 4.09 accordingly fails to provide adequate notice to poll workers, election

judges, and other officials of what steps, if any, they can take when interacting with a poll watcher

while still avoiding a risk of criminal liability.

        306.    Section 4.09 similarly invites arbitrary and discriminatory enforcement because

prosecutors have essentially free reign to assert, after the fact, that a poll worker took “any action”

with the intent to obstruct or distance a watcher “in a manner that would make observation not

reasonably effective.”

        307.    Section 4.09 thus gives poll watchers the ability to observe voting activities without

regard for the safety or privacy of voters or poll workers while election officials who attempt to

constrain poll watchers in order to maintain peaceful, orderly elections will face the penalty of

criminal prosecution. The threat of prosecution under Section 4.09 will cause individuals like

Plaintiff Lewin and members of FRIENDSHIP-WEST and TEXAS IMPACT to self-censor either

by refraining from serving as election officials in future elections, allowing poll watchers free reign

to potentially harass Texas voters or election workers, or having to significantly alter their

approach to engaging with poll watchers.




137
   S.B. 1 § 4.09, 2021 87th Leg., 2d Spec. Sess. (Tex. 2021) (codified at TEX. ELEC. CODE
§ 33.051(g)).


                                                     87
        Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 88 of 91




       308.    Because the poll watcher provision in Section 4.09 is unconstitutional, any civil

penalty imposed under Section 8.01 cannot be predicated on a violation of Section 4.09. Plaintiffs

are accordingly entitled under 42 U.S.C. § 1983 to the relief requested below.

       309.    For each of the foregoing reasons and as described above, Section 4.09 of SB1 is

unconstitutionally vague, and the Court should enjoin its implementation and enforcement.

                                       COUNT IX
      Against Defendants Scott, Paxton, Scarpello, Wise, Creuzot, Rosales, and Garza

        SB1 violates the First and Fourteenth Amendments of the U.S. Constitution.

       310.    Plaintiffs re-allege and incorporate by reference the allegations contained in the

previous paragraphs of this Second Amended Complaint as though fully set forth herein.

       311.    This claim challenges Sections 6.01, 6.03, 6.04, 6.05, and 6.06 of SB1.

       312.    SB1’s enhanced information requirements, expanded oath, exposure to a potential

perjury charge, and accompanying enhanced criminal penalties for persons assisting voters in

Sections 6.01, 6.03, 6.04, 6.05, and 6.06 violate the free speech rights of individuals who assist

voters at the polling place and with respect to voting by mail.

       313.    The voter assistance restrictions violate the First and Fourteenth Amendments, on

their face and as applied, by imposing additional burdens on, and preventing through fear of

criminal prosecution, the delivery of voter assistance by assistors.

       314.    Because the voter assistance restrictions cannot be constitutionally justified, they

unconstitutionally infringe upon Plaintiffs’ rights under the First and Fourteenth Amendments, and

the Court should declare them unlawful and enjoin their implementation and enforcement.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request the following relief:

               1.      A declaratory judgment that the challenged provisions in SB1 violate:


                                                 88
Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 89 of 91




                a.     the First and Fourteenth Amendments to the U.S. Constitution as
                       undue burdens on the right to vote;

                b.     the First and Fourteenth Amendments to the U.S. Constitution as
                       impermissible restrictions on freedom of speech;

                c.     the Equal Protection Clause of the Fourteenth Amendment of the
                       U.S. Constitution;

                d.     Section 208 of the Voting Rights Act;

                e.     Section 2 of the Voting Rights Act and the Fourteenth and
                       Fifteenth Amendments to the U.S. Constitution for racial
                       discrimination against minority voters; and

                f.     the Americans with Disabilities Act.

          2.    An injunction prohibiting Defendants, their respective agents, officers,

employees, and successors, and all persons acting in concert with each or any of them,

from enforcing any of the challenged provisions of SB1.

          3.    An injunction prohibiting Defendants Paxton, Creuzot, Rosales, Garza,

their agents, officers, employees, and successors, and all persons acting in concert with

each or any of them, from enforcing Section 8.01 of SB1, as applied to a violation of any

of the challenged provisions of SB1.

          4.    An order requiring Texas to preclear, under section 3(c) of the Voting

Rights Act (52 U.S.C. § 10302(c)), all changes in statewide voting practices for a period

of ten years;

          5.    An order awarding Plaintiffs their costs, expenses, and reasonable

attorneys’ fees pursuant to, inter alia, 52 U.S.C. § 20510(c), 42 U.S.C. § 1988 and other

applicable laws; and

          6.    Granting any such other and further relief as this Court deems just and

proper.



                                        89
       Case 5:21-cv-00844-XR Document 208 Filed 01/25/22 Page 90 of 91




Dated: January 22, 2022                  Respectfully submitted,

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Appendix C
                                                         1751

1                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
2                         SAN ANTONIO DIVISION
3
  LA UNION DEL PUEBLO ENTERO,     .
4 ET AL,                          .
                                  .
5                 PLAINTIFFS,     .
           vs.                    . DOCKET NO. 5:21-CV-844-XR
6                                 .
     GREGORY W. ABBOTT, ET AL,    .
7                                 .
                  DEFENDANTS.     .
8
9
10                     TRANSCRIPT OF BENCH TRIAL
                 BEFORE THE HONORABLE XAVIER RODRIGUEZ
11                   UNITED STATES DISTRICT JUDGE
                          SEPTEMBER 22, 2023
12
13
14
15
16 APPEARANCES:
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15 REPORTED BY:   GIGI SIMCOX, RMR, CRR
                  OFFICIAL COURT REPORTER
16                UNITED STATES DISTRICT COURT
                  SAN ANTONIO, TEXAS
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1      (San Antonio, Texas; September 22, 2023, at 9:00 a.m., in
2 open court.)
3             THE COURT: And your next witness.
4             MR. CAPOZZI: Your Honor, excuse me. Would now be a
5 good time to deal with the evidentiary issue we talked about
6 yesterday?
7             THE COURT: Sure.
8             MR. CAPOZZI: Good morning. We met and conferred
9 yesterday with the LULAC plaintiffs. We weren't able to come
10 to an agreement so I will renew my motion. We are not moving
11 to introduce the entire deposition, just select page numbers
12 which address SB 1, in particular pages 1 through 9, 17
13 through 18, 28 through 30, 41 through 43, 49 to 50.
14            THE COURT: I'm sorry. 41 to 43.
15            MR. CAPOZZI: 49 to 50 and 72 to 73.
16            So let me just try to state briefly why these are
17 relevant and to answer your question from yesterday about
18 cumulative evidence.
19            So these are relevant to our organizational standing
20 argument. The Fifth Circuit in a case called LULAC v Elfant,
21 I think this was in November 2022, held that LULAC did not
22 have standing to challenge SB 1111 because Mr. Garcia could
23 not cleanly distinguish between LULAC's response to SB 1 and
24 SB 1111.
25            So we think that this evidence is relevant in this
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1 case for the same reason. The evidence is admissible as the
2 statement of a party opponent. There's also a prior
3 inconsistent statement.
4           THE COURT: And what are these statements?
5           MR. CAPOZZI: So, in brief, these are statements that
6 the Get Out the Vote campaigns, the voter registration
7 campaigns, and the fund raising that LULAC did in late 2021
8 and 2022 were in response to both SB 1 and SB 1111.
9           And the reason the evidence is accumulative and
10 repetitive is that the emphasis is different between the
11 testimony that Mr. Garcia gave on the stand and his testimony
12 in the deposition.
13          On the stand he de-emphasized SB 1111. He said the
14 response was primarily because of SB 1, but in the deposition
15 he emphasized both equally and he didn't have the greater
16 emphasis on SB 1 versus SB 1111, so we would like to put that
17 testimony into the record.
18          THE COURT: What's the objection?
19          MR. NKWONTA: Your Honor, the objection primarily is
20 based on relevance, and I'll tell you why it's not relevant,
21 because opposing counsel has slightly mischaracterized via
22 Fifth Circuit's ruling.
23          SB 1111, that case was about voter registration and
24 all of the activities that are conducted in terms of diversion
25 of resources are related to voter registration. Here, what
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1 Mr. Garcia is talking about, voter outreach efforts for GOTV,
2 helping voters with mail ballots, helping voters get to the
3 polls, that, by definition, has nothing to do with SB 1111.
4           So that brings us back to the relevance issue under
5 Rule 403 because Rule 403 also excludes evidence that's
6 cumulative and evidence that confuses the issues. And even as
7 we stand here, intervenors are confusing the issues already.
8           And the theory that they are trying to advance with
9 this argument is that because LULAC diverted resources in
10 response to SB 1111 and in response to SB 1, they are injured
11 by neither bill, and that is a nonsensical theory which makes
12 the evidence they are trying to submit irrelevant.
13          What's relevant is whether Mr. Garcia and whether he
14 testified and whether LULAC did, in fact, divert resources in
15 order to respond to the restrictions on voting procedures in
16 SB 1. He has testified that they did. SB 1111, a statute
17 about voter registration and testimony about voter
18 registration cannot have any bearing on that and sufficiently
19 relevant and avoids confusion of issues.
20          Nor has he identified any inconsistency that would
21 suggest these are admissible under the prior inconsistent
22 statement theory because Mr. Garcia did not say in the prior
23 deposition that there was an equal allocation. He, at the
24 time, had not separated the two. That doesn't mean he hasn't
25 done so now.
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1           Finally, to the extent that the Court is inclined to
2 admit this evidence, we would request under Rule 106 an
3 opportunity to admit additional testimony in support of the
4 rule of completeness to ensure --
5           THE COURT: By witness or by deposition testimony, or
6 what?
7           MR. NKWONTA: No, additional deposition testimony,
8 from that same deposition, under Rule 106, because they are
9 only seeking to admit -- because they are seeking to admit
10 portions, we would request an opportunity to submit our
11 portions as well to ensure that the Court has a complete and
12 accurate record of what Mr. Garcia said.
13          THE COURT: So in that case, instead of portions,
14 should we just do the whole deposition? It looks like we've
15 got most of it already.
16          MR. NKWONTA: Well, we actually have not -- I
17 wouldn't say an insignificant amount but there are only a few
18 small excerpts that are being submitted here and what we are
19 counter-designating, for lack of a better word, only amounts
20 to a few additional pages to the extent the Court accepts this
21 excerpt as admissible.
22          THE COURT: So if this was a jury trial, I would be
23 much more concerned. It's not a jury trial, it's a trial to
24 the bench. If the plaintiffs are successful in this case, we
25 all know where this is headed, and so we might as well let the
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1 Fifth Circuit clarify for us all this whole issue of standing.
2           I sort of made that gratuitous remark yesterday, but
3 in all sincerity, I really do not understand standing anymore.
4 So the Republican Party of Harris County and Republican
5 National Committee got to come in this case because, as I
6 understood the Fifth Circuit's position, just because they had
7 to offer any additional training to their folks, that gave
8 them standing.
9           So if that's all it took, I really honestly don't
10 understand the organizational standing challenges here, but
11 that's not a ruling, I'm just perplexed. I don't know how to
12 apply anything anymore here because the standards are so
13 confused and don't seem to be logically applied.
14          With that said, I'm going to begin, withhold ruling
15 on this, you-all meet and confer yet again, find out which
16 additional pages you want to submit, or if you just want to
17 submit the entirety of the deposition and we'll admit it
18 later.
19          MR. NKWONTA: Thank you, Your Honor.
20          MR. CAPOZZI: Thank you, Your Honor.
21          THE COURT: Anything else by way of housekeeping?
22          Next witness.
23          MR. MOCINE-MCQUEEN: We call Miss Judy Bryant, Your
24 Honor. My name is Marcos Mocine-McQueen. I'm with the Elias
25 Law Group and we are representing the LULAC plaintiffs.
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                        JUDY BRYANT - DIRECT
1            THE COURT: Can someone assist moving the podium and
2 it may be locked down below.
3      (JUDY BRYANT, having been duly sworn, testified as
4 follows:)
5            THE COURT: And this will be on what issues?
6            MR. MOCINE-MCQUEEN: Your Honor, this will be on
7 5.02, 5.03, 5.08, and 7.04.
8            THE COURT: Thank you.
9                        DIRECT EXAMINATION
10 BY MR. MOCINE-MCQUEEN:
11 Q. Good morning.
12 A. Good morning.
13 Q. Miss Bryant, can you please state your full name for the
14 record?
15 A. It is Judy Hawthorne Bryant.
16 Q. And can you please tell the Court why you are here today?
17 A. I'm here today to testify for the Texas Alliance for
18 Retired Americans.
19 Q. And if I refer to the Alliance as TARA, will you
20 understand what I'm referring to?
21 A. Yes, I will.
22 Q. And Miss Bryant, where do you live?
23 A. In Dallas.
24 Q. And how long have you lived in Texas?
25 A. Mostly my whole life except for probably about ten or
                                                         1760
                        JUDY BRYANT - DIRECT
1 twelve years living in Louisiana and South Carolina.
2 Q. And so roughly how many years have you lived in Texas?
3 A. Roughly I guess about 60.
4 Q. And before retiring, Miss Bryant, can you tell us a little
5 bit about what you did professionally?
6 A. Yes. I'm a retired 32-year teacher and I taught home
7 economics for the first about ten twelve years. For the last
8 20 years I taught prenatal care and infant development to
9 pregnant and parenting teens in Dallas' school for pregnant
10 teens.
11 Q. And, Miss Bryant, what is your role in the Texas Alliance
12 for Retired Americans?
13 A. I am the field organizer in Texas Alliance for Retired
14 Americans.
15 Q. When did you assume that role?
16 A. In May of 2012, so it's been about eleven, going on about
17 eleven and a half years.
18 Q. Are you paid for this role?
19 A. Yes, I am. It's a part-time position, but I'm paid.
20 Q. And when did you first become involved with Texas Alliance
21 for Retired Americans in any capacity?
22 A. In about 2008 I became a member in the Dallas area.
23 Q. And why did you join TARA?
24 A. Because I was working as the political action vice
25 president and the retiree chair for my union for Alliance AFT,
                                                         1761
                        JUDY BRYANT - DIRECT
1 and I became familiar with TARA and the things that they were
2 doing to protect things like social security, Medicare, and so
3 on.
4 Q. So I'd like to learn a little bit more about TARA then.
5 Can you tell me, what is TARA?
6 A. TARA is a part of a four and a half million member
7 National Alliance for Retired Americans and we work on -- the
8 Alliance for Retired Americans works on issues, as I
9 mentioned, such as social security, Medicare, Medicaid,
10 pensions, those major issues that affect seniors and retirees.
11 Q. And -- I'm sorry.
12 A. And in Texas, in Texas, TARA has chapters all around the
13 state.
14 Q. Can you name just a few of the areas at least that TARA
15 has chapters?
16 A. We have chapters in Dallas, Fort Worth, White Settlement,
17 Austin, Houston, San Antonio, Corpus Christi area, and
18 Beaumont, and Port Arthur area.
19 Q. Does TARA have a partisan affiliation?
20 A. No, we're officially nonpartisan.
21 Q. And who are the members of TARA?
22 A. There are great many members of TARA who are retired union
23 members of all different unions because the National AFL-CIO
24 is our parent organization but we have anybody who wants to
25 further retirement, and so we have a lot of community members
                                                        1762
                         JUDY BRYANT - DIRECT
1 also.
2 Q. And what is TARA's mission?
3 A. Our mission is to help our members become knowledgeable
4 about these issues that we talked about, social security,
5 Medicare, Medicaid, and then take action when those things are
6 under attack so that they can actually gain the dignified
7 retirement which they have earned.
8 Q. Can you tell me a little bit more about the issues that
9 you just mentioned, a little more in-depth about the issues
10 that TARA works on?
11 A. One thing, especially about social security, the -- we've
12 been working for 20 years about the windfall on nation
13 provision and the GPO government pension offset because a lot
14 of our members are negatively impacted by that, myself being
15 one of them, and so we work and do things on that.
16     We've been working on Medicaid expansion in Texas since
17 that has never taken place, and currently we're working on
18 cost of living adjustment, COLA, to assist Texas AFT and
19 seeing that Proposition 9 gets passed.
20 Q. And so what are the actual activities that TARA undertakes
21 to advance these issues?
22 A. We have monthly chapter meetings in all of our different
23 locations, and, of course, share information about those
24 issues. We go out and do rallies, street rallies, and things
25 like that. We have a lot of fun doing those, and getting the
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                         JUDY BRYANT - DIRECT
1 word out about things and just calling people's attention to
2 things with signs and so forth. We use our social media
3 accounts with Facebook and X, formerly Twitter, and also on
4 our website to educate folks.
5 Q. And do you do anything to advance laws that are related to
6 these issues?
7 A. Yes, by some of the same things to have our, have members
8 and just the public be aware of things.
9 Q. And when you make members aware of these things, is there
10 something you hope they do with that information?
11 A. Yes. We always ask them to contact whether it's local,
12 state, or federal elected officials to make sure that their
13 voices are heard and our Alliance for Retired Americans gives
14 us tools to help them be aware of what they need to do when
15 making such visits.
16 Q. And who primarily does the work of organizing these
17 efforts?
18 A. I do.
19 Q. And do you get support from anyone else in the
20 organization?
21 A. Yes. Especially our state president, and then we have
22 chapter presidents on our executive board and the executive
23 board works to assist in organizing those things.
24 Q. Miss Bryant, are you familiar with Section 7.04, which is
25 the provision of SB 1 that limits advocacy for or against a
                                                       1764
                        JUDY BRYANT - DIRECT
1 candidate or an issue in the presence of an absentee ballot?
2 A. Yes, I am.
3 Q. You stated that TARA does not have a partisan affiliation,
4 but does TARA ever endorse candidates?
5 A. Yes, we do. We can endorse local and state candidates and
6 then we work for endorsed national candidates, which our
7 national organization does.
8 Q. And does TARA ever take positions either for or against
9 issues or questions that are appearing on the ballot?
10 A. Yes, we do.
11 Q. And do you ever, when you are advocating for or against
12 these candidates on these issues, do you ever conduct any kind
13 of in-person advocacy?
14 A. Yes. In addition to our meetings we are often asked to
15 maybe do a presentation at another meeting of another group or
16 to do what we call tabling at an event, at a convention, or at
17 a meeting where we set up a table and share information that
18 comes from our national organization about various issues.
19 Q. And why make these in-person presentations instead of just
20 relying on tools like email or phone calls?
21 A. Because some people don't read their emails, we found out,
22 and also phone calls, a lot of times you have wrong numbers or
23 you have to leave messages, and even if you could have a very
24 short face-to-face interaction with someone we found that's
25 more effective.
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                        JUDY BRYANT - DIRECT
1 Q. And when you send out emails, what is the audience you
2 reach with your emails?
3 A. Generally we have about 6,000 folks on an action network
4 email list and that includes the members of each chapter and
5 lots of other people who have identified as being interested
6 in the Alliance for Retired Americans.
7 Q. And when you are doing these in-person events, who are you
8 reaching?
9 A. A lot of times it's just the general public because we're
10 asked to do things at events that are non-TARA events.
11 Q. And who within the organization of TARA does the largest
12 share of this in-person activity?
13 A. I would generally do that in the Dallas area where I live
14 but some of our chapter presidents, especially one in Austin
15 has done a number of tabling events.
16 Q. Who would you say does the largest share for the
17 organization?
18 A. I would be the one who does the largest.
19 Q. How have SB 1's restrictions on in-person advocacy
20 impacted TARA's approach to advocating for issues such as COLA
21 in person?
22 A. They have changed and harmed, I think, what we can do and
23 are used to be able to do for various events, various issues.
24 Q. And how has it changed what you can do?
25 A. Well, one way in particular is the fact of I haven't been
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                        JUDY BRYANT - DIRECT
1 able to accept or set up any tabling invitations or events
2 just in the few weeks when mail ballots go out and I would not
3 want to take a chance of someone having a mail ballot when we
4 were tabling, talking to them about an issue, so that --
5 because that would be against the provisions in this law.
6 Q. So when will you stop your in-person advocacy efforts?
7 A. Probably -- well, making sure -- probably after the first
8 week in October because mail ballots are generally going out
9 by that time in most counties.
10 Q. Prior to SB 1, when you engaged in this type of advocacy,
11 how late into the election cycle would you have been
12 conducting these in-person activities?
13 A. Right up and including Election Day, right up to and
14 including Election Day.
15 Q. So if you're able to do this work until the ballots come
16 out, why does it matter that you have to stop once the ballots
17 are in the mail?
18 A. Because we find that especially with this particular law
19 or with anything, the closer you can do some education and
20 information sharing, the closer to the time of someone voting,
21 that's the -- going to be the best thing to do because people
22 tend to forget or not be familiar with an issue and then the
23 closer to actually them voting makes a big difference.
24 Q. So, Miss Bryant, I want to talk about some of the other
25 provisions in SB 1 that affect mail ballots and mail ballot
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                         JUDY BRYANT - DIRECT
1 applications, and specifically I'd like to talk about Sections
2 5.02, 5.03, and 5.08. Are you familiar with these provisions
3 of SB 1 that require voters to enter ID numbers when they are
4 requesting and when they are returning their absentee ballots?
5 A. Yes, I am.
6 Q. What impact did these changes have on TARA members?
7 A. Well, first of all, we heard from members who were afraid
8 to even apply for a ballot because of it being complicated,
9 new and complicated. And then, second, we did hear from
10 members who actually made a mistake on their application for a
11 ballot, or even making a mistake on their ballot, the ballot
12 itself when they filed it and so it got rejected.
13 Q. So what changes did TARA have to make to respond to what
14 it was hearing from its members?
15 A. We had to do a big education project for advocacy and
16 taking action to inform our members about the provisions of SB
17 1.
18 Q. So what was involved in this effort to help them navigate
19 the voting process?
20 A. To help them navigate the new voting system, we have a
21 TARA projects committee which we activated at that time. We
22 activate for various reasons, and the projects committee is
23 made up of most of our chapter presidents and so we spent a
24 great deal of time planning our advocacy campaign for this new
25 law.
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                        JUDY BRYANT - DIRECT
1 Q. And what was involved, what did you actually create in
2 this effort?
3 A. We created emails that would go out to all those -- that
4 list that I mentioned with the action network. We also had
5 folks who created or found memes that we could use on social
6 media, which we did a great deal.
7      Obviously, we had information which chapters could share
8 at their chapter meetings or anybody could take out and share,
9 and then we planned and carried out three different webinars
10 about applying for the ballot and voting a ballot.
11 Q. So if you were to add together the hours that yourself and
12 the volunteers spent creating these presentations, emails,
13 webinars, if you were to estimate how much time was spent on
14 those collectively, what would you estimate that amount of
15 time to be?
16 A. I would imagine it would be around 125 to 150 hours.
17 Q. And how does that compare to the amount of time you would
18 have normally expected to get from these volunteers?
19 A. Well, they are all great volunteers, but it was a great
20 deal more time that they spent doing this particular work, and
21 we really appreciated that because it was necessary.
22 Q. So before SB 1, was this sort of helping your members
23 navigate voting something that TARA had typically done?
24 A. No. We had encouraged everyone, of course, to go to
25 register to vote. A lot of us are deputy voter registrars in
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                         JUDY BRYANT - DIRECT
1 our counties and we do that, but we would just be reminding
2 them to plan to vote by mail and fill out the application and
3 not spend anywhere near this amount of time helping them
4 navigate a new system.
5 Q. So as you built out this effort to help your members
6 navigate, are there any programs or activities that were
7 negatively impacted?
8 A. One thing that I can think of, I mentioned the Social
9 Security Fairness Act, we didn't spend as much time getting
10 our members to go and call their Congresspersons and visit
11 them. Another thing that we have worked on, as I said, is
12 expansion of Medicaid in Texas, and that was something that we
13 definitely had to pull back on a bit.
14 Q. And who under normal circumstances would have been
15 spearheading these efforts?
16 A. I would have been.
17 Q. And would you have relied on anyone else for support in
18 that?
19 A. Our state president and secretary.
20 Q. And any other members outside of the executive -- the two
21 executives you just mentioned?
22 A. Well, chapter presidents to actually carry the message of
23 various things to their members.
24 Q. Just a couple more questions to wrap this up, ma'am.
25     Are you planning to continue this effort to help your
                                                       1770
                         JUDY BRYANT - CROSS
1 members cast their ballots?
2 A. Yes. We will be -- we're planning now the campaign that
3 we'll be doing in January and early February when people can
4 again apply for their mail ballot for 2024.
5 Q. Now, if I understand correctly, you've already done this
6 once with your members. They have now cast a ballot under
7 this system. Why is it that you will continue this
8 educational effort in the future then?
9 A. Because we still have a great number of people turning 65
10 each year, and so we would have new people who would be
11 eligible to apply for a mail ballot, and also because the
12 process in this situation is still more complicated than
13 people have done in the past, so we want to be able to review
14 it and go over it, and since some people felt frustrated last
15 time and didn't apply for the ballot, and we want to help them
16 perhaps do that by leading them and showing them the way.
17          MR. MOCINE-MCQUEEN: Thank you, Miss Bryant.
18          I pass the witness.
19          THE COURT: Anything else on this side? None.
20          Any cross?
21          MR. BRYANT: Yes, Your Honor.
22                       CROSS-EXAMINATION
23 BY MR. BRYANT:
24 Q. Miss Bryant, my name is David Bryant.
25 A. Oh, okay. Good morning.
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                         JUDY BRYANT - CROSS
1 Q. Good morning. I represent the Secretary of State, the
2 Attorney General of Texas, and as far as I know we're not
3 related, is that your guess as well?
4 A. Yes, sir.
5 Q. Although I have lived in Dallas a lot but I don't believe
6 that there's any relationship.
7      Now, you testified first about your organization, TARA,
8 and it was founded in part by the AFL-CIO, is that right?
9 A. Yes, sir.
10 Q. And the national organization Alliance for Retired
11 Americans is headquartered in the AFL-CIO building in
12 Washington?
13 A. Yes, sir.
14 Q. Who are you actually employed by?
15 A. The Alliance for Retired Americans.
16 Q. You are employed by the national organization, not the
17 Texas group?
18 A. Well, actually my position was a grant that the Texas
19 Alliance on for Retired Americans got and it stipulates, and
20 it's the same grant every year that I sign a contract for,
21 that the Alliance for Retired Americans pays three-fourths of
22 my salary and the Texas Alliance for Retired Americans pays a
23 fourth of my salary every year. So that was a grant which we
24 received.
25 Q. And what organization is on your paycheck?
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                         JUDY BRYANT - CROSS
1 A. The Alliance for Retired Americans.
2 Q. And TARA, or the Texas Alliance for Retired Americans, has
3 some members who don't pay any dues, is that right?
4 A. Yes, sir.
5 Q. Who are those who don't have to pay any dues at all?
6 A. Well, it's not that they don't have to pay any dues. Our
7 dues are $10 a year. It's generally the ones who actually
8 attend or are a part of chapters. So since we have members
9 that we contact who are all over the state and not
10 necessarily, you know, in a chapter, those would be the people
11 who would not be dues paying members.
12 Q. And is it fair to say that even the people who do pay dues
13 to TARA, they are just nominal dues?
14 A. Yes, sir.
15 Q. Is it correct that there are no paid employees of TARA?
16 A. Yes, that's correct. Except myself, but it's not
17 officially of TARA as you just pointed out.
18 Q. Is it correct that TARA is open to members of all ages,
19 it's not an organization of retirees only?
20 A. That's correct, sir. In fact, our motto is "let's not be
21 the last generation to retire," so we have members that are
22 not yet retired because they want to make sure they have a
23 retirement.
24 Q. Miss Bryant, is it correct that there are no members of
25 TARA that you know of who were unable to vote in 2022 because
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                          JUDY BRYANT - CROSS
1 of anything in SB 1?
2 A. I don't know of anyone who was unable to vote, but as I
3 said, know of a number of members who had problems and had
4 to -- their ballots -- their application or ballot was
5 initially rejected and they had to do something about it.
6 Q. Is it correct that TARA has, for many years, promoted
7 voting by mail?
8 A. Yes, sir.
9 Q. That's a -- you had campaigns before to encourage your
10 members and your audiences to vote by mail?
11 A. Yes, that's true.
12 Q. And I believe in 2020 you had a campaign that was called
13 Step Out of Line for Democracy, is that right?
14 A. Yes, sir.
15 Q. And is it true that you've always, as an organization,
16 conducted efforts by social media, direct contact to encourage
17 people to vote by mail in Texas?
18 A. Yes, we have.
19 Q. And is it also correct that in 2020 and before you
20 conducted voter education efforts to try to get people to sign
21 their mail ballots the same as they signed everything else so
22 that they would deal with the ID requirements that were in
23 effect at that time?
24 A. We really didn't do a campaign about that, and most of the
25 time our campaigns have been just simply encouraging people by
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                         JUDY BRYANT - CROSS
1 maybe email or in person at our chapter meetings, not to the
2 extent we did this Step Out of Line for Democracy when that
3 was starting the SB 1.
4 Q. Okay. And I understand that it may not have been a
5 campaign, but is it true that TARA always warned people to try
6 to sign the same way and thus comply with the ID requirements
7 for vote by mail that were in effect?
8 A. Yes.
9 Q. And you also made efforts in 2022 to encourage people and
10 educate people to comply with the voter ID requirements for
11 vote by mail that were in effect in 2022?
12 A. We really have not spent that much time about the voter ID
13 requirements. We were mainly concerned about the numbers that
14 had to be placed on the application and on the ballot flap,
15 so...
16 Q. Do you understand that those number requirements are part
17 of voter ID requirement in Texas law?
18 A. Yes.
19 Q. In other words, it's identifying the voter who is voting
20 by mail?
21 A. Yes.
22 Q. So, to that extent, in 2022 you are doing the same kind of
23 thing that you were in 2020, namely educating and encouraging
24 your members and your audiences to comply with the applicable
25 voter ID requirements?
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                        JUDY BRYANT - CROSS
1 A. Yes.
2 Q. You testified earlier about Section 7.04 of SB 1 and that
3 TARA has made a decision not to set up tabling events after
4 around the 1st of October to -- because of fear of
5 inadvertently violating Section 7.04, is that right?
6 A. Yes, that's right.
7 Q. Did TARA consider simply asking people who came up to the
8 table whether they had mail-in ballots present, and if so, to
9 put them away?
10 A. No, sir. I wouldn't have considered that.
11 Q. You testified about efforts that were made in 2022 to
12 educate people on how to comply with the number requirements
13 for voter ID on mail-in ballots. About how many people did
14 the work on that for TARA, including not only yourself but
15 volunteers?
16 A. When you said "2022," we actually started this in 2021
17 after SB 1 was passed.
18 Q. Okay. And I did not --
19 A. Summer of 2021, really, so...
20 Q. I did not mean to limit it.
21 A. Okay.
22 Q. You gave us a number of you estimated about 125 hours.
23 Did that include all the work in 2021 and 2022?
24 A. No. I was only speaking of the main campaign that we
25 started out so that people when they applied -- in 2021, so
                                                        1776
                         JUDY BRYANT - CROSS
1 that when they applied for a mail ballot in 2022, and then
2 voted, that they would understand and help them navigate the
3 system. So, once again, I said between 125 and 150 hours.
4 And this was probably spread among about ten people with
5 chapter presidents and our state officers.
6 Q. Okay. So that if assuming it were 150 we might be talking
7 about 15 hours a person?
8 A. Possibly, yes.
9 Q. And that's over '20, '21, and 2022?
10 A. No. This campaign was -- this was in about a three-month
11 period where we put this campaign together so that we could
12 carry it out.
13 Q. What was that three-month period approximately?
14 A. Probably June, July, August of 2021, after SB 1 was, you
15 know, passed, so that when it became law and we -- in 2022
16 when people would have to follow these procedures we wanted to
17 make certain people could navigate that system.
18 Q. I believe you testified that as a result of the efforts
19 that you made at TARA relating to the voter ID requirements
20 for the mail-in ballots under SB 1, that TARA didn't have as
21 much time to get people to call their representatives or
22 contact their representatives regarding Medicaid issues, is
23 that right?
24 A. Yes, regarding Medicaid expansion in Texas.
25 Q. Yes. And I think you said that because of those
                                                       1777
                         JUDY BRYANT - CROSS
1 provisions of SB 1 TARA had to pull back a bit on its efforts
2 it otherwise would have made, is that right?
3 A. Yes, that's correct.
4 Q. But those efforts did continue, just in a diminished
5 manner?
6 A. Yes, they continued. That's exactly correct.
7 Q. Okay. And you also, I believe, my notes indicate that you
8 said that the efforts to deal with vote-by-mail provisions of
9 SB 1 on the part of TARA also caused TARA to cut back some on
10 their efforts to have people call representatives regarding
11 social security issues, is that right?
12 A. Yes.
13 Q. Okay. Were there any other identifiable effects of TARA's
14 efforts to educate its members regarding the voter ID
15 provisions of SB 1 dealing with vote by mail or any other
16 provisions of SB 1?
17 A. So would you restate that question, please?
18 Q. I'll be happy to. You mentioned that TARA had to cut back
19 on its efforts a little bit on Medicaid expansion and on
20 social security. Were there any other efforts that TARA had
21 to cut back on or eliminate because of its efforts to educate
22 and deal with the provisions of SB 1?
23 A. One thing at that time that we did cut back on were
24 efforts about pension and COLAs, cost of living adjustment, we
25 had to cut back on those things at that time because we also
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                           JUDY BRYANT - CROSS
1 work with other groups to get those provisions passed and
2 luckily we did in this last legislature.
3 Q. Okay. Can you think of anything else besides those you've
4 already mentioned?
5 A. Oh, each chapter also has some local issues and local
6 candidates that they can support and recommend for endorsement
7 to the executive board, and I -- we didn't have as much action
8 in those areas, so each -- because each chapter is free to do
9 certain things that just apply to them locally and they work
10 with me if necessary.
11 Q. Miss Bryant, is it correct that in 2020 TARA was a
12 plaintiff in a lawsuit to invalidate straight-ticket voting
13 prohibitions in Texas?
14 A. Yes.
15 Q. And in that lawsuit, ultimately the Fifth Circuit ruled
16 against TARA and other plaintiffs in that case?
17 A. Yes, that's true.
18           MR. MOCINE-MCQUEEN: Objection, Your Honor.
19 Relevance.
20           THE COURT: What is the relevance?
21           MR. MOCINE-MCQUEEN: Your Honor, there is a claim,
22 there claims in this case, not by TARA, but by other
23 plaintiffs challenging straight-ticket voting, and I just
24 wanted to make the history of, number one, the fact that that
25 prohibition was in the law prior to SB 1 and the prior
                                                         1779
                         JUDY BRYANT - CROSS
1 judicial challenge and its results.
2            THE COURT: That's overruled.
3            You can continue.
4            MR. BRYANT: Okay.
5 BY MR. BRYANT:
6 Q. Is it correct that in Case Number 20-40643, ultimately
7 Fifth Circuit reversed a preliminary injunction that TARA and
8 other plaintiffs had obtained regarding the prohibition of
9 straight-ticket voting in Texas?
10 A. Yes.
11 Q. And is it correct that the Southern District of Texas
12 dismissed the lawsuit by TARA and other plaintiffs challenging
13 the prohibition on straight-ticket voting in Texas in 2022?
14 A. Yes.
15           MR. BRYANT: Pass the witness.
16           THE COURT: Anything further on this side?
17 BY MR. LIU:
18 Q. Cory Liu with the Harris County District Attorney's
19 Office?
20 A. I'm sorry. I didn't hear, what district attorney?
21 Q. Harris County.
22 A. Okay. Thank you.
23 Q. Could you just state one more time, I want to make sure I
24 heard you correctly, about the in-person, the tabling and why
25 you stopped?
                                                         1780
                         JUDY BRYANT - CROSS
1 A. You mean why we would stop before?
2 Q. After the law.
3 A. After the law? Because of the provision in the law that
4 if you're actually passing out information when someone has a
5 ballot, then we could have a problem, be in trouble about
6 that.
7 Q. So is that based on your understanding that even if it was
8 an accident, you didn't know that person had a ballot, that it
9 would still be illegal under the law?
10 A. Yes.
11           MR. MOCINE-MCQUEEN: Objection, Your Honor. This
12 calls for a legal conclusion.
13           THE COURT: That's overruled.
14           Do you need the question repeated, ma'am?
15           THE WITNESS: Yes.
16 BY MR. LIU:
17 Q. So is your stopping the tabling, as you've described, a
18 result of your understanding that even if you were talking to
19 someone, or if you were talking to someone and they had a
20 ballot but you didn't know, that that would still be illegal?
21 A. Yes. That's my understanding but I'm not a legal expert.
22 Q. In coming to that understanding, is that a result of any
23 statement by any law enforcement official that you've heard
24 of?
25 A. No, but we have some retired attorneys that are members of
                                                        1781
                        JUDY BRYANT - REDIRECT
1 TARA and they just made us aware that that would be a good
2 idea not to do that, so we would not run any risk of talking
3 with someone who might have a ballot in their backpack, or
4 purse, or whatever. I mean probably their purse or briefcase.
5 Q. So, to make sure I heard you correctly, that that's not
6 the result of any statement from a law enforcement official,
7 is that right?
8 A. Correct.
9 Q. And you're not aware of any investigations into any
10 alleged violations of SB 1's criminal provisions, are you?
11 A. No.
12 Q. And you are not aware of any prosecutions that have
13 occurred under SB 1, is that right?
14 A. That's correct.
15          MR. LIU: Thank you. No further questions.
16          THE COURT: Any redirect?
17          MR. BRYANT: Yes, Your Honor, just a few quick
18 questions.
19                      REDIRECT EXAMINATION
20 BY MR. MOCINE-MCQUEEN:
21 Q. Miss Bryant, just a few quick questions here. First of
22 all, I just wanted to confirm, do you receive some of your
23 salary from TARA?
24 A. Yes, a fourth of my annual salary is paid yearly by TARA.
25 Q. And do you receive any other sort of reimbursements or any
                                                       1782
                       JUDY BRYANT - REDIRECT
1 other benefits from TARA itself?
2 A. My expenses for travel are reimbursed by TARA.
3 Q. Okay. And I want to clarify a few questions about the
4 campaign before SB 1 and then following SB 1. Are there ways
5 in which the campaign you ran after SB 1 was different than
6 your communications with your members before SB 1?
7 A. Yes. That campaign was much more extensive than anything
8 we had done before about voting.
9 Q. When you say "more extensive," can you tell me a little
10 bit more about that?
11 A. Well, just like the simple things that I mentioned that we
12 did, we had never gone into such detail with having the
13 emails, the social media things like memes, we had not
14 previously done webinars. Of course, we've just been able to
15 do that during COVID when folks learned about doing that, how
16 to do webinars and things, so, but that did take a lot more
17 time.
18 Q. And before SB 1 how many communications might you have
19 made with your members about applying for an absentee ballot?
20 A. Maybe one or two in January when they are eligible to
21 apply. We would put it on our website, we would have our
22 chapters remind people to do that, and a lot of times have
23 applications for a mail ballot available at meetings for
24 people to take and complete and return.
25 Q. And how many people would have been involved in preparing
                                                         1783
                       JUDY BRYANT - REDIRECT
1 an email, that email before SB 1?
2 A. Probably just two, the president and myself.
3 Q. Okay. And I want to confirm, you talked about the kind of
4 peak period of work that you put in to creating the Step Out
5 of Line campaign and your efforts to help your members
6 navigate, after that peak period, were there any additional
7 time spent between that peak period and the election?
8 A. Yes, from reminder emails and again posting things, that
9 was the first time, and then we're planning to do that again
10 in January and early February in 2024.
11 Q. And do you anticipate you'll have to continue this after
12 2024?
13 A. Yes, because we had be adding new voters each year.
14 Q. And with this being a continuing process, do you
15 anticipate that it will continue to have impact on your
16 efforts around things like COLA, Medicaid, Medicare, social
17 security, WEP, and GPO?
18 A. Yes.
19 Q. And what kind of impact will that have?
20 A. Of just taking, especially since I'm the field organizer,
21 taking my time away to do those things with the president, and
22 sometimes with executive board which meets monthly, but I know
23 we'll be spending more time on those things than normal.
24 Q. And I think I just have one last question, Miss Bryant.
25     In terms of whether you would ask someone if they had a
                                                       1784
                        JUDY BRYANT - REDIRECT
1 ballot, you answered you had not considered that. Why not?
2 A. Because I don't think that would be appropriate to ask
3 someone if they have a ballot. I think it's really none -- I
4 would be invading their privacy, none of my business.
5      And when you're tabling you only have, you know, a minute
6 or so to actually talk with someone, and if you asked them
7 that question, that would turn them off, I would think, and
8 also take up time to give them a flyer about whatever issue
9 you are campaigning on, which this time it would be about the
10 COLA.
11     And as I was doing a presentation at a meeting or
12 whatever, same thing. I think if I said if you have a mail
13 ballot would you please step out, and you know, I can't talk
14 anymore or whatever, I just think that is each person's
15 private business and not for me to ask a question about.
16 Q. And what do you think would be the result, if you were to
17 ask that question at a meeting?
18            MR. BRYANT: Objection. Calls for speculation.
19            THE COURT: Rephrase your question.
20 BY MR. MOCINE-MCQUEEN:
21 Q. Why are you concerned about asking that question at a
22 meeting?
23 A. Because I feel like if I, representing TARA, asked that,
24 that that would probably cause us to never be invited back to
25 that group and would just not be a good thing for TARA, in
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                       ELAINE JONES - DIRECT
1 general, and that's something I'm always concerned about is
2 promoting the integrity of our organization.
3           MR. MOCINE-MCQUEEN: No further questions, Your
4 Honor.
5           THE COURT: Anything else?
6           Anything on this side?
7           MR. BRYANT: No, Your Honor.
8           MR. LIU: No, Your Honor.
9           THE COURT: Thank you, ma'am. You can step down.
10          THE WITNESS: Thank you, sir.
11          THE COURT: Your next witness.
12          MR. MOCINE-MCQUEEN: Your Honor, we next call Miss
13 Elaine Jones. While she's approaching the stand, Miss Jones
14 will be testifying with regards to Section 5.08.
15     (ELAINE JONES, having been duly sworn, testified as
16 follows:)
17                       DIRECT EXAMINATION
18 BY MR. MOCINE-MCQUEEN:
19 Q. And, once again, I'm Marcos Mocine-McQueen with the Elias
20 Law Group on behalf of LULAC plaintiffs.
21     Good morning.
22 A. Good morning.
23 Q. Would you please state your full name for the record?
24 A. Elaine Irene Jones.
25 Q. And, Miss Jones, in what county do you live?
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                          ELAINE JONES - DIRECT
1 A. I live in San Patricio.
2 Q. And how long have you lived in Texas?
3 A. All my life.
4 Q. And, pardon me for asking, Miss Jones, but how old are
5 you?
6 A. Eighty.
7 Q. Do you currently belong to any membership organizations?
8 A. Yes. I belong to two, Texas State Teachers Association,
9 the Retiree Plus group, and Texas Association for Retired
10 Americans.
11 Q. And when you say -- when you refer to the Texas Teachers
12 Association, are you referring to AFT?
13 A. Yes.
14 Q. Is that Texas AFT?
15 A. Yes.
16 Q. And how long have you been a member of Texas AFT?
17 A. I joined Texas AFT, I do not remember the date but it
18 would be some time in the early '90s, and I remained a member
19 the rest of my life.
20 Q. And why did you choose to join Texas AFT?
21 A. Well, when I first started teaching at this particular
22 school I changed school districts and I started teaching at
23 this particular school, there was a representative from Texas
24 AFT that everybody went to for advice, for help, and what to
25 do about this, what to do about that, how to vote, and things
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                        ELAINE JONES - DIRECT
1 like that, and I just sat there and watched for about a year
2 or so and I thought, I don't like depending on one person to
3 give me all this information, I want to be on the inside of it
4 finding out about the information, taking votes on decisions
5 and so on.
6      So I wanted to be more active than just somebody that
7 listened to somebody else that did all the work, so I joined
8 so I could become more active.
9 Q. Can you describe some of the -- not in terrific detail,
10 but just at a high level describe some of the issues that drew
11 your attention?
12 A. Well, things like classroom size. I can't pretend and
13 avoid mentioning salary, but classroom size, salary, there
14 were so many things that happened in our classroom that wasn't
15 decided and I wanted to start voting for the right people and
16 so the school board made decisions about what happened in our
17 classroom, the State legislature made decisions, and even
18 Congress made some decisions that affected us and I wanted to
19 be able to help vote in the people that were favorable for
20 public education and public teachers and other employees in
21 public schools, so I wanted to help.
22 Q. And shifting a little bit, how long have you been a member
23 of TARA, and to make sure we're clear, when I say "TARA," I"m
24 referring to the Texas Alliance of Retired Americans?
25 A. Yes. I was an original founding member in 2006.
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                        ELAINE JONES - DIRECT
1 Q. And why did you join TARA?
2 A. Okay. I was already a member of one retiree group, but
3 the Texas AFT retiree group covered a number of topics, not
4 just for retired teachers, but there was something we felt
5 needed to be done in the regular classroom, we covered that
6 too.
7      For TARA, we covered just the issues of pensions across
8 the board for everybody, not just for us, but the idea of we
9 want our grandchildren to still have pensions. We wanted
10 pensions to be around, social security and Medicare. Those
11 three issues were the main focus of TARA at the time.
12 Q. And can you tell us a little bit about your professional
13 career before you retired?
14 A. Yeah. When I started teaching, I was teaching English for
15 many years. The -- in 1978 I taught a basic programming class
16 in little Robstown High School. I don't know how many of you
17 are familiar with Robstown, but it's a very small town in
18 Texas.
19     And that's 1978. We had our first computer. It had 4K
20 memory and we had cassette tapes for recording and we were
21 just terribly excited over that. And I got permission from
22 TEA to teach a basic programming class, so at one time
23 Robstown was the only school district in the state of Texas
24 that had a computer class and so we were a pilot program.
25     And so they later on adopted a similar program, but so
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                          ELAINE JONES - DIRECT
1 I've been working with computers since 1978 and I've stayed
2 up-to-date as much as possible since then.
3 Q. And outside of teaching at the high school level, have you
4 taught in any other environments?
5 A. Yeah. My last 11 years of teaching I taught advanced
6 academic honors computer programming and C++ programming,
7 which you may have never heard of but it was advanced at the
8 time C++ programming.
9      I was also, for the last something like ten or 11 years, I
10 was teaching night school at the local junior college and I
11 was taking computer science classes there as well.
12 Q. Since retiring from teaching have you done any additional
13 employment work?
14 A. Yes. In 2018 I happened to volunteer for a campaign
15 manager. Usually I volunteered for the Democratic party.
16 This particular time, because of some encouragement, I
17 volunteered for a particular campaign manager and we --
18     (Cell phone interruption)
19     I hope that's not me.
20     -- we end up -- it is me.
21     I did not set a 10:00 a.m. alarm. I promise. This is
22 entirely ghost work.
23     Okay. So I started working for him full time at the end
24 of 218. So since 2018, during campaign seasons, I have worked
25 for -- I'm doing campaign work of various kinds.
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                        ELAINE JONES - DIRECT
1 Q. And, Miss Jones, are you registered to vote in Texas?
2 A. Yes, I am.
3 Q. And how long have you been registered to vote in Texas?
4 A. Again, I can't give you the year but I came from a family
5 that believed in voting, so whether it was my
6 eighteenth birthday or my twenty-seventh birthday, I don't
7 remember which, but whenever it was my birthday I was there to
8 register and been voting ever sense.
9 Q. So would you say that was more than ten years ago?
10 A. At least.
11 Q. Roughly how long ago would you say?
12 A. Sixty years probably.
13 Q. Would you say you're a regular voter?
14 A. Yes.
15 Q. And is it important to you to vote?
16 A. It is very important to me because, as I alluded to a
17 while ago, as teachers we had an expression that we got to
18 elect our bosses. Not very many people are in that position
19 but the school board members made so many decisions that
20 affect us and legislature and Congress, and I mean like I
21 believe I mentioned class size, but today we're even being
22 told what books we can teach and what topics we can teach and
23 electing what we consider to be the proper people is a
24 continuing concern of mine.
25 Q. Okay. I want to shift and to talk a little bit about your
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                         ELAINE JONES - DIRECT
1 more recent voting experiences and in particular I'd like to
2 talk about the elections immediately leading up to the
3 enactment of SB 1, so we'll talk about the general elections
4 in 2016, 2018, and 2020. Did you vote in those elections?
5 A. I did.
6 Q. And by what method did you cast your ballot?
7 A. I voted by mail.
8 Q. And what was that experience like for you?
9 A. Very plain. Very ordinary. No problems.
10 Q. And why did you choose to cast your ballot by mail?
11 A. Well, one of the reasons that appealed to me was just
12 simply the weather in Texas. Sometimes it's unbearably hot to
13 stand in line to -- and our voting centers keep getting kicked
14 back so the lines are longer, but my main concern was starting
15 in 2018 I was working full time during the campaign, during
16 the very time that we would be voting.
17     So for several months before I would be working seven days
18 a week, ten hours a day. So to take off time for voting I
19 would be losing time from work.
20 Q. And would you be paid for the time that you --
21 A. No, I would not.
22 Q. And how far from your workplace is your polling place?
23 A. Okay. I mentioned that I live in San Patricio County. My
24 campaign work is in Nueces County. Now, from one campaign to
25 another, our office space, of course, will move around a
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                        ELAINE JONES - DIRECT
1 little bit, but in general my house is 25 to 30 miles away
2 from where my workplace would be.
3 Q. Okay. I want to shift a little bit now and talk about
4 your voting experiences after -- or actually, before we do
5 that, one more question. You said that you would work the
6 days leading up to the election. How about Election Day?
7 A. Election Day I was still assigned to work, all day.
8 Q. So now I'll shift a little bit to the experience after SB
9 1 was enacted. Are you familiar with the Section a 5.08, and
10 I'll explain, this is the provision of SB 1 which requires
11 people voting by mail to include either their driver's license
12 number --
13 A. I'm familiar with that, yes.
14 Q. -- or social security under the flap of their mail ballot
15 envelope?
16 A. Yes.
17 Q. And why is it that you are familiar with this provision?
18 A. During the legislative session we became aware of the fact
19 that this number regulation, knowing the number that you are
20 supposed to vote with, we became aware of that fact while it
21 was being discussed in the legislature.
22     We did a little campaigning, don't vote for this, so on
23 and so forth, but we were following it before it was ever
24 adopted. So when it was finally adopted, when it was passed,
25 we then started campaigning with our members to educate them
                                                       1793
                         ELAINE JONES - DIRECT
1 about this situation.
2 Q. And who is the "we" that you are referring to there?
3 A. TARA.
4 Q. And did you take any part in this?
5 A. Yes. I viewed webinars, but the webinars contained
6 PowerPoints and which we could download. So we would use the
7 PowerPoints to send out. So I had groups of people that I
8 sent out the PowerPoints to. I texted links to the PowerPoint
9 to them and I even presented in person the PowerPoints to two
10 different groups. So I communicated in every way possible.
11 Q. And in 2022 did you submit an absentee ballot application?
12 A. Yes, I did.
13 Q. And when you submitted that application, did it require
14 you to include an identification number on the application?
15 A. Yes, it did.
16 Q. And did you do so?
17 A. Yes.
18 Q. After receiving your ballot did you submit your absentee
19 ballot, did you return it in that election?
20 A. I did return it.
21 Q. And did you run into any trouble in that process?
22 A. I did. Again, I'm sorry that I don't remember dates all
23 the way through, but I do remember that on a Wednesday I
24 received in the mail notification that my ballot had been
25 rejected, and to refresh memories, that means I was working
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                         ELAINE JONES - DIRECT
1 all that day. So I got home, you know, at 8:00 or so, and so
2 I just got the notification very late Wednesday.
3 Q. And what did that notification tell you?
4 A. Told me I had forgotten about the numbers.
5 Q. And what was your reaction to learning that?
6 A. Humiliated, angry, embarrassed, because I had -- it had
7 been such a focus of mine for weeks and months to notify and
8 for somehow for me to neglect that, it was humiliating.
9 Q. And if you did successfully fill out the application, why
10 was it that you had this difficulty when you were completing
11 your actual ballot?
12 A. I went down the ballot from the top to the bottom and I
13 folded it and mailed it off. I forgot about the numbers being
14 under the flap.
15 Q. Okay. And do you think it's possible that you'll make
16 this mistake again in the future?
17 A. Well, I would have said it was impossible for me to make
18 the mistake the first time, so I'm very hesitant to say that
19 it's impossible for me to make the mistake again. I can be
20 distracted or whatever, but it's just another hurdle.
21 Q. So when you found out your ballot was flagged for possible
22 rejection, what steps did you take?
23 A. Well, when you receive a notification they have a listing
24 of possible ways of what they call curing or correcting your
25 ballot, and the first one on there was using the State's URL
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                        ELAINE JONES - DIRECT
1 to correct it. And I thought, I'm not scared of computers,
2 I'm going to use the computer system, why not?
3      Now, remember, I received it Wednesday and got home, you
4 know, 8:00, so I'm, you know, later at night that I'm doing
5 this. So I did it. Filled out all the forms, thought this is
6 nice. And then I get at the end and there's a button and I
7 don't remember if it said submit or continue or what it says,
8 but, in other words, it's the final button and you click the
9 button and it says page not found.
10     So I'm willing to take the burden on myself and say, oh, I
11 did something wrong, so I tried it again. Same thing. Tried
12 it a third time. Same thing.
13     So I decided, okay, they were not prepared for the number
14 of people that were using it so I'll give them a break that
15 they just weren't prepared. And so the next day, remember I'm
16 working a full day the next day, so I get home, and I once
17 again try three times. Three seems to be my magic number. I
18 tried three times and I keep getting page not found.
19     So I'm left with on Friday, I'm worried about getting it
20 there on Monday. So Friday, I don't go into work. I stay at
21 home. I fill out the paper form. I go to the Post office.
22 Post office says, we can't guarantee we can get it there
23 Monday, you know.
24     Well, the second option was for me to travel personally to
25 the county seat. That's another 30 miles. So I'm in my town.
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                         ELAINE JONES - DIRECT
1 The county seat is 30 miles that way. Where I work is, you
2 know, 25, 30 miles that way, and I keep thinking of there and
3 back and there -- apologize -- going around and I'm going
4 that's a whole lot of time.
5      So I said, okay. I'm going to go over to FedEx. FedEx
6 could guarantee they could get it there by Monday and I
7 decided to do that and I spent $12.50 so I had that piece of
8 mind that it was going to get there in time.
9 Q. And I just want to make sure I understand the timing of
10 this. When you say you got it on Wednesday, what Wednesday
11 that was in relationship to Election Day?
12 A. Okay. It was the week before Election Day.
13 Q. Okay.
14          MR. MOCINE-MCQUEEN: I think that's it for me for
15 now, Miss Bryant.
16          I pass the witness.
17          THE COURT: Anything else?
18          MR. MOCINE-MCQUEEN: I'm sorry. Miss Jones; I
19 apologize.
20          THE WITNESS: Okay.
21          THE COURT: Anything else on this side?
22          Any cross?
23          MR. BERG: Yes, Your Honor.
24          Zachary Berg from the Office of the Attorney General
25 on behalf of the Attorney General and the Secretary of State.
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                        ELAINE JONES - DIRECT
1 BY MR. BERG:
2 Q. Good morning, Miss Jones. Good to see you.
3 A. Good morning.
4 Q. You look well.
5 A. So do you.
6 Q. Thank you; that's very kind.
7      You testified that you're a member of AFT, correct?
8 A. Yes.
9 Q. And you're a member of TARA, correct?
10 A. Yes.
11 Q. And you live in and are registered to vote in Portland,
12 Texas, correct?
13 A. Yes.
14 Q. And you mentioned that's in San Patricio County, correct?
15 A. Yes.
16 Q. And if I represented to you that in July 2022 the Census
17 Bureau estimated San Patricio's population to be just under
18 70,000, would that sound about right?
19 A. I'm not going to disagree with you. You're looking at it;
20 I'm not.
21 Q. You are eligible to vote by mail on the basis of being 65
22 or older, correct?
23 A. Yes.
24 Q. And you're not aware of any other basis on which you would
25 be eligible to vote by mail?
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                       ELAINE JONES - DIRECT
1 A. No.
2 Q. And you've been voting by mail since 2016, correct?
3 A. Yes. To the best of my recollection, yes.
4 Q. And we appreciate you coming up to San Antonio to see us.
5 Did you drive up?
6 A. Yes.
7 Q. And you have no disability that would prevent you from
8 voting in person, correct?
9 A. No disability yet. There's time ahead.
10 Q. But you prefer mail ballot voting, correct?
11 A. Yes.
12 Q. You were involved in AFT's voter education efforts,
13 correct?
14 A. Yes.
15 Q. And one of those things you educated voters on was how to
16 fill out an application for ballot by mail, correct?
17 A. Definitely.
18 Q. And during those trainings you emphasized the part of the
19 application that people forget to fill out, correct?
20 A. Yes, I did.
21 Q. You would agree that you understand mail ballots fairly
22 well?
23 A. I would agree at this moment, yes.
24 Q. You also did voter education for TARA, correct?
25 A. Yes.
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                        ELAINE JONES - DIRECT
1 Q. And that voter education was similar to the education you
2 did for AFT, correct?
3 A. Yes.
4 Q. And that would also include doing voter education for TARA
5 on SB 1, right?
6 A. Yes.
7 Q. And that voter education also dealt with mail ballot
8 voting, correct?
9 A. Yes, sir.
10 Q. And areas a voter might get confused, right?
11 A. Yes.
12 Q. Your chapter of TARA also put on webinars on voting,
13 correct?
14 A. Yes.
15 Q. And you weren't the main speaker but you prepared those
16 speaking on SB 1 and voting?
17 A. Well, there were two instances in which I was the speaker
18 making the presentation, but all the rest of the times the
19 ones online I was just a participant.
20 Q. And sometimes when you were just a participant you would
21 help prepare those speaking on SB 1 and mail ballot voting?
22 A. To some extent, yes.
23 Q. You also met with other women's organizations you were a
24 part of and discussed SB 1, correct?
25 A. Women's organizations? Like what?
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                         ELAINE JONES - DIRECT
1 Q. League of Women Voters.
2 A. I wasn't a member but I certainly would read their
3 publications. I joined League of Women Voters just a few
4 weeks ago.
5 Q. Okay. But did you meet with them and discuss SB 1?
6 A. I cannot honestly say that I met with them. Like I said,
7 I read their publications, but I don't remember meeting with
8 them, no.
9 Q. Would it be helpful to look over your deposition testimony
10 to refresh your recollection?
11 A. If you have some sort of written documentation, I'm not
12 going to disagree with you. But what do you have? A sign in
13 sheet or something?
14           THE COURT: Is this important?
15           MR. BERG: No, I'll move on, Your Honor.
16 BY MR. BERG:
17 Q. And you also testified that you worked for Campaign
18 Services, LLC, correct?
19 A. Yes.
20 Q. And as part of that job you emailed out information on how
21 to vote by mail under SB 1, correct?
22 A. Yes, sir.
23 Q. So you would agree with me that at the time you filled out
24 your ballot, mail ballot for the March 2022 Primary, you were
25 aware of the ID requirement?
                                                       1801
                        ELAINE JONES - DIRECT
1 A. Oh, certainly.
2 Q. And, in fact, you educated others on the ID requirement,
3 correct?
4 A. Certainly.
5 Q. I believe when you were speaking with counsel you
6 testified that when you filled out your application for ballot
7 by mail in 2022, you did put down your ID numbers, correct?
8 A. Yes.
9 Q. But your application was initially rejected anyway,
10 correct?
11 A. Yes, it was.
12 Q. And when you were filling out the application, you were
13 particularly focused on making sure you didn't forget your
14 signature, right?
15 A. Yes.
16 Q. And because you were so focused on that, you forgot to
17 indicate that you were eligible to vote by mail on the basis
18 of being 65 or older?
19 A. Yes. I didn't consider that had anything to do with our
20 process here since it's not number oriented, but, yes, you're
21 right.
22 Q. And after you found out your application had been
23 rejected, you drove a replacement application to the elections
24 office, correct?
25 A. For that particular one, I honestly don't remember how I
                                                       1802
                        ELAINE JONES - DIRECT
1 corrected. I think I probably drove it, but that was earlier
2 in the campaign and I didn't feel like I was being neglectful
3 of my job at the time.
4 Q. If you don't remember driving, would you like me to bring
5 up the deposition to refresh your recollection?
6 A. I do not remember how I corrected that particular problem,
7 don't remember at all, but --
8 Q. Brian, would you please bring up Miss Jones' deposition.
9 Thank you.
10 A. Oh, okay.
11 Q. Would you just review?
12 A. Okay. I see it. Yeah; I'm refreshed.
13 Q. Let me ask that question again. So after you found out
14 your application had been rejected, you drove a replacement
15 application to the elections office, correct?
16 A. Yes. Drove it to the window so they would approve. I do
17 remember that now.
18 Q. And they accepted your application?
19 A. Yes.
20 Q. And I believe you also testified that they were very fine
21 people, right?
22 A. Yes. At the time.
23 Q. Now, the signature requirement was not created by SB 1,
24 correct?
25 A. Say again.
                                                       1803
                        ELAINE JONES - DIRECT
1 Q. The signature requirements for the application by ballot
2 by mail that you were focused on wasn't created by SB 1,
3 correct?
4 A. Right.
5 Q. And the box on the application to indicate your reason for
6 voting by mail, that you inadvertently forgot --
7 A. Right. I was concentrating on the numbers.
8 Q. So the box to indicate your reason, that wasn't
9 implemented by SB 1, correct?
10 A. I don't believe it was. I think it's always been there.
11 Q. Would you agree that sometimes people just forget to fill
12 out part of the ballot?
13 A. Obviously. I'm a case in point.
14 Q. Let's talk about the March 2022 ballot, primary ballot.
15 You testified that you did not put the ID numbers on your
16 ballot, correct?
17 A. Yes.
18 Q. And I believe you also testified that you were aware that
19 the ID numbers had to go under the flap of the carrier
20 envelope, correct?
21 A. I was aware of it moments before I needed to do it.
22 Q. And you've already testified today that you were upset
23 when you found out why it had been rejected, correct?
24 A. Right.
25 Q. And when we met previously I believe you said you pounded
                                                        1804
                         ELAINE JONES - DIRECT
1 yourself on the head, correct, and you did the motion, right?
2 A. Quite likely, yes.
3 Q. And the reason you were upset was because you were aware
4 of the ID requirement?
5 A. Of course.
6 Q. And you were aware of the ID requirement because of all
7 the trainings you had done for AFT and TARA, right?
8 A. Yes.
9 Q. And the county sent you a replacement ballot that you
10 could have filed and mailed in, correct?
11 A. Yes, if I felt safe with the amount of time.
12 Q. But you instead tried to use the Ballot Tracker and were
13 unsuccessful?
14 A. Yes. Not the Ballot Tracker, the ballot correction.
15 Q. Ballot correction. And when your application for ballot
16 by mail was rejected, you drove the replacement to the
17 elections office, correct?
18 A. Which one are you talking about now?
19 Q. The application.
20 A. Yeah, the application, yes. Yes, because that was earlier
21 in the campaign.
22 Q. So, theoretically, you could have gone to either carry
23 your ballot in person or vote in person, correct?
24 A. Theoretically, yes, but my duties at my job had changed
25 from that moment to, you know, the original time to the time
                                                       1805
                        ELAINE JONES - DIRECT
1 of the actual ballot, the amount of jobs I had to perform and
2 people I was responsible for had changed so I was feeling a
3 little more duty-bound to my office.
4 Q. So you testified that you received the notice of rejection
5 on the Wednesday and you had to have your replacement ballot
6 in by the next Monday, is that right?
7 A. Yes, it was my imposed deadline.
8 Q. And I believe you testified that you were working some of
9 the days in between that Wednesday and that Monday, right?
10 A. Yeah, I was working seven days a week by that point.
11 Q. Are you aware that the election code guarantees voters two
12 hours off work, either on Election Day, or while early voting
13 is in progress?
14 A. I was aware of that, but that was something that we took
15 advantage of in situations like being teachers and so on, and
16 not so much with myself as a contract laborer. It never
17 crossed my mind at that time. I felt like I was in a
18 different employment world than as was in at other times.
19 Q. So would it be fair to say that you were aware of that in
20 the election code but you didn't feel comfortable doing it?
21 A. It was not in my mind at all during that time. I knew
22 historically, yes, but it was not in my mind at that time so
23 it's not something I chose to ignore. Just never thought of
24 it.
25 Q. Your ballot for the March 2022 Primary arrived on time to
                                                       1806
                         ELAINE JONES - DIRECT
1 be counted, correct?
2 A. Yes.
3 Q. And you know that because you tracked it on the Secretary
4 of State's Ballot Tracker, correct?
5 A. Yes. And I did have a little trouble with that but it
6 took a little longer and I did found out that, yes, my ballot
7 had been counted. Wasn't as quick an acknowledgment as I
8 would have wished for.
9 Q. But you were able to figure out --
10 A. Yes.
11 Q. -- because of your experience with computers?
12 A. Yes. Yes. I learned to be patient.
13 Q. So your Primary vote was counted, right, and then you
14 voted by mail in the May 7th, 2022 Constitutional Election,
15 right?
16 A. Yes.
17 Q. And that ballot was accepted, correct?
18 A. Yes.
19 Q. You also voted by mail ballot for the May 24th, 2022
20 Run-off Election, correct?
21 A. Yes.
22 Q. And that ballot was also accepted?
23 A. Yes. I only trip up once in a while, but I can trip up
24 again.
25 Q. You voted by mail ballot in the November 2022 General?
                                                      1807
                        ELAINE JONES - DIRECT
1 A. I did.
2 Q. And that ballot was accepted, right?
3 A. It was.
4 Q. You also have voted by mail ballot in 2023, right?
5 A. 2023? What, March, or --
6 Q. Let me clarify.
7 A. Yeah; let's clarify.
8 Q. You voted by mail ballot in the May 6, 2023 city council
9 and school board bond election, correct?
10 A. Yes.
11 Q. And that ballot was accepted, right?
12 A. Yes.
13 Q. Miss Jones, you have not been criminally charged with
14 violating SB 1, correct?
15 A. No.
16 Q. And you have not been assessed a civil penalty for
17 violating SB 1, correct?
18 A. I have not.
19           MR. BERG: Thank you for your time.
20           Pass the witness.
21           THE COURT: Anything else on this side?
22           MR. LIU: No questions.
23           THE COURT: Any further redirect?
24           MR. MOCINE-MCQUEEN: No, Your Honor. Thank you.
25           THE COURT: Miss Jones, you may step down. Thank
                                                       1808
                        ALICE PENROD - DIRECT
1 you, ma'am.
2            Let's take a 10- or 15-minute break.
3      (Recess)
4            THE COURT: Your next witness.
5            MISS LORENZO: LULAC plaintiffs call Alice Penrod to
6 the stand. Miss Penrod is here testifying as an injured
7 member and a voter of AFT. She will provide support for the
8 LULAC plaintiffs challenges to SB 1 Section 5.08.
9      (ALICE PENROD, having been duly sworn, testified as
10 follows:)
11                        DIRECT EXAMINATION
12 BY MISS LORENZO:
13 Q. Good morning, Miss Penrod. Could you please state your
14 full name for the record.
15 A. Alice Lee Penrod.
16 Q. And where do you live?
17 A. I live in San Antonio.
18 Q. San Antonio, in Bexar County?
19 A. Yes, ma'am.
20 Q. How long have you lived in San Antonio?
21 A. Since -- well, over 20 years but recently moved back
22 April 2018.
23 Q. Have you lived in Texas your whole life?
24 A. Yes.
25 Q. And how old are you, Miss Penrod?
                                                       1809
                        ALICE PENROD - DIRECT
1 A. Sixty-seven.
2 Q. Who do you live with in San Antonio?
3 A. I live with my husband and my mother.
4 Q. How old is your mom?
5 A. She's 92.
6 Q. How long has she lived with you?
7 A. Since July of 2019.
8 Q. Are you then her primary caretaker?
9 A. Yes.
10 Q. What does that look like?
11 A. Well, she doesn't drive anymore so I take her to all of
12 her appointments, and, you know, do anything she needs me to
13 do for her.
14 Q. Does she have any issues moving around, or anything like
15 that?
16 A. Yes. She is unable to stand for long periods of time so
17 our outings are pretty short but she still likes to go.
18 Q. And you also said you live with your husband. How old is
19 he?
20 A. He's 70.
21 Q. How long have you two been married?
22 A. Almost 27 years November.
23 Q. Congratulations on that. Are you retired, Miss Penrod?
24 A. Yes.
25 Q. When did you retire?
                                                          1810
                        ALICE PENROD - DIRECT
1 A. Retired in June of 2011.
2 Q. What did you do before you retired?
3 A. I was a public school teacher.
4 Q. What did you teach?
5 A. I have taught kinder, first, fourth, and sixth grade.
6 Q. What is the reason that you became a teacher?
7 A. Well, I've always enjoyed working with children from an
8 early age and in high school I taught Sunday school, I was a
9 camp counselor, those types of things, so it was just a
10 natural desire to be a teacher.
11 Q. You mentioned that you are retired, but are you a member
12 of any organizations?
13 A. Yes, I'm a member of AFT.
14 Q. AFT stands for the Texas chapter of the American
15 Federation for Teachers, correct?
16 A. Yes.
17 Q. How long have you been a member of AFT?
18 A. Since 2005.
19 Q. What made you get involved with AFT?
20 A. Well, when I first started teaching I taught here in San
21 Antonio and I was a member of NEA National Education
22 Association. We moved to the Rio Grande Valley and when I
23 started teaching there they did not have NEA so I joined AFT
24 there.
25 Q. And NEA and AFT are both -- are they unions?
                                                       1811
                         ALICE PENROD - DIRECT
1 A. Yes.
2 Q. Why did you feel it was important to join both of those
3 unions?
4 A. I feel that they are good advocates for teachers. You
5 know, we, as teachers, are pretty busy teaching and don't have
6 a lot of time to advocate for things like, you know, classroom
7 size, duty-free lunch, things like that, and so it's very
8 helpful to have a union that can advocate for those types was
9 things.
10 Q. Thank you. I'd like to talk to you now a bit more about
11 your experiences with voting. Are you registered to vote in
12 Texas?
13 A. Yes.
14 Q. How long have you been voting in Texas?
15 A. Since 1974.
16 Q. Is that when you turned 18?
17 A. Yes.
18 Q. Do you vote regularly?
19 A. I do.
20 Q. Would you say that voting is important to you?
21 A. Yes. I think it's my civic duty, so I've always voted as
22 soon as I was able.
23 Q. Did you vote during the March 2022 Primary?
24 A. I did.
25 Q. How did you vote during that Primary?
                                                       1812
                        ALICE PENROD - DIRECT
1 A. I voted by mail.
2 Q. Was that your first time voting by mail, or --
3 A. Yes. It was my first time because I was finally eligible
4 by age to vote by mail.
5 Q. So is that the only reason that you decided to vote by
6 mail that election?
7 A. No. We were just coming out of the pandemic. My mother
8 was 90 at the time. We tried to limit exposure outside the
9 home for her as much as possible so we all discussed it and we
10 were all eligible as a family. We thought it would just be
11 the better part of valor to easily vote by mail, we thought.
12 Q. I was going to ask. As someone who had never voted by
13 mail before, what did you expect that experience to be like?
14 A. I thought it would be very straightforward and easy. You
15 know, we applied for the mail-in ballots and we received them,
16 filled them out, I took them to the post office, stamped,
17 mailed, but turned out to not be that straightforward.
18 Q. And why not?
19 A. A couple of weeks later I received a letter, form letter,
20 stating that my ballot had not been accepted. It told me I
21 could go online to a website, state website, and fix the
22 problem on the ballot. So that's what I did.
23 Q. Now, do you know why your ballot was rejected?
24 A. Yes. I failed to put my driver's license or my social
25 security number on the carrier envelope under the flap.
                                                       1813
                        ALICE PENROD - DIRECT
1 Q. And you alluded to this, but in order to receive your mail
2 ballot you had to apply to vote by mail, is that correct?
3 A. Yes.
4 Q. Do you remember when you applied to vote by mail?
5 A. I'm sure -- I don't remember exactly, but I think it was
6 probably at least a month before the election.
7 Q. And did you have any issues with your application?
8 A. No.
9 Q. And turning back to your 2022 Primary ballot, when did you
10 learn that your ballot had been rejected?
11 A. About two weeks after I mailed it.
12 Q. And you said you were notified with a letter, is that
13 correct?
14 A. Yes.
15 Q. How did you feel when you learned that your ballot had
16 been rejected?
17 A. I was pretty mad. I was horrified that my vote had not
18 counted, and, you know, this was supposed to be a very secure,
19 easy way to vote. And it was not.
20 Q. What did you do once you learned that your ballot had been
21 rejected?
22 A. I went online to hopefully make the corrections that
23 needed to happen.
24 Q. Were you ultimately able to cure your ballot?
25 A. Yes. I had to keep checking back. I would say about two
                                                      1814
                       ALICE PENROD - DIRECT
1 weeks before it was finally noted on the screen that it was
2 finally accepted.
3 Q. How did you feel about the whole process of updating your
4 ballot online?
5 A. I was a little frustrated. I wasn't sure -- you know,
6 after I actually went online and made the corrections, it
7 didn't immediately tell me that my ballot was accepted so I
8 had to wait some more and I didn't know if it was ever going
9 to be accepted. So that was a little frustrating.
10 Q. Was your ballot the only ballot in your household that was
11 rejected?
12 A. No. My husband's was rejected as well.
13 Q. Was that also your husband's first time voting by mail?
14 A. Yes.
15 Q. Did he have any issues with his application to vote by
16 mail?
17 A. No.
18 Q. Now, Miss Penrod, did you vote again after your experience
19 in the March 2022 Primary?
20 A. I did.
21 Q. In which election?
22 A. I think there was a Run-off in May.
23 Q. Did you vote in the November 2022 --
24 A. I voted in the November General Election as well.
25 Q. For the November General Election did you vote by mail?
                                                       1815
                        ALICE PENROD - DIRECT
1 A. No.
2 Q. Why not?
3 A. I just didn't trust it. I made sure that I got to the
4 polling place.
5 Q. Did your mom go with you to the polling place?
6 A. Yes. We had discussed it as a family. We were all pretty
7 taken aback as to, you know, being -- ballot not being
8 automatically accepted and obviously we had made mistakes so
9 we decided as a family to go to the polling place.
10 Q. And what was that experience like?
11 A. Well, it was in November. It was raining. We decided to
12 go to early voting because our polling place is usually pretty
13 crowded. It's a very popular polling place. So we didn't
14 want my mom to have to stand in line very long, if possible.
15     We got up early. Went as early as we could. You know,
16 right before it opened. As I said, it was raining, so we took
17 our umbrellas. The line wasn't too long. We took a folding
18 chair in the car just in case my mom needed to sit down, you
19 know, if the line was long.
20     So we were fortunate, while standing in line, that a poll
21 worker did come out, walked the line, and saw my mother with
22 her cane and took her on in so she didn't have to stand in
23 line very long.
24 Q. Did you and your husband wait in line then?
25 A. Yes, we waited in line.
                                                       1816
                         ALICE PENROD - CROSS
1 Q. Did you have any delays in casting your ballot?
2 A. Yes. We didn't realize that because we had voted in the
3 Primary by mail they automatically send us a ballot in the
4 mail for the General Election, and we didn't realize we needed
5 to take that with us to the polling place.
6      So we were pulled aside and one of the poll workers called
7 the Clerk's Office to make sure that it was negated or
8 whatever they needed to do to make sure we could go ahead and
9 vote while we were there.
10 Q. Understood. Miss Penrod, would it have been overall less
11 burdensome for you and your family if you had voted by mail?
12 A. Definitely, yes.
13 Q. But given the current requirements to vote by mail, do you
14 think you'll ever feel comfortable voting by mail again?
15 A. I don't think so. As long as I'm able, I think I'm going
16 to go to the polls.
17          MISS LORENZO: Thank you, Miss Penrod.
18          I pass the witness.
19          THE COURT: Anything else on this side?
20          Any cross?
21          MR. SZUMANSKI: Yes, Your Honor.
22                        CROSS-EXAMINATION
23 BY MR. SZUMANSKI:
24 Q. Good morning, Miss Penrod.
25 A. Good morning.
                                                          1817
                        ALICE PENROD - CROSS
1 Q. Good to see you. My name is Ethan Szumanski and I'm an
2 attorney with the Office of Attorney General in Texas. I
3 represent the State of Texas, the Secretary of State's Office
4 and the Attorney General's Office.
5      Before I start, I do want to thank you for your service as
6 a teacher. My brother is an elementary teacher, so I thank
7 you for your service to those kids.
8      Now, I do want to talk about a few topics, okay?
9 A. Okay.
10 Q. So as you mentioned on direct, you believe that voting is
11 important, right?
12 A. Yes.
13 Q. Now, you don't disagree with all voting requirements,
14 right?
15 A. No, I don't disagree with all voting requirements.
16 Q. Right. And you believe that a voter should be able to
17 show that they are otherwise eligible to vote in order to
18 engage in that voting process, right?
19 A. Yes.
20 Q. Such as through presenting some form of identification,
21 right?
22 A. Yes.
23 Q. Now, you talked about two different elections, the
24 March 2022 Primary -- actually, you talked about several, I
25 believe, some elections in 2022, right?
                                                       1818
                         ALICE PENROD - CROSS
1 A. Yes.
2 Q. Well, let's go through some of those. We'll take them one
3 by one. So the March 2022 Primary. You decided to vote by
4 mail for the first time in March 2022?
5 A. That's correct.
6 Q. And to do that you went online and you got an application
7 for ballot by mail?
8 A. Yes.
9 Q. You printed it out, you filled it out, and you sent it
10 back in?
11 A. I did.
12 Q. And after you did that, you got your mail ballot?
13 A. Yes.
14 Q. And just like you did with the application, you filled out
15 your mail ballot and sent that back in?
16 A. Yes.
17 Q. And then you got a letter notifying you that it was
18 initially rejected?
19 A. Yes.
20 Q. Now, you don't actually know why your mail ballot was
21 initially rejected, right?
22 A. I do. I do know.
23 Q. Has that always been your testimony?
24 A. No. I didn't know at the time but I have found out since
25 that I failed to put either my driver's license or my social
                                                       1819
                         ALICE PENROD - CROSS
1 security number on the carrier envelope.
2 Q. So you just recently found out why your mail ballot was
3 rejected?
4 A. Yes.
5 Q. Okay. Well, you would agree with me that when you found
6 out your mail ballot was initially rejected you got a letter
7 notifying you about how to cure that mail ballot, right?
8 A. That's correct.
9 Q. And you are aware that SB 1 created a provision that
10 allowed this texasvote.org or Ballot Tracker, where you could
11 go online and cure your ballot, right?
12 A. I didn't know that that law created that but I was able to
13 use it.
14 Q. And so you were able to go to texasvote.org and cure your
15 mail ballot?
16 A. Yes.
17 Q. So you would agree with me that you were ultimately able
18 to vote successfully by mail during the March 2022 Primary?
19 A. Yes, eventually.
20 Q. Now, you also voted in subsequent elections in 2022, such
21 as the May Primary Run-off?
22 A. Yes.
23 Q. Okay. Let's talk about those. You voted in person for
24 those elections?
25 A. Yes.
                                                       1820
                        ALICE PENROD - CROSS
1 Q. And you didn't have any issues voting in person for those
2 May 2022 elections?
3 A. No.
4 Q. Okay. Then you voted in person for the November 2022
5 General Election?
6 A. Yes.
7 Q. And, as you mentioned on direct, you took your mom and
8 your husband with you to the polls for the November 2022
9 Election?
10 A. Right.
11 Q. Now, when you got to the polls, you were notified that you
12 did not bring your mail-in ballot to the polls?
13 A. Yes, that's correct.
14 Q. So what happened after that was they had to make a few
15 calls and see if you could vote in person at the polling
16 location, right?
17 A. Yes.
18 Q. After they made those calls, they handed you a physical
19 ballot, right?
20 A. That's correct.
21 Q. And then you voted in person?
22 A. Yes.
23 Q. So it's fair to say that you were ultimately able to vote
24 successfully during the November 2022 General Election?
25 A. Yes. Eventually, yes.
                                                       1821
                        ALICE PENROD - CROSS
1            MR. SZUMANSKI: Thank you, Miss Penrod, for your
2 time. I appreciate it. And again, thank you for your
3 service.
4            No further questions at this time.
5            THE COURT: Anything else on this side?
6            MR. LIU: No questions.
7            THE COURT: Anything else?
8            MISS LORENZO: No further questions, Your Honor.
9            THE COURT: Thank you, ma'am. You may step down.
10           And your next witness.
11           MISS TULIN: Your Honor, the plaintiffs call
12 Christina Adkins.
13           THE COURT: This will be on what issues?
14           MISS TULIN: Your Honor, the LUPE plaintiffs will
15 be -- will elicit testimony from Miss Adkins that will support
16 all of the claims in this case. I also expect that some of my
17 friends on this side will have additional questions after I
18 pass the witness.
19           THE COURT: Miss Adkins.
20           MISS TULIN: Your Honor, I request permission to ask
21 leading questions under Federal Rule of Evidence 611(c)(2)
22 because Miss Adkins is a witness identified with an adverse
23 party.
24           THE COURT: Any response?
25           MISS HUNKER: No objection.
                                                       1822
                      CHRISTINA ADKINS - DIRECT
1           THE COURT: You may proceed.
2      (CHRISTINA ADKINS, having been duly sworn, testified as
3 follows:)
4                        DIRECT EXAMINATION
5 BY MISS TULIN:
6 Q. Good morning, Miss Adkins.
7 A. Good morning.
8 Q. Can you please state your full name for the record?
9 A. Yes. My name is Christina Worrell Adkins.
10 Q. Thank you. Let's start with some background information.
11 You earned an undergraduate degree from the University of
12 Texas at Austin, right?
13 A. That's correct.
14 Q. And then you went to SMU, Southern Methodist University,
15 for law school?
16 A. That's correct.
17 Q. My grandmother wanted me to go there for law school.
18     After law school, you did some contract work and then you
19 worked at the Texas Workforce Commission?
20 A. I did.
21 Q. And then you began working for the Elections Division in
22 the Texas Secretary of State's Office in June of 2012, is that
23 right?
24 A. That's correct.
25 Q. At first you ran the certification program for voting
                                                       1823
                      CHRISTINA ADKINS - DIRECT
1 systems?
2 A. When I first started with the Secretary of State's Office,
3 I was an attorney in the Elections Division, a staff attorney,
4 and one of the duties that I did there, or one of my duties at
5 the time was to oversee the certification program for
6 electronic voting system equipment.
7 Q. Thank you for clarifying that. And in December of 2017
8 you became the legal director of the Elections Division, is
9 that correct?
10 A. That's correct.
11 Q. As the legal director for the Elections Division, you
12 oversaw the division's legal staff?
13 A. Yes.
14 Q. And in early March of 2023 you became the Acting Director
15 of Elections?
16 A. That's correct.
17 Q. And on April 26, 2023 you were officially named Director
18 of Elections?
19 A. I was.
20 Q. Congratulations. The Director of Elections oversees the
21 entire Elections Division for the Secretary of State's Office,
22 is that right?
23 A. That's correct.
24 Q. And in your role of Director of Elections, you report to
25 the Deputy Secretary of State?
                                                       1824
                      CHRISTINA ADKINS - DIRECT
1 A. That's correct.
2 Q. And then beyond that you report directly to the Secretary
3 of State, Jane Nelson?
4 A. Yes.
5 Q. And during the period of time that you served as the
6 acting Director of Elections, the Legal Director position
7 remained unfilled, is that right?
8 A. That's correct.
9 Q. And so during that time you were fulfilling the roles of
10 both the Director of Elections and the Legal Director?
11 A. Yes, I was.
12 Q. Before you took over as Acting Director, the Director of
13 Elections was Keith Ingram?
14 A. That's correct.
15 Q. And you took over as Acting Director after Mr. Ingram was
16 relieved of his duties?
17 A. That's correct.
18 Q. When you were legal director Keith Ingram was your direct
19 supervisor, is that right?
20 A. That's right.
21 Q. And Mr. Ingram still works for the Secretary of State's
22 Office doing special projects?
23 A. He does not.
24 Q. When did he leave the Secretary of State's Office?
25 A. His -- the end of his employment was, I believe, the end
                                                       1825
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1 of August, August 31st I think was his last day officially
2 with the State.
3 Q. Okay. For a period of time after he was relieved of his
4 duties and you took over as the Director of Elections, though,
5 he did work for the Secretary of State's Office?
6 A. That's correct, yes.
7 Q. And during that time he was doing special projects?
8 A. That's correct.
9 Q. Okay. And for that period of time he reported directly to
10 you?
11 A. Yes.
12 Q. Okay. Thank you. Let's zoom out for a moment and talk
13 about the Office of the Texas Secretary of State. The Texas
14 Secretary of State is one of six officials named in the Texas
15 Constitution forming the executive department of the State, is
16 that right?
17 A. Yes, ma'am.
18 Q. And the Secretary of State is appointed by the governor of
19 Texas and confirmed by the Texas Senate?
20 A. Correct.
21 Q. Among other things, the Secretary of State is the Chief
22 Election Officer for the State of Texas?
23 A. That's correct.
24 Q. And the Elections Division is responsible for
25 administering the Texas Election Code, correct?
                                                        1826
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1 A. Among other things, yes.
2 Q. And the Texas Election Code is the law of the land for
3 Texas voters, elections, voting systems, candidates, and
4 political parties?
5 A. I would say the election code in conjunction with a number
6 of other laws that also address election-related issues, may
7 not be found in the election code but do speak to elections.
8 Q. Okay. And will you believe me if I say that I took that
9 language from the Texas Secretary of State's website?
10 A. Sure, yes.
11 Q. The Elections Division maintains more than 16 million
12 voter registration records on behalf of the State?
13 A. That's correct.
14 Q. And the division also provides election-related calendars?
15 A. Yes.
16 Q. And that entails explaining all the relevant dates and
17 deadlines and requirements leading up to uniform election
18 dates, right?
19 A. Yes, and the Primary Election.
20 Q. And the division also handles Primary Election funding?
21 A. Yes.
22 Q. You agree that the Elections Division provides general
23 support to the election community in Texas?
24 A. Absolutely.
25 Q. And that includes providing assistance and advice to
                                                       1827
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1 election officials on the proper conduct of elections?
2 A. As much as we can, yes.
3 Q. But elections in Texas are run by the counties, not the
4 State, correct?
5 A. That's correct.
6 Q. Okay. The Elections Division, though, is charged with
7 maintaining and obtaining uniformity in the administration of
8 elections and the laws relating to elections in Texas, right?
9 A. Correct, and that's straight from the Texas Election Code.
10 Q. And conducting elections uniformly across the state is
11 meant to protect voters?
12 A. Yes.
13 Q. But it's also important for counties to retain local
14 control of elections?
15 A. Yes, that's the way our system is set up.
16 Q. Because what works in Harris County may not work in Loving
17 County?
18 A. Absolutely.
19 Q. The Elections Division, though, does provide guidance to
20 counties on best practices?
21 A. Yes.
22 Q. Okay. Let's focus a little bit more on the advice and
23 assistance that you provide to election officials. The
24 division provides legal interpretations of election laws to
25 election officials, right?
                                                       1828
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1 A. Yes, when appropriate.
2 Q. And sometimes the division issues formal legal opinions?
3 A. Rarely do we issue legal opinions. It's been a practice
4 that's done in the past. Not so much today.
5 Q. It used to happen more frequently?
6 A. Correct.
7 Q. But it's only happened once or twice since you've been at
8 the Secretary of State's Office, right?
9 A. That's correct.
10 Q. The Elections Division also sometimes issues election
11 advisories?
12 A. Yes. We do that much more frequently.
13 Q. And your advisories are disseminated in emails to county
14 officials through an email distribution list?
15 A. Yes, and posted on our website.
16 Q. You anticipated my next question.
17     For example, your office issued an election advisory about
18 the changes to the poll watcher provisions contained in SB 1,
19 do you recall that?
20 A. Yes.
21 Q. Okay. Let's take a look at what has been admitted as LUPE
22 232. And this will appear on your screen but I do have a
23 binder, if you would like to have hard copies. Just let me
24 know.
25 A. The screen is fine.
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1 Q. Okay. And so this is an advisory that was issued by your
2 office in February of 2022, correct?
3 A. It appears to be, yes.
4 Q. And do you know, is this the version that would be posted
5 on your website?
6 A. It should be.
7 Q. And this was also disseminated to county officials via
8 email, correct?
9 A. That's correct.
10 Q. And you decided to issue an advisory about this in
11 particular because of the number of questions that your office
12 was receiving about the new poll watcher provisions, do you
13 agree with that?
14 A. I would agree that that's part of why we decided to issue
15 it.
16 Q. Okay. The division also offers more informal advice and
17 assistance to election officials?
18 A. That's correct.
19 Q. Sometimes that happens through email?
20 A. Yes.
21 Q. And sometimes through phone calls?
22 A. Correct.
23 Q. Okay. Let's now -- Derek, you can pull that one down and
24 let's pull up what has been marked as State 143, please.
25       And I'll give you a minute, Miss Adkins, to look at this
                                                       1830
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1 email. It's two pages.
2 A. May I see the second page. And can we scroll back up to
3 on the top again, please. Okay.
4 Q. Thank you, Derek.
5      So this is an email chain between Charles Pinney and
6 Daniel Hayes, correct?
7 A. That's correct.
8 Q. And Mr. Pinney was an attorney in the Elections Division,
9 is that correct?
10 A. Yes. He's currently an attorney with the Elections
11 Division.
12 Q. And he was also an attorney at the time of this email in
13 September of 2020?
14 A. Yes.
15 Q. And you supervised Mr. Pinney at this time, correct?
16 A. Yes.
17 Q. And at the time of this email exchange, Dan Hayes was the
18 Assistant Director of the Travis County Clerk's Office?
19 A. Assistant Director for Elections, yes.
20 Q. Thank you. And at the bottom of the first page, if you
21 can take a look, Mr. Hayes references a phone conversation
22 between himself and Mr. Pinney, do you see that?
23 A. I do.
24 Q. And then the top of this email is a response from
25 Mr. Pinney?
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1 A. I see that.
2 Q. And so this is an example of the Elections Division
3 providing advice and assistance to a county election official,
4 correct?
5 A. I would agree with that.
6 Q. Okay. Great. We can take that down.
7      So shifting gears away from your office's work with
8 election officials for a moment, the Elections Division also
9 offers advice and assistance to political candidates?
10 A. Yes, among others.
11 Q. You also provide advice and assistance to voters?
12 A. We do.
13 Q. Or anyone else who reaches out to the division?
14 A. That's correct.
15 Q. The Elections Division has no set policy for determining
16 how to respond to fact-specific questions from voters, is that
17 fair?
18 A. That's correct.
19 Q. And the Elections Division has no set policy for
20 determining how to respond to questions regarding how to
21 interpret or apply specific provisions of law?
22 A. I think it depends on the specific issue. There may be
23 times where we have particular issues that are arising and we
24 may want to make sure we have a more uniform response, and so
25 depending on the particular issue we may request that certain
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1 inquiries be presented to us in writing, or that they, you
2 know, provide us some additional facts before we can issue a
3 response.
4 Q. Can we agree that there's not a formal process?
5 A. I think I can agree with that.
6 Q. So sometimes an attorney from your division will just
7 answer the question directly?
8 A. Yes.
9 Q. And sometimes you convene and discuss as a group?
10 A. That's correct.
11 Q. And sometimes administrative staff reviews in response to
12 voter inquiries?
13 A. Yes, when they are routine inquiries where we typically
14 discussed a response or just are providing information that's
15 available on our website or publicly available information.
16 Q. And the Elections Division also reviews and responds to
17 election complaints, right?
18 A. That's correct.
19 Q. And that means anytime someone doesn't like something with
20 an election they can email or fill out a complaint form?
21 A. That's correct.
22 Q. And whenever you get a complaint, you take a look at it
23 and you respond?
24 A. Yes. There is a process within the division by which we
25 review complaints and determine how we respond to them.
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1 Q. And at least when Mr. Ingram was the Director of Elections
2 that process was the complaints would go to him and he would
3 indicate what the disposition should be?
4 A. That's correct.
5 Q. And the election code criminalizes certain acts, right?
6 A. Yes. There are some criminal -- there are provisions that
7 have criminal elements to them, yes.
8 Q. And the code also addresses what the Elections Division
9 calls irregularities, which are deviations from the law but
10 not criminal?
11 A. That's correct.
12 Q. And you would agree that most of the complaints that the
13 office receives are about irregularities, as opposed to
14 criminal conduct?
15 A. Absolutely, yes.
16 Q. But your office doesn't track or log complaints, is that
17 right?
18 A. If it's a formal complaint submitted to us in one of our
19 complaint forms, then we do track and monitor and log our
20 responses to that. We may get general inquiries, phone calls,
21 where people are making allegations, emails, if it's an email
22 and there is a response, we will retain that response.
23     It depends on how formalized that complaint is.
24 Q. But if you just get a call, you're not logging calls?
25 A. That's correct. Our call volume in general is just too
                                                       1834
                      CHRISTINA ADKINS - DIRECT
1 high in order to log calls.
2 Q. Okay. Let's talk briefly about forms.
3 A. Wonderful.
4 Q. I thought you might be excited about that.
5      Chapter 31 in the election code says that the Secretary of
6 State is responsible for prescribing official forms, correct?
7 A. It definitely says that.
8 Q. And SB 1 includes specific requirements about what
9 language must be on some of those forms, would you agree with
10 that?
11 A. I believe so. There's other provisions in the election
12 code that speak to that as well.
13 Q. And you agree that some of those provisions require a lot
14 of information to be included on forms, right?
15 A. Absolutely.
16 Q. And sometimes you solicit feedback from county election
17 officials about forms, is that right?
18 A. Fairly regularly, yes.
19 Q. Okay. And one of the ways that historically you have
20 gotten that type of feedback is through the CEO Advisory
21 Group, is that right?
22 A. That's correct.
23 Q. And the CEO Advisory Group is a group of election
24 officials that meets on a regular basis to discuss the needs
25 of the election community?
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1 A. That's correct. Specifically county election officials.
2 Q. And the group was formed in response to the COVID-19
3 pandemic?
4 A. Yes, it was.
5 Q. And it was your idea to form that group, right?
6 A. It was.
7 Q. And you were also the person who initially decided which
8 county should participate in that group, right?
9 A. Yes, in conjunction with, you know, other folks in my
10 office with, you know, discussions we had with other people.
11 Q. Okay. Let's take a look at what has been marked as LUPE
12 292. And, again, if you would like a hard copy to flip
13 through, this one is a sort of lengthy email.
14 A. Um-hum.
15 Q. So actually maybe I will --
16          MISS TULIN: Your Honor, may I approach the witness?
17          THE COURT: You may.
18 BY MISS TULIN:
19 Q. Just for ease of reference I'm going to show you this.
20 A. I'm familiar with the email.
21 Q. So I know you said you are familiar with it, but I'll just
22 give you a moment to take a look at it.
23 A. Okay.
24 Q. And then if I can focus your attention on the fifth page
25 of the document. And I apologize, it doesn't have page
                                                       1836
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1 numbers included on it.
2 A. I see.
3 Q. Okay. And so this is an email from you to the CEO
4 Advisory Group summarizing what was discussed on a phone call
5 on June 23rd, 2021, correct?
6 A. That's correct.
7 Q. And the second item on that list mentions a draft ABBM
8 form, right?
9 A. That's correct.
10 Q. And you and I both understand that ABBM stands for
11 Application for Ballot By Mail, right?
12 A. It does, yes.
13 Q. And so this is an example of you soliciting feedback from
14 county election officials about a form?
15 A. That's correct, yes.
16 Q. Okay. And, specifically, you ask the CEO Advisory Group
17 for questions, concerns, or suggested edits?
18 A. That is correct, yes.
19 Q. And then if you look back on page 4 at the next email in
20 the chain, there's a response from Frank Phillips, do you see
21 that?
22 A. I see that.
23 Q. Okay. And Mr. Phillips is the Denton County Elections
24 Administrator, right?
25 A. He is the Denton County Elections Administrator, yes.
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                      CHRISTINA ADKINS - DIRECT
1 Q. And his office suggested some changes to this form, is
2 that right?
3 A. They did.
4 Q. And then the next email in time is from Christopher Davis,
5 is that right --
6 A. Correct.
7 Q. -- that would be on the first page?
8      And Mr. Davis was of Elections Administrator for
9 Williamson County, is that right?
10 A. That's correct.
11 Q. And Mr. Davis said, "Agree with Frank?"
12 A. Yes.
13 Q. And you agree that Mr. Davis was expressing agreement with
14 the suggestions that had been made in that previous email by
15 Mr. Phillips?
16 A. Yeah, suggestions that we actually implemented too.
17 Q. And turning to the second page, he wrote, "Did y'all
18 misplace your copies of these?"
19 A. Yes, he did.
20 Q. And then he pasted below -- pasted below that message are
21 photographs or screenshots of a field guide to ensuring voter
22 intent, is that right?
23 A. Yes. I think he got those from me.
24 Q. Okay. The Elections Division doesn't have a process to
25 validate that every county is using the most updated version
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1 of its forms, does it?
2 A. That's correct. You know, we post our forms on our
3 website with dates indicating when their last revisions
4 occurred. We work with vendors to make sure, you know, any
5 new vendors have the most version of the form, but we can't
6 personally validate that all 254 counties are using that,
7 those most recent versions.
8 Q. And you are aware that at least some counties use outdated
9 forms in the March 2022 Primary, is that right?
10 A. That's correct, from what I recall.
11 Q. Okay. Let's focus a little bit more specifically on the
12 ballot-by-mail process. You are familiar, I assume, with the
13 changes to the ballot-by-mail requirements included in SB 1?
14 A. Yes, ma'am, very familiar.
15 Q. Probably more familiar than me at this point.
16 A. That's possible.
17 Q. Neither the ABBM nor the carrier envelope instructs voters
18 to list multiple numbers, is that correct?
19 A. That's correct.
20 Q. Okay. The forms generally instruct the voters to list
21 their driver's license number, and if they do not have one to
22 put down the last four digits of their social security number?
23 A. That's correct, as consistent with what the law says.
24 Q. And your office reviewed county inserts recommending that
25 voters put both their driver's license number and social
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                      CHRISTINA ADKINS - DIRECT
1 security number on the ABBM, is that right?
2 A. Yes.
3 Q. Okay. And your office approved inserts for application
4 materials recommending that both types of ID numbers be
5 listed?
6 A. Yes. And I don't believe that was a form we had to
7 approve, but many of the counties asked us to review them.
8 Q. And that included Bexar County's insert?
9 A. That's correct.
10 Q. And you, your office, communicated with counties to
11 indicate that an insert was an option, correct?
12 A. Absolutely.
13 Q. And the Elections Division considered designing a standard
14 insert to recommend providing both numbers, is that right?
15 A. That's correct.
16 Q. And if we can take a look at what is in evidence as LUPE
17 170, and that's behind the next tab in your binder, Miss
18 Adkins. And Miss Adkins, this is an email exchange between
19 you and Miss Callanen from April of 2022, do you agree?
20 A. I agree.
21 Q. And Miss Callanen is the Elections Administrator for Bexar
22 County?
23 A. That's correct.
24 Q. And so as early as April 2022 you, your office, was
25 working on a separate insert to provide as part of the ABBM,
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1 is that right?
2 A. Correct.
3 Q. And that was never finalized, is that right?
4 A. To my knowledge, no, it was not finalized.
5 Q. Okay. And your office doesn't have any plans currently to
6 change any official forms or include any inserts to include
7 advice or suggest that both application -- both -- excuse
8 me -- both identification numbers are included, is that right?
9 A. At this point we don't have any plans to revise some of
10 the official documentation and some of that is by request of
11 our county election officials that didn't want us changing
12 anything this close to a big election.
13     As far as creating some additional forms, you know, I
14 wouldn't say that that's never -- that's completely off the
15 table, we just, we kind of have to see how things play out the
16 next few weeks.
17 Q. Well, do you remember that you were deposed in April 2023
18 of this year?
19 A. Yes.
20 Q. And at that point your office didn't have any plans to
21 change any of the official forms either, is that right?
22 A. Well, that's because we were in the middle of a
23 legislative session and I wasn't going to commit to making any
24 changes until we had some resolution on potential statutory
25 required changes.
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1 Q. And so you didn't have plans then and now you don't have
2 plans because it's close to the election, is that right?
3 A. That's correct.
4 Q. And you have also not spoken to any counties about their
5 future plans with regard to inserts that advise voters to list
6 more than one ID number, do you agree?
7 A. I would agree with that.
8 Q. And you don't have any way of knowing how many counties
9 provided inserts regarding the ID requirement for ABBMs, do
10 you agree with that?
11 A. That's correct.
12 Q. Okay. And if the personal identification number is
13 missing or incorrect on the ABBM, then the voter will have the
14 opportunity to cure the defect or correct it, do you agree?
15 A. Correct the defect, correct, yes.
16 Q. And one way that a voter can do that is through the Ballot
17 Tracker?
18 A. Yes.
19 Q. Your office received a lot of complaints about voters not
20 being able to use the Ballot Tracker, do you agree with that?
21 A. Yes, regarding the authentication portion of it.
22 Q. And that was at least in part because of the residence
23 address field in the Ballot Tracker?
24 A. Yes.
25 Q. And, in fact, you tried using your own residence address
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                      CHRISTINA ADKINS - DIRECT
1 and the Ballot Tracker wasn't able to validate it, correct?
2 A. That's correct.
3 Q. And the residence address field was required by SB 1,
4 would you agree with that?
5 A. Correct.
6 Q. Okay. You also agree that a voter may not remember what
7 information they provided on a defective application form once
8 it's been sent in, do you agree with that?
9 A. Yes.
10 Q. And the ABBM rejection form does not provide any
11 information about which number was originally sent in, agreed?
12 A. Correct. We discussed that with a number of counties on
13 including that field but generally the consensus was not to
14 include that.
15 Q. And you agree that some voters whose mail ballots have
16 been rejected because of the ID requirements under SB 1 would
17 not be able to cure in time due to the timing of when they are
18 notified or when they find out about how to cure their ballot?
19 A. That's correct. If there's a deadline and they receive
20 notification towards the end of that deadline, it might limit
21 their opportunities.
22          MISS TULIN: Thank you, Miss Adkins.
23          I pass the witness.
24          THE COURT: Anything else on this side?
25          MR. DODGE: Just a few questions, Your Honor.
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1 BY MR. DODGE:
2 Q. Morning, Miss Adkins.
3 A. Morning.
4 Q. Miss Tulin was quite thorough so I have just a few
5 questions. You were discussing a moment ago the application
6 and carrier envelope that your office publishes, correct?
7 A. That's correct.
8 Q. And your office cannot amend the application or the
9 carrier envelope to advise voters to include both a driver's
10 license number and a social security number, right?
11 A. When we put our forms together we try to track the law as
12 much as we can and the law I think limits us in what we can
13 say in that area.
14 Q. So you can't amend the forms because it would not be
15 consistent with the provisions in SB 1?
16 A. That's a concern that we've had about changing that
17 language, yes.
18 Q. You also discussed with Miss Tulin certain inserts that
19 counties put in their materials, do you recall that?
20 A. I do.
21 Q. Those counties can't require voters to include both a
22 driver's license and social security number on their
23 applications or carrier envelopes?
24 A. They cannot require folks to include both numbers, that's
25 correct.
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1 Q. And your office can't require or even encourage counties
2 to recommend providing both numbers?
3 A. We cannot require them -- I'm sorry. Say that again.
4 Q. Or encourage.
5 A. I don't know if I can say that we can't encourage. I
6 mean, when voters called us asking about what to do with the
7 forms or when they had questions about it we would oftentimes
8 tell voters if you are unsure list both numbers on your
9 documentation.
10 Q. My question was about whether or not you could encourage
11 counties to ask voters to include both numbers.
12 A. Oh, I see what you're asking. We would be very cautious
13 in that area because we don't want them to being making
14 suggestions to a voter that would make them think that they
15 had to include both, that I mean if somebody didn't know both
16 numbers and they were being told that they should put both, it
17 might prevent somebody from completing the process if they
18 don't have both numbers on hand.
19 Q. Just so it's clear for the record then, your office does
20 not require counties to ask voters to include both numbers?
21 A. That's correct.
22 Q. And you would be hesitant to encourage them to do that,
23 correct?
24 A. Correct, depending on how exactly they are trying to say
25 that or provide that encouragement.
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1 Q. Your office doesn't keep track of which counties advise
2 voters to include both forms of ID, right?
3 A. That's correct.
4 Q. So you don't know which counties intend to advise voters
5 to include both kinds of ID numbers in future elections,
6 correct?
7 A. Correct. It gets back to the local control issue.
8 Q. At the time SB 1 went into effect there were about 700,000
9 registered voters in Texas who had only either a driver's
10 license or social security number but not both associated with
11 their voter registration?
12 A. That sounds right.
13 Q. And at that time there were also approximately 100,000
14 registered voters in Texas who had no ID number at all
15 associated with their voter registration?
16 A. That's correct.
17 Q. To your knowledge there continue to be voters on TEAM who
18 only have one ID number associated with their registration?
19 A. To my knowledge -- I'm sorry. Repeat the question.
20 Q. To your knowledge there continue to be registered voters
21 on TEAM who only have one ID number associated with their
22 registration?
23 A. Yes, but much smaller numbers than they were at that time.
24 Q. And there continue to be voters on TEAM who do not have
25 any ID numbers associated with their registration?
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1 A. I would agree with that, but, again, in much smaller
2 numbers than previously.
3 Q. Voters in Texas can have multiple ID numbers issued by the
4 Department of Public Safety, right?
5 A. Yes, but they are not necessarily all valid. They may
6 have a driver's license, surrender that driver's license and
7 received a personal identification card, so it may change the
8 validity of those numbers.
9 Q. But it's possible that they could have multiple valid
10 DPS-issued ID numbers, right?
11 A. I don't know that. That's a question for DPS.
12 Q. The TEAM system only reflects a single DPS-issued ID
13 number for each voter?
14 A. Correct. The most current one, the one that I believe
15 would be valid.
16 Q. Does your office have any plans to update TEAM so that a
17 voter registration record can hold multiple DPS-issued ID
18 numbers?
19 A. No.
20 Q. And if a person has a DPS-issued ID number that is valid
21 and not reflected in TEAM, they cannot use that number on a
22 ballot application or carrier envelope, correct?
23 A. Correct, but, again, I'm not sure how many instances there
24 would be where somebody has a valid number because of the way
25 the DPS process works, where you have to surrender one in
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1 order to obtain a new one.
2 Q. Shifting gears a little bit, are you familiar with the
3 Election Administration and Voting Survey?
4 A. The EAV Survey, yes, I am.
5 Q. Your office is responsible for collecting data for the EAV
6 Survey from county officials, correct?
7 A. Yes. I mean, it passes through our office.
8 Q. And then you report it to the United States Elections
9 Assistance Commission, right?
10 A. Correct. We don't go through and validate the data
11 reported because it's meant to be a survey directly from those
12 officials, so it's self-reported data.
13 Q. Your office has been responsible for collecting that data
14 since at least 2018, right?
15 A. That sounds right. Maybe even before then.
16 Q. And you are aware that the EAV Survey asks the State's
17 Chief Election Officer to certify in writing that the
18 information being presented to the U.S. Election Assistance
19 Commission is true and accurate to the best of their
20 knowledge?
21 A. Correct, to the best of our knowledge.
22 Q. Are you aware of any other source of election data like
23 the EAV Survey that you've considered to be superior?
24 A. I think it depends on the subject or the type of data we
25 are looking at.
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1 Q. Can you give me an example of what other source of data
2 that might be?
3 A. I mean, if you're looking for things like rejection rates,
4 you may want to look to what we have in our State system
5 versus what was reported by counties.
6 Q. And where does the information in the State system come
7 from?
8 A. It has to do with the information that the counties would
9 put in our system, you know, how they would track and log the
10 individual applications, where they are in the process, all
11 things related to ballot-by-mail tracker, actually.
12 Q. So the source in the State system is the counties?
13 A. Correct.
14 Q. And the counties are also the jurisdictions who report
15 data to the EAV Survey, correct?
16 A. Correct.
17 Q. You spoke with Miss Tulin a little bit about the issue of
18 uniformity, do you recall that?
19 A. Yes.
20 Q. And she talked about your office's statutory duty to
21 obtain and maintain uniformity in the application of Texas
22 election law, right?
23 A. Yes.
24 Q. You would agree also that Texas has a highly decentralized
25 election system?
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                      CHRISTINA ADKINS - DIRECT
1 A. Absolutely.
2 Q. There's a lot of local control over elections in Texas?
3 A. Definitely.
4 Q. And that's a purposeful way that the election process is
5 set up in Texas?
6 A. I believe so.
7 Q. So by necessity elections are going to be different on a
8 county-by-county basis in Texas due to different county needs
9 and that element of local control over election
10 administration?
11 A. Yes.
12           MR. DODGE: Pass the witness.
13           THE COURT: Anything else on this side?
14           MR. BADAT: Few questions, Your Honor.
15 BY MR. BADAT:
16 Q. Morning, Miss Adkins. My name is Amir Badat. I represent
17 the HAUL plaintiffs in this litigation. Thank you for being
18 here. A few minutes ago you were talking about the numbers
19 that need to be provided on an ABBM for a person's mail
20 ballot -- or mail ballot application to be accepted, right?
21 A. Yes.
22 Q. And you mentioned that there are a number of people still
23 on TEAM that only have either their driver's license number or
24 their social security number, but not both, right?
25 A. That's correct.
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1 Q. And there are still a number of people in TEAM who have
2 neither a driver's license number or a social security number,
3 right?
4 A. Yes, but the number is much, much smaller than it was
5 initially.
6 Q. Now, if a voter's ABBM is rejected for a missing ID or an
7 ID mismatch, SB 1 requires a county to provide notice of the
8 rejection and include information in that notice about the
9 ability to cure the defect through the Secretary of State's
10 online Ballot Tracker, is that right?
11 A. Yes. I would say that what you are talking about, that
12 you said the county would provide notice, it could be the
13 county early voting ballot board, signature verification
14 committee, I mean, I think I need to point that out because
15 that's relevant. It's those individual bodies that are
16 charged with that. And, yes, they would be providing notice
17 of all of that options for instituting corrective action.
18 Q. And one of those options is the Secretary of State's
19 online Ballot Tracker, right?
20 A. That's correct.
21 Q. Can we pull up Section 86.015(b) of the Texas Election
22 Code. I'd like to take a look at the provision that covers
23 the Ballot Tracker. Can we look at 86.015.
24     Okay. Miss Adkins, are you familiar with this provision?
25 A. I am, yes.
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                      CHRISTINA ADKINS - DIRECT
1 Q. And Section 86.015(b) says, "The online tool developed or
2 provided under Subsection A must require the voter to provide
3 before permitting the voter to access information described by
4 that subsection, one, the voter's name and date of birth and
5 the last four digits of the voter's social security number;
6 and, two, the voter's -- a driver's license number, or, B,
7 personal identification card number issued by the Department
8 of Public Safety." Did I read that correctly?
9 A. Yes.
10 Q. So by statute a voter is only able to access the Secretary
11 of State's online Ballot Tracker if they have in their voter
12 registration file both their social security number and either
13 their driver's license number or personal ID card number, is
14 that right?
15 A. That's correct.
16 Q. So someone whose ABBM was rejected because they put down
17 their driver's license number but their voter registration
18 file only has their social security number would not be able
19 to access the online Ballot Tracker, right?
20 A. Correct. They couldn't use the tracker but they would
21 still be able to use the other methods that the law
22 prescribes.
23 Q. And, vice versa, someone whose ABBM was rejected because
24 they put down their social security number but their voter
25 registration file only has their driver's license number, they
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                      CHRISTINA ADKINS - DIRECT
1 would not be able to access the Ballot Tracker either, right?
2 A. Correct. Again, they could use the other options that are
3 there.
4 Q. And someone who only has an election identification
5 certificate is also out of luck, right?
6 A. Same problem, yes.
7 Q. Because, by definition, they don't have a driver's license
8 or a personal ID card number so they wouldn't be able to
9 access the Ballot Tracker either, right?
10 A. Correct, but, again, they have the other options available
11 to them under the law.
12 Q. And voters who don't have both their social security
13 number and their driver's license or personal ID number in
14 their voter registration file would also be shut out of the
15 Ballot Tracker for purposes of curing their carrier envelopes
16 for an ID defect, right?
17 A. Correct. They wouldn't be able to utilize the tracker.
18 They would have to rely on alternative methods.
19 Q. And because these requirements are set by statute, your
20 office cannot modify authentication requirements for the
21 Ballot Tracker, right?
22 A. That's correct.
23 Q. I'd like to stay on the topic of mail ballots. It's true
24 that mail ballot voters are permitted to drop off their own
25 mail ballots in person at the Early Voting Clerk's Office on
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1 Election Day while the polls are open, right?
2 A. Yes. You got it all in, yes.
3 Q. Got it. And when a voter does that, they must present an
4 acceptable form of photo ID?
5 A. Correct, yes, sir.
6 Q. And that's the same photo ID that a voter must present
7 when they are voting in person at a polling location, right?
8 A. That's correct.
9 Q. And that photo ID is intended to confirm the identity of
10 the voter, right?
11 A. Yes.
12 Q. And when the election worker is looking at the ID to
13 confirm the voter's identity, they are comparing the photo on
14 the ID to the person who is in front of them, right?
15 A. Correct.
16 Q. A person is not permitted to drop off someone else's mail
17 ballot, correct?
18 A. That's what the law says.
19 Q. And, now, as we discussed, all mail ballots post-SB 1 must
20 include an ID number that matches with an ID number in the
21 voter file in order to be accepted, correct?
22 A. Correct.
23 Q. And that requirement also applies to mail ballots that are
24 dropped off in person, correct?
25 A. The identity requirements are still the same, that's
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                       CHRISTINA ADKINS - DIRECT
1 correct.
2 Q. So even though the voter provides photo ID at drop-off and
3 the election worker confirms the voter's identity, a person's
4 ballot could still be rejected if they don't have a matching
5 ID number on their carrier envelope, correct?
6 A. That's correct.
7 Q. Or if they forgot to put their ID on their carrier
8 envelope, correct?
9 A. That's correct.
10 Q. I'd like to ask you a couple of questions about voter
11 registrations. Texas has seen significant growth in the
12 number of people registering to vote over the past several
13 years, correct?
14 A. Yes, we have.
15 Q. Hundreds of newly registered voters every day?
16 A. That sounds right, yes.
17 Q. Can we take a look at OCA Plaintiffs Exhibit 283, please.
18     This is a Texas voter registration application, right?
19 A. Yes.
20 Q. You've seen this before?
21 A. Many times.
22 Q. If we could go to the second page of the exhibit, I'd like
23 to turn your attention to the section at the bottom underneath
24 filling out the application, and actually it's on the
25 right-hand side, the seconds bullet. It states that, "All
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1 voters who register to vote in Texas must provide a Texas
2 driver's license number or personal identification number
3 issued by the Texas Department of Public Safety. If you don't
4 have such a number, simply provide the last four digits of
5 your social security number, and if you don't have a social
6 security number you need to state that fact."
7      Did I read that correctly?
8 A. You did.
9 Q. If we can go back up to the first page and take a look at
10 row nine. It has a space for the person who is registering to
11 enter their Texas driver's license number or Texas personal ID
12 number, correct?
13 A. That's correct.
14 Q. And then next to it, it says, "If no Texas driver's
15 license number or personal identification number, give the
16 last four digits of your social security number," correct?
17 A. Correct.
18 Q. So a voter is not -- or a person registering to vote is
19 not required to provide both numbers on this application,
20 correct?
21 A. Correct.
22 Q. And a reasonable reading of this is that if I put down my
23 driver's license number I don't have to put down my social
24 security number, correct?
25 A. Yes.
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                      CHRISTINA ADKINS - DIRECT
1 Q. Or if I put down my social security number I don't have to
2 put down my driver's license number, right?
3 A. That's correct.
4 Q. And so for someone who is filling out this application to
5 register in Texas for the first time the ID number they are
6 providing here is the ID number that will populate in TEAM,
7 correct?
8 A. Initially that will be the one that populates in TEAM, but
9 we do work with DPS to try to obtain missing information. So
10 we try to get -- if you put the last four digits of your
11 social security number, we work to get the full line. We also
12 work to get driver's license numbers, you know, and vice
13 versa.
14 Q. And so for people who you can't get that additional
15 information for and they register to vote with just one of
16 these numbers in TEAM, they will only have one of these
17 numbers?
18 A. That's correct.
19 Q. Which means that they are at risk of having their ABBMs or
20 carrier envelopes rejected, if they don't use the right ID
21 number, correct?
22 A. Right. If they are applying within that time period
23 before we've been able to obtain additional information, if
24 it's available through DPS.
25 Q. And they will also be shut out of the Secretary of State's
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                      CHRISTINA ADKINS - CROSS
1 online Ballot Tracker because they don't have both numbers in
2 their file, correct?
3 A. Correct. If both are not in the file then they would not
4 be able to utilize the tracker.
5 Q. Generally speaking, Miss Adkins, your office can't waive,
6 modify, or suspend state law, correct?
7 A. Or alter or create, I think it says after that, yes,
8 that's correct.
9 Q. You know the election code much better than I do.
10     And last question. The Secretary of State's Office
11 receives federal funding, is that right?
12 A. Yes, we do receive some federal funds through HAVA, Help
13 America Vote Act. There are things that have come through our
14 office. Most of that is passed on to the counties, but, yes.
15          MR. BADAT: Thank you, Miss Adkins.
16          I pass the witness.
17          THE COURT: Anything else on this side?
18          Any cross?
19          MISS HUNKER: Very short cleanup, Your Honor.
20                       CROSS-EXAMINATION
21 BY MISS HUNKER:
22 Q. Miss Adkins, what is the Secretary of State's role
23 regarding the EAV Survey?
24 A. We help collect that data and then pass it on to the
25 Election Assistance Commission. It's just a point of -- we're
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                      CHRISTINA ADKINS - CROSS
1 just a point of collection of the data.
2 Q. During your examination with counsel you had used the word
3 "pass-through" what did you mean about that?
4 A. The counties report that data, it says self-reported from
5 the county since they are the practitioners we are gathering
6 this data from. They submit it through whatever mechanism the
7 EAC is using that year for collection of data. Once that data
8 has been collected, we submit that data on to the Election
9 Assistance Commission but we don't review it for accuracy.
10 Q. Were the counties required to collect data related to mail
11 ballot rejection rates prior to 2021?
12 A. I think there were questions related to that in the EAV
13 Survey, but with respect to the data that our system held
14 there were not as many requirements at the time for them to
15 report, I think all of the things that occur with a
16 ballot-by-mail process directly into the TEAM system.
17 Q. Were there any state requirements that they collect that
18 data?
19 A. No. There were no state requirements that they collect
20 that data.
21 Q. Were there requirements that the State collect data
22 regarding ABBM rejection rates, specifically State
23 requirements?
24 A. No, there were no State requirements to collect that
25 information.
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                      CHRISTINA ADKINS - CROSS
1 Q. Were counties required to follow specific standard when
2 tracking data related to mail ballot rejection rates?
3 A. No.
4 Q. Were counties required to follow specific standard when
5 recording EAVS data?
6 A. No.
7 Q. When did Texas introduce the Ballot Tracker?
8 A. It was the result of legislation I believe in 2021.
9 Q. And in response to the Ballot Tracker have counties
10 started collecting more data related to mail ballots?
11 A. I would say yes, as a requirement they have to submit
12 information in order to populate that tracker. In the past
13 counties were not always entering in all the final outcomes
14 related to their ballot-by-mail applications. They weren't
15 always reporting things that were rejected into the tracker.
16     Because of the tracker, we now have more reporting
17 requirements about where things are along in the process and
18 so now they do have to do that.
19 Q. And when did Texas introduce a cure process for ballots by
20 mail?
21 A. That process came about as a result of Senate Bill 1, so
22 as a result of that 2021 legislation.
23 Q. In response to the cure process are counties collecting
24 more data related to mail ballot rejections?
25 A. Oh, yes, definitely.
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                      CHRISTINA ADKINS - CROSS
1 Q. During your conversation with counsel you had mentioned a
2 Ballot Tracker and authentication?
3 A. Yes.
4 Q. When SB 1 was enacted, was a voter required to put in
5 their residence address?
6 A. Yes. When SB 1 was enacted, residence address was a
7 required field to authenticate.
8 Q. Has the Texas legislature changed that requirement?
9 A. They have, yes.
10 Q. Are Texas voters required to provide their address to
11 enter the Ballot Tracker today?
12 A. No. That was a change from the most recent legislative
13 session, in lieu of residence address voters are now using
14 date of birth, which is an easier field for data entry
15 purposes.
16          MISS HUNKER: Thank you, Miss Adkins. We'll reserve
17 the rest of the questions for our case in chief.
18          THE COURT: Any further from this side?
19          MR. LIU: No questions.
20          THE COURT: I've got a question. So these advisories
21 that your office issues and in the past used to issue legal
22 opinions, what's the difference between the two?
23          THE WITNESS: That's an excellent question, Your
24 Honor.
25          In the past I think our office would wade into the
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                       CHRISTINA ADKINS - CROSS
1 area of issuing opinions similar in a way to the way the
2 Attorney General's Office would issue an opinion.
3           We don't go that route because we really don't have
4 the authority to issue binding opinions like that. So when we
5 issue an advisory, that's our attempt to provide guidance and
6 instruction, either in areas of law that need clarification,
7 or because there may be something in the law that says SOS may
8 prescribe additional procedures. And so it's our way of
9 providing those addition procedures and guidance.
10          THE COURT: So like in a legal precedent statute, the
11 Constitution statutes, and down lower in the list is the
12 federal system regulatory agencies like the wage and hour
13 issue, an opinion letter, the Attorney General for the State
14 of Texas would issue a letter, and so courts are supposed to
15 give some deference. It's a matter of question about how much
16 deference, but it's got some legal effect. The advisory
17 opinions have no legal effect, is that correct?
18          THE WITNESS: Well, I don't know if I would say no
19 legal effect, sir. I think what I would say is they are very
20 procedure driven.
21          It's more about explaining procedures, kind of in
22 that quest that we have in Chapter 31 of the election code to
23 maintain and obtain uniformity in the way the laws are applied
24 those advisories are the way in which we do that. We provide
25 detail and procedure to help with the application of the laws,
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                      CHRISTINA ADKINS - CROSS
1 and we do that through the advisory process.
2           You know, it's a little bit different than like an
3 administrative rule because it's more about process and
4 procedure and helping to explain what the law means so that
5 the counties, when they are the ones that are applying the law
6 have a little bit more guidance.
7           It's more to help create some uniformity in our
8 system and to give those additional guidelines when the
9 legislature has indicated there may be a need for additional
10 guidelines.
11          THE COURT: Are you aware of any Texas state court or
12 any federal court for that matter that has given the advisory
13 opinions the same effect as a letter opinion?
14          THE WITNESS: No, sir. I'm not aware. I'm not
15 aware.
16          THE COURT: Is it fair to say that -- so you talked
17 earlier about getting informal advice on a one-off by email,
18 is this just a better way to give advice on a larger scale, is
19 that a better way of phrasing this?
20          THE WITNESS: I would say advice and procedures
21 because there are advisories that we have -- I'll give you an
22 example, if you don't mind, sir.
23          We have an advisory on our electronic voter systems
24 and procedures. We have specific statutory authority to
25 prescribe some additional procedures related to the use of
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                      CHRISTINA ADKINS - CROSS
1 electronic voting systems. We do that in an advisory format
2 that we typically issue every few years because we need to
3 update it with respect to changing technology, and so the
4 guidance in that document is based on statutory authority we
5 have to prescribe procedures, but it's not really an opinion.
6 It's more providing the details on how to do something or to
7 provide some additional standards, you know, in this example
8 security standards and security procedures, but, again,
9 different than the law. It's filling in the gaps is the way I
10 like to think about it.
11          THE COURT: And you are not pre-publishing any of
12 this in the Texas Register for comment, or anything like that?
13          THE WITNESS: That's correct, yes, sir. It's
14 different than the administrative role-making process. I
15 agree with you there, Your Honor.
16          THE COURT: Any questions based on my questions?
17          MR. DODGE: I have one follow-up question on a topic
18 that counsel touched on.
19          THE COURT: Do you have an objection to that, or are
20 you going to allow his question out of order or not?
21          MR. KERCHER: If it's responsive to the questions
22 Your Honor that we raised, we don't have a problem with it.
23          THE COURT: Go ahead.
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                       CHRISTINA ADKINS - REDIRECT
1                         REDIRECT EXAMINATION
2 BY MR. DODGE:
3 Q. You were discussing with counsel a moment ago the new
4 tracking and cure process implemented by SB 1, correct?
5 A. Yes.
6 Q. That was in place for the 2022 elections, correct?
7 A. Yes.
8           MR. DODGE: Nothing further.
9           THE COURT: Any other questions based either on the
10 cross or my questions? None on this side.
11          Anything on this side? None.
12          You may step down, ma'am. Thank you.
13          Oh, you are still under the rule, as I think they
14 intend to bring you back. So you can of course consult with
15 lawyers but no other witnesses.
16          THE WITNESS: Yes, your Honor.
17          THE COURT: With that, let's go ahead and take a
18 lunch break.
19          (Recess)
20          (Change in reporter)
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01  5#ÿ67ÿ"ÿ$ÿ1#ÿ*+0*
06  )8'ÿ$ÿÿ785ÿ!6676
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** 787ÿ687
*4  ÿ 55
*5  657ÿ6ÿ785ÿ7ÿ56ÿ767!5ÿ6ÿ785ÿ!576
*1 6&66
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ÿ1  ÿ676ÿÿÿ65ÿ! "7ÿÿ#$#%
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## 5ÿ676ÿ555
#%  076,ÿ576
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ÿ0 75ÿ7ÿ785ÿ557ÿÿ775!ÿ" 65#
ÿ1  ÿ 55ÿ$678ÿ787ÿÿ566%ÿ785ÿ57ÿ557
ÿ2  ÿ785ÿ557ÿÿ775ÿÿ$5&ÿ6ÿ787ÿ687#
ÿ3  "ÿ5
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ÿ1  65ÿÿ785ÿ775ÿÿ)5#
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ÿ2 7887ÿ67ÿ57ÿÿ6ÿ785ÿ7887ÿÿ6ÿ5ÿ7887ÿ7855
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03  5ÿ5ÿ785ÿ5675ÿ8ÿÿ&576ÿ7ÿ67"
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01 ) ) 44
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ÿ3 7ÿ786ÿ67ÿ55ÿ855
ÿ/ ! "ÿÿ 55ÿ788ÿ787ÿÿÿ#ÿ5ÿ685ÿ6
ÿ0 785ÿ57$ÿ%5#57$ÿÿ%775ÿ6 55ÿ678ÿ67&
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ÿ2 ! 'ÿ785ÿ5ÿÿ785ÿ%5#57$ÿÿ%775ÿÿ(ÿÿ#ÿ5
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ÿ1 7675$ÿ6 55ÿ678ÿ67&
ÿ3 ' ' 55
04 ! "ÿÿ 55ÿ787ÿ$ÿÿ65ÿ7ÿ75ÿ8ÿ5
00 56 5ÿÿ787ÿÿ75ÿ8ÿÿ785ÿ67#76ÿÿ787
03 ÿ6ÿ7675$ÿ85ÿ785ÿÿ##575&
0/ ' ÿ 55ÿ678ÿ787ÿÿ*85ÿ7ÿ677ÿ786 ÿÿÿÿ7
00 ÿ6ÿ7ÿÿ785ÿÿÿ'ÿÿÿ6ÿÿ65ÿ7ÿ785ÿ
01 ÿÿ#5ÿ6ÿ67ÿ65ÿ788ÿ785ÿÿ##5$ÿ785
02 785ÿ75ÿ6ÿ5ÿ##5
02 ! 'ÿÿ5ÿ#ÿ 55ÿ785ÿ787ÿ$ÿÿ7ÿ7ÿ$ÿ785
01 %5#57$ÿÿ%775ÿ+6#5ÿ785ÿÿÿ787ÿÿÿ5
03 787ÿ6ÿÿ75ÿ5ÿ67ÿ7ÿ785ÿ*ÿ67ÿÿ7675$ÿ57
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3/ ! ÿ676ÿ7ÿ#8 6 ÿÿÿ86 ÿ5576 ÿ678ÿ785
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ÿ1 %!ÿ785ÿ6!ÿÿÿ"676ÿÿ5ÿ7ÿÿ5
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00 785ÿ775$
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02 7675'ÿ785ÿ5ÿ786(5ÿ7ÿ5ÿ6755776ÿ$ÿ
03 $ÿ785ÿ666+
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04 ÿ787ÿ6ÿ7ÿ5775"ÿÿ/ÿ'ÿÿ5ÿ67ÿ'ÿ5ÿ787
1# 67ÿ5ÿ7ÿ5ÿÿ67ÿ'ÿ7867'ÿ787ÿ67ÿ5ÿ7
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13 ," ÿ 55ÿ678ÿ787"
12 )" ,ÿÿ6'ÿÿ5ÿ57ÿ7ÿ$ÿ785ÿ5%76
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ÿ3 %! &85ÿ666ÿ$ÿ65ÿÿ#$685ÿ766 ÿ5$76
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05 $ÿ5,6557
00 ! 55!
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ÿ4 "  44"
ÿ5 #" ÿÿ4 ÿ4544ÿ44ÿ56ÿ676ÿ4ÿ5!
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ÿ7 #" $ÿÿÿ44ÿÿ%4ÿ4654ÿ54
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02 #" &7 'ÿÿÿ 55 "
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04 5 6ÿÿ576ÿ'ÿÿ6ÿ6ÿ6ÿ 6ÿ676
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07 564 ÿ6ÿ(446 ÿÿ(664%ÿ)54ÿ674ÿ56ÿ
28 4454ÿ6ÿÿ(446 ÿÿ(664ÿ4ÿÿ674ÿ454!
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ÿ0 59 ÿ4ÿ354!3"
ÿ1 # 85ÿ4ÿÿ$3ÿ8ÿ39ÿÿ393ÿ39ÿÿ563ÿ6!3
ÿ2 3ÿ5ÿ35ÿÿ%65ÿÿ339ÿ9ÿ354!3ÿ59 
ÿ3 5ÿ8ÿ95ÿ&9ÿ6ÿ354!3ÿÿ9ÿ33ÿ45
ÿ4  89ÿ'5ÿ45ÿÿ'4ÿ5ÿÿ45ÿÿÿ 395ÿ
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00 4ÿ95ÿ563ÿ9ÿ3'3 49ÿ 39ÿÿ3'3 49ÿ3ÿ49ÿ563
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ÿJ 95ÿ3ÿ!5ÿ495ÿ3ÿ5ÿÿÿ!39
ÿK   33ÿ456ÿ565ÿÿ9ÿ565ÿÿ563ÿÿ33ÿ"0#ÿ9
ÿE 565ÿ563ÿÿ53ÿ"0ÿÿ$65ÿ695ÿ693ÿ5ÿ
ÿL %6393&3ÿ9ÿ33549ÿ44ÿ543ÿ5ÿ33 53ÿ563ÿ5ÿ
ÿM ! 54 ÿ 3ÿÿ'395 ÿ'95ÿ9ÿ395ÿ35ÿ563ÿ6&3ÿ33
ÿN &3395#ÿ3ÿÿ5(ÿ5ÿ563ÿ33549ÿ44ÿ33ÿ"0
ÿ1 9ÿ349ÿ563ÿ565ÿ5549ÿÿ!ÿ563ÿ4ÿÿ43ÿÿ
ÿG #ÿÿ(9#ÿ3&3ÿ493ÿ3549ÿ)ÿ565ÿ8&3ÿ339ÿ
0F 565ÿ8ÿÿ49ÿ565ÿ*#ÿ3ÿ5 53ÿ563ÿÿ456ÿ!ÿ563#
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0K 563ÿ3 949ÿ5ÿ3ÿ35ÿ495ÿ'395 ÿ'95ÿ9ÿ95ÿ(3!5ÿ49
0E ÿ!39ÿÿ9ÿ3&3ÿ493ÿ3549ÿ)ÿ3ÿÿ53ÿ563
0L 33549ÿ44ÿ,-./ÿ12345ÿ6778ÿ597:ÿ;3ÿ2ÿ873<,
0M  9ÿÿ44 #ÿ563ÿ335 ÿÿ553ÿ43ÿ
0N #ÿ,=25197>?ÿ12345ÿ@7ÿ97ABÿ@79;3Bÿ2ÿC2AA<,
01  $65ÿ465ÿÿÿ35339ÿÿÿ! 54549ÿ49ÿ563
0G 54&45
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J0 65ÿ4593ÿ4ÿ3ÿ396ÿ5ÿ33ÿÿ63 ÿ93
JJ 3549ÿEFG#ÿ465H
JK  %3#ÿ45ÿÿ36#ÿ45ÿ*5ÿÿ*354&3ÿÿ9&394395
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JL 49ÿ5ÿ3!39ÿ9ÿ6ÿ3ÿ5634ÿ33465ÿ4ÿ9ÿ6ÿ3
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ÿ' " #ÿ5ÿÿ54!ÿ ÿ674ÿ54ÿÿ$$54ÿ74ÿÿ44
ÿ7 546ÿÿ674ÿ465ÿ%555!ÿ5ÿ676ÿ5 ÿÿ$
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44 67ÿ785ÿ! 5ÿÿ785"ÿ"/5ÿ67ÿ7ÿÿ785ÿ$75 !ÿ8
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ÿ1 4 ÿ 4
ÿ-  !576ÿÿ9ÿ4 "ÿ4654ÿ6ÿ674ÿ74#5ÿ64ÿÿ $6
ÿ2 5ÿ45 ÿ5ÿ6745ÿ4 ÿ 4ÿ5%ÿ$4ÿ5 ÿ6
ÿ, 4&64ÿ44ÿ674ÿ74#5ÿ 4"ÿÿ9ÿ$6ÿÿ676
ÿ1 674ÿ4 ÿ 4ÿ55ÿ5ÿÿ7 46ÿÿ96ÿÿ4
ÿ2  ÿ 674ÿÿÿÿ7 ÿÿ64ÿ5ÿÿ6 5 ÿ6
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01 5ÿ5 ÿ6ÿ4ÿ4%6ÿÿ5ÿ674ÿ%56ÿ56 4ÿ6ÿ674ÿ 455
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01  ÿ5ÿ44ÿ4465ÿ54ÿ$4ÿ44ÿ567ÿ674ÿ.446 
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**  9ÿ 44ÿ567ÿ676ÿÿÿ9$ÿÿ 44ÿ676ÿ44ÿ4465
*) 6744$ÿ645ÿ4644ÿÿ674ÿ ÿ4465ÿ%%55ÿ5
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ÿ3 57!"ÿ576ÿ10ÿ575ÿÿ6#6ÿ57!ÿÿ!5
ÿ' #675ÿÿÿ66ÿ55ÿ66 ÿ$5ÿ0ÿÿÿ787
ÿ 687%
ÿ5  &58"ÿÿ7ÿ55ÿ ÿÿ785ÿ576ÿ'0032"ÿÿÿ7
ÿ6 ()"ÿ6ÿ787ÿ67%
ÿ7 * $5ÿÿ+5 ÿ(5ÿ787ÿ#6,5ÿ7ÿ!$ÿÿ-55ÿ,5ÿ)678
ÿ1 $ÿ.$7ÿ5ÿ57
ÿ2  /(!ÿÿ087ÿ)87ÿÿ78$87ÿÿ&58"ÿ67ÿ7ÿ785ÿ#676
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30 '0031ÿ!ÿ6ÿ!$5ÿ#675ÿÿÿ65ÿ$5ÿ786ÿ5"
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ÿ3 "# $5ÿ30#0%1#
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ÿ* +55#ÿÿ)576ÿ*#03,-ÿ+65ÿ787ÿÿ6ÿ7ÿÿ5
ÿ@ 5+75ÿÿ6ÿ576ÿ65766 ÿ676ÿ6ÿ+65ÿ
ÿA 785ÿ 65ÿ55+5ÿÿ6 75ÿ8557ÿ6ÿ787ÿ687!
ÿ1 "# ÿ67ÿ57ÿ7ÿ5ÿÿÿ67#
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0B 12345678
00 "# 9/#ÿÿ:58ÿ785ÿ65766 ÿ676ÿ8ÿ7ÿ5ÿÿ7855
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%0 56776ÿ++676#ÿÿ>87ÿ5ÿ786 ÿ787ÿ6ÿ787
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%? ÿ75ÿ7ÿ85ÿ7ÿ555ÿ(87ÿ785ÿ+7ÿÿ7856
%* ++676ÿÿ57ÿ67ÿ687#ÿÿ>86ÿ6ÿÿ785ÿ7ÿ5ÿÿ5
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ÿ'  ÿ ÿÿ65ÿ7ÿÿÿ5ÿ!576ÿ"7ÿ#87
ÿ/ 6ÿ5765ÿ55 5ÿ7ÿÿ785ÿ$%&'(0'ÿ)*5$ÿÿ+5ÿ
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ÿ( + ÿ
ÿ9  -ÿ 55ÿ787ÿ#85ÿÿ5ÿ785ÿ75ÿ$%&'(0'ÿ)*5$ÿ786
ÿ: 55ÿ7ÿÿ"6ÿ6ÿ785ÿ'.0/ÿ56765ÿ56ÿ*5ÿ%&'(0'
ÿ1 787ÿ55ÿ785ÿ0)776ÿ15ÿ7ÿ)65ÿÿ785
ÿ2 25*57ÿÿ2775ÿ36*5ÿ7ÿ85ÿ**5ÿ7ÿ676ÿ6
0. 785ÿ65ÿ6*55ÿ65ÿ7ÿ67ÿ#678ÿ75ÿ56776,
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02 @=ÿ5CF5685;>Gÿ:6DBHC:6;ÿE@6>7ÿ@=ÿ56789:6;ÿ@IÿF5BH>3
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ÿ) #4ÿ6ÿÿ5ÿÿ56ÿ64ÿ6ÿÿ ÿ46ÿ5ÿÿ56
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02 ÿ8ÿ"ÿ785ÿ"65ÿ6ÿ58 5ÿ"ÿ86ÿ675ÿÿ&76
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ÿ4 67ÿ"7ÿ55ÿÿ7ÿ785ÿ767ÿ7ÿ55ÿÿ65
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05 5576ÿ7ÿ323ÿ676ÿ687'
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ÿ2 ÿ44 4ÿ 564"ÿ676ÿ$56ÿ446ÿÿ%76ÿ6
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0. 9ÿ4 "ÿ4#4ÿ6ÿ674ÿ576ÿ6ÿÿ #4ÿ6ÿÿ556
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*+ 7#4ÿ6ÿ!ÿ56ÿ6744ÿ ÿÿ67ÿ7#4ÿ6ÿ4ÿ!5 ÿ6ÿ56
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ÿ5 54ÿ7ÿÿ55 ÿ!55ÿ"6ÿ74674ÿÿ" 6ÿ"45
ÿ6 5675ÿ64ÿ446ÿÿÿ55ÿ5ÿ4ÿ47ÿ6ÿ65664
ÿ7 !75 ÿ!444ÿÿ675ÿ465
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ÿ9          &'ÿ-9&.+ÿÿ9ÿ 
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05          &'ÿ-9&.+ÿÿ.6ÿ4 %ÿ%ÿ5
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ÿ7 55ÿÿ 46ÿ5" 4ÿ6ÿ7ÿ4ÿ5ÿ556ÿ
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08 $# $ÿ ÿÿ76ÿ4ÿ"#ÿÿ-ÿ74674ÿÿ6ÿÿ46
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0E .4ÿ"4ÿ94ÿ&4%ÿ4ÿ Dÿÿ9ÿDD4&564ÿ"ÿD654&4
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 # 64%ÿ6ÿ.ÿ6#ÿ%%565 ÿB"465ÿÿ74ÿ$56ÿ5ÿ#74674
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 &&D57'
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ÿ0 3ÿÿ3ÿ4ÿ3ÿ9 3ÿ4ÿÿ345ÿ53ÿÿ65
ÿ6 563ÿ95ÿ5ÿÿ9ÿ563ÿ95ÿÿ5ÿ 5ÿ35649ÿ45ÿ
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ÿ8 & 8"ÿ'ÿ(33'ÿ5ÿ33ÿÿ 'ÿÿ)*)+ÿ%,
ÿ% -ÿ89 ÿ3ÿ'3ÿ5ÿ564ÿ395ÿ3 43ÿ465.
ÿ1  3ÿ4
ÿ1 & 9ÿÿ6464653ÿÿÿÿ349ÿ33/95ÿ563ÿ
09 633ÿ563ÿ5ÿ9 3ÿÿ01100%ÿ 35.
00  23ÿ9ÿÿ3ÿÿ563ÿ55ÿ9ÿ563ÿ43
00 & 9ÿ8"ÿ5ÿ456ÿÿÿ35ÿÿÿ395ÿ33
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08 345 549ÿ3.
0%  !65"ÿ465
01 & 9ÿÿ4/3ÿ8ÿ343/3ÿ4ÿ563ÿÿ565ÿÿ6ÿ35
01 49453ÿÿÿ4395443.
09  !65"ÿ465
00 & 5ÿ4/3ÿ646ÿ"ÿ953ÿ6ÿ339ÿ6464653ÿ49ÿ 339
00 5633ÿ 3ÿ563ÿ/53ÿ6ÿ4ÿ563ÿ5ÿ5634ÿ!3ÿ4/3"
06 4393ÿ9 3ÿ9ÿ563ÿ 4ÿ 5ÿ4ÿ95ÿ 56ÿ5ÿ5634
07 /53ÿ345 549ÿ3.
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ÿ0 7ÿ786 ÿ5ÿ5ÿ6576ÿ785ÿ5ÿ75ÿÿ87!ÿ87
ÿ2 785ÿ777ÿ" 5ÿ6
ÿ5 # $ÿ7%5ÿ75785ÿ7855ÿ5ÿ&&'&()ÿ75ÿ8ÿ"ÿ*7
ÿ6 ÿ"6ÿ65!ÿ"655ÿÿ+6"ÿ+567ÿ785ÿ"7ÿÿ
ÿ) ÿ6"ÿ""7ÿÿ7ÿ78ÿ7ÿ7856ÿ75ÿ56776ÿ5,
ÿ& $ $ 55ÿ678ÿ787ÿÿ87!ÿ785ÿ5ÿ787ÿ5ÿ7ÿ7ÿ57
ÿ' ÿÿ67!ÿ6 ÿ7ÿ765ÿ7ÿ555
ÿ( # $ÿÿÿ7ÿ7ÿ7"%ÿÿ67ÿ7ÿ787ÿ576ÿÿ-
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00 $ ÿ 55ÿ678ÿ787ÿ7ÿ7855ÿ5ÿ5"57ÿ""ÿ765ÿ
02 *55ÿ75ÿÿ855ÿ5ÿ7ÿ"6675ÿ7ÿ*5*"5ÿ5ÿ&)ÿÿ+
05 7ÿÿ785ÿ"7ÿ0(ÿ6""6ÿ75ÿ787ÿ5ÿ85ÿ786ÿ6ÿ785
06 77"ÿ5ÿ678ÿ5ÿÿ785ÿ785ÿ5ÿ7ÿ7ÿ785ÿ785
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ÿ6  446 ÿÿ664ÿ54ÿ7ÿ6ÿ4ÿ ÿ 5ÿ
ÿ7 674ÿ5!6ÿÿ"0ÿÿ&65ÿ$64%
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05 5ÿÿ674ÿ5!6ÿÿ"0ÿÿ$64ÿ567ÿ5)55654%
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07  *4ÿ!#4ÿ4 54ÿ)'6ÿ674ÿ6ÿ676ÿ5ÿ+ 7ÿÿ2,2-ÿ'
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22   44
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25 65676 5 ÿ674ÿ74 4ÿ676ÿ674ÿ1 5ÿ2'6ÿ4465
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Appendix D
Case: 23-50885     Document: 31-1     Page: 1    Date Filed: 12/06/2023




        United States Court of Appeals
             for the Fifth Circuit
                           ____________

                            No. 23-50885
                           ____________

United States of America; OCA-Greater Houston,
League of Women Voters of Texas; REVUP-Texas,

                                                    Plaintiffs—Appellees,

                                 versus

Ken Paxton, Attorney General, State of Texas; Jane Nelson, in her
official capacity as Texas Secretary of State; State of Texas; Harris
County Republican Party; Dallas County Republican
Party; National Republican Senatorial Committee;
National Republican Congressional Committee,

                                                 Defendants—Appellants,

Republican National Committee,

                                         Movant—Appellant.
              ______________________________

              Appeal from the United States District Court
                   for the Western District of Texas
                        USDC No. 5:21-CV-844
              ______________________________

                     UNPUBLISHED ORDER

Before Clement, Engelhardt, and Oldham, Circuit Judges.
Per Curiam:
Case: 23-50885      Document: 31-1      Page: 2    Date Filed: 12/06/2023




                               No. 23-50885


      IT IS ORDERED that Appellants’ opposed motion for a temporary
administrative stay is GRANTED. Appellees shall file a response to the
emergency motion to stay the District Court’s order and for a permanent in-
junction pending appeal no later than 9:00 a.m. on Monday, December 11,
2023. Appellants shall file a reply no later than noon on Tuesday, Decem-
ber 12, 2023.




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Appendix E
Case: 23-50885     Document: 80-1     Page: 1    Date Filed: 12/15/2023




        United States Court of Appeals
             for the Fifth Circuit
                           ____________

                            No. 23-50885
                           ____________

United States of America; OCA-Greater Houston,
League of Women Voters of Texas; REVUP-Texas,

                                                    Plaintiffs—Appellees,

                                 versus

Ken Paxton, Attorney General, State of Texas; Jane Nelson, in her
official capacity as Texas Secretary of State; State of Texas; Harris
County Republican Party; Dallas County Republican
Party; National Republican Senatorial Committee;
National Republican Congressional Committee,

                                                 Defendants—Appellants,

Republican National Committee,

                                         Movant—Appellant.
              ______________________________

              Appeal from the United States District Court
                   for the Western District of Texas
                        USDC No. 5:21-CV-844
              ______________________________

        ORDER GRANTING STAY PENDING APPEAL

Before Clement, Engelhardt, and Oldham, Circuit Judges.
Case: 23-50885       Document: 80-1        Page: 2   Date Filed: 12/15/2023




                                 No. 23-50885


Per Curiam: *
       I. Relevant Factual and Procedural Background
       The Texas Legislature enacted the Election Protection and Integrity
Act (“S.B.1”) in 2021 in response to the myriad difficulties experienced by
election officials concerning mail-in ballots during the 2020 election cycle.
See An Act Relating to Election Integrity and Security, 2021 Tex. Sess. Law
Serv. 2nd Called Sess. Ch. 1 (West). S.B.1 requires voters to, among other
things, provide the number from a government-issued ID on any application
for a ballot by mail (“ABBM”), as well as on the envelope containing the
completed ballot. Tex. Elec. Code §§ 84.002, 86.002. Thus, a qualified
voter seeking to vote by mail must submit a signed ABBM to her county’s
early-voting clerk, and the ABBM must include a number from a government
issued ID, a partial social security number, or a statement that the applicant
lacks such ID numbers. Id. § 84.002. The early-voting clerk then evaluates
the ABBM to determine whether it complies with S.B.1’s requirements.
§ 86.001. When the qualified voter sends in her mail-in ballot, the S.B.1-
required ID number must also appear on the ballot envelope. Id. § 87.041.
Early Voting Ballot Boards (“EVBBs”) open and evaluate mail-in ballots to
determine whether they should be accepted, in part by verifying that the
ballot meets the ID number requirement. Id. § 87.041(b). Election officials
must notify the voter whether her ABBM or mail-in ballot was flagged for
rejection and must provide an opportunity for the voter to add or correct the
information. Id. §§ 86.008, 87.0411.
       The case before us involves two consolidated lawsuits. The United
States sued the State of Texas and Texas Secretary of State Jane Nelson (in

       _____________________
       *
         Judge Clement does not join the order. She would have extended the
administrative stay and expedited the case to the next available merits panel.




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Case: 23-50885         Document: 80-1       Page: 3   Date Filed: 12/15/2023




                                  No. 23-50885


her official capacity). It argues S.B.1 §§ 5.07 and 5.13, which require election
officials to reject ABBMs and mail-in ballots if the ID number provided does
not match an ID number included with that voter’s registration records,
violate the Materiality Provision of § 1971 of the Civil Rights Act of 1964, see
52 U.S.C. § 10101(a)(2)(B), by requiring election officials to reject ABBMs
and mail-in ballots based on immaterial informational errors. Separately, a
group of private plaintiffs sued Secretary Nelson (in her official capacity),
Texas Attorney General Ken Paxton (in his official capacity), and several
county-level election officials (in their official capacities). The private
plaintiffs argue the entirety of S.B.1’s number matching framework violates
the Materiality Provision for reasons similar to those espoused by the United
States.
          Both the United States and the private plaintiffs moved for summary
judgment. The district court granted both motions and entered an order
permanently enjoining “the State Defendants, the Harris County Elections
Administrator, and the Travis County Clerk, their agents and successors in
office, and all persons acting in concert with them” from enforcing “the
requirements of Section 5.07 and 5.13 of Senate Bill 1 that violate Section 101
of the Civil Rights Act of 1964, 52 U.S.C. § 10101(a)(2)(B).” The scope of
the injunction is unclear, but it appears the district court’s order precludes
any Texas official from enforcing the number-matching requirements of
S.B.1 §§ 5.07 and 5.13. See District Court Order on Motion for Stay Pending
Appeal at 4 (explaining “the United States sought and obtained relief against
the entire State of Texas.”).
          Appellants sought a stay pending appeal in the district court. The
district court denied their application, so Appellants filed an emergency
motion for a stay pending appeal in this court. Because the district court
entered its order after EVBBs began processing ballots for local runoff




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Case: 23-50885       Document: 80-1          Page: 4   Date Filed: 12/15/2023




                                 No. 23-50885


elections, we administratively stayed the order. We now address Appellants’
motion for a full stay pending appeal.
                             II. Discussion
       Our “power to hold an order in abeyance” while we assess its legality
is “inherent.” Nken v. Holder, 556 U.S. 418, 426 (2009) (citation omitted).
Nken’s four-factor standard guides our analysis and requires us to consider
the following: “(1) whether [Appellants] ha[ve] made a strong showing that
[they are] likely to succeed on the merits; (2) whether [they] will be
irreparably injured absent a stay; (3) whether issuance of the stay will
substantially injure the other parties interested in the proceeding; and (4)
where the public interest lies.” Id. at 434 (quoting Hilton v. Braunskill, 481
U.S. 770, 776 (1987)); see also Vote.Org v. Callanen, 39 F.4th 297, 302 (5th
Cir. 2022). “The first two factors . . . are the most critical.” Nken, 556 U.S.
at 434. “The proponent[s] of a stay bear[] the burden of establishing its
need.” Clinton v. Jones, 520 U.S. 681, 708 (1997).
       We conclude that the Appellants’ motion should be GRANTED, so
we exercise our discretion to STAY the district court’s order and injunction
pending appeal.
             A. Appellants are Likely to Succeed on Appeal.
       At the outset, it is not even clear that § 10101 contains a private right
of action. See McKay v. Thompson, 226 F.3d 752, 756 (6th Cir. 2000)
(“Section 1971 is enforceable by the Attorney General, not by private
citizens.”); see also McKay v. Altobello, 1996 WL 635987, at *2 (E.D. La. Oct.
31, 1996) (“[42 U.S.C. § 1971] is . . . enforceable only by the Attorney
General, not impliedly, by private persons.”) (citing Good v. Roy, 459 F.
Supp. 403 (D. Kan. 1978)); Gilmore v. Amityville Union Free School Dist., 305
F. Supp. 2d 271, 279 (E.D.N.Y. 2004) (“[The] provisions [of § 1971] are only
enforceable by the United States of America in an action brought by the




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Case: 23-50885        Document: 80-1       Page: 5     Date Filed: 12/15/2023




                                  No. 23-50885


Attorney General and may not be enforced by private citizens.”) (citation
omitted). But see Schwier v. Cox, 340 F.3d 1284, 1297 (11th Cir. 2003)
(holding § 1971 can be enforced by private parties through § 1983). If that is
true, the private plaintiffs’ suit obviously fails. Nevertheless, the Attorney
General of the United States unquestionably has authority to enforce § 10101,
see 52 U.S.C. § 10101(c), so we must proceed to the merits of the parties’
arguments.
       We conclude Appellants are likely to prevail on appeal for at least
three reasons. First, the Materiality Provision precludes state officials only
from “deny[ing] the right of any individual to vote…” See id. § 10101(b).
S.B.1’s identification requirements do not deny anyone the right to vote
because they only affect the ability of some individuals to vote by mail. We
have held voting by mail is a privilege that can be limited without infringing
the right to vote. See, e.g., Tex. Democratic Party v. Abbott, 961 F.3d 389, 403–
05 (5th Cir. 2020) (citing McDonald v. Bd. of Election Comm’rs, 394 U.S. 802,
807–11 (1969)). So we think it is unlikely S.B.1 implicates the Materiality
Provision at all.
       Second, even assuming vote-by-mail restrictions implicate the
Materiality Provision, we have said only racially motivated deprivations of
rights are actionable under § 10101. See Broyles v. Texas, 618 F. Supp. 2d 661,
697 (S.D. Tex. 2009) (citing Kirksey v. City of Jackson, 663 F.2d 659, 664–65
(5th Cir. 1981)), aff’d, 381 F. App’x 370 (5th Cir. 2010) (per curiam)); see also
United States v. Mississippi, 380 U.S. 128, 138 (1965) (“Section 1971 was
passed by Congress under the authority of the Fifteenth Amendment to
enforce that Amendment’s guarantee…”); Veasey v. Abbott, 830 F.3d 216,
315 (5th Cir. 2016) (Jones, J., concurring in part and dissenting in part) (“The
Fifteenth Amendment secures the right to vote from denial or abridgment by
intentional discrimination on account of race or color.”) (citing City of Mobile
v. Bolden, 446 U.S. 55, 61–66 (1980)); Ind. Democratic Party v. Rokita, 458 F.



                                       5
Case: 23-50885        Document: 80-1       Page: 6    Date Filed: 12/15/2023




                                 No. 23-50885


Supp. 2d 775, 839 (S.D. Ind. 2006) (dismissing § 1971 suit because plaintiffs
did “not allege[], much less prove[], any discrimination based on race”),
aff’d sub nom. Crawford v. Marion Cnty. Election Bd., 472 F.3d 949 (7th Cir.
2007), aff’d, 553 U.S. 181 (2008). Neither the United States nor the private
plaintiffs allege Texas enacted S.B.1 with a discriminatory purpose, see
Appellee United States’s Opposition to Appellants’ Emergency Motion to
Stay at 11–13 (arguing the Materiality Provision is not limited to racially
motivated state action but not contending S.B.1 was racially motivated), so
we think it unlikely plaintiffs could establish that S.B.1 violates the
Materiality Provision.
       Lastly (and relatedly), S.B.1’s provisions merely require election
officials to confirm the identity of persons seeking to vote by mail by matching
their identification numbers with identification numbers in Texas’s database
of registered voters. Texans are required to present identification to vote in
person, see Appellants’ Emergency Motion to Stay at 10, and plaintiffs are
not arguing those requirements violate the Materiality Provision. There is no
reason why identification requirements in the context of vote-by-mail should
be subject to any greater scrutiny. In fact, our cases suggest precisely the
opposite. See supra. Moreover, since 2004, Congress itself has required
voters to include identification numbers on voter registration applications.
See 52 U.S.C. § 20901 et seq. So the same legislative body that enacted the
Materiality Provision clearly thinks voter identification numbers are
“material to determining eligibility to register and to vote.” Fla. State Conf.
of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1174 (11th Cir. 2008) (citation
omitted). We do not think a law requiring voters to include the same
information on mail-in voting materials that Congress itself asks voters to
include on their voter registration applications violates the Materiality
Provision.




                                       6
 Case: 23-50885          Document: 80-1          Page: 7      Date Filed: 12/15/2023




                                       No. 23-50885


        At times, Plaintiffs seem to suggest the real problem with S.B.1 is that
Texas’s voter registration database is riddled with errors that will result in
the rejection of ABBMs and mail-in ballots for otherwise qualified Texas
voters. See Appellee United States’s Opposition to Appellants’ Emergency
Motion to Stay at 21. But that is not what the district court held. The district
court held S.B.1’s requirements are immaterial as a matter of law because
they do not affect a voter’s eligibility to vote. See District Court Opinion at
27. It may be that the State’s execution of S.B.1 is so flawed it unlawfully
abridges the voting rights of Texas citizens. But that seems to us a factual
question, and the State points to testimonial evidence suggesting ballot
rejection rates have not changed much—if at all—since S.B.1 was enacted.
See Appellants’ Reply in Support of Emergency Motion to Stay at 4. Because
there appears to be a genuine dispute of material fact about the practical
effect of S.B.1, it is not clear the district court have properly held at summary
judgment that the State’s execution of S.B.1 violates the Materiality
Provision.
        Thus, even if mail-in voting restrictions implicate the Materiality
Provision, and even if election rules untinged by racial motivations can violate
the Materiality Provision, we still think Appellants are likely to succeed on
the merits. We therefore conclude Appellants have carried their burden on
the first Nken factor. †
     B. The Remaining Nken Factors Support the Issuance of a Stay.
        The other Nken factors also favor granting the application for a stay.
First, Appellants carried their burden of demonstrating they will be

        _____________________
        †
          Of course, our evaluation of Appellants’ likelihood of success on the merits does
not bind a later merits panel’s evaluation of the actual merits. See, e.g., Texas Democratic
Party v. Abbott, 978 F.3d 168, 176 (5th Cir. 2020) (so noting).




                                             7
Case: 23-50885        Document: 80-1       Page: 8    Date Filed: 12/15/2023




                                 No. 23-50885


irreparably injured absent a stay. See Nken, 556 U.S. at 434. That is because
“[w]hen a statute is enjoined, the State necessarily suffers the irreparable
harm of denying the public interest in the enforcement of its laws.” Veasey v.
Abbott, 870 F.3d 387, 391 (5th Cir. 2017) (citing Maryland v. King, 567 U.S.
1301 (2012) (Roberts, C.J., in chambers)); see also Walters v. Nat’l Ass’n of
Radiation Survivors, 468 U.S. 1323, 1324 (1984) (Rehnquist, J., in chambers).
Moreover, the district court’s order will significantly disrupt the State’s
administration of current and upcoming elections. Mail-in balloting has
already begun ahead of the January 30, 2024 runoff in Texas House District
2. See Appellants’ Reply in Support of Emergency Motion to Stay at 3. And
election officials across the state are undoubtedly preparing for January 1,
when voters may submit an ABBM for the March 5, 2024 primaries. See
Important Election Dates 2023–2024, Texas Secretary of State (last
accessed Dec. 12, 2023), https://perma.cc/5A8R-KTRV. Allowing the
district court’s order would thus render substantial administrative chaos
during an election or “in the period close to an election.” Democratic Nat’l
Comm. v. Wis. State Legislature, 141 S. Ct. 28, 30–31 (2020) (mem.)
(Kavanaugh, J., concurring).
       Nor will a stay substantially injure the United States or the private
plaintiffs. See Nken, 556 U.S. at 434. The United States cannot claim to be
substantially injured by a stay of an order that likely misapplied federal law.
See supra. And a stay of the district court’s order merely maintains the status
quo that prevailed for over two years prior to the district court’s summary
judgment order. There is no reason to believe “maintenance of the status
quo” would substantially injure the private plaintiffs. E.T. v. Paxton, 19 F.4th
760, 770 (5th Cir. 2021) (quotation omitted).
       Lastly, the public interest weighs in favor of a stay. See Nken, 556 U.S.
at 434. When “[a] State”—here Texas—“is [an] appealing party, its interest
and harm merge with that of the public.” Veasey, 870 F.3d at 391 (citing Nken,



                                       8
Case: 23-50885      Document: 80-1      Page: 9   Date Filed: 12/15/2023




                               No. 23-50885


556 U.S. at 435). Since we conclude the state would be irreparably injured
absent a stay, see supra, we also conclude a stay would serve the public
interest.
                          III. Conclusion
       We GRANT Appellants’ motion for the reasons discussed above and
exercise our discretion to STAY the district court’s order and injunction
pending appeal.




                                    9
Appendix F
        Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 1 of 12




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

  LA UNIÓN DEL PUEBLO ENTERO, et al.,            §
               Plaintiffs,                       §
                                                 §
  v.                                             §               5:21-CV-0844-XR
                                                 §              [Consolidated Cases]
  GREGORY W. ABBOTT, et al.,                     §
             Defendants.                         §

   ORDER DENYING MOTION FOR STAY PENDING APPEAL OF THE COURT’S
        PERMANENT INJUNCTION AS TO TEX. ELEC. CODE § 276.015

       On this date, the Court considered the State Defendants’ opposed motion to stay pending

appeal (ECF No. 1159) of the Court’s order enjoining the enforcement of TEX. ELEC. CODE §

276.015 (the “Canvassing Restriction”). After careful consideration, the motion is DENIED.

                                       BACKGROUND

       In September 2021, Texas Governor Greg Abbott signed into law the Election Protection

and Integrity Act of 2021, an omnibus election law commonly referred to as S.B. 1. See Tex. Leg.,

An Act Relating to Election Integrity and Security, S.B. 1, 87th Leg., 2d Spec. Sess. (2021).

Multiple lawsuits soon followed, which were ultimately consolidated into this action. The cases

were tried to the bench in September and October 2023.

       On September 28, 2024, this Court issued its Findings of Fact and Conclusions of Law (the

“Order”) as to Plaintiffs’ free speech and due process challenges to TEX. ELEC. CODE (“TEC”) §

276.015, concluding that the Canvassing Restriction is unconstitutional under the First and

Fourteenth Amendments, both facially and as applied to Plaintiffs’ voter outreach activities. See

ECF No. 1157.

       The Canvassing Restriction creates three new, third-degree felonies under the Election

Code, each imposing up to ten years in prison and a fine of up to $10,000 on anyone who gives,
          Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 2 of 12




offers, or receives some “compensation or other benefit” for an “in-person interaction” with a voter

in the “physical presence” of an official ballot or a ballot voted by mail, “intended to deliver votes

for a specific candidate or measure.” TEC § 276.015(a)(2). 1 The Canvassing Restriction does not

define “compensation” or “physical presence” and nothing in its text limits its application to

instances of voter fraud, coercion, or harassment, or speech that occurs while a voter is actively

completing their ballot.

         Plaintiffs are membership-driven, non-partisan civil rights and social advocacy groups in

Texas that regularly conduct in-person voter outreach and engagement activities, such as block-

walking and candidate forums. Plaintiffs have endorsed ballot measures (and some have supported

candidates) aligned with their organizational missions and deployed staff, independent contractors

and volunteers to engage with voters in person to increase turnout and electoral support for their

causes. Plaintiffs’ volunteers often receive refreshments, t-shirts, pens, gas cards, and other tokens

of appreciation for their canvassing and assistance efforts. Plaintiffs’ voter engagement activities

generally occur in the weeks before elections (when they are most effective), when voters are likely

to have received their mail ballots. During some outreach events, voters have taken out their mail

ballots while speaking with Plaintiffs’ organizers to ask questions about their ballots or request

voting assistance.

         Plaintiffs fear that the Canvassing Restriction will subject their organizations, staff, and

volunteers—and even the voters the provision purportedly protects—to criminal liability for

engaging in ordinary and routine in-person interactions during elections. To avoid putting staff

members and volunteers in legal jeopardy under the Canvassing Restriction, Plaintiffs and their


1
  Section 7.04 of S.B. 1 also added TEC provisions addressing the solicitation of applications to vote by mail (TEC §
276.016), the distribution of early voting ballots and balloting materials (TEC § 276.017), and unauthorized alterations
to election procedures (TEC § 276.019). For the purposes of this order, however, “Section 7.04” refers only to the
Canvassing Restriction, codified at TEC § 276.015.



                                                           2
          Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 3 of 12




members have limited their in-person interactions with voters in the weeks before elections, when

voters are most likely to have mail ballots in their possession—and when Plaintiffs’ speech is most

critical. Some organizations have stopped hosting in-person events when mail ballots are sent out

and have resorted to alternative means of communication with voters (e.g., text messages) that

have turned out to be much less effective. Other organizations have trained their staff to stop

speaking in support of a ballot measure if they notice that they are in the presence of a mail ballot.

         Trial testimony demonstrated widespread confusion about the meaning of the Canvassing

Restriction. Witnesses were particularly uncertain about how to interpret the terms

“compensation” and “physical presence”—neither of which is defined in the statute—and how the

Canvassing Restriction impacts organizers’ ability to provide voting assistance. Despite this

confusion, state officials have not offered any definitive answers about the scope of the Canvassing

Restriction. The Secretary of State has not provided any guidance. Tr. at 1914:7–14, 1924:7–18.

Nor has the OAG. Tr. at 1924:24–1925:3. And the answers provided by the State Defendants’

witnesses conflicted with one another and with the State Defendants’ positions in their post-trial

briefing. 2

         The Court permanently enjoined the Texas Attorney General (the “AG”), the Texas

Secretary of State (the “Secretary,” and together with, the AG, the “State Defendants”) and the




2
  For example, former Election Division Director Keith Ingram opined that providing volunteers with bus fare was
not “compensation” because “[t]hey can get their expenses reimbursed. That’s not payment.” Tr. at 1904:1–2. The
State’s chief voter fraud prosecutor, Jonathan White, on the other hand, testified that he would need to perform legal
research to determine what kinds of economic benefits would violate the provision. Tr. at 3992:20–3993:21
(conceding that he would need to “review[] the case law” to determine whether a meal, bus fare, or a gift bag
containing a t-shirt constitute prohibited compensation).

Similarly, Jonathan White, former Chief of the OAG Election Integrity Division, testified that if his office encountered
a GOTV group that paid its organizers to provide mail ballot assistance as a public service while canvassing, he would
be concerned that this activity is a subterfuge for voter fraud. Tr. at 3995:11–24. The State Defendants, on the other
hand, assert that such assistance falls outside the purview of the Canvassing Restriction because it is not “designed to
deliver votes for or against a specific candidate or measure.” ECF No. 862 ¶ 479


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        Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 4 of 12




District Attorneys of Travis County, Dallas County, Hidalgo County, and the 34th Judicial District

(the “County DAs”) from enforcing the Canvassing Restriction. See ECF No. 1157 (the “Order”).

       The State Defendants filed a Notice of Appeal of the Court’s Order, followed by a motion

to stay the order pending appeal (ECF No. 1159), which the Court now considers. The State

Defendants seek to stay the Court’s order pending appeal in light of the upcoming general election

in November.

       For the reasons stated herein, the State Defendants’ motion (ECF No. 1159) is DENIED.

                                           DISCUSSION

       In determining whether to grant a motion for stay pending appeal, courts consider four

factors: “(1) whether the stay applicant has made a strong showing that he is likely to succeed on

the merits; (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance

of the stay will substantially injure the other parties interested in the proceeding; and (4) where the

public interest lies.” Nken v. Holder, 556 U.S. 418, 426 (2009).

1.     The State Defendants are unlikely to prevail on the merits.

       The State Defendants are unlikely to prevail on the merits of their appeal, for three reasons.

       First, their briefing applied an incorrect legal standard, seeking to superimpose the

Anderson-Burdick balancing test on a content-based regulation of core political speech that is,

without question, subject to strict scrutiny. See ECF No. 862 at 80–83. The Supreme Court has

made clear that while Anderson-Burdick applies to laws and regulations that “control the

mechanics of the electoral process,” it does not apply to “a regulation of pure speech,” even in the

election context. McIntyre v. Ohio Elections Comm’n, 514 U.S. 334, 345 (1995). Burdens on core

political speech during elections, like all burdens on core political speech, are subject to strict




                                                  4
          Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 5 of 12




scrutiny. Id. at 347. 3 And with good reason: it would defy logic to subject a content-based

restriction of core political speech to lesser scrutiny because it happens to regulate speech during

elections, when “the importance of First Amendment protections” is at its “zenith.” Meyer, 486

U.S. at 425.

         Second, the State Defendants’ Purcell argument is directly at odds with their Ex parte

Young argument. They insist that “now is the only time when § 7.04 affords law enforcement the

opportunity to prevent ballot harvesting from interrupting the legal conduct of elections, as

opposed to conducting a purely retroactive investigation.” ECF No. 1159 at 1–2. They fail to define

“law enforcement,” however, in an apparent attempt to obfuscate which officials are responsible

for enforcing the Canvassing Restriction (and when) and leave open the possibility that election

administrators will somehow be affected by the injunctive relief. The State Defendants insist that,

because mail ballots have been sent out, “impos[ing] a change at this stage not only strains election

administrators but also undermines voter confidence in the electoral process.” ECF No. 1159 at 1–

2. They offer no hint as to how the injunction “strains” election administrators. The injunction

facially does not apply to election administrators. Indeed, it is unclear to the Court how it could




3
  See also Buckley v. Am. Const. L. Found., Inc., 525 U.S. 182, 207 (1999) (Thomas, J., concurring) (“When a State’s
election law directly regulates core political speech, we have always subjected the challenged restriction to strict
scrutiny and required that the legislation be narrowly tailored to serve a compelling governmental interest.”); Mazo v.
N.J. Sec’y of State, 54 F.4th 124, 138, 142 (3d Cir. 2022), cert. denied sub nom. Mazo v. Way, 144 S. Ct. 76 (2023)
(concluding that Anderson-Burdick applies only to laws that “primarily regulate the mechanics of the electoral process,
as opposed to core political speech,” not to laws “that are primarily directed at regulating ‘pure speech’”) (quoting
McIntyre, 514 U.S. at 345); Lichtenstein v. Hargett, 83 F.4th 575, 593 (6th Cir. 2023) (explaining the Supreme Court
has “applied strict scrutiny—not Anderson-Burdick balancing—to many election laws” implicating core political
speech) (collecting cases); Fusaro v. Cogan, 930 F.3d 241, 258 (4th Cir. 2019) (observing the Supreme Court has
“distinguished between laws that . . . regulate ‘pure speech,’” and those subject to Anderson-Burdick); Campbell v.
Buckley, 203 F.3d 738, 745 (10th Cir. 2000) (recognizing “strict scrutiny,” rather than Anderson-Burdick, “is applied
where the government restricts the overall quantum of speech available to the election or voting process”); Cotham v.
Garza, 905 F. Supp. 389, 396 (S.D. Tex. 1995) (holding that provisions governing the mechanics of voting are subject
to Anderson-Burdick while a “content-based restriction on core political speech” is subject to strict scrutiny).



                                                          5
         Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 6 of 12




have crafted injunctive relief against election administrators, who have no enforcement connection

with the Canvassing Restriction.

        The State Defendants have a sufficient enforcement connection to fall within the Ex parte

Young exception to sovereign immunity. The OAG continues to operate the Criminal Prosecutions

Division unit that prosecutes election-related allegations, known as the Election Integrity Division.

Tr. at 3903:23–3905:4, 3905:11–15, 4039:14–19. As of March 17, 2023, the OAG had identified

at least one investigation of a possible violation of the Canvassing Restriction. There may very

well be additional investigations that the AG failed to produce during discovery because, despite

their insistence that he has “no enforcement connection” to election crimes, both of the State

Defendants have throughout this litigation, withheld documents discussing “actual or alleged

illegal voting, election fraud, or other criminal conduct in connection with” voting and voter

assistance, invoking the investigative privilege. See ECF No. 992-3; ECF No. 992-16.

        Although the AG may no longer unilaterally prosecute allegations of election-related

crimes, State v. Stephens, 663 S.W.3d 45 (Tex. Crim. App. 2021), the OAG enforces criminal

election offenses through other mechanisms. After OAG investigations conclude, the OAG refers

cases to local prosecuting attorneys 4 and often seeks opportunities to partner with DAs to prosecute

such allegations through deputization by a DA or appointment pro tem by a district judge or the

DA. Tr. at 3908:21–3909:17, 3909:1–12; 4043:21–4045:21; 4051:2–10. The OAG has specifically

identified previous prosecutions in which it participated, including prosecutions for “vote

harvesting” and prosecutions conducted by or with the assistance of local DAs in several counties.



4
  For example, after the prosecution of Hervis Rogers was dismissed in Montgomery County, the OAG referred the
case to the Harris County DA, who brought charges against Mr. Rogers before a grand jury. Tr. at 4058:17–4059:24,
4062:7–12. The same procedure was used in the prosecution of Ignacio González Beltrán, whose case was dismissed
in Montgomery County and referred by the OAG to Harris County, where it was presented to a grand jury. Tr. at
4063:3–4064:6.



                                                       6
          Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 7 of 12




         Even after Stephens, Jonathan White, former Chief of the OAG Election Integrity Division,

testified that the “vote harvesting” schemes (purportedly targeted by the Canvassing Restriction)

remain among the three most common elections-related allegations that the OAG pursues. Tr. at

3915:3–8. For the November 2022 elections, the OAG established a 2022 General Election

Integrity Team and publicly stated it was “prepared to take action against unlawful conduct where

appropriate,” highlighting offenses related to “vote harvesting.” OCA-383.

         Without citation, the State Defendants accuse the Court of “gloss[ing] over” the Secretary’s

role by extending Ex parte Young based on her “general duty to oversee elections.” ECF No. 1159

at 8 (citing Tex. Democratic Party v. Abbott, 978 F.3d 168, 179 (5th Cir. 2020)). 5 Not so. The

Court specifically based its Ex parte Young analysis on the Secretary’s specific and mandatory

duty under the Election Code to evaluate information she “receiv[es] or discover[s]” about

potential election crimes (including alleged violations of the Canvassing Restriction). TEC §

31.006 (emphasis added). If she “determines that there is probable cause to suspect that criminal

conduct occurred, the [S]ecretary shall promptly refer the information to the attorney general” and

provide all pertinent documents and information in her possession to the AG. Id. (emphasis added).

         Indeed, in trying to prove that the Secretary lacks an enforcement connection with respect

to the Canvassing Restriction, the State Defendants commit the precise logical error they attribute

to the Court, generalizing that “the Secretary’s role is largely administrative and informational,



5
  Further, it is worth noting that the provision at issue in Texas Democratic Party II, section 82.003 of the Election
Code, did not explicitly refer to the Secretary either. In its entirety, section 82.003 states: “A qualified voter is eligible
for early voting by mail if the voter is 65 years of age or older on election day.” TEC § 82.003. Despite the absence
of a specific reference to the Secretary in section 82.003, the Fifth Circuit located the Secretary’s duties to enforce the
provision in another section of the Election Code: “[T]he Secretary’s specific duties regarding the application form
under Section 31.002 are enough for us to conclude that the Secretary has at least a scintilla of enforcement authority
for Section 82.003.” Tex. Democratic Party II, 978 F.3d at 180. In short, the State Defendants’ suggestion that the Ex
parte Young analysis requires the Court to read each provision in a vacuum, without reference to any other Election
Code provision—no matter how relevant to the enforcement question at hand—is entirely divorced from Fifth Circuit
precedent, and from the fundamental precepts of statutory interpretation


                                                              7
        Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 8 of 12




not enforcement focused.” ECF No. 1159 at 8 (emphasis added). That is not the question before

the Court—the question is whether the State Defendants have a particular duty to enforce the

statute in question and demonstrated their willingness to do so.

       Here, the State Defendants have shown a desire to enforce the statute. Critically, neither

the AG nor the Secretary has disavowed enforcement. Beyond the AG’s refusal to disavow, the

trial record makes clear that he does intend to enforce the Canvassing Restriction. Jonathan White,

former Chief of the OAG Election Integrity Division, testified that the “vote harvesting” schemes

(purportedly targeted by the Canvassing Restriction) remain among the three most common

elections-related allegations that the OAG pursues. Tr. at 3915:3–8; see also LULAC-86 at 6

(identifying at least one OAG investigation of a possible violation of the Canvassing Restriction

as of March 17, 2023). The OAG has specifically identified previous prosecutions in which it

participated, including prosecutions for “vote harvesting” and prosecutions conducted by or with

the assistance of local DAs in multiple counties. See OCA-377. The Secretary, for her part, has

received allegations related to mail ballot “vote harvesting,” which she has referred to the OAG

both before and after the passage of S.B. 1. Tr. at 1914:1–6.

       Finally, Plaintiffs have standing to challenge the Canvassing Restriction—and

succeed on the merits of their challenge because it has chilled their core political speech. The

Canvassing Restriction is “an outright ban” on certain core political speech, “backed by criminal

sanctions” of up to ten years in prison. Citizens United, 558 U.S. at 337. By Plaintiffs’ banning in-

person interactions with voters, the Canvassing Restriction 7.04 “restricts access to the most

effective, fundamental, and perhaps economical avenue of political discourse, direct one-on-one

communication. Meyer, 486 U.S. at 414.




                                                 8
        Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 9 of 12




       On these facts, the State Defendants have failed to present a “substantial case on the

merits.” United States v. Baylor Univ. Med. Ctr., 711 F.2d 38, 39 (5th Cir. 1983) (per curiam).

2.     The State Defendants will not suffer irreparable harm absent a stay.

       Defendants have not produced “powerful evidence of harm to [their] interests” to tip the

equities in their favor. Opulent Life Church, 697 F.3d at 297. Again, the injunction does not direct

Defendants to change any election procedures before the election. They insist that law enforcement

officials must be afforded the opportunity to “prevent ballot harvesting” now that mail ballots have

been sent out.

       Here again, the State Defendants have a definitional problem. States cannot circumvent

strict scrutiny by simply asserting a compelling interest in enforcing the regulation being

challenged. Under the State Defendants’ theory, the Supreme Court should have upheld the ban

on independent corporate expenditures in Citizens United based on the government’s interest in

“preventing independent corporate expenditures.” See Citizens United v. Fed. Election Comm'n,

558 U.S. 310, 365 (2010) (concluding that the ban on independent corporate expenditures was not

narrowly tailored to the government’s purported anti-corruption and shareholder-protection

interests). That is not how strict scrutiny operates.

       Instead, a state must identify an “actual problem” in need of solving, United States v.

Playboy Ent. Grp., Inc., 529 U.S. 803, 813 (2000), and demonstrate that restricting free speech is

necessary to the solution, see R.A.V. v. City of St. Paul, 505 U.S. 377, 395 (1992). The Court

concluded that the Canvassing Restriction does not serve Texas’ proffered interest in “prevent[ing]

paid partisans from haranguing Texas citizens while they fill out their mail ballots.” ECF No. 862

¶ 1023. But nothing in the text of the Canvassing Restriction limits its application to “haranguing”




                                                   9
        Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 10 of 12




conduct “while [voters] fill out their mail ballots.” Instead, it criminalizes any “interaction” in the

“physical presence” of a mail ballot.” TEC § 276.015(a)(2).

       States, to be sure, have an “important state interest” in “[e]nsuring that every vote is cast

freely,” Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2341 (2021). But the Election Code

already imposes criminal penalties against “effort[s] to influence the independent exercise of the

vote of another in the presence of the ballot or during the voting process,” TEC § 276.013, or

voting (or attempting to vote) a ballot belonging to another person, or attempting to mark another

person’s ballot without their consent or specific direction, TEC § 64.012. Similarly, it is already a

crime for a voting assistor to “suggest[] by word, sign, or gesture how the voter should vote” while

providing such assistance or “prepare[] the voter’s ballot in a way other than the way the voter

directs or without direction from the voter.” TEC § 64.036. At trial, the State Defendants failed to

offer even hypothetical scenarios in which the Canvassing Restriction would serve the

government’s interest in ways that are not already accomplished by other criminal provisions of

the Election Code, let alone identified an “actual problem” in need of solving. United Playboy Ent.

Grp., Inc., 529 U.S. at 813.

       Because the State Defendants have not shown that the Canvassing Restriction serves a

compelling government interest, they cannot establish that being prevented from enforcing the

provision will cause any harm to their interests.

3.     Plaintiffs will suffer irreparable harm in the event of a stay.

       The injury to Plaintiffs in the absence of injunctive relief—the chill on their core political

speech in the weeks before an election—would be great. As the Supreme Court has long

recognized, “[t]he loss of First Amendment freedoms, for even minimal periods of time,

unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S. 347, 373 (1976). Political




                                                    10
        Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 11 of 12




speech, moreover, “occupies the core of the protection afforded by the First Amendment” and that

“[n]o form of speech is entitled to greater constitutional protection.” McIntyre, 514 U.S. at 346–

47.

4.     The public interest lies in enjoining the Canvassing Restriction.

       The Court considered the impact of the injunction on the public interest in its Order. See

ECF No. 1157 at 74–77 (citing Opulent Life Church v. City of Holly Springs, 697 F.3d 279, 298

(5th Cir. 2012) (“[I]njunctions protecting First Amendment freedoms are always in the public

interest.”)). Despite the State Defendants’ insistence that the injunction will “confuse” voters, it is

the overbreadth and vagueness of the Canvassing Restriction itself that confused organizers and

voters—and apparently the State Defendants themselves—and has chilled Plaintiffs’ speech.

       The injunction thus serves the twin public interests of restoring clarity and vindicating the

right to free speech. The only prospective interest that the State Defendants can plausibly allege

would be impaired by injunctive relief is the deterrent effect of the Canvassing Restriction. Given

that its chilling effect on speech is the very feature that renders the Canvassing Restriction

constitutionally infirm, however, deterring violations is unlikely to serve the public interest. See

Ingebretsen on behalf of Ingebretsen v. Jackson Public Sch. Dist., 88 F.3d 274, 280 (5th Cir. 1996)

(where an enactment is unconstitutional, “the public interest [is] not disserved by an injunction

preventing its implementation”).

                                          CONCLUSION

       For the forgoing reasons, the State Defendants’ motion for a stay (ECF No. 1159) of this

Court’s order enjoining enforcement of the Canvassing Restriction, codified at TEX. ELEC. CODE

§ 276.015, is DENIED in all respects.

       It is so ORDERED.




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Case 5:21-cv-00844-XR Document 1161 Filed 10/01/24 Page 12 of 12




SIGNED this 1st day of October, 2024.



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                                  XAVIER RODRIGUEZ
                                  UNITED STATES DISTRICT JUDGE




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